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   EXHIBIT 5
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                       IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                             IN AND FOR THE COUNTY OF MARICOPA

THE STATE OF ARIZONA,
                                                      CR2019 -007275-001
         Plaintiff,

vs.

JEREMIAH L TRIPLETT,
aka JEREMIAH LYNN TRIPLETT                            PLEA AGREEMENT

DOB: 11/12/1998
Booking #: T519327

         Defendant.



            THIS OFFER MAY BE REVOKED AT ANY TIME UNLESS ACCEPTED IN COURT


The State of Arizona and the Defendant hereby agree to the following disposition of this case:

Plea:    The Defendant agrees to plead GUILTY to:

         COUNT 1:
         CONSPIRACY TO COMMIT ARMED ROBBERY (13 -1904A1), A CLASS 2 FELONY, in violation
         of A .R.S. §§ 13 -1003; 13 -1901; 13-1904; 12 -116.04; 12-269; 13-610; 13 -805; 13 -701; 13-702;
         13 -801; and 13-105, committed on November 2, 2018 through and including January 12,
         2019.

         This is a non dangerous, non repetitive, offense under the criminal code.
                      -                  -
         COUNT 24:
         ARMED ROBBERY (13 1904A1), A CLASS 2 DANGEROUS FELONY, in violation of A R.S.
                                 -                                                               .
                  -                                                -                   -
         §§ 13 1904; 13 -1901; 13-1902; 13 -301; 13-302; 13 303; 13-304; 13 704; 13 706;         -
                                                           -                 -
         13-706(F) (1)(h); 13 -706(F)( 2) ( q); 12-116.04; 12 269; 13-610; 13 805; 13 -3105; 13 -701;
         13-702; 13 -801; and 13-105, committed on November 29, 2018 .

         This is a dangerous, non repetitive, offense under the criminal code.
                                     -
         COUNT 52:
         ARMED ROBBERY (13 1904A1), A CLASS 2 DANGEROUS FELONY , in violation of A.R.S
                                 -                                                                   .
                                                  -                 -
         §§ 13-1904; 13-1901; 13 -1902; 13 301; 13-302; 13 303; 13 -304; 13 -704; 13-706;
                             -                -
         13-706(F)(1) (h); 13 706(F)( 2)(q); 12 116,04; 12-269; 13 - 610 ; 13 -805; 13 -3105; 13-701;
         13-702; 13 - 801; and 13 105, committed on December 14, 2018.
                                 -
         This is a dangerous, non -repetitive, offense under the criminal code.
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                                                                  STATE OF ARIZONA VS. JEREMIAH L TRIPLETT
                                                                                                            -
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        COUNT 107:
        ARMED ROBBERY (13-1904A1), A CLASS 2 DANGEROUS FELONY, in violation of A .R S                  ..
               -            -         -                              -            -
        §§ 13 1904; 13 1901; 13 1902; 13-301; 13 -302; 13 303; 13 304; 13 -704; 13 -706;
          -                                    -
        13 706 (F)(1) (h); 13 -706(F)(2)(q); 12 116.04; 12-269; 13 -610; 13 -805; 13-3105; 13 701; -
        13-702; 13-801; and 13 -105, committed on January 2, 2019        .
        This is a dangerous, non -repetitive, offense under the criminal code.


Terms: On the following understandings, terms , and conditions:

1. COUNT 1:
   The crime carries a presumptive sentence of 5 Years; a minimum sentence of 4 Years ; a mitigated
   sentence of 3 Years; a maximum sentence of 10 Years ; and an aggravated sentence of 12.5 Years.
   Probation IS available.

    Restitution of economic loss to the victim and waiver of extradition for probation revocation procedures
    are required. Restitution includes payment to parties who have reimbursed victims for loss , including,
    but not limited to insurance companies and MCAO victim compensation. Pursuant to A .R .S. §13-805
    at the time restitution is ordered the court may enter a criminal restitution order including interest and
    collection fees . The maximum fine that can be imposed is $150,000.00 plus a 78% surcharge,
    plus a $20.00 probation fee pursuant to A.R.S. §12-269, plus a $13.00 assessment pursuant to
                                                                             ..
    A.R.S. §12-116.04, plus a $9.00 assessment pursuant to A R S. §12 116.08, plus a $ 2.00
                                                                                      -
                                           -       .
    assessment pursuant to A.R.S. §12 116.09 If the Defendant is sentenced to prison, the Defendant
    shall also be sentenced to serve a term of community supervision equal to one-seventh of the prison
    term to be served consecutively to the actual period of imprisonment. If the Defendant fails to abide by
    the conditions of community supervision, the Defendant can be required to serve the remaining term of
    community supervision in prison. Within 30 days of being sentenced, pursuant to A.R.S. §13 -610, the
    Defendant shall provide a sufficient sample of blood or other bodily substance for deoxyribonucleic acid
    (DNA) testing and extraction to be used for law enforcement identification purposes and/or for use in a
    criminal prosecution and/or for use in a proceeding under title 36, chapter 37. Special conditions
    regarding the sentence imposed by statute (if any) are:

                        .
        Pursuant to A R.S. §13-902, probation may continue for 7-years. Pursuant to A.R.S.
        §13 -3105, the Defendant shall forfeit all interest in the weapon to the State.



    COUNT 24:
    The crime carries a presumptive sentence of 10.5 Calendar Years ; a minimum sentence of 7 Calendar
    Years ; and a maximum sentence of 21 Calendar Years. Probation IS NOT available.

    Restitution of economic loss to the victim and waiver of extradition for probation revocation procedures
    are required. Restitution includes payment to parties who have reimbursed victims for loss , including,
    but not limited to insurance companies and MCAO victim compensation. Pursuant to A.R.S. §13-805
    at the time restitution is ordered the court may enter a criminal restitution order including interest and
    collection fees. The maximum fine that can be imposed is $150,000.00 plus a 78 % surcharge,


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plus a $ 20 ,00 probation fee pursuant to A .R .S . §12 -269 , plus a $13.00 assessment pursuant to
A.R .S. §12-116.04, plus a $9.00 assessment pursuant to A.R.S. §12-116.08, plus a $ 2.00
assessment pursuant to A .R.S. §12-116.09 . If the Defendant is sentenced to prison, the Defendant
shall also be sentenced to serve a term of community supervision equal to one-seventh of the prison
term to be served consecutively to the actual period of imprisonment. If the Defendant fails to abide by
the conditions of community supervision, the Defendant can be required to serve the remaining term of
community supervision in prison. Within 30 days of being sentenced, pursuant to A.R.S. §13- 610, the
Defendant shall provide a sufficient sample of blood or other bodily substance for deoxyribonucleic acid
(DNA) testing and extraction to be used for law enforcement identification purposes and/or for use in a
criminal prosecution and/or for use in a proceeding under title 36, chapter 37. Special conditions
regarding the sentence imposed by statute (if any) are:

    Pursuant to A.R . S . 513-3105, the Defendant shall forfeit all interest in the weapon to the
    State.


COUNT 52:
The crime carries a presumptive sentence of 10.5 Calendar Years ; a minimum sentence of 7 Calendar
Years; and a maximum sentence of 21 Calendar Years . Probation IS NOT available.

Restitution of economic loss to the victim and waiver of extradition for probation revocation procedures
are required. Restitution includes payment to parties who have reimbursed victims for loss, including,
but not limited to insurance companies and MCAO victim compensation. Pursuant to A.R.S. §13-805
at the time restitution is ordered the court may enter a criminal restitution order including interest and
collection fees. The maximum fine that can be imposed is $150,000.00 plus a 78 % surcharge,
plus a $ 20.00 probation fee pursuant to A .R.S. §12-269, plus a $13.00 assessment pursuant to
A .R. S. §12-116.04, plus a $9.00 assessment pursuant to A.R . S . §12-116.08, plus a $2.00
assessment pursuant to A.R.S . §12-116.09. If the Defendant is sentenced to prison, the Defendant
shall also be sentenced to serve a term of community supervision equal to one-seventh of the prison
term to be served consecutively to the actual period of imprisonment. If the Defendant fails to abide by
the conditions of community supervision, the Defendant can be required to serve the remaining term of
community supervision in prison. Within 30 days of being sentenced, pursuant to A.R.S. §13-610, the
Defendant shall provide a sufficient sample of blood or other bodily substance for deoxyribonucleic acid
(DNA) testing and extraction to be used for law enforcement identification purposes and/or for use in a
criminal prosecution and/or for use in a proceeding under title 36, chapter 37. Special conditions
regarding the sentence imposed by statute (if any) are:

    Pursuant to A. R.S , §13-3105 , the Defendant shall forfeit all interest in the weapon to the
    State.


COUNT 107:
The crime carries a presumptive sentence of 10.5 Calendar Years; a minimum sentence of 7 Calendar
Years; and a maximum sentence of 21 Calendar Years . Probation IS NOT available.

Restitution of economic loss to the victim and waiver of extradition for probation revocation procedures
are required. Restitution includes payment to parties who have reimbursed victims for loss, including,


                                                  3
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    but not limited to insurance companies and MCAO victim compensation. Pursuant to A.R .S. §13-805
    at the time restitution is ordered the court may enter a criminal restitution order including interest and
    collection fees. The maximum fine that can be imposed is $150,000.00 plus a 78% surcharge,
                                                     .
    plus a $20.00 probation fee pursuant to A.R S. §12 -269, plus a $13.00 assessment pursuant to
                                                                                 .
    A.R.S. §12-116.04, plus a $ 9.00 assessment pursuant to A.R.S §12 -116.08, plus a $ 2.00
    assessment pursuant to A.R.S. §12-116.09. If the Defendant is sentenced to prison, the Defendant
    shall also be sentenced to serve a term of community supervision equal to one-seventh of the prison
    term to be served consecutively to the actual period of imprisonment. If the Defendant fails to abide by
    the conditions of community supervision, the Defendant can be required to serve the remaining term of
    community supervision in prison. Within 30 days of being sentenced, pursuant to A .R .S. §13-610, the
    Defendant shall provide a sufficient sample of blood or other bodily substance for deoxyribonucleic acid
    (DNA) testing and extraction to be used for law enforcement identification purposes and/or for use in a
    criminal prosecution and/or for use in a proceeding under title 36, chapter 37. Special conditions
    regarding the sentence imposed by statute (if any) are:

                             .
           Pursuant to A.R.S 613 -3105, the Defendant shall forfeit all interest in the weapon to the
           State.

2. The parties stipulate to the following additional terms, subject to court approval at the time of sentencing
   as set forth in paragraph 7:

           FOR COUNT 1:
              The Defendant shall be sentenced to the Arizona Department of Corrections for a
                                      -                               -      .
              term of not less than 5 vears, but not to exceed 10 vears This sentence shall run
              concurrent with the sentence imposed in COUNT 24, COUNT 52, and COUNT 107                  .
              This sentence shall run concurrent with the sentence imposed in Maricopa County
              Superior Court Cause Number: CR 2019 -101931-001,



           FOR COUNT 24:
              The Defendant shall be sentenced to the Arizona Department of Corrections for a
              term of not less than 10 calendar years, but not to exceed 15 calendar years This    .
              sentence shall run concurrent with the sentence imposed in COUNT 1, COUNT 52,
                                 .
              and COUNT 107 This sentence shall run concurrent with the sentence imposed in
              Maricopa County Superior Court Cause Number : CR 2019 101931-001.
                                                                            -
           FOR COUNT 52:
              The Defendant shall be sentenced to the Arizona Department of Corrections for a
              term of not less than 10 calendar years, but not to exceed 15 calendar years This    .
              sentence shall run concurrent with the sentence imposed in COUNT 1 COUNT 24,  .
              and COUNT 107. This sentence shall run concurrent with the sentence imposed in
              Maricopa County Superior Court Cause Number: CR2019-101931- 001.




    ///



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 FOR COUNT 107:
    The Defendant shall be sentenced to the Arizona Department of Corrections for a
    term of not less than 12 calendar years, but not to exceed 15 calendar years This  .
    sentence shall run concurrent with the sentence imposed in COUNT 1, COUNT 24,
    and COUNT 52. This sentence shall run consecutive to the sentences imposed in
    Maricopa County Superior Court Cause Number: CR2019 101931 001-       - .
 FOR ALL COUNTS:
                                                                            .
    The Defendant shall have no contact with any victim whatsoever The Defendant
                                                     .
    shall not return to the scene of the offense The Defendant shall pay restitution for
    all economic loss to all victims and/or their insurance companies, and/ or MCAO
    Victims Compensation Bureau, for all counts and/or events, including dismissed,
    amended and/or uncharged counts or events, resulting from Phoenix Police
    Department        Report     Numbers:       201800001948874:     2Q18 Q 0001974137
    201800002067788:       201800002113476: 201800002138498:         201800002138598
    201800002151503;       201800002269959;      201800002294671;    201900000057909
    201900000071303 ;      201900000004090:      201900000005036 ;   201900000005562
    201900000005631                              .
                            201900000045909 and 201900000052444, including any
    supplemental reports from these report numbers; MCSO Department Report
                                         .
    Numbers: 18035037 and 18036260 including any supplemental reports from these
    report numbers: Tolleson Police Department Report Number: 181214044, including
    any supplemental reports from this report number; Tempe Police Department
                                                              .
    Report Numbers: 18142661; 18142664; and 18152554 including any supplemental
    reports from these report numbers; Avondale Police Department Report Numbers:
                                     .
    1854369 , 1855366, and 1858905 including any supplemental reports from these
    report numbers;       Peoria Police Department Report Numbers: 201800090751               .
                  .
    201900000192 and 201900000826 , including any supplemental reports from these
    report numbers; Mesa Police Department Report Number: 20183400114, Including
    any supplemental reports from this report number:            and Goodyear Police
                                                 .
    Department Report Number: 201847477 including any supplemental reports from
    this report number, regardless of whether the loss was caused by the Defendant or
     any accomplice   .
     The Defendant shall forfeit all interest in any weapons, ammunition, and any weapon
     accessories seized in Phoenix Police Department Report Numbers:
     201800001948874; 201800001974137; 201800002067788; 201800002113476;
     201800002138498;      201800002138598;         201800002151503;   201800002269959;
     201800002294671;      201900000057909;         201900000071303;   201900000004090;
     201900000005036 201900000005562: 201900000005631 201900000045909, and
                     ;                                          ;
     201900000052444, including any supplemental reports from these report numbers;
     MCSO Department Report Numbers: 18035037 and 18036260, including any
     supplemental reports from these report numbers: Tolleson Police Department
     Report Number: 181214044, including any supplemental reports from this report
     number; Tempe Police Department Report Numbers: 18142661; 18142664; and



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                                                                  STATE OF ARIZONA VS. JEREMIAH L TRIPLETT
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             18152554, inciudinq any supplemental reports from these report numbers;
             Avondale Police Department Report Numbers: 1854369 , 1855366 , and 1858905 ,
             inciudinq any supplemental reports from these report numbers: Peoria Police
             Department Report Numbers: 201800090751, 201900000192, and 2Q 1900 Q 00826
             inciudinq any supplemental reports from these report numbers: Mesa Poiice
             Department Report Number: 20183400114, including any supplemental reports from
             this report number; and Goodyear Police Department Report Number : 201847477 ,
             inciudinq any supplemental reports from this report number.


             This plea is contingent upon the Defendant ’ s entry into , and the Court's acceptance
             of , a plea agreement with the State in Maricopa County Superior Court Cause
             Number: CR 2019-101931-001. The State shall be permitted to revoke and/ or
             withdraw from this plea agreement if the Defendant does not enter into , or either
             party is permitted to withdraw from , or the Court rejects , a plea agreement with the
             State in Maricopa County Superior Court Cause Number: CR2019-101931-001.

             The parties stipulate the court may revoke the Defendant's probation grant and if
             done , the court may either impose a sentence that runs concurrent to any and/or all
             counts from this cause number , or in the alternative, impose a sentence that runs
             consecutively to any and/ or all counts from this cause number ,


3. The following charges and/or allegations are dismissed, or if not yet filed, shall not be brought against
   the Defendant by the Maricopa County Attorney’s Office:

        COUNTS 2 through 23: COUNTS 25 through 51: COUNTS 53 through 90: COUNTS 94
        through 106 , and COUNTS 108 through 128;         Allegation of 513-702.02 multiple
        offenses/multiple counts; and Allegation the Defendant was on felony probation at the
        time of the offenses as it relates to the counts being dismissed.


    This agreement serves to amend the complaint, indictment, or information to charge the offense to
    which the Defendant pleads, without the filing of any additional pleading. However, if the plea is rejected
    by the court or withdrawn by either party , or if the conviction is subsequently reversed, the original
    charges and any charges that are dismissed by reason of this plea agreement are automatically
    reinstated.

    If the Defendant is charged with a felony, he hereby waives and gives up his rights to a preliminary
    hearing or other probable cause determination on the charges to which he pleads. The Defendant
    agrees that this agreement shall not be binding on the State should the Defendant be charged with or
    commit a crime between the time of this agreement and the time for sentencing in this cause; nor shall
    this agreement be binding on the State until the State confirms all representations made by the
    Defendant and his attorney, to-wit: The Defendant avows that he has NO MORE THAN 1 prior felony
    conviction, in any jurisdiction, under any name . The Defendant avows that he WAS NOT on
    felony   release , parole , or community supervision , at the time of these offenses, but WAS on
    felony probation in Maricopa County Superior Court Cause Number: CR 2018 -144258 -001. The
    Defendant avows that he HAS NO other pending felony matters , in any jurisdiction, under any



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                                                                                                  PLEA AGREEMENT

           name, EXCEPT for Maricopa County Superior Court Cause Number: CR 2019 101931-001.         -
           Although the State may have agreed to dismiss or not file sentencing enhancement allegations under
           Paragraph 3, Defendant is advised that any dismissed allegation may be considered in aggravation of
           any sentence permissible under the plea agreement. If the Defendant fails to appear for sentencing,
           the court may disregard the stipulated sentence and impose any lawful sentence which is the same as
           or exceeds the stipulated sentence in the plea agreement, in the event the court rejects the plea, or
           either the State or the Defendant withdraws the plea, the Defendant hereby waives and gives up his
           right to a preliminary hearing or other probable cause determination on the original charges.

 6. Unless this plea is rejected by the court or withdrawn by either party, the Defendant hereby waives and
    gives up any and all motions, defenses, objections, or requests which he has made or raised, or could
    assert hereafter, to the court's entry of judgment against him and imposition of a sentence upon him
    consistent with this agreement . By entering this agreement, the Defendant further waives and gives up
    the right to appeal.

 7. The parties hereto fully and completely understand and agree that by entering into a plea agreement,
    the Defendant consents to judicial fact finding by preponderance of the evidence as to any aspect or
    enhancement of sentence and that any sentence either stipulated to or recommended herein in
    paragraph two is not binding on the court. In making the sentencing determination, the court is not
    bound by the rules of evidence. The State's participation in this plea agreement is conditional upon the
                                                                  .
    Court’s acceptance of its terms, conditions , orprovisions If after accepting this plea the court concludes
    that any of the plea agreement's terms, conditions, or provisions regarding the sentence or any other
    aspect of this plea agreement are inappropriate, it can reject the plea. If the court decides to reject any
    of the plea agreement’s terms, conditions, or provisions, it must give both the State and the Defendant
    an opportunity to withdraw from the plea agreement. Should the Court reject this plea agreement, or
    the State withdraws from the agreement, the Defendant hereby waives all claims of double jeopardy
    and all original charges will automatically be reinstated. The Defendant in such case waives and gives
    up his right to a probable cause determination on the original charges.

     8. If the court decides to reject the plea agreement provisions regarding sentencing and neither the State
        nor the Defendant elects to withdraw the plea agreement, then any sentence either stipulated to or
        recommended herein in paragraph 2 is not binding upon the court, and the court is bound only by the
        sentencing limits set forth in paragraph 1 and the applicable statutes.

                                                                                                .
 9. This plea agreement in no way affects any forfeiture proceedings pursuant to A.R.S §13-4301 et seq.,
                            -
    §13-2314, or §32 1993, if applicable, nor does the plea agreement in anyway compromise or abrogate
                                                                      -
    any civil actions, including actions pursuant to A.R.S. §13 2301 et seq. or §13-4301 et seq., or the
           provisions of A.R.S. §13-2314 or A .R.S. §13-4310.

/7     .
 10 I understand that if i am not a citizen of the United States , or was not a citizen at the time of the
    commission of the offense to which I am pleading, that my decision to go to trial or enter into a plea
    agreement may have immigration consequences. Specifically, I understand that pleading guilty or no
    contest to a crime may affect my immigration status. Admitting guilt may result in deportation even if
    the charge is later dismissed. My plea or admission of guilt could result in my deportation or removal,
    could prevent me from ever being able to get legal status in the United States, or could prevent me




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                                                                  STATE OF ARIZONA VS. JEREMIAH L TRIPLETT
                                                                                                         -
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                                                                                          PLEA AGREEMENT

    from becoming a United States citizen. I understand that I am not required to disclose my Sega! status
    in the United States to the court.

11.1 have read and understand the provisions of this entire agreement. I have discussed the case and my
   constitutional rights with my lawyer. My lawyer has explained the nature of the charges and the
   elements of the crimes to which 1 am pleading. ] understand that by pleading GUILTY I will be waiving
   and giving up my right to a determination of probable cause, to a trial by jury to determine guilt and to
   determine any fact used to impose a sentence within the range stated above in paragraph one, to
   confront, cross-examine, and compel the attendance of witnesses, to present evidence in my behalf,
   my right to remain silent, my privilege against self-incrimination, presumption of innocence and right to
   appeal. I agree to enter my plea as indicated above on the terms and conditions set forth herein. I fully
   understand that if, as part of this plea agreement , I am granted probation by the court, the terms and
    conditions thereof are subject to modification at any time during the period of probation. I understand
    that if I violate any of the written conditions of my probation, my probation may be terminated and I can
    be sentenced to any term or terms stated above in paragraph one , without limitation.

I have personally and voluntarily placed my initials beside each of the above paragraphs and signed the
signature line below to indicate that I read, or had read to me, understood and approved all of the previous
paragraphs in this agreement, both individually and as a total binding agreement. My plea is voluntary and
not the result of force, or threat, or promises other than those contained in the plea agreement .

DO NOT SIGN THIS FORM UNLESS YOU HAVE READ IT COMPLETELY, OR HADLT READ TO YOU
AND UNDERSTAND IT FULLY.                                     /V
                                       ^7                                ^
                        Defendant
Date                                              JEREMIAH L TRIPLETT

I have discussed this case with my client in detail and advised my client of his constitutional rights and ail
possible defenses. 1 believe that the Defendant's plea is knowing, intelligent , and voluntary and that the
plea and disposition are consistent with law .

                        Defense Counsel
Dat                                               Pamela Nicholson, #010071


I have reviewed this matter and concur that the plea and disposition set forth herein are appropriate and
are in the interests of justice.

10/11/2021              Prosecutor
Date                                              Josh Maxwell, #031585
                                                  Deputy County Attorney


I have reviewed this matter and concur that the plea and disposition set forth herein are appropriate and
are in the interests of justice.

10/11/2021              Prosecutor
Date                                              Mitch Rand, #011951
                                                  Deputy County Attorney


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                           IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                                 IN AND FOR THE COUNTY OF MARICOPA

   THE STATE OF ARIZONA
                                                            CR 2019- 007275 -001
            Plaintiff,

   vs.

    JEREMIAH L TRIPLETT,
    aka JEREMIAH LYNN TRIPLETT                              FACTUAL BASIS ADDENDUM

   DOB: 11/12/1998
   Booking #: T519327

            Defendant.




The parties stipulate and agree to the following factual basis as reflected below:

    1. On or about and between November 2, 2018 through and including January 12, 2019, Defendant, Co-

         Defendants, and Jacob Michael Harris [collectively hereafter “Mass Bandits”], conspired with each other to

         forcibly take money from people working at businesses throughout Maricopa County.

    2. Mass Bandits agreed to assist each other in committing armed robberies of people working inside

         businesses within Maricopa County and Defendant intended to promote or assist in the commission of such

         conduct.

    3. This conduct constitutes the crime of Armed Robbery in violation of Arizona Revised Statutes, §13-904.

    4. Mass Bandits specifically created a list of places to rob, facilitated access to weapons, specifically a

         handgun or handguns, facilitated access to vehicles, specificaliy a Mazda 6 and/or a Honda Passport,

         and/or arrived at different businesses with each other inside the same vehicle, before an armed robbery

         occurred. [Count 1]

                                                                                                   .
    5. On or about November 29, 2018, Defendant entered a Subway Store located at 12958 W Indian School

         Road, Maricopa County , while armed with a handgun, and while inside the store, forcibly took money from

         Victim Riley Warf and/or Victim Carrie Stephenson. Defendant fled the store and the area after forcibly
         taking the money. [Count 24]

    6. On or about December 14 , 2018, Defendant entered a Circle K Store located at 298 North 83rd Avenue,

         Maricopa County, while armed with a handgun, and while inside the store, forcibly took money from Victim

         Nick Richard. Defendant fled the store and the area after forcibly taking the money. [Count 52]
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                                                                                            .
                                                                        STATE OF ARIZONA VS JEREMIAH L TRIPLETT
                                                                                                               -
                                                                                              CR 2019-007275 001
                                                                                       FACTUAL BASIS ADDENDUM


   7. On or about January 2, 2019 , Defendant entered a Whataburger Store, located at 8922 W. Bell Road,

       Maricopa County , while armed with a handgun, and while inside the store, forcibly took money from Victim

       Patrick Flanagan. Defendant fled the store and the area after forcibly taking the money. [ Count 107]




                      Defendant
                                               JEREMIAH L TRIPLETT



                      Defense Counsel
                                               Pamela Nicholson, #010071



01/07/2022            Prosecutor
Date                                           Josh Maxwell, #031585
                                               Deputy County Attorney


01/07/2022            Prosecutor
Date                                           Mitch Rand, # 011951
                                               Deputy County Attorney




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                      IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                            IN AND FOR THE COUNTY OF MARICOPA

THE STATE OF ARIZONA,
                                                      CR2019-101931-001
        Plaintiff,

vs.

JEREMIAH L TRIPLETT,
aka JEREMIAH LYNN TRIPLETT                            PLEA AGREEMENT

DOB: 11/12/1998
Booking #: T519327

        Defendant.



           THIS OFFER MAY BE REVOKED AT ANY TIME UNLESS ACCEPTED IN COURT


The State of Arizona and the Defendant hereby agree to the following disposition of this case:

Plea:   The Defendant agrees to plead GUILTY to:

        COUNT 1 (AS AMENDED!:
        MANSLAUGHTER (13-1103 A1 ), A CLASS 2 DANGEROUS FELONY, in violation of A .R.S.
        §§ 13-1101 ; 13-1103; 13 -301; 13 -302; 13-303; 13-304; 13-704; 13 -706 ; 13 -706(F)(1)(c);
        12-116.04; 13-805 ; 13 -610; 12-269; 13 - 3105; 13-701 ; 13-702; 13-801; and 13 -105 ,
        committed on January 11, 2019 through and including January 12, 2019 .

         This is a dangerous, non-repetitive, offense under the criminal code.


         COUNT 3 :
         ARMED ROBBERY (13-1904A1), A CLASS 2 DANGEROUS FELONY , in violation of A.R. S.
         § § 13-1904; 13-1901; 13-1902; 13-301 ; 13 - 302; 13- 303 ; 13 - 304; 13-704; 13-706;
         13-706 (F)(1)( h ); 13 -706(F)(2)(q ); 12-116.04; 12-269; 13 -610; 13-805; 13 - 3105; 13 -701;
         13 - 702; 13 - 801 ; and 13 -105 , committed on January 11, 2019 through and including
         January 12, 2019.

         This is a dangerous , non - repetitive, offense under the criminal code.


Terms: On the following understandings, terms, and conditions:

1. COUNT 1 (AS AMENDED!:
   The crime carries a presumptive sentence of 10.5 Calendar Years; a minimum sentence of 7 Calendar
   Years; and a maximum sentence of 21 Calendar Years. Probation IS NOT available.
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                                                                                              -      -
                                                                                      CR 2019 101931 001
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Restitution of economic loss to the victim and waiver of extradition for probation revocation procedures
are required. Restitution includes payment to parties who have reimbursed victims for loss, including,
but not limited to insurance companies and MCAO victim compensation. Pursuant to A .R.S. §13-805
at the time restitution is ordered the court may enter a criminal restitution order including interest and
collection fees. The maximum fine that can be imposed is $150,000.00 plus a 78% surcharge,
                                                 .
plus a $ 20.00 probation fee pursuant to A.R S. §12 269, plus a $13.00 assessment pursuant to
                                                         -
      .       -                                                         ..      -
A.R.S §12 116.04, plus a $ 9.00 assessment pursuant to A.R S §12 116.08, plus a $ 2.00
                                       -
assessment pursuant to A.R.S. §12 116.09. If the Defendant is sentenced to prison, the Defendant
shall also be sentenced to serve a term of community supervision equal to one-seventh of the prison
term to be served consecutively to the actual period of imprisonment. If the Defendant fails to abide by
the conditions of community supervision, the Defendant can be required to serve the remaining term of
                                                                                      . .
community supervision in prison. Within 30 days of being sentenced, pursuant to A R S. §13-610, the
Defendant shall provide a sufficient sample of blood or other bodily substance for deoxyribonucleic acid
(DNA) testing and extraction to be used for law enforcement identification purposes and/or for use in a
criminal prosecution and/or for use in a proceeding under title 36, chapter 37. Special conditions
regarding the sentence imposed by statute (if any) are:

                   ..              .
    Pursuant to A R S. 613 -3105 the Defendant shall forfeit all interest in the weapon to the
    State.


COUNT 3:
The crime carries a presumptive sentence of 10.5 Calendar Years; a minimum sentence of 7 Calendar
Years; and a maximum sentence of 21 Calendar Years. Probation IS NOT available.

Restitution of economic loss to the victim and waiver of extradition for probation revocation procedures
are required. Restitution includes payment to parties who have reimbursed victims for loss , including,
but not limited to insurance companies and MCAO victim compensation. Pursuant to A.R.S. §13-805
at the time restitution is ordered the court may enter a criminal restitution order including interest and
collection fees. The maximum fine that can be imposed is $150,000.00 plus a 78% surcharge,
plus a $20.00 probation fee pursuant to A.R.S. §12 -269, plus a $13.00 assessment pursuant to
                                                                          .
A.R.S. §12-116.04, plus a $9.00 assessment pursuant to A.R.S §12-116.08, plus a $ 2.00
assessment pursuant to A.R.S . §12 -116.09. If the Defendant is sentenced to prison, the Defendant
shall also be sentenced to serve a term of community supervision equal to one-seventh of the prison
term to be served consecutively to the actual period of imprisonment. If the Defendant fails to abide by
the conditions of community supervision, the Defendant can be required to serve the remaining term of
community supervision in prison. Within 30 days of being sentenced, pursuant to A . R.S. §13-610 , the
Defendant shall provide a sufficient sample of blood or other bodily substance for deoxyribonucleic acid
(DNA) testing and extraction to be used for law enforcement identification purposes and/or for use in a
criminal prosecution and/or for use in a proceeding under title 36, chapter 37. Special conditions
regarding the sentence imposed by statute (if any) are:

    Pursuant to A .R.S. 613 -3105, the Defendant shall forfeit all interest in the weapon to the
    State .



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                                                                                                            -
                                                                                                  CR 2019 101931-001
                                                                                                  PLEA AGREEMENT

                   The parties stipulate the court may revoke the Defendant's probation grant and if
                   done, the court may either impose a sentence that runs concurrent to any and/ or all
                   counts from this cause number, or in the alternative, impose a sentence that runs
                   consecutively to any and /or all counts from this cause number        .
'S'f   3. The following charges and/or allegations are dismissed, or if not yet filed, shall not be brought against
          the Defendant by the Maricopa County Attorney’s Office:
               COUNT 2; COUNT 4: COUNT 5: COUNT 6: and COUNT 7: Allegation of S13 702.02                -
               multiple offenses/multipie counts: Allegation the Defendant was on felony probation at
               the time of the offenses as it relates to the counts being dismissed.

 M     4. This agreement serves to amend the complaint, indictment, or information to charge the offense to
          which the Defendant pleads, without the filing of any additional pleading. However, if the plea is rejected
          by the court or withdrawn by either party, or if the conviction is subsequently reversed, the original
          charges and any charges that are dismissed by reason of this plea agreement are automatically
          reinstated.

       5. If the Defendant is charged with a felony, he hereby waives and gives up his rights to a preliminary
          hearing or other probable cause determination on the charges to which he pleads. The Defendant
          agrees that this agreement shall not be binding on the State should the Defendant be charged with or
          commit a crime between the time of this agreement and the time for sentencing in this cause; nor shall
          this agreement be binding on the State until the State confirms all representations made by the
          Defendant and his attorney, to-wit: The Defendant avows that he has NO MORE THAN 1 prior felony
          conviction, in any jurisdiction, under any name. The Defendant avows that he WAS NOT on
          felony release, parole, or community supervision, at the time of these offenses, but WAS on
          felony probation in Maricopa County Superior Court Cause Number: CR 2018 144258 -001. The
                                                                                                 -
          Defendant avows that he HAS NO other pending felony matters, in any jurisdiction, under any
          name, EXCEPT for Maricopa County Superior Court Cause Number: CR2019 -007275 001.                     -
          Although the State may have agreed to dismiss or not file sentencing enhancement allegations under
          Paragraph 3, Defendant is advised that any dismissed allegation may be considered in aggravation of
          any sentence permissible under the plea agreement. If the Defendant fails to appear for sentencing,
          the court may disregard the stipulated sentence and impose any lawful sentence which is the same as
          or exceeds the stipulated sentence in the plea agreement. In the event the court rejects the plea, or
          either the State or the Defendant withdraws the plea, the Defendant hereby waives and gives up his
          right to a preliminary hearing or other probable cause determination on the original charges.

           Unless this plea is rejected by the court or withdrawn by either party, the Defendant hereby waives and
           gives up any and all motions, defenses, objections, or requests which he has made or raised, or could
           assert hereafter, to the court’s entry of judgment against him and imposition of a sentence upon him
           consistent with this agreement. By entering this agreement, the Defendant further waives and gives up
           the right to appeal.




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                                                                                              CR 2019-101931-001
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7.   The parties hereto fully and completely understand and agree that by entering into a plea agreement,
     the Defendant consents to judicial fact finding by preponderance of the evidence as to any aspect or
     enhancement of sentence and that any sentence either stipulated to or recommended herein in
     paragraph two is not binding on the court. In making the sentencing determination, the court is not
     bound by the rules of evidence. The State’s participation in this plea agreement is conditional upon the
     Court’s acceptance of its terms , conditions , or provisions. If after accepting this plea the court concludes
     that any of the plea agreement 's terms , conditions, or provisions regarding the sentence or any other
     aspect of this plea agreement are inappropriate, it can reject the plea, if the court decides to reject any
     of the plea agreement’s terms, conditions, or provisions, it must give both the State and the Defendant
     an opportunity to withdraw from the plea agreement. Should the Court reject this plea agreement, or
     the State withdraws from the agreement, the Defendant hereby waives all claims of double jeopardy
     and all original charges will automatically be reinstated. The Defendant in such case waives and gives
     up his right to a probable cause determination on the original charges.

8 . If the court decides to reject the plea agreement provisions regarding sentencing and neither the State
    nor the Defendant elects to withdraw the piea agreement , then any sentence either stipulated to or
    recommended herein in paragraph 2 is not binding upon the court, and the court is bound only by the
    sentencing limits set forth in paragraph 1 and the applicable statutes.

9    This plea agreement in noway affects any forfeiture proceedings pursuant to A . R.S. §13 -4301 et seq.,
         -
     §13 2314, or §32-1993, if applicable, nor does the plea agreement in any way compromise or abrogate
     any civil actions, including actions pursuant to A .R.S. §13 -2301 et seq. or §13-4301 et seq. , or the
     provisions of A. R. S. §13-2314 or A.R.S. §13 -4310.

10. I understand that if I am not a citizen of the United States , or was not a citizen at the time of the
    commission of the offense to which I am pleading, that my decision to go to trial or enter into a plea
    agreement may have immigration consequences. Specifically, I understand that pleading guilty or no
    contest to a crime may affect my immigration status. Admitting guilt may result in deportation even if
    the charge is later dismissed. My plea or admission of guilt could result in my deportation or removal,
    could prevent me from ever being able to get legal status in the United States, or could prevent me
    from becoming a United States citizen. I understand that I am not required to disclose my legal status
    in the United States to the court.

11.1 have read and understand the provisions of this entire agreement. I have discussed the case and my
   constitutional rights with my lawyer. My lawyer has explained the nature of the charges and the
   elements of the crimes to which I am pleading, i understand that by pleading GUILTY I will be waiving
   and giving up my right to a determination of probable cause, to a trial by jury to determine guilt and to
   determine any fact used to impose a sentence within the range stated above in paragraph one, to
   confront, cross-examine, and compel the attendance of witnesses, to present evidence in my behalf,
   my right to remain silent , my privilege against self-incrimination, presumption of innocence and right to
   appeal. I agree to enter my plea as indicated above on (he terms and conditions set forth herein. I fully
   understand that if, as part of this plea agreement, I am granted probation by the court, the terms and
   conditions thereof are subject to modification at any time during the period of probation. I understand




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                             IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                                   IN AND FOR THE COUNTY OF MARICOPA

    THE STATE OF ARIZONA,
                                                             CR 2019-101931-001
              Plaintiff,

    vs.

    JEREMIAH L TRIPLETT,
    aka JEREMIAH LYNN TRIPLETT                               FACTUAL BASIS ADDENDUM

    DOB: 11/12 /1998
    Booking #: T519327

              Defendant.




The parties stipulate and agree to the following factual basis as reflected below:

    1. On or about January 11, 2019 through and including January 12, 2019, Defendant , Co -Defendants, and

          Jacob Michael Harris [collectively hereafter “Mass Bandits”], drove to different Whataburger restaurants

          throughout Maricopa County.

    2. Between 11:00 P. M. and 12:00 A.M. , Mass Bandits drove together inside a Honda Passport associated

          with Co -Defendant Sariah Busani, to a Whataburger located at 1450 North Dysart Road, in Avondale,

          Arizona, within Maricopa County.

    3. At approximately 12:05 A . M. Defendant , Co-Defendant Johnny Reed, and Jacob Michael Harris entered

          the Whataburger store while armed with handguns.

    4.    Co-Defendant Sariah Busani remained inside the driver’s seat of the Honda Passport.

    5. While inside the Whataburger Store, Defendant , Co-Defendant Johnny Reed, and Jacob Michael Harris

          forcibly took money from Victim Teo Mojarro and/or Victim Tomas Meza while armed with a handgun or

          handguns.

    6. Upon forcibly taking the money, Defendant, Co -Defendant Johnny Reed, and Jacob Michael Harris ran out

          of the store and got back inside the Honda Passport which Co -Defendant Sariah Busani positioned closer

          to the store entrance.

   7.     The Honda Passport left the parking lot area and drove for several minutes, without stopping, at which time

          Phoenix Police officers forcibly used devices to stop the Honda Passport.

    8.    Once the vehicle stopped, Jacob Michael Harris exited the vehicle , and within seconds , sustained gunshot

          wounds causing his death.
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                                                                         STATE OF ARIZONA VS. JEREMIAH L TRIPLETT
                                                                                                 CR 2019-101931-001
                                                                                        FACTUAL BASIS ADDENDUM


   9. But for Defendant’ s, Co-Defendants ’, and Jacob Michael Harris’ s actions of forcibly taking money from

       Victim Teo Mojarro and/or Victim Tomas Meza, while armed with weapons , and driving away from the

       Whataburger together inside the Honda Passport, Jacob Michael Harris would not have sustained gunshot

       wounds causing his death.




 //7/£ 3
Date
             -       Defendant

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                                          £ <j£REMIAH LTRIPLET1




                     Defense Counsel                                     6
Date                                             amela Nicholson, #010071



01/07/2022           Prosecutor
Date                                            Josh Maxwell, #031585
                                                Deputy County Attorney


01/07/2022           Prosecutor
Date                                            Mitch Rand, #011951
                                                Deputy County Attorney




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    EXHIBIT 6
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    EXHIBIT 7
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                                                                Clerk    the Superior Court
                                                                                              *** Electronically Filed ***
                                                                                                 R. Montoya, Deputy
                                                                                               11/22/2021 10:48:19 AM
                                                                                                  Filing ID 13636382


                        IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                              IN AND FOR THE COUNTY OF MARICOPA

THE STATE OF ARIZONA,
                                                         CR2019-007275-002
         Plaintiff,
vs.

SARIAH CHRISTINE BUSANI,
                                                         PLEA AGREEMENT
DOB: 09/21/1999
Booking #: T519329

          Defendant.



                                                                                    BY 11/19/ 2021
            THIS OFFER EXPIRES AND IS VOID IF NOT ENTERED IN COURT

                                                                                 tion of this case:
The State of Arizona and the Defendant hereby agree to the following disposi

Plea:     The Defendant agrees to plead GUILTY to:

          COUNT 1 :
                                                                                2 FELONY , in violation
          CONSPIRACY TO COMMIT ARMED ROBBERY (13-1904A 1) , A CLASS
                                                                             ; 13-805; 13-701; 13-702;
          of A .R.S. §§ 13 -1003; 13-1901; 13-1904; 12-116.04; 12-269; 13-610
          13-801; and 13-105 , committed on November 2 , 2018 through and
                                                                                including January 12,
          2019.

          This is a non-dangerous, non-repetitive, offense under the criminal
                                                                              code.



Terms: On the following understandings , terms and conditions :

1. COUNT 1:
                                                                  m sentence of 4 Years; a mitigated
   The crime carries a presumptive sentence of 5 Years ; a minimu
                                                               an aggravated sentence of 12.5 Years.
   sentence of 3 Years ; a maximum sentence of 10 Years; and
   Probation IS available .

                                                                      tion for probation revocation procedures
       Restitution of economic loss to the victim and waiver of extradi
                                                                  have reimbursed victims for loss , including ,
       are required. Restitution includes payment to parties who
                                                                           sation. Pursuant to A .R . S. §13 -805
       but not limited to insurance companies and MCAO victim compen
                                                                       l
       at the time restitution is ordered the court may enter crimina restitut
                                                              a                 ion order including interest and
                                                                  ed              0.00 plus a 78% surcharge,
       collection fees. The maximum fine that can be impos is 150.00
                                                                         $
                                                         S. §12-269, plus a $13.00 assessment pursuant to
       plus a $20- 00 probation fee pursuant to A .R.
                                                             pursuant to A .R .S . §12-116.08, plus a $2.00
       A .R. S. §12-116.04, plus a $9.00 assessment
       assessment pursuant to A .R.S. §12-116.09. If the Defendant is senten
                                                                                   ced to prison, the Defendant
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                                                                                                 CR 2019-007275-002
                                                                                                 PLEA AGREEMENT

          shall also be sentenced to serve a term of community supervision equal to one -seventh of the prison
          term to be served consecutively to the actual period of imprisonment. If the Defendant fails to abide by
          the conditions of community supervision, the Defendant can be required to serve the remaining term of
          community supervision in prison. Within 30 days of being sentenced, pursuant to A . R.S . §13-610, the
          Defendant shall provide a sufficient sample of blood or other bodily substance for deoxyribonucleic acid
          (DNA) testing and extraction to be used for law enforcement identification purposes and/or for use in a
          criminal prosecution and/or for use in a proceeding under title 36, chapter 37. Special conditions
          regarding the sentence imposed by statute (if any) are:

              Pursuant to A.R.S. §13-902, probation may continue for 7-vears. Pursuant to A .R.S.
              §13-3105, the Defendant shall forfeit all interest in the weapon to the State.



V&   2.   The parties stipulate to the following additional terms, subject to court approval at the time of sentencing
          as set forth in paragraph 7 :

              FOR COUNT 1:
                  The Defendant shall be sentenced to the Arizona Department of Corrections for a
                  term of not less than 5-vears , but not to exceed 10 -years. This sentence shall run
                  concurrent with the sentence Imposed in Maricopa County Superior Court Cause
                  Number: CR2019-101931-002.


              FOR ALL COUNTS:
                 The Defendant shall have no contact with any victim whatsoever. The Defendant
                 shall not return to the scene of the offense. The Defendant shall pay restitution for
                 all economic loss to all victims and/or their insurance companies, and/or MCAO
                 Victims Compensation Bureau , for all counts and / or events, including dismissed.
                 amended and/or uncharged counts or events, resulting from Phoenix Police
                  Department         Report     Numbers:  201800001948874;      201800001974137
                  201800002067788:                         201800002138498:
                                           201800002113476 ;                    201800002138598
                  201800002151503:                         201800002294671
                                           201800002269959 ;                :   201900000057909
                  201900000071303;         201900000004090;201900000005036:     201900000005562
                  201900000005631       201900000045909, and 201900000052444, including any
                  supplemental reports from these report numbers; MCSO Department Report
                  Numbers: 18035037 and 18036260, including any supplemental reports from these
                  report numbers: Tolleson Police Department Report Number: 181214044, including
                  any supplemental reports from this report number; Tempe Police Department
                  Report Numbers: 18142661; 18142664 ; and 18152554 , including any supplemental
                  reports from these report numbers: Avondale Police Department Report Numbers:
                  1854369, 1855366 , and 1858905, including any supplemental reports from these
                  report numbers ;    Peoria Police Department Report Numbers: 201800090751 ,
                  201900000192, and 201900000826 , including any supplemental reports from these
                  report numbers: Mesa Police Department Report Number: 20183400114, including
                  any supplemental reports from this report number;        and Goodyear Police
                  Department Report Number: 201847477 . including any supplemental reports from




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                                                                     STATE OF ARIZONA VS. SARiAH CHRISTINE BUSANI
                                                                                                 CR 2019 007275- 002
                                                                                                          -


                                                                                                 PLEA AGREEMENT

                    this report number , regardless of whether the loss was caused by the Defendant or
                    any accomplice .


                    The Defendant shall forfeit all interest in any weapons , ammunition, and any weapon
                    accessories seized in Phoenix Police Department Report Numbers:
                    201800001948874;      201800001974137;         201800002067788:    2018 QQQ 02113476
                    201800002138498 ;     201800002138598 ;        201800002151503 ;   201800002269959
                    201800002294671  ;    201900000057909:         201900000071303 ;   201900000004090
                    201900000005036 ; 201900000005562 ; 201900000005631 ; 201900000045909 , and
                    201900000052444, including any supplemental reports from these report numbers;
                    MCSO Department Report Numbers: 18035037 and 18036260, including any
                    supplemental reports from these report numbers; Tolleson Police Department
                    Report Number; 181214044, including any supplemental reports from this report
                    number; Tempe Police Department Report Numbers: 18142661; 18142664; and
                    18152554, including any supplemental reports from these report numbers;
                    Avondale Police Department Report Numbers: 1854369 , 1855366 , and 1858905,
                    including any supplemental reports from these report numbers ; Peoria Police
                    Department Report Numbers; 201800090751, 201900000192, and 201900000826 ,
                    including any supplemental reports from these report numbers; Mesa Police
                    Department Report Number: 20183400114, including any supplemental reports from
                    this report number; and Goodyear Police Department Report Number: 201847477,
                    including any supplemental reports from this report number .


                    This plea is contingent upon the Defendant ' s entry into , and the Court ’s acceptance
                    of, a plea agreement with the State in Maricopa County Superior Court Cause
                    Number: CR 2019-101931 ~002. The State shall be permitted to revoke and/or
                    withdraw from this plea agreement if the Defendant does not enter into, or either
                    party is permitted to withdraw from , or the Court rejects , a plea agreement with the
                    State in Maricopa County Superior Court Cause Number: CR2019 -1Q1932-001 .


S\*)   3.   The following charges and/or allegations are dismissed, or if not yet filed, shall not be brought against
            the Defendant by the Maricopa County Attorney ’ s Office:

                COUNT 2 and COUNT 128 ; Allegation of §13-702.02 multiple offenses/multiple counts .


Sfe    4. This agreement serves to amend the complaint , indictment , or information to charge the offense to
          which the Defendant pleads, without the filing of any additional pleading . However, if the plea is rejected
          by the court or withdrawn by either party, or if the conviction is subsequently reversed, the original
          charges and any charges that are dismissed by reason of this plea agreement are automatically
            reinstated.

       5.   If the Defendant is charged with a felony , she hereby waives and gives up her rights to a preliminary
            hearing or other probable cause determination on the charges to which she pleads. The Defendant
            agrees that this agreement shall not be binding on the State should the Defendant be charged with or



                                                              3
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                                                                                                   PLEA AGREEMENT

            commit a crime between the time of this agreement and the time for sentencing in this cause; nor shall
            this agreement be binding on the State until the State confirms all representations made by the
            Defendant and her attorney, to-wit: The Defendant avows that she has NO prior felony conviction,
            in any jurisdiction, under any name. The Defendant avows that she WAS NOT on felony release ,
            probation , parole , or community supervision, at the time of these offenses. The Defendant
            avows that she HAS NO other pending felony matters, in any jurisdiction , under any name ,
            EXCEPT for Maricopa County Superior Court Cause Number: CR2019-101931-002. Although the
            State may have agreed to dismiss or not file sentencing enhancement allegations under Paragraph 3 ,
            Defendant is advised that any dismissed allegation may be considered in aggravation of any sentence
            permissible under the plea agreement. If the Defendant fails to appear for sentencing, the court may
            disregard the stipulated sentence and impose any lawful sentence which is the same as or exceeds
            the stipulated sentence in the plea agreement. In the event the court rejects the plea, or either the State
            or the Defendant withdraws the plea, the Defendant hereby waives and gives up her right to a
            preliminary hearing or other probable cause determination on the original charges .

       6. Unless this plea is rejected by the court or withdrawn by either party , the Defendant hereby waives and
          gives up any and all motions, defenses, objections , or requests which she has made or raised , or could
          assert hereafter, to the court ' s entry of judgment against her and imposition of a sentence upon her
          consistent with this agreement. By entering this agreement , the Defendant further waives and gives up
            the right to appeal.


S \Q   7. The parties hereto fully and completely understand and agree that by entering into a plea agreement,
          the Defendant consents to judicial fact finding by preponderance of the evidence as to any aspect or
          enhancement of sentence and that any sentence either stipulated to or recommended herein in
          paragraph two is not binding on the court . In making the sentencing determination, the court is not
          bound by the rules of evidence. The State ’ s participation in this plea agreement is conditional upon the
          Court’s acceptance of its terms , conditions, or provisions. If after accepting this plea the court concludes
          that any of the plea agreement’s terms, conditions, or provisions regarding the sentence or any other
          aspect of this plea agreement are inappropriate, it can reject the plea. If the court decides to reject any
          of the plea agreement’s terms, conditions , or provisions, it must give both the State and the Defendant
          an opportunity to withdraw from the plea agreement. Should the Court reject this plea agreement, or
          the State withdraws from the agreement , the Defendant hereby waives all claims of double jeopardy
          and all original charges will automatically be reinstated. The Defendant in such case waives and gives
          up her right to a probable cause determination on the original charges.

SlO    8. If the court decides to reject the plea agreement provisions regarding sentencing and neither the State
          nor the Defendant elects to withdraw the plea agreement , then any sentence either stipulated to or
          recommended herein in paragraph 2 is not binding upon the court , and the court is bound only by the
          sentencing limits set forth in paragraph 1 and the applicable statutes .

       9.   This plea agreement in no way affects any forfeiture proceedings pursuant to A . R.S . §13-4301 et seq. ,
            §13-2314, or §32-1993 , if applicable, nor does the plea agreement in any way compromise or abrogate
            any civil actions, including actions pursuant to A. R.S . §13-2301 et seq. or §13- 4301 et seq. , or the
            provisions of A.R . S. §13-2314 or A.R . S. §13-4310 .




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                                                                     STATE OF ARIZONA VS. SARIAH CHRISTINE BUSANI
                                                                                                 CR 2019-007275-002
                                                                                                 PLEA AGREEMENT

      10. I understand that if I am not a citizen of the United States , or was not a citizen at the time of the
          commission of the offense to which I am pleading, that my decision to go to trial or enter into a plea
          agreement may have immigration consequences. Specifically , I understand that pleading guilty or no
          contest to a crime may affect my immigration status. Admitting guilt may result in deportation even if
          the charge is later dismissed. My plea or admission of guilt could result in my deportation or removal,
          could prevent me from ever being able to get legal status in the United States , or could prevent me
          from becoming a United States citizen. I understand that I am not required to disclose my legal status
           in the United States to the court .


  ^
S 7 11.1 have read and understand the provisions of this entire agreement. I have discussed the case and my
           constitutional rights with my lawyer. My lawyer has explained the nature of the charges and the
           elements of the crimes to which I am pleading. I understand that by pleading GUILTY I will be waiving
           and giving up my right to a determination of probable cause, to a trial by jury to determine guilt and to
           determine any fact used to impose a sentence within the range stated above in paragraph one, to
           confront, cross-examine, and compel the attendance of witnesses , to present evidence in my behalf,
           my right to remain silent, my privilege against self-incrimination, presumption of innocence and right to
           appeal. I agree to enter my plea as indicated above on the terms and conditions set forth herein. I fully
           understand that if, as part of this plea agreement , I am granted probation by the court , the terms and
           conditions thereof are subject to modification at any time during the period of probation. I understand
           that if l violate any of the written conditions of my probation, my probation may be terminated and I can
           be sentenced to any term or terms stated above in paragraph one, without limitation.

       I have personally and voluntarily placed my initials beside each of the above paragraphs and signed the
       signature line below to indicate that i read, or had read to me, understood and approved all of the previous
       paragraphs in this agreement, both individually and as a total binding agreement. My plea is voluntary and
       not the result of force , or threat , or promises other than those contained in the plea agreement.

       DO NOT SIGN THIS FORM UNLESS YOU HAVE READ IT COMPLETELY, OR HAD IT READ TO YOU
       AND UNDERSTAND IT FULLY .


        IV W 2.1
       Date
                               Defendant
                                                            RIAH CHRISTINE BUSANI



       I have discussed this case with my client in detail and advised my client of her constitutional rights and all
       possible defenses . I believe that the Defendant ' s plea is knowing , intelligent , and voluntary and that the
       plea and disposition are consistent with law .

        1 / i (! / i- j         Defense Counsel
       Date                                              Adrian Little, #025245

       I have reviewed this matter and concur that the plea and disposition set forth herein are appropriate and
       are in the interests of justice.




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                                                                                        CR 2019-007275-002
                                                                                        PLEA AGREEMENT

10/11/2021            Prosecutor
Date                                           Josh Maxwell, # 031585
                                               Deputy County Attorney



I have reviewed this matter and concur that the plea and disposition set forth herein are appropriate and
are in the interests of justice.

10/11/2021            Prosecutor                Qltecuu     ftwj
Date                                           Mitch Rand, #011951
                                               Deputy County Attorney




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                                 IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                                       IN AND FOR THE COUNTY OF MARICOPA

    THE STATE OF ARIZONA,
                                                                CR2019-007275-002
                Plaintiff ,

    vs.

    SARIAH CHRISTINE BUSANI
                                                                FACTUAL BASIS ADDENDUM
    DOB; 09 /21/1999
    Booking #: T519329

                Defendant.




The parties stipulate and agree to the following factual basis as reflected below:


    1. On or about and between November 2 , 2018 through and including January 12, 2019 , Defendant, Co-

            Defendants, and Jacob Michael Harris [collectively hereafter “ Mass Bandits ”] , conspired with each other to

            forcibly take money from people working at businesses throughout Maricopa County .


    2   ,   Mass Bandits agreed to assist each other in committing armed robberies of people working inside

            businesses within Maricopa County and Defendant intended to promote or assist in the commission of such

            conduct.


    3.      This conduct constitutes the crime of Armed Robbery in violation of Arizona Revised Statutes , §13-904.


    4. Mass Bandits specifically created a list of places to rob , facilitated access to weapons, specifically a

            handgun or handguns , facilitated access to vehicles, specifically a Mazda 6 and/or a Honda Passport ,

            and/or arrived at different businesses with each other inside the same vehicle, before an armed robbery

            occurred. [Count 1]




1M 2J
                                                                  ?



Date
                              Defendant
                                                     S    IAH CHRISTINE BUSANi
                                                                                  ML


       / R/h1                 Defense Counsel                         A
                                                            %
Date                                                 Adrian Little, #025245
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                                                        STATE OF ARIZONA VS. SARIAH CHRISTINE BUSANI
                                                                                    CR 2019-007275-002
                                                                           FACTUAL BASIS ADDENDUM


    10/ 11/2021      Prosecutor
    Date                              Josh Maxwell, # 031585
                                      Deputy County Attorney



    10/11/2021       Prosecutor
    Date                              Mitch Rand, #011951
                                      Deputy County Attorney




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    EXHIBIT 8
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                            In the Matter of:
                                    Harris

                                      vs

                              City of Phoenix



                             Kristopher Bertz

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·1· ·to testify on their own deployments, if need be, but the

·2· ·nomenclature, the usage thereof with the devices, and the

·3· ·safety considerations involved, as well as implementing the

·4· ·actual usage of either live bangs or, again, the training

·5· ·bangs that we have that are just a fuse that still goes

·6· ·through the actual manipulations of the device in a moving

·7· ·environment.

·8· ·BY MR. KNIGHT:

·9· · · ·Q.· ·So can you tell me, what is the purpose of a

10· ·flash-bang?

11· · · · · · · · ·MS. RETTS:· Form.· Foundation.

12· · · · · · · · ·THE WITNESS:· So there's -- there's actually

13· ·a few different ones, depending upon the context or the

14· ·environment in which it's being used, particularly within

15· ·for example hostage rescue to be utilized, utilizing,

16· ·again, the flash sound that fits within the flash sound

17· ·diversionary device that is to cause a temporary

18· ·distraction in the physiological impact.

19· · · · · · · · ·The device is capable of emitting about

20· ·2 million candela power bright light when it deflagrates.

21· ·And again, that's the key word, deflagrate, not detonate

22· ·because it is not a -- it is not a grenade.· It does not

23· ·burst.· It is just a deflagration of the powder that is

24· ·burning within coming through channel ports.

25· · · · · · · · ·The 2 million candela power about 170-decibel


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·1· ·sound and outside of 6 feet, which is kind of the

·2· ·deployment stand-off radius, it's less than a 1 psi rating.

·3· · · · · · · · ·Those things have a physiological and

·4· ·psychological impact.· The bright light can cause pupils to

·5· ·constrict, depending upon the lighting environment, as well

·6· ·as the sound.

·7· · · · · · · · ·Typically, the idea behind it is to get

·8· ·somebody who may be in a position to ambush or inflict

·9· ·serious physical injury on us to look away for a moment,

10· ·providing us an opportunity to make entry into a room or

11· ·structure to effect a rescue of a victim and obtain visual

12· ·of that victim, as well as the hostage taker.· Again,

13· ·that's just one context for it.

14· · · · · · · · ·Other aspects can be deployed or is trained

15· ·in is area denial.· The important factor with area denial,

16· ·though, is that, again, it's an intended use or an intended

17· ·result.

18· · · · · · · · ·However, the person that it's being utilized

19· ·to, would have an impact on still gets to stay, and it's

20· ·not something that is a 100 percent overwhelming factor

21· ·that prevents them.

22· · · · · · · · ·It's just meant to deter them from, perhaps,

23· ·you know, running to or moving to a specific area, for

24· ·example, you know, somebody running out of the back of the

25· ·house on a search warrant and a flash-bang being deployed


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·1· ·in the yard away from that person.· It's meant to have a

·2· ·psychological impact to deter them from running away from

·3· ·the house and instead obtain compliance of that subject.

·4· · · · · · · · ·And then the other aspect is any time an

·5· ·officer feels that the deployment or use thereof would

·6· ·increase the safety of the officer based on the tactic or

·7· ·the apprehension effort is for increased safety of the

·8· ·public while making an apprehension.

·9· · · · · · · · ·So again, it can be used to distract and

10· ·disorient as well as deter or deny movement to a certain

11· ·area.

12· ·BY MR. KNIGHT:

13· · · ·Q.· ·So I heard a number of important things.· These

14· ·devices that we are talking about -- to be clear, are we

15· ·talking about the same kind of devices that were deployed

16· ·on January 11, 2019?

17· · · ·A.· ·Yes.· Correct.

18· · · ·Q.· ·So they can be used to distract, right?

19· · · ·A.· ·Yes.

20· · · ·Q.· ·To disorient people?

21· · · ·A.· ·Yes.

22· · · ·Q.· ·They can be used to deter people from taking some

23· ·aggressive actions?

24· · · ·A.· ·Correct.

25· · · ·Q.· ·They can be used to deny people from also taking


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·1· ·"surreptitious."· That word has a negative connotation at

·2· ·times, but I didn't take it to mean that when you used it.

·3· · · · · · · · ·Is it -- it sounds to me like the reason you

·4· ·used that word is because that's kind of key when it comes

·5· ·to doing a vehicle jump, is getting that suspect by

·6· ·surprise.

·7· · · ·A.· ·That's correct.· Yeah.· It's the ability to

·8· ·position your vehicle blending in with the natural flow of

·9· ·traffic based on traffic conditions around them without

10· ·drawing attention to kind of the impending apprehension

11· ·that's going to take place.

12· · · ·Q.· ·That's essentially what happened in this case,

13· ·isn't it?· This was very much like a street jump in your

14· ·opinion?

15· · · · · · · · ·MS. RETTS:· Form.

16· · · · · · · · ·THE WITNESS:· I would -- I would disagree

17· ·with you there.· I would say that the element of surprise

18· ·may have been the similarity; however, the tactic in and of

19· ·itself is vastly different.

20· · · · · · · · ·The issue that existed that evening that the

21· ·incident took place is this was very late at night, pretty

22· ·much the middle of the night.

23· · · · · · · · ·Traffic conditions on the roadway were

24· ·extremely light, so having the ability or opportunity to

25· ·be -- to position around a vehicle like that without


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·1· ·drawing attention considering, you know, other than just a

·2· ·few other cars on the roadway, and most of what was on in

·3· ·the area at the time were various elements of police

·4· ·department, you know, being the surveillance guys from

·5· ·street crimes or the special assignments unit officers and

·6· ·their vehicles.

·7· · · · · · · · ·So trying to achieve a street jump, one, as I

·8· ·described earlier, in the immediate aftermath when kind of

·9· ·the alertness is high, maybe the adrenaline is high on

10· ·behalf of the suspect having just committed a fresh crime,

11· ·as well as the right traffic conditions, makes it very

12· ·difficult to achieve the ideal setup for what a street jump

13· ·would provide.

14· · · · · · · · ·While it is our preferred method when it's

15· ·feasible or when the conditions are right, it is not always

16· ·feasible, especially in this circumstance.· So instead,

17· ·that's why we utilized the grappler device, which is a

18· ·tactic in and of itself.

19· ·BY MR. KNIGHT:

20· · · ·Q.· ·So I'm not trying to jam you up on this.· I'm just

21· ·trying to establish what I think you agree with me on, that

22· ·the goal here was to stop this vehicle quickly and by

23· ·surprise without them knowing that there were officers

24· ·following them.

25· · · · · · · · ·Is that a fair assessment?


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·1· ·BY MR. KNIGHT:

·2· · · ·Q.· ·Okay.· But you always knew it was possible you

·3· ·were going to have to stop the vehicle afterward?

·4· · · ·A.· ·Yes.· The idea from the get-go, as I stated

·5· ·earlier, was that while -- while it was permitted that, you

·6· ·know, if they were to do an armed robbery, based on what we

·7· ·knew at the time that it would happen, that in and of

·8· ·itself would solidify the investigator's probable cause

·9· ·related to this investigation; and that we would then

10· ·intervene on the roadway to prevent them from getting to a

11· ·second location where they may do a second robbery.

12· · · · · · · · ·Again, this being based on information we

13· ·received from investigators that there were past incidents

14· ·of multiple hits occurring in the same -- same evening.

15· · · ·Q.· ·So you knew basically from the outset that if

16· ·that's how things went, if you determined the conditions

17· ·were not right to stop them at the Whataburger and there

18· ·was a robbery at the Whataburger, if those things happened,

19· ·then you might have to effectuate the vehicle stop.· In

20· ·fact, probably had to effect the vehicle stop before they

21· ·got anywhere else, correct?

22· · · ·A.· ·Yes.· Correct.

23· · · ·Q.· ·And with respect to that possibility, which

24· ·ultimately turned out to be what happened, were you always

25· ·aware that using the grappler was probably the safest


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·1· ·occupants who might be on the road.

·2· · · · · · · · ·No matter how heavy or light traffic is, that

·3· ·becomes a matter of -- of opportunity, I guess, wrong

·4· ·place, wrong time, trying to navigate intersections while

·5· ·speeding, initiating turns, running through a red light,

·6· ·the common things that we see when a vehicle flees from a

·7· ·traffic stop.· So that takes traffic stop off the table.

·8· · · · · · · · ·So the first priority in that is the public

·9· ·safety side.· By utilizing the grappler, it eliminates the

10· ·vehicle's ability to then become a mechanism of harm by

11· ·giving them -- or eliminating the opportunity for them to

12· ·flee in the vehicle when that vehicle can no longer be the

13· ·mechanism that causes harm to potentially somebody else

14· ·trying to go through a green light on an intersection while

15· ·somebody panics and actively flees in a vehicle from us had

16· ·we just initiated a traffic stop.

17· · · · · · · · ·So from the public safety standpoint of

18· ·protecting others, yeah, the grappler prevents the vehicle

19· ·from fleeing.· It eliminates the vehicle aspect in its

20· ·mobility.

21· · · · · · · · ·The street jump in and of itself, we choose

22· ·the conditions in terms of where to initiate.· And

23· ·typically when I talk about other traffic on the roadway,

24· ·you know, having a moderate amount allows for us to kind of

25· ·blend in with other vehicles until we are able to have


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·1· ·the grappler -- I mean, to provide context, I think it's

·2· ·important that we go back a little further than that in

·3· ·terms of context here.

·4· ·BY MR. KNIGHT:

·5· · · ·Q.· ·Be my guest.

·6· · · ·A.· ·So this is a surveillance operation that began

·7· ·several hours earlier in the evening.· I want to say

·8· ·sometime between 5:00 and 6:00 p.m. is when this initially

·9· ·began.

10· · · · · · · · ·So there was several hours prior to even the

11· ·incident at Whataburger taking place where surveillance was

12· ·being conducted.

13· · · ·Q.· ·Uh-huh.

14· · · ·A.· ·During that time, to paraphrase -- or summarize

15· ·some of it, most of my knowledge and situational awareness

16· ·are things that are being communicated over the radio from

17· ·the surveillance entities.

18· · · · · · · · ·Oftentimes, those guys are the ones that are

19· ·kind of the surveillance experts, so we -- we hang back and

20· ·are not as intimately involved in the ongoing surveillance

21· ·on the investigative side.

22· · · · · · · · ·Our surveillance aspect typically is

23· ·transitioned when it comes to surveilling in the direction

24· ·that leads to an apprehension, so watching long enough that

25· ·we can set up our tactics for the apprehension.


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·1· · · · · · · · ·So during this time, communications that are

·2· ·coming over the radio throughout the evening through the

·3· ·observations of the detectives as they watched the

·4· ·individuals that were involved that night, was that -- that

·5· ·as they traveled around there were numerous times where

·6· ·they would be stopped or in a parking lot.

·7· · · · · · · · ·Firearms were seen.· I believe firearms were

·8· ·photographed.· And eventually after following them around

·9· ·for several hours, they went back to an apartment complex

10· ·that I want to say is somewhere in the vicinity of Olive

11· ·and -- I don't remember if it's 59th or 67th Avenue -- but

12· ·somewhere kind of in the Glendale area.

13· · · · · · · · ·It was an apartment complex where they

14· ·stopped.· And the subjects were described as going into

15· ·apartments, and when they returned they were -- they had

16· ·changed clothes somewhat and they put on hooded

17· ·sweatshirts.

18· · · · · · · · ·Once they got back into the vehicle --

19· ·actually, I'm sorry.· During that time --

20· · · · · · · · ·MR. KNIGHT:· Sorry to interrupt you.· My dogs

21· ·are about to freak out.· There is a package coming.· Give

22· ·me just one second.· I will be right back.

23· · · · · · · · ·(Discussion off the record.)

24· ·BY MR. KNIGHT:

25· · · ·Q.· ·You were telling me in your words what happened,


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·1· ·and I believe you had just gotten to the point where they

·2· ·had gone to an apartment and changed into hooded

·3· ·sweatshirts.

·4· · · ·A.· ·Correct.· So again, the foundation and the

·5· ·information that we had when we were kind of called and

·6· ·requested to come assist with this investigation was that

·7· ·the group of individuals that were being -- that were under

·8· ·surveillance were suspected to be involved in upwards of 26

·9· ·armed robberies over the past several weeks or months, to

10· ·include, I believe, convenience stores like Circle K types,

11· ·I think a cell phone store, several cell phone stores.

12· · · · · · · · ·And as I recall, one of the more recent

13· ·robberies being investigated was at a Whataburger where

14· ·they had obtained a more substantial amount of money on

15· ·that robbery.

16· · · · · · · · ·So that's kind of what got us involved to

17· ·begin with.· That's what we were told was being

18· ·investigated.

19· · · · · · · · ·So then again, from there forward, it's just

20· ·kind of the observations from the surveillance component as

21· ·the night carried on.

22· · · · · · · · ·So at the point that they had changed their

23· ·sweatshirts and gotten back in the vehicle, we were told

24· ·that there were three male subjects and a female driver in

25· ·that SUV.


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·1· · · · · · · · ·I believe the first stop that they made when

·2· ·they left there, the first one that I recall, is they

·3· ·traveled to a Whataburger at the I-17 and Bethany Home

·4· ·Road.· That Whataburger is just on the east side of I-17

·5· ·and, I believe, the north side of Bethany Home Road.

·6· · · · · · · · ·They parked in a parking lot near a

·7· ·Whataburger and sat for a short period of time.· I don't

·8· ·believe they ever got out of their vehicle there.

·9· · · · · · · · ·But then they left that location, and the

10· ·vehicle again traveled north on the 17, westbound in the

11· ·Loop 101, and I believe they exited, I believe, it's Bell

12· ·Road where there's another, I believe, Whataburger just

13· ·west of the 101 at Bell.

14· · · · · · · · ·Again, to the best of my recollection, I

15· ·think at this location they -- they maybe stopped across

16· ·the street or parked nearby at a different business and,

17· ·again, surveillance continued to monitor and watch, but no

18· ·activities happened at that Whataburger.

19· · · · · · · · ·After a short time, they got back on the road

20· ·in the same vehicle, same occupants, and that's when they

21· ·traveled to the Whataburger at Dysart and Van Buren on the

22· ·southwest corner there.

23· · · · · · · · ·This Whataburger they stayed at for several

24· ·hours.· Surveillance continued to monitor the individuals

25· ·in the car.


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·1· · · ·Q.· ·Can I ask a brief intervening question before you

·2· ·continue?

·3· · · ·A.· ·Absolutely, sir.

·4· · · ·Q.· ·Are all of the things that you have been talking

·5· ·about things that you witnessed yourself, or are you

·6· ·summarizing knowledge of the investigation from what you

·7· ·have heard from your colleagues who did more work on the

·8· ·surveillance as you said?

·9· · · · · · · · ·MS. RETTS:· Form.

10· · · · · · · · ·THE WITNESS:· As I have stated earlier, a lot

11· ·of this communication is being relayed over the radio.

12· ·However, the special assignments unit members, myself

13· ·included, were nearby at all times.

14· · · · · · · · ·So that at each location I drove by and

15· ·visibly saw them at these locations as described over the

16· ·radio, but was not necessarily what we call the eye

17· ·observing the ongoing behaviors at each location, but would

18· ·drive by.

19· · · · · · · · ·Essentially because every time they stopped,

20· ·again, based on patterns and what we knew from previous

21· ·robberies, and the fact that this vehicle is now traveling

22· ·to numerous Whataburgers, we were assessing every time they

23· ·stopped at a Whataburger kind of what it looked like and

24· ·having to evolve or continuously develop a plan, a tactical

25· ·plan, should a robbery actually take place at these.


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·1· · · · · · · · ·So I would say it's a combination of a little

·2· ·bit of both.· I did drive by at each of these locations,

·3· ·and I was part of the rolling surveillance at times, but a

·4· ·lot of this is, you know, coming from surveillance entities

·5· ·and our fixed-wing aircraft who is calling out things that

·6· ·are happening a mere quarter mile in front of you.

·7· ·BY MR. KNIGHT:

·8· · · ·Q.· ·I understand.· And I understand all of that was

·9· ·going on for quite some time, right?

10· · · ·A.· ·Correct.

11· · · ·Q.· ·My understanding is that the pilots even had to

12· ·get FAA approval to exceed recommended flight hours to stay

13· ·in the air by the end of it.

14· · · · · · · · ·Are you aware of that?

15· · · · · · · · ·MS. RETTS:· Form and foundation.

16· · · · · · · · ·THE WITNESS:· No.

17· ·BY MR. KNIGHT:

18· · · ·Q.· ·Either way, assuming that's true -- I have no

19· ·reason to believe that they weren't being truthful when we

20· ·learned that information -- this has gone on for all day

21· ·basically.

22· · · · · · · · ·MS. RETTS:· Form.

23· ·BY MR. KNIGHT:

24· · · ·Q.· ·Right?

25· · · ·A.· ·Like I stated earlier, I don't know how long they


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·1· ·had done the surveillance part and us becoming involved.               I

·2· ·know that our involvement -- the request for us to join and

·3· ·come get into the area was somewhere between 5:00 and

·4· ·6:00 p.m. in the evening.

·5· · · ·Q.· ·Thank you.

·6· · · · · · · · ·So as we are getting here into the critical

·7· ·moments of what happened where you were definitely

·8· ·involved, let me ask you to please just be very clear as

·9· ·you're summarizing this.

10· · · · · · · · ·Are you telling me the things you saw,

11· ·observed, and participated in, or are you summarizing your

12· ·understanding of events from other people?

13· · · · · · · · ·For example, you mentioned before about Jacob

14· ·being seen with a gun at the Whataburger, but I'm pretty

15· ·sure you have testified at previous interviews that you

16· ·personally did not see the gun at the Whataburger, correct?

17· · · · · · · · ·MS. RETTS:· Form.

18· · · · · · · · ·THE WITNESS:· Help me recall when I stated

19· ·today that I saw Jacob at the Whataburger with a gun.

20· ·BY MR. KNIGHT:

21· · · ·Q.· ·You know, you might have actually -- now that you

22· ·say that, it's refreshed my memory.· You might have

23· ·actually said that you saw them with guns at one of the

24· ·apartments maybe before they changed clothes.· I think I'm

25· ·remembering it correctly what I said.


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·1· · · · · · · · ·So again, that's my confusion.· But things

·2· ·like that -- and I also believe -- correct me if I'm

·3· ·wrong -- that Jacob also went home and changed clothes at

·4· ·his house, which is on 27th Avenue and Bethany Home, and

·5· ·that must have happened before where we are in the

·6· ·timeline.

·7· · · · · · · · ·Were you aware of that?

·8· · · ·A.· ·Again, trying to recall from everywhere that that

·9· ·surveillance led that night, I cannot recall every location

10· ·that they stopped at, whether it was an apartment or to

11· ·hang out.

12· · · · · · · · ·I do remember more specifically the one that

13· ·I believe was over near Olive that I'm trying to recall and

14· ·one liquor store.

15· · · · · · · · ·But other than that, again, it was such a

16· ·long duration of time that I can't recollect every single

17· ·stop that they made.

18· · · ·Q.· ·Okay.· So that's just what I want to understand.

19· ·This is a relatively lengthy period of time that you were

20· ·involved and the investigation was happening before that

21· ·also, correct?

22· · · ·A.· ·Correct.

23· · · ·Q.· ·So as we go forward with these critical moments,

24· ·let me just ask you to try to be clear so that we can be

25· ·efficient with time if you're telling me something that you


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·1· ·did not see yourself, that you're getting that from some

·2· ·other source of information.· Okay?

·3· · · ·A.· ·Okay.· Yep.· Understood.

·4· · · · · · · · ·So yeah, now we are at the Whataburger at

·5· ·Dysart and Van Buren.· Initially -- again, most of this is

·6· ·just communications from the surveillance and the

·7· ·fixed-wing aerial surveillance that's being communicated

·8· ·out.

·9· · · · · · · · ·But several times during -- over the next

10· ·couple hours, the occupants of the vehicle would get out,

11· ·pull their hoods up, get back in the vehicle, indicating

12· ·that, you know, perhaps an imminent robbery was -- was in

13· ·preparation to take place.

14· · · · · · · · ·That being said, as I described earlier, one

15· ·of the -- part of the tactical plan was that there would be

16· ·SAU officers in that parking lot in the event that they

17· ·needed to respond to preserve life inside of that

18· ·Whataburger, as well as to evaluate whether or not an

19· ·apprehension could be conducted in that parking lot

20· ·depending on where the vehicle was.· Obviously, that did

21· ·not take place.

22· · · · · · · · ·I initially was in the parking lot at a site

23· ·to the south of the Whataburger.· It's a pretty large

24· ·shopping center.

25· · · · · · · · ·And at one point, I decided that because of


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·1· ·the number of officers that were in that area I

·2· ·repositioned north on Dysart near -- I think it's a Home

·3· ·Depot or a Walmart that's on the northeast corner there of

·4· ·that intersection -- and that took place as the occupants

·5· ·of the vehicle began to exit and move towards the

·6· ·Whataburger.

·7· · · · · · · · ·So again, this next portion is what's being

·8· ·described over the radio, but it paints a pretty vivid

·9· ·picture of what transpired at the Whataburger.· This is all

10· ·being communicated in real time over the radio.

11· · · · · · · · ·So two of the subjects that had gotten out of

12· ·the vehicle eventually went up to the drive-thru window.

13· · · · · · · · ·And I believe there was a pickup truck or a

14· ·vehicle in the drive-thru, and it was described by

15· ·surveillance that they were kind of shooed away, kind of

16· ·told to leave, by -- again, specifically unknown as far as

17· ·whether it was Jacob Harris or Mr. Triplett or which of the

18· ·occupants of the vehicle which are the subjects involved.

19· · · · · · · · ·But that vehicle was shooed away.· And then

20· ·surveillance said that they were pointing a gun at the

21· ·drive-thru clerk of the Whataburger, and eventually climbed

22· ·through that window and went over to the other side of the

23· ·store and unlocked the door for the third member of their

24· ·little crew, third subject, to enter through the main doors

25· ·because the doors had been locked a short time prior to the


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·1· ·incident unfolding at the Whataburger.

·2· · · · · · · · ·Surveillance continues to give real-time

·3· ·information that the subjects inside the Whataburger are

·4· ·pointing guns at the clerk at the cash register and going

·5· ·through the cash register, and another subject is pointing

·6· ·the gun at another employee and directing them towards or

·7· ·walking them into an office area, kind of like a back

·8· ·office, maybe a manager's office.

·9· · · · · · · · ·But they are being directed at gunpoint,

10· ·essentially with guns pointed at them, to allow them into

11· ·the office as well as to open the cash register.

12· · · · · · · · ·After that, the subjects all come out of the

13· ·store.· The vehicle driven by the female had already begun

14· ·to move through the parking lot in the direction of the

15· ·exit, I believe, onto Van Buren, which is kind of the north

16· ·end of that parking lot.

17· · · · · · · · ·Obviously, with the vehicle already being in

18· ·motion, that -- that eliminated any opportunity that may

19· ·have presented itself to conduct an apprehension in the

20· ·parking lot, so we transitioned to kind of our game plan of

21· ·assessing for how to deal with this vehicle on the roadway.

22· · · · · · · · ·Being that I was already positioned to the

23· ·north, the vehicle went east on Van Buren and immediately

24· ·north on Dysart toward the I-10 freeway.· As it passed me,

25· ·I pulled out of the parking lot and kind of naturally fell


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·1· ·in behind at that time kind of the lead following

·2· ·surveillance vehicle.· We traveled eastbound on the I-10

·3· ·before transitioning to the northbound 101.

·4· · · · · · · · ·As previously discussed going through some of

·5· ·the transcripts and what-have you, the tactical plan was

·6· ·evolving towards how to conduct our apprehension in the

·7· ·roadway, leaning towards the direction of utilization of

·8· ·the grappler to capture this vehicle.

·9· · · · · · · · ·The vehicle ends up exiting at Camelback Road

10· ·and turns eastbound, and momentarily we have a red light at

11· ·I believe it was 95th, 96th Avenue, somewhere in there,

12· ·before turning green and allowing us to proceed eastbound

13· ·on Camelback again.

14· · · · · · · · ·At this point, I began communicating to

15· ·Officer Norman.· Again, we had decided that the grappler

16· ·was going to be the tactic utilized.· I began communicating

17· ·the pertinent information to Officer Norman at this time.

18· · · · · · · · ·And again, mind you, the protocols for our

19· ·surveillance is that oftentimes while following a vehicle,

20· ·depending upon what assets are available, in this case the

21· ·aerial surveillance platform, we are juggling and jockeying

22· ·for radio time in terms of putting out information.

23· · · · · · · · ·The primary surveillance is still being held

24· ·by the air unit, even though I am the lead vehicle in terms

25· ·of following the suspect vehicle.· The air unit is calling


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·1· · · · · · · · ·But that possibility always exists, that if

·2· ·they make a series of turns, that I will continue in my

·3· ·direction so that it doesn't give the appearance that they

·4· ·are being followed.

·5· · · · · · · · ·So some of my individual planning is kind of

·6· ·taking place moment by moment as things unfold to include

·7· ·the deployment of the flash-bang once it became apparent

·8· ·that I was going to be Officer Norman's blocking vehicle

·9· ·and have to move over and block that civilian for their

10· ·protection during the apprehension.

11· · · · · · · · ·So as Officer Norman effectively captures the

12· ·rear tire of that vehicle, I could see that it was a

13· ·successful grapple.

14· · · · · · · · ·And as that vehicle comes to a stop and I'm

15· ·attempting to come to a stop as well, I deployed that

16· ·flash-bang from my driver's side window over the hood of my

17· ·car which put it off to the south, or passenger side of the

18· ·SUV occupied by the three suspects that were involved and

19· ·including the driver, so it was on the passenger side of

20· ·that vehicle.

21· · · · · · · · ·As I deployed it, I am also having to get my

22· ·vehicle into park, open my door and acquire my rifle.

23· ·While this is happening, I'm looking through my window that

24· ·was, you know, unobscured by anything.

25· · · · · · · · ·And as that vehicle is coming to a stop, I


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·1· ·can see the rear passenger side door beginning to open.· As

·2· ·that door comes open, my flash-bang is going off within

·3· ·those same few seconds or those same moments.

·4· · · · · · · · ·My flash-bang goes off, and I'm beginning to

·5· ·try and exit my vehicle to get between -- get at least out

·6· ·and get feet on the ground.

·7· · · · · · · · ·When that back rear passenger door opens, the

·8· ·first thing that presents itself from that door is a

·9· ·semiautomatic firearm being held in the right hand of the

10· ·occupant seated or now exiting the backseat of that

11· ·vehicle.

12· · · · · · · · ·That firearm comes out of the vehicle and

13· ·swings back towards my direction where I'm at, which is

14· ·again off to the south and west of where their final stop

15· ·location was.

16· · · · · · · · ·And at that time, again, several things are

17· ·going through my mind, several things are being processed,

18· ·the location at which we decided to make the grapple, the

19· ·geographic location, you know, a school to the north that

20· ·at these hours, this time of night shouldn't be occupied, a

21· ·small field to the south, but still a residential

22· ·neighborhood nearby, as well as a Circle K just to the --

23· ·excuse me -- to the east of us.

24· · · · · · · · ·All these considerations are playing out and

25· ·starting to come through my mind in terms of my response to


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·1· ·what happens with the level of noncompliance upon the stop

·2· ·if the grappler is successful.

·3· · · · · · · · ·That being said, as the subject exits the

·4· ·vehicle -- and again, just to clarify, I used the word

·5· ·subject.

·6· · · · · · · · ·Obviously, in hindsight, I know that it ends

·7· ·up being Jacob Harris.· However, at the moment I didn't

·8· ·know which of the three was seated in which position and

·9· ·was exiting the vehicle.· It was a male subject with a

10· ·semiautomatic firearm in his right hand.

11· · · · · · · · ·Based on the seating position from

12· ·surveillance of who got out and got back in, it closely

13· ·resembled the seating position of all three subjects that

14· ·were involved in the robbery at the Whataburger as

15· ·described by the air unit in their surveillance as well as

16· ·the ground surveillance teams.

17· · · · · · · · ·So it was very obvious that this was one of

18· ·the subjects that had just participated in the armed

19· ·robbery.

20· · · · · · · · ·As that subject gets out and I identify that

21· ·weapon being pointed back towards me, I raised my rifle and

22· ·that subject begins to traverse in kind of a southeasterly

23· ·direction across Camelback, which I believe there's one

24· ·lane -- the curb lane because they were in the center line

25· ·prior to the grappler somewhat manipulating their vehicle.


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·1· · · · · · · · ·As that subject starts to traverse across the

·2· ·street, I had acquired my picture, my site picture.

·3· · · · · · · · ·And again, in fearing for my safety and the

·4· ·safety of the officers based on the mannerisms and the

·5· ·firearm, and also in conjunction with this subject running

·6· ·across the road and in the direction of Circle K, which at

·7· ·that time is occupied by a clerk working the counter,

·8· ·because it was obvious that it was open, as well as

·9· ·vehicles at the gas pumps with customers filling up their

10· ·vehicles, it was very apparent to me that both myself as

11· ·well as these people based on the actions taken by who

12· ·ended up being Jacob Harris -- his actions put them in --

13· ·in imminent threat of deadly bodily harm and to include

14· ·myself.

15· · · · · · · · ·My level of thinking on this, and my

16· ·decision-making on this is supported both by Arizona

17· ·Revised Statute 13-409 and 410 as well as Phoenix Police

18· ·Department policy, which states that an officer can use

19· ·deadly force to defend themselves or a third party against

20· ·a threat or use of a deadly weapon or serious -- when

21· ·there's risk of physical injury, which is in compliance

22· ·with A.R.S. 13-410.

23· · · · · · · · ·And both 13-410 and department policy also

24· ·state that it can be used to prevent escape of a subject

25· ·who the officer has probable cause to believe has committed


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·1· ·a crime involving the use or threatened use of a deadly

·2· ·weapon, and as well as fitting -- you know, what case law

·3· ·has also allowed officers -- what a reasonable officer

·4· ·believes.

·5· · · · · · · · ·In terms of Graham v. Connor, when you

·6· ·evaluate the severity of the crime, armed robbery, now

·7· ·armed robbery times 27, after watching this one go down,

·8· ·the level of threat toward officers or the public, which in

·9· ·this case both myself I felt threatened as well as saw

10· ·that, again, the public with the direction that Jacob

11· ·Harris was running, these individuals that were at the gas

12· ·station, without decisive action, without immediate

13· ·apprehension, are at risk of potential serious physical

14· ·injury, as well as the attempts to resist arrest or flee,

15· ·which as I already articulated, is what took place.

16· · · ·Q.· ·Officer Bertz?

17· · · ·A.· ·Yup.

18· · · ·Q.· ·May I briefly interject?· We are short on time.

19· ·Ms. Retts is going to have an opportunity to ask you

20· ·additional questions.

21· · · · · · · · ·You are obviously well prepared and you're

22· ·well educated on the applicable law.· You have made the

23· ·reasons for your decisions abundantly clear.

24· · · · · · · · ·I need to ask you some follow-up questions.

25· · · · · · · · ·So briefly it's my understanding that you


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·1· ·the course of these robberies.

·2· · · · · · · · ·And all the picture I am trying to paint is

·3· ·that whether it's a clerk inside the Circle K or whether

·4· ·it's a customer at the pumps, the behavior exhibited of

·5· ·exiting a vehicle with a gun and running towards that

·6· ·business that's open, all of those people, be it the clerk

·7· ·or the customers, are all in imminent danger of serious

·8· ·bodily harm based on the behavior that was observed both by

·9· ·myself as well as other officers and was described over the

10· ·radio throughout the event of the evening, specifically the

11· ·robbery itself.

12· · · · · · · · ·That pattern of behavior, much as, you know,

13· ·A.R.S. spells out, that pattern of behavior of the officers

14· ·known at the time gives me further reason to believe that

15· ·he will -- he took that gun for a reason and ran towards

16· ·that Circle K to use it as a tool to effect his escape, be

17· ·it through holding a clerk hostage or by stealing another

18· ·car to support his, you know, ability to flee, or even a

19· ·carjacking where force or the threat of force is used with

20· ·the weapon that he did exit the car with running towards

21· ·that Circle K.

22· ·BY MR. KNIGHT:

23· · · ·Q.· ·There is no way we are going to finish today if we

24· ·can't try to -- I understand your justifications.· You have

25· ·explained them repeatedly.


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·1· ·specifically said earlier -- 27 previous armed robberies

·2· ·before the Whataburger incident.· You tend to believe that,

·3· ·right?

·4· · · ·A.· ·So I believe what I said earlier was 26, and then

·5· ·at the time that I said 27, that was in my description of

·6· ·the events after the robbery had taken place.· That became

·7· ·to my knowledge at the time the 27th robbery.

·8· · · · · · · · ·To clarify what you're speaking about, having

·9· ·knowledge as to them being involved, again, we lean very

10· ·heavily on our investigative details to provide that

11· ·clarity on whether or not there's probable cause to believe

12· ·that somebody was involved, or if there is probable cause

13· ·to arrest an individual versus having bits and pieces of

14· ·investigative information that lead those very capable

15· ·street crimes detectives to locate potential subjects that

16· ·may possibly be involved.

17· · · · · · · · ·Hence, the reason that -- again, above my

18· ·level, above my pay grade -- between the investigators and

19· ·supervisors and those decisions that are made to allow a

20· ·robbery to happen, that planning aspect was deemed, to my

21· ·understanding, based on the fact that we did not have

22· ·probable cause or sufficient evidence at the moment before

23· ·the robbery to effect an actual arrest.

24· · · · · · · · ·So therefore, again, they had made the

25· ·decision to allow that to happen.· And being that it was


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·1· ·watched and observed, that provided the probable cause to

·2· ·put those pieces all together to confirm, perhaps, a

·3· ·reasonable suspicion that they were involved and,

·4· ·therefore, is what allowed us to move forward with an

·5· ·apprehension effort.

·6· · · ·Q.· ·You personally --

·7· · · · · · · · ·MS. RETTS:· Sorry.· I have gone past the

·8· ·5:30.· I need to confirm arrangements.· I have to take a

·9· ·break.

10· · · · · · · · ·MR. KNIGHT:· Can I finish this last question

11· ·that I just started?

12· · · · · · · · ·MS. RETTS:· Yes, if it can be brief.

13· · · · · · · · ·MR. KNIGHT:· It should be quick.· It's a

14· ·quick circle back.

15· ·BY MR. KNIGHT:

16· · · ·Q.· ·Do you personally believe that they were fleeing

17· ·the scene of the Whataburger robbery with all the context

18· ·we have in front of us, or is it too subjective for you to

19· ·say?

20· · · · · · · · ·MS. RETTS:· Form.

21· · · · · · · · ·THE WITNESS:· I would say with the vehicle

22· ·aspect and how they were driving, again, I think it's very

23· ·subjective to say.

24· · · · · · · · ·I would lean towards they are still fleeing

25· ·the scene based on, as I described earlier, no other stops


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·1· · · ·A.· ·Correct.

·2· · · ·Q.· ·Okay.· So to reiterate, the primary purpose was to

·3· ·give yourself and your fellow officers time.· Denial.

·4· ·Right?

·5· · · · · · · · ·MS. RETTS:· Foundation.

·6· · · · · · · · ·It's not what it said.

·7· · · · · · · · ·THE WITNESS:· I'm pretty sure I clearly said

·8· ·it was dual purpose and the word "also."· Perhaps my -- my

·9· ·articulation of -- of what their behavior was is not as --

10· ·is not -- was not provided with as much clarity as I am

11· ·today.

12· · · · · · · · ·But, again, remaining hunkered down inside

13· ·the vehicle is a result of them complying and being denied

14· ·an area of flight outside.· That clearly is not what

15· ·happened, but I -- I felt like it was pretty clear that I

16· ·said "dual purpose."

17· · · · · · · · ·Again, my articulation of keeping them

18· ·hunkered inside the vehicle, them hunkering down would be

19· ·them submitting to the effects of what that flash-bang was,

20· ·which I clearly articulated did not achieve the result that

21· ·it was intended to use.· Because, again, it's not the magic

22· ·wand.· It's just -- it's a tool that can have those effects

23· ·and can be utilized to achieve those effects, but isn't

24· ·necessarily 100 percent guaranteed to have those desired

25· ·effects.


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·1· · · · · · · · ·Again, various things come into there.

·2· ·Influence of, you know, various substances, conditioning

·3· ·from prior exposure, be it, you know, incarceration or

·4· ·military.· Any number of things can play into that factor.

·5· ·I can't speak to, you know, an individual's inability, but

·6· ·I've clearly stated throughout the day that it is not a

·7· ·guaranteed effect.· It is an intended use.

·8· · · · · · · · ·And just like my Department Policy 1.5

·9· ·states, de-escalation, it's not an action.· It's a result.

10· ·And it's a result based on the intent of the officers to

11· ·safely resolve a situation.· However, the subject that

12· ·is -- you know, the suspect has a say.· They have a vote

13· ·that helps dictate or drive the direction of what tactics

14· ·or tools are used to achieve that de-escalation.

15· · · · · · · · ·My utilization of that flash-bang was an

16· ·attempt with the intent to safely resolve this for

17· ·everybody involved, including the four that were inside the

18· ·vehicle at the time.· When one decided and dictated and

19· ·took a vote not to comply or submit, that is their action,

20· ·their decision.· And my response to that, as I've already

21· ·stated, is what unfolded afterwards.

22· ·BY MR. KNIGHT:

23· · · ·Q.· ·Thank you.

24· · · · · · · · ·Ballpark, if you can, I'm assuming more than

25· ·100, could be wrong, but how many times in your career have


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·1· ·that flash-bang was going off before the gun, but at the

·2· ·same time as the door was coming open.

·3· · · ·Q.· ·Okay.· I'm summarizing for -- for time purposes

·4· ·from your first and second interview, but this is

·5· ·essentially your testimony both today and in those

·6· ·interviews.· I'm going to ask one at a time yes or no

·7· ·questions.· Please interject if you need to clarify or

·8· ·correct me.

·9· · · · · · · · ·You saw the gun in his hand, his right hand.

10· ·Correct?

11· · · ·A.· ·Yes.

12· · · ·Q.· ·And you saw him make a deliberate movement as he

13· ·turned back toward you and Officer Norman.· Correct?

14· · · · · · · · ·MS. RETTS:· Form.

15· · · · · · · · ·THE WITNESS:· Correct.· But you're missing

16· ·a -- a captured point in time between those two events.

17· ·BY MR. KNIGHT:

18· · · ·Q.· ·Is that where you see him looking after crossing

19· ·one of the lanes of traffic?

20· · · ·A.· ·No.· It's immediately as he's exiting the vehicle.

21· · · ·Q.· ·Okay.· What happened immediately as he exited that

22· ·I missed?

23· · · ·A.· ·So it's important to understand that, again, doors

24· ·on vehicles don't -- don't typically open 90 degrees.· The

25· ·positioning of the vehicle and where it came to rest after


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·1· ·the grappler was slightly favoring a northeaster direct --

·2· ·easterly direction.· Because when the grappler captured the

·3· ·rear driver's side tire, it essentially locked up that side

·4· ·of the vehicle and the inertia of that vehicle somewhat

·5· ·pivots around that fulcrum, which is that rear driver's

·6· ·side tire.· That's where all the retention is.· So the

·7· ·forward momentum, the inertia somewhat repositioned that

·8· ·vehicle when it came to a final rest in a slightly

·9· ·northeasterly direction.

10· · · · · · · · ·I am to the south and west of that vehicle,

11· ·as you stated, by approximately 10 feet.· With a door that

12· ·doesn't open 90 degrees, and a vehicle that is slightly

13· ·pared off with the rear right bumper pointed in my

14· ·direction, that door opens and only provides a -- you know,

15· ·again, I can't tell you the specific degrees, but it's less

16· ·than 90 pathway for somebody to exit the vehicle.

17· · · · · · · · ·When that happened, Jacob Harris, merely to

18· ·exit the vehicle, was oriented directly in my direction,

19· ·following that gun coming out first, swinging out in my

20· ·direction, followed by Jacob Harris.· He initially coming

21· ·out of the vehicle was directly facing me before beginning

22· ·to run somewhat laterally across the lanes of traffic.

23· · · · · · · · ·Sorry.· I didn't mean to block the camera.

24· · · ·Q.· ·That's okay.

25· · · ·A.· ·But the initial exit of that vehicle with the gun


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·1· ·coming out first and Jacob Harris, you know, following that

·2· ·hand was immediately -- was -- was very specifically facing

·3· ·me.· And I think that's what's kind of been lost here.· He

·4· ·was facing me.

·5· · · · · · · · ·And at that time was when, you know, I felt

·6· ·that my life was in jeopardy of -- of serious bodily harm

·7· ·or even, you know, deadly physical injury because of that

·8· ·gun.· And as I'm responding to that, you know, Jacob Harris

·9· ·begins his lateral movement across the street, which is

10· ·where the description of him continuing to -- to turn --

11· ·you know, slightly turn back and look in our direction.

12· · · · · · · · ·But the initial behavior in terms of, you

13· ·know, the threatening manner in which that gun was

14· ·presented was that moment exiting the vehicle, which I

15· ·believe has been -- you know, has been glossed over time

16· ·and time again throughout this and him jumping to him

17· ·running.

18· · · ·Q.· ·All right.· So that moment, that happened right

19· ·before the flash-bang went off.· Right?

20· · · ·A.· ·No, sir.· That's after the flash-bang, after

21· ·Jacob's exiting the vehicle and actually putting his feet

22· ·on the asphalt, that is all happening after the flash-bang

23· ·went off.

24· · · ·Q.· ·Okay.· Then he continues making his lateral

25· ·movement, and that's away from you.· Correct?


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·1· · · ·A.· ·I would say it's kind of in a southeasterly

·2· ·direction.· So it's somewhat laterally and paring away from

·3· ·me.

·4· · · ·Q.· ·Okay.

·5· · · ·A.· ·But it's not directly -- to run away from me would

·6· ·be to run directly east and in that moment moving across

·7· ·the street.

·8· · · ·Q.· ·You believe he was running toward the Circle K?

·9· · · ·A.· ·Correct.

10· · · ·Q.· ·So at that point, this is where I think you've

11· ·said in your interview that you saw him looking at you,

12· ·again, after crossing one lane of the road.· Right?

13· · · ·A.· ·Just to -- just to kind of clarify that, I mean,

14· ·the vehicle is kind of partially in one lane and in

15· ·another.· So really it was more clearing half of a lane.

16· ·And then there was one -- one more lane after that before

17· ·the actual edge of the -- of the roadway and the dirt.· So

18· ·he's still moving across what would be the first complete

19· ·lane when I began responding to that threat.

20· · · ·Q.· ·Okay.· So even though you saw the gun as he left

21· ·the vehicle after the flash-bang, you were in fear for your

22· ·life because of what you saw and how threatening it was.

23· ·You didn't shoot him then.· That didn't happen until after

24· ·he had at least crossed that first lane.· Correct?

25· · · · · · · · ·MS. RETTS:· Form.


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·1· · · · · · · · ·THE WITNESS:· I would say you're correct, and

·2· ·that my rounds were not delivered until he was crossing

·3· ·that next lane.· It was not a -- I mean, you're talking

·4· ·about, you know, 1.8 seconds from the time the vehicle came

·5· ·to a stop to the time the shooting occurred all of these

·6· ·things happened.

·7· · · · · · · · ·And as I described earlier, putting a vehicle

·8· ·in park, acquiring a weapon, opening a door, stepping out

·9· ·of my vehicle, and acquiring a target, and in that same

10· ·amount of time processing this, is all happening in less

11· ·than two seconds.

12· · · · · · · · ·So I -- I think talking that he's crossing

13· ·numerous lanes or that I -- I did not shoot in the moment

14· ·that that gun or that he was standing there pointing at me,

15· ·the threat was perceived.· There's perception/reaction time

16· ·where I have to identify that and then make a decision on

17· ·how to respond to that.· And in the midst of that decision

18· ·I have to actually acquire a site picture and then deliver

19· ·those -- those rounds.· Again, everything from start to

20· ·finish we're talking about here is less than two seconds.

21· ·BY MR. KNIGHT:

22· · · ·Q.· ·I understand that all happened very quickly.

23· ·There was a lot going on.· So thank you for that clarity.

24· · · · · · · · ·It's at that point, though, after crossing

25· ·that first lane -- maybe it was a half lane of distance,


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·1· ·but after crossing that first lane when you have said

·2· ·multiple times that he stopped running, stopped the motion

·3· ·of fleeing with an elbow bent and presented toward you.

·4· ·Correct?

·5· · · · · · · · ·MS. RETTS:· Form.

·6· · · · · · · · ·THE WITNESS:· I would say that's -- I would

·7· ·say that's inaccurate based on my -- my testimony.· I don't

·8· ·recall ever saying that he stopped running.· I believe the

·9· ·statement may have been that amidst his running motion, the

10· ·right arm that was holding the weapon was not -- was not

11· ·swinging the same as the left in that it was held up high

12· ·with a bent elbow, partially pared off back in my

13· ·direction, which showed that there was not -- you know, the

14· ·gun was still present, and he was still actively holding it

15· ·at that time.· But I never said he stopped running at any

16· ·time and then turned back at me.· This was during his --

17· ·essentially his -- his fleeing.

18· ·BY MR. KNIGHT:

19· · · ·Q.· ·Please disregard that Peter Clines album.· That

20· ·seems to be the only thing on my work computer's audio

21· ·player.· This is the same exhibit that Ms. Griffin just

22· ·identified for us as Exhibit --

23· · · · · · · · ·MR. KNIGHT:· Is it 5 or 6, Pam?

24· ·BY MR. KNIGHT:

25· · · ·Q.· ·The most recent exhibit, the audio file of your


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·1· · · · · · · · ·MS. RETTS:· Form.

·2· · · · · · · · ·THE WITNESS:· So the difference between

·3· ·run --

·4· ·BY MR. KNIGHT:

·5· · · ·Q.· ·No, those weren't your words?· Is that a "no"?

·6· · · ·A.· ·I'm telling you those were my words.· I'm telling

·7· ·you that what I was attempting to depict was the stop of

·8· ·motion of that particular arm holding the gun.· Whether or

·9· ·not I accurately depicted that is different.· But what I

10· ·was attempting to describe was that the -- the arm holding

11· ·the gun, the right arm, was no -- was not --

12· · · · · · · · ·Again, if you go to common practice and body

13· ·mechanics and -- and proprioception, the body runs, arms

14· ·pump typically opposite of the leg that's in stride, that

15· ·arm that was holding the firearm was not -- was no longer

16· ·in a running motion.

17· · · · · · · · ·Whether I was -- the clarity at the time to

18· ·articulate that it was that versus the body, I was not

19· ·trying to describe that he, Jacob Harris, the entirety of

20· ·his person stopped, but that my focus being that the gun,

21· ·the arm, and the hand holding the gun was not simply trying

22· ·to -- to run at that moment.

23· · · · · · · · ·Regardless, thereof, again, I've depicted

24· ·that both the -- the attempt to flee based on the violence

25· ·of the crime and the -- the observations by officers


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·1· ·throughout the entirety of this and my knowledge of the

·2· ·subject prior, and the actions taken during the robbery

·3· ·work in conjunction that whether he was fleeing alone or

·4· ·pointing the gun at me, his noncompliance and the danger to

·5· ·what I perceived at the time of myself, as well as the

·6· ·danger to the public if I did not immediately apprehend or

·7· ·effect an arrest or seize his movement which,

·8· ·unfortunately, at the time had to be done utilizing lethal

·9· ·force.· But, again, my articulation was intended to

10· ·describe the motion of his arm that was holding the

11· ·firearm, not him in terms of he stopped running, stood

12· ·there, turned around.· That's not what I was try --

13· ·articulating that.

14· · · · · · · · ·I think you're -- you're -- that's how -- how

15· ·you're taking that.· And I can understand.· I can -- I

16· ·can -- I can understand that.· But that's not what I'm

17· ·depicting in my description of that arm stopping a running

18· ·motion.

19· · · ·Q.· ·But you said it the exact same way 20 minutes

20· ·later during that same interview, though, didn't you?

21· · · · · · · · ·MS. RETTS:· Form.

22· · · · · · · · ·THE WITNESS:· I mean, I'm sure you could

23· ·fast-forward 20 minutes and -- and I can listen to it.· And

24· ·I'll be glad to -- to clarify that.· But --

25· ·. . .


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·1· ·BY MR. KNIGHT:

·2· · · ·Q.· ·Okay.· Let's do that.· So I'm fast-forwarding,

·3· ·same exhibit to 35 minutes.

·4· · · · · · · · ·(Audio recording played.)

·5· ·BY MR. KNIGHT:

·6· · · ·Q.· ·So I'm going to acknowledge, you were right.· And

·7· ·that one, that's how you phrased it.· You said arm stopped

·8· ·moving.· But you also, again, reiterated, turn around,

·9· ·presented toward you.· Right?

10· · · ·A.· ·I believe my -- I believe my description of that

11· ·was that he was partially turned with that gun held high.

12· ·And, again, trying to put into words something that is

13· ·easily demonstrated is difficult to describe in term -- or

14· ·in -- in -- pardon my saying, but layman's terms.

15· · · · · · · · ·We have terminology used in law enforcement

16· ·that would call that a compressed ready that when trying to

17· ·articulate that for an interview doesn't quite spell out

18· ·what a compressed ready is.

19· · · · · · · · ·The gun was high and up by his right side

20· ·with a bent elbow.· I clearly articulated in that portion

21· ·that the other arm was still running, but only that arm had

22· ·stopped swinging.

23· · · ·Q.· ·Okay.· One last quick question.

24· · · · · · · · ·A few minutes after that, one of these

25· ·detectives who were there doing this -- they might not be


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·1· · · ·Q.· ·Sure.· You also did not have surveillance devices

·2· ·with you that you -- you could have used.· Right?

·3· · · · · · · · ·MS. RETTS:· Form.

·4· · · · · · · · ·THE WITNESS:· Are you -- are you referring to

·5· ·any type of body-worn or dash camera or anything like that?

·6· ·BY MR. KNIGHT:

·7· · · ·Q.· ·Correct.

·8· · · ·A.· ·Correct.· We had not been -- they had not been

·9· ·assigned, provided, or given to us at the time of this

10· ·incident.

11· · · ·Q.· ·Yep.· All right.· So this is the best record that

12· ·we have other than people's memories, which I think you

13· ·agree are imperfect.· This is the best record that we have

14· ·of what actually transpired.· Right?

15· · · · · · · · ·MS. RETTS:· Form.

16· · · · · · · · ·THE WITNESS:· I would say it is -- it is -- I

17· ·think it's debatable as far as the best record.· But as far

18· ·as providing an overall observation of -- of a certain

19· ·degree of details of what happened and events and times and

20· ·how they unfolded, I would say it's the best that we have.

21· ·BY MR. KNIGHT:

22· · · ·Q.· ·Okay.· And we can debate that later.· I'm going to

23· ·press play so that we can get finished.· Okay?

24· · · ·A.· ·Sure.

25· · · ·Q.· ·You tell me when -- when those things you


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·1· ·described happened.

·2· · · · · · · · ·(Video played.)

·3· · · · · · · · ·THE WITNESS:· I'm going to tell you right

·4· ·now, well, based on your video, like, it's -- it's a

·5· ·glowing -- it's a glowing --

·6· ·BY MR. KNIGHT:

·7· · · ·Q.· ·Coming in --

·8· · · ·A.· ·-- it's a glowing silhouette.· So trying to

·9· ·compare my point of view on the ground in angles to what

10· ·I'm seeing here of a -- kind of a glowing blur don't --

11· ·don't depict the point of view that I saw on the ground.

12· ·And that's how my mind remembers it.· It's not from

13· ·infrared view, not from 13,000 feet, but from ground level.

14· · · · · · · · ·So you're asking me to pick something out

15· ·that at this point based on the image on the screen is

16· ·nothing more than a guesstimate.· It can't be clarified

17· ·as -- as an accurate depiction.

18· · · ·Q.· ·Now, that's not what I'm asking you to do.· What

19· ·I'm asking you to do is, as a professional who deals with

20· ·witness recollections regularly, to reflect back on a

21· ·two-second point in time that you keep describing as a

22· ·two-second point in time, when you had a lot of things

23· ·going on.· You had just experienced in a very short

24· ·distance your own flash-bang while you were getting out of

25· ·your vehicle and drawing a weapon, and while a suspect was


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·1· ·you know, manipulating a safety on a rifle is not done

·2· ·until there's a decision to -- to fire that weapon.

·3· · · ·Q.· ·So we're not even at that point in the video yet,

·4· ·the point that you keep describing as targeting with the

·5· ·red dot.· We're also not at the point in this video yet

·6· ·where he's crossed that first lane of traffic, which is

·7· ·where you repeatedly said in previous interviews and today

·8· ·that you made the decision that you had to shoot him.

·9· ·We're not at that point yet, and you are telling me that

10· ·watching this video will not change your mind.· And you're

11· ·also --

12· · · · · · · · ·MR. KNIGHT:· I know I'm going to draw an

13· ·objection, Tina.

14· ·BY MR. KNIGHT:

15· · · ·Q.· ·-- and you're also telling me that having watched

16· ·it this far, you may believe he made the threatening

17· ·gesture before.

18· · · · · · · · ·So which is it?· Can this video help refresh

19· ·your recollection or not?

20· · · · · · · · ·MS. RETTS:· Form.· Argumentative.

21· · · · · · · · ·THE WITNESS:· I'm going to tell you that

22· ·my -- my decision has been -- was made fairly early on as

23· ·he exited the vehicle, as I previously described, his

24· ·orientation of his body back towards me and the continued

25· ·movement that didn't change all occurring while I'm exiting


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·1· ·my vehicle and acquiring a site picture with my rifle.

·2· · · · · · · · ·The threat came immediately exiting the

·3· ·vehicle.· And that threat did not change neither to myself,

·4· ·nor the public between the time that I saw him exit the

·5· ·vehicle and made a decision to fire and the time that I

·6· ·actually fired.

·7· · · · · · · · ·While in that short amount of time, his

·8· ·movement may have changed, now we're getting into

·9· ·perception/reaction time and how long it takes to make a

10· ·decision, observe a new behavior, change your decision, and

11· ·then, you know, cease an action or make a new action.

12· · · · · · · · ·I mean, we've -- we've kind of gone around

13· ·and around with that in terms of, you know, the very

14· ·minimal amount of time that this all occurred in.· And

15· ·while, you know, your frame by frame in milliseconds can

16· ·make this seem like an eternity, we pretty much validated

17· ·that all of this happened in less than two seconds.

18· · · · · · · · ·So making a decision to fire and having the

19· ·ability to do so, meaning, A, being able to maneuver myself

20· ·around my vehicle or obstructions, being my open door or

21· ·the A-frame pillar of my SUV, and acquire a site picture --

22· ·again, I wasn't out of the car at the time that he first

23· ·stepped out.

24· · · · · · · · ·And as you described earlier not shooting him

25· ·at that moment, I was not in a position to do so.· I was


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·1· ·moving to a position to essentially defend myself, all

·2· ·while these behaviors are taking place.

·3· ·BY MR. KNIGHT:

·4· · · ·Q.· ·Okay.· To be clear, we are about halfway through

·5· ·this roughly four-minute long frame by frame clip.

·6· · · · · · · · ·Do you see the time stamp that's on the raw

·7· ·video itself, not on my player, that says 1 hour,

·8· ·20 minutes, 3 seconds or 3.599 seconds?

·9· · · · · · · · ·Do you see that?

10· · · ·A.· ·Yes.

11· · · ·Q.· ·I'm going to the beginning.

12· · · · · · · · ·Do you see right there that it says 1 hour,

13· ·19 minutes, 59 seconds, .461?

14· · · ·A.· ·Yes.

15· · · ·Q.· ·Okay.· So almost 4 seconds had elapsed between him

16· ·beginning to leave the vehicle and before we even got to in

17· ·this video the moment where you shot him.· The entire span

18· ·of that event is -- let's see -- to the exact moment you

19· ·first fire.· Let's rewind.· And you see the shells going

20· ·back in your gun, 1 minute, 20 seconds, 20 -- 1 hour,

21· ·20 minutes, 4 -- 4.500 seconds.

22· · · · · · · · ·Do you see that time stamp?

23· · · · · · · · ·MS. RETTS:· Form.· Foundation.

24· · · · · · · · ·THE WITNESS:· I see your time stamp.

25· ·. . .


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·1· ·moving northbound Dysart from BB."

·2· · · · · · · · ·Do you see that?

·3· · · · · · · · ·MR. KNIGHT:· Can you catch me up to our Bates

·4· ·number, sorry, while I was opening this?

·5· · · · · · · · ·MS. RETTS:· 1526.

·6· · · · · · · · ·MR. KNIGHT:· Thank you.

·7· ·BY MS. RETTS:

·8· · · ·Q.· ·And for purposes of establishing precision here in

·9· ·the timeline, do you recognize that 12:11 a.m. based upon

10· ·these radio transmissions is when the vehicle takes off

11· ·from the Whataburger parking lot?

12· · · ·A.· ·Yes.

13· · · ·Q.· ·That vehicle then made its way to the 101.

14· ·Correct?

15· · · ·A.· ·Correct.

16· · · ·Q.· ·Are there restrictions on the grappler device in

17· ·terms of speed and when it can be deployed based upon how

18· ·fast the vehicle is moving?

19· · · ·A.· ·Yes, there is.

20· · · ·Q.· ·Can it be deployed when a vehicle is over 70 miles

21· ·an hour?

22· · · ·A.· ·No.· Not safely.

23· · · ·Q.· ·Now, in terms of thinking about where a grappler

24· ·should be deployed, are there safety concerns involved in

25· ·deploying a grappler device on a freeway?


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·1· · · ·A.· ·Yes, there are.

·2· · · ·Q.· ·What are they?

·3· · · ·A.· ·Being that -- that on a freeway is, one, typically

·4· ·more lanes of traffic; two, operates at a higher speed

·5· ·conditions; and, three, is less likely for somebody to

·6· ·anticipate coming to a complete stop.· And the ability to

·7· ·manage traffic conditions and effectively set up a -- what

·8· ·we would call, you know, somewhat of a roadblock to -- to

·9· ·buffer the apprehension or the capture of a vehicle and be

10· ·prohibiting of any civilians to become involved or down

11· ·range or, you know, mixed in with this is significantly

12· ·more difficult and far more dangerous to be conducted on a

13· ·freeway in these conditions.

14· · · ·Q.· ·Now, in this community, unfortunately, we have had

15· ·civilians and officers killed who were assisting motorists

16· ·pulled over on the side of the roadway.· Correct?

17· · · ·A.· ·That's correct.

18· · · ·Q.· ·Stopping a vehicle on a freeway when motorists are

19· ·not anticipating traffic to be at a complete stop, does

20· ·that in your view present an unreasonable risk to the

21· ·civilians who traverse a highway?

22· · · ·A.· ·I would find that to be, yeah, extremely dangerous

23· ·to attempt to do, to effect a grapple or stop of this

24· ·nature on a freeway.

25· · · ·Q.· ·All right.· When the vehicle -- the grappler was


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·1· ·BY MS. RETTS:

·2· · · ·Q.· ·Based upon the training you had given to other SAU

·3· ·officers, you had to believe that those officers should be

·4· ·able to discern from the bright light and the sound that

·5· ·you had deployed a flash-bang?

·6· · · ·A.· ·Yes.

·7· · · · · · · · ·MR. KNIGHT:· Objection.· Form.

·8· ·BY MS. RETTS:

·9· · · ·Q.· ·And that would have been the case whether or not

10· ·you announced it or not?

11· · · ·A.· ·Yes, it would.

12· · · ·Q.· ·Now, having been the one who deployed the

13· ·flash-bang, you didn't fire your weapon because you mistook

14· ·that flash-bang as being any shots fired from Mr. Harris,

15· ·did you?

16· · · ·A.· ·No, I did not.

17· · · ·Q.· ·Was anybody hit at the Circle K by any ricochets?

18· · · ·A.· ·No.

19· · · ·Q.· ·Were any civilians at the Circle K hit by any of

20· ·the bullets that you shot?

21· · · ·A.· ·No.

22· · · ·Q.· ·Were any civilians taken hostage at the Circle K

23· ·by any of the suspects in that vehicle?

24· · · ·A.· ·No.

25· · · ·Q.· ·Did you have a concern that if Jacob Harris made


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·1· ·his way to the Circle K with a firearm, that he could take

·2· ·a hostage either outside or in that Circle K?

·3· · · ·A.· ·Yes.

·4· · · ·Q.· ·No persons either within or outside Circle K were

·5· ·carjacked at the Circle K, were they?

·6· · · ·A.· ·No.

·7· · · ·Q.· ·Did you have a concern that Jacob Harris was -- if

·8· ·he made his way to the Circle K, might carjack somebody if

·9· ·given the opportunity?

10· · · ·A.· ·Yes, I did.

11· · · · · · · · ·MR. KNIGHT:· Objection.· Foundation.

12· · · · · · · · ·Do I still need this exhibit, Tina?

13· · · · · · · · ·MS. RETTS:· No.

14· ·BY MS. RETTS:

15· · · ·Q.· ·You -- you were aware before the Whataburger armed

16· ·robbery occurred that there was a suspicion that these

17· ·suspects in this vehicle were potentially involved in up to

18· ·26 or more prior robberies.· Correct?

19· · · ·A.· ·Yes.

20· · · ·Q.· ·Were there other crimes that were involved as

21· ·well, such as aggravated assaults, kidnappings?

22· · · ·A.· ·Speaking very specifically to the crime that

23· ·happened on January the 11th and the way that it was

24· ·described and the actions inside, yes, there was aggravated

25· ·assault by pointing weapons at the individuals inside the


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·1· ·store, as well as kidnapping, preventing anybody from

·2· ·having the ability to leave the store in conjunction with

·3· ·the armed robbery, utilizing those weapons or the threat of

·4· ·deadly force to obtain the money that they essentially took

·5· ·from there.

·6· · · ·Q.· ·When you learned the information and heard over

·7· ·the radio that these suspects had committed an armed

·8· ·robbery, aggravated assault, and the kidnapping at the

·9· ·Whataburger, did that cement for you that these were likely

10· ·the suspects who were involved in those prior 26 crimes?

11· · · ·A.· ·Yes.

12· · · ·Q.· ·Did you have any belief that these suspects --

13· ·strike that.

14· · · · · · · · ·Based on the information that you were

15· ·provided before the Whataburger robbery took place, you had

16· ·intelligence that these individuals had habit, meaning

17· ·multiple crimes in one night --

18· · · · · · · · ·MR. KNIGHT:· Objection.

19· ·BY MS. RETTS:

20· · · ·Q.· ·-- of deadly force.· Correct?

21· · · · · · · · ·MR. KNIGHT:· I'm sorry.· Objection.· Form.

22· ·Foundation.

23· · · · · · · · ·THE WITNESS:· Yes.· We did have that

24· ·information.

25· ·. . .


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·1· ·BY MS. RETTS:

·2· · · ·Q.· ·So it was not simply that, you know, a prior night

·3· ·these individuals were suspected of only one armed robbery,

·4· ·that multiple businesses would be targeted and robbed in a

·5· ·compressed period of time.· Is that fair?

·6· · · ·A.· ·That's correct.

·7· · · ·Q.· ·So was it ever your belief that after the

·8· ·Whataburger robbery occurred, that these suspects would

·9· ·peacefully go home and not go on to commit other armed

10· ·robberies?

11· · · ·A.· ·No.

12· · · ·Q.· ·You were asked some questions about a, quote,

13· ·video that, quote, you produced to us.

14· · · · · · · · ·The video that you were asked questions about

15· ·today, have you ever seen that video slowed down before?

16· · · ·A.· ·I don't believe to that -- that frame rate, no.

17· · · ·Q.· ·That's not a video that you possessed and produced

18· ·in this case.· Correct?

19· · · ·A.· ·That's correct.

20· · · ·Q.· ·Is it fair to say that some expert went in and

21· ·manipulated that video to slow it down to frame by frame to

22· ·give a view that you didn't have that evening?

23· · · ·A.· ·I would say that's correct.

24· · · ·Q.· ·You didn't have the luxury of rewind,

25· ·fast-forward, watching this play out multiple times.


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A918     Jan-10-19   2232   A   PH19-55839        SB L101 BHR
A918     Jan-10-19   2232   A   PH19-55839        NO MOVED TO #1
A918     Jan-10-19   2232   A   PH19-55839        #1 LA GOING OVER CBACK RIGHT NOW
A918     Jan-10-19   2232   A   PH19-55839        L101 CBACK SB
A918     Jan-10-19   2233   A   PH19-55839        SB FROM ISR
A918     Jan-10-19   2233   A   PH19-55839        L101 ISR SB
A918     Jan-10-19   2233   A   PH19-55839        PICKING SPEED UP
A918     Jan-10-19   2234   A   PH19-55839        SB FROM THM MIDDLE LA
A918     Jan-10-19   2234   A   PH19-55839        LEANING TOWARDS WB I10 TURN HERE
A918     Jan-10-19   2235   A   PH19-55839        WB I10 FROM L101
A918     Jan-10-19   2235   A   PH19-55839        WB I10 FROM L101
A918     Jan-10-19   2235   A   PH19-55839        SORRY GUYS EXITED MCD
A918     Jan-10-19   2235   A   PH19-55839        L101 MCD
A918     Jan-10-19   2235   A   PH19-55839        WB #1 LA
A918     Jan-10-19   2235   A   PH19-55839        LEFT TURN LA AT 99AV
A918     Jan-10-19   2235   A   PH19-55839        SEMI THERE ARE LEFT TURN RIGHT NEXT TO HIM,ASSUMING 99AV
A918     Jan-10-19   2236   A   PH19-55839        SB 99AV MCD
A918     Jan-10-19   2236   A   PH19-55839        TURING WB ON FRONTAGE RD FROM I10
A918     Jan-10-19   2236   A   PH19-55839        HE'S ON THE I10 FRONTAGE RD WB
A918     Jan-10-19   2237   A   PH19-55839        DID NOT GET ON I10,CONTINUED WB ON FRONTAGE RD
A918     Jan-10-19   2238   A   PH19-55839        CONTINUING WB ON FRONTAGE RD
A918     Jan-10-19   2238   A   PH19-55839        I THINK THEY HAVE TO GET ONTO THE I10,109AV
A918     Jan-10-19   2238   A   PH19-55839        109AV I10 WB
A918     Jan-10-19   2239   A   PH19-55839        WB I10 AVONDALE
A918     Jan-10-19   2239   A   PH19-55839        DEF HUGGING FAR RIGHT LIKE THEY MAY WANT TO EXIT
A918     Jan-10-19   2240   A   PH19-55839        YEAH IM NOT FAMILIAR
A918     Jan-10-19   2240   A   PH19-55839        HE IS EXITING AT DYSART
A918     Jan-10-19   2241   A   PH19-55839        GOING SB ON DYSART
A918     Jan-10-19   2241   A   PH19-55839        DYSART I10 SB
A918     Jan-10-19   2241   A   PH19-55839        GOT GRN SB DYSART UNDER I10
A918     Jan-10-19   2242   A   PH19-55839        M CONTINUED SB FCOMING UP TO VB
A918     Jan-10-19   2242   A   PH19-55839        MOVED TO CURB LA MAKING WB TURN ONTO VB GOING REAL SLOW HERE
A918     Jan-10-19   2243   A   PH19-55839        CONTINUING WB ON VB COMING UP TO PALO VERDE
A918     Jan-10-19   2243   A   PH19-55839        WB THROUGH CENT ON VB
A918     Jan-10-19   2244   A   PH19-55839        REAL SLOW PASSING 137AV LIKE WANT TO GO SB
A918     Jan-10-19   2244   A   PH19-55839        UTURN BACK EB VB FROM LITCHFIELD
A918     Jan-10-19   2245   A   PH19-55839        SLOW ROLLING EB 100 FT N OF VB THROUGH PL
A918     Jan-10-19   2245   A   PH19-55839        JW OF CENT MAKING WAY BACK OUT TO VB
A918     Jan-10-19   2245   A   PH19-55839        EB VB CURB LA AT CENT
A918     Jan-10-19   2245   A   PH19-55839        VB CENT EB
A918     Jan-10-19   2246   A   PH19-55839        APPROACHING DYSART EB VB CURB LA
A918     Jan-10-19   2246   A   PH19-55839        DYSART VB EB
A918     Jan-10-19   2246   A   PH19-55839        SB DYSART FROM VB
A918     Jan-10-19   2246   A   PH19-55839        SB DYSART FROM VB
A918     Jan-10-19   2246   A   PH19-55839        SLOW ON DYSART
A918     Jan-10-19   2247   A   PH19-55839        PULLING INTO PLAZA ON SWC
A918     Jan-10-19   2247   A   PH19-55839        YEAH,THEY ARE TALKING PARKING SPOT
A918     Jan-10-19   2252   A   PH19-55839        KEEP AN EYE ON THEM
A918     Jan-10-19   2253   A   PH19-55839        1460 N DYSART
A918     Jan-10-19   2254   A   PH19-55839        PSGR FRNT WINDOW OPEN SMOKING AGAIN
A918     Jan-10-19   2256   A   PH19-55839        ANYONE FROM DPS ON IN CASE IT GOES BACK TO I10
A918     Jan-10-19   2256   A   PH19-55839        OK JUST WANT TO MAKE SURE WE'VE GOT
A918     Jan-10-19   2257   A   PH19-55839        WE DO HAVE HELICOPTER READY & BRIEFED STAGING A BIT AWAY
A918     Jan-10-19   2257   A   PH19-55839        JSUT SITTING THERE WINDOW DOWN SMOKING CIG

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A918     Jan-10-19   2257   A   PH19-55839        OTHER VEH PARKED IN HERE CNTR CLOCK TO SP VEH
A918     Jan-10-19   2258   A   PH19-55839        ITS FACING NW RIGHT NOW
A918     Jan-10-19   2258   A   PH19-55839        2 SHOPPERS WERE WALKING LOOKING AT YOU,NOW WALKING BACK TO THEIR
                                VEHS
A918     Jan-10-19   2259   A   PH19-55839        ON THE MOVE
A918     Jan-10-19   2259   A   PH19-55839        VEH ON MOVE
A918     Jan-10-19   2259   A   PH19-55839        WE ARE RECORDING
                                                                                                          PHX001522
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A918      Jan-10-19   2342   A   PH19-55839         FRONT RIGHT DOOR OPEN,LEFT REAR DOOR OPEN
A918      Jan-10-19   2342   A   PH19-55839         FRNT RIGHT & LEFT REAR DRS OPEN AGAIN
A918      Jan-10-19   2344   A   PH19-55839         DUMPSTER DIVER WALKED AWAY AND NOW GOING BACK TO PASSENGER WINDOW
A918      Jan-10-19   2344   A   PH19-55839         DUMPSTER DRIVER WALKED TO PSGR SIDE DR,WALKED AWAY & IS HEADING BACK
A918      Jan-10-19   2344   A   PH19-55839         WALKING AWAY AGAIN
A918      Jan-10-19   2344   A   PH19-55839         HE'S WALKING AWAY AGAIN
A918      Jan-10-19   2344   A   PH19-55839         WALKING TO WHATABURGER
A918      Jan-10-19   2344   A   PH19-55839         HES WALKING INTO WHATABURGER
A918      Jan-10-19   2347   A   PH19-55839         ONE CUST AT PICK UP WINDOW NOW,TRANSIENT,AND TWO FROM CAR ON NORTH
                                 SIDE,3 INSIDE AND ONE AT PU WINDOW
A918      Jan-10-19   2347   A   PH19-55839         1 CUST,TRANSIENT & ANOTHER CUST,SO 3 CUSTS INSIDE INCLUDING 1 AT
                                 PICK UP WINDOW
A918      Jan-10-19   2348   A   PH19-55839         DOOR OPENING AGAIN
A918      Jan-10-19   2348   A   PH19-55839         DRS OPENING AGAIN
A918      Jan-10-19   2349   A   PH19-55839         FRNT PSGR DR CRACKED NO ONE OUT YET
A918      Jan-10-19   2349   A   PH19-55839         FRONT PASS DOOR CRACKED A LITTLE,NO ONE OUT YET
A918      Jan-10-19   2349   A   PH19-55839         ANOTHER CUST TOO
A918      Jan-10-19   2349   A   PH19-55839         ANOTHER CUST HITTING THE DT
A918      Jan-10-19   2349   A   PH19-55839         ONE AT WINDOW,TWO AT THE ORDER
A918      Jan-10-19   2350   A   PH19-55839         ANOTHER CUST DRIVETHRU,1 AT WINDOW & 2 AT ORDER
A918      Jan-10-19   2351   A   PH19-55839         LEFT REAR DOOR CRACKED OPEN
A918      Jan-10-19   2351   A   PH19-55839         LEFT REAR DR CRACKED OPEN
A918      Jan-10-19   2352   A   PH19-55839         ONE LEFT,2 AT WINDOW,ONES INSIDE
A918      Jan-10-19   2352   A   PH19-55839         1 CUST LEFT,DOWN TO 2 AT PICK UP WINDOW & 1 INSIDE
A918      Jan-10-19   2356   A   PH19-55839         INSIDE CUST LEFT,ONE CAR AT WINDOW,ONE CAR ORDERING
A918      Jan-10-19   2356   A   PH19-55839         CUSTS HAVE LEFT 1 CAR AT WINDOW 1 CAR ORDERING
A918      Jan-10-19   2358   A   PH19-55839         ONE AT WINDOW,ONE WAITNG TO PICK UP,2 MINS UNTIL DOORS GET LOCKED


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A918      Jan-10-19   2358   A   PH19-55839         1 CAR AT WINDOW,1 WAITING TO PICK UP,2MINS UNTIL DRS GET LOCKED
A918      Jan-10-19   2359   A   PH19-55839         ONE LEAVING WINDOW,2ND ONE UP TO IT NOW
A918      Jan-10-19   2359   A   PH19-55839         1 CUST LEAVING PICKUP WINDOW,2ND ONE UP TO PICKUP WINDOW
A918      Jan-11-19   0000   A   PH19-55839         TRANSIENT JN TO BUS STOP,GOING TO SIT UNDER BUS STOP COVER
A918      Jan-11-19   0000   A   PH19-55839         TRANSIENT AWAY,NORTH TO BUS STOP,SITTING DOWN UNDER COVER
A918      Jan-11-19   0001   A   PH19-55839         BELIEVE THATS THE LAST GUY
A918      Jan-11-19   0001   A   PH19-55839         THAT'S THE LAST CUSTOMER,THEY ARE CUSTOMER FREE AT THIS POINT
A918      Jan-11-19   0001   A   PH19-55839         BELIEVE THEY ARE CUST FREE AT THIS POINT
A918      Jan-11-19   0001   A   PH19-55839         SUV PULLED IN,STRAIT NORTH FROM DT IN SPOT,FEW PEOPLE GETTING OUT
A918      Jan-11-19   0001   A   PH19-55839         SUV JUST PULLED IN STRAIGHT N FROM PARKING SPOT GOT A FEW PPL
                                 GETTING OUT
A918      Jan-11-19   0002   A   PH19-55839         3 PEOPLE WALKING TOT HE DOOR,ANOTHER CUST IN DT
A918      Jan-11-19   0002   A   PH19-55839         3 PPL WALKING TOWARDS DR & ANOTHER CUST HITTING DRIVETHRU
A918      Jan-11-19   0002   A   PH19-55839         ALL GETTING BACK INTO THE VEH NOW
A918      Jan-11-19   0002   A   PH19-55839         YEAH THEY WENT BACK TO THEIR VEH & ARE GETTING IN
A918      Jan-11-19   0004   A   PH19-55839         LEFT REAR DOOR CRACKED AGAIN
A918      Jan-11-19   0004   A   PH19-55839         LEFT REAR DR CRACKED OPEN AGAIN
A918      Jan-11-19   0004   A   PH19-55839         FRONT RIGHT AND LEFT REAR DOORS OPEN
A918      Jan-11-19   0004   A   PH19-55839         FRNT RIGHT & LEFT REAR DRS ARE OPEN
A918      Jan-11-19   0005   A   PH19-55839         ALL DOOR BUT DRIVER OPEN,THREE OUT WALKING TOWARD WHATABURGER
A918      Jan-11-19   0005   A   PH19-55839         ALL BUT DRIVERS DR OPEN,GOT 3 OUT WALKING TOWARDS WHATABURGER
A918      Jan-11-19   0006   A   PH19-55839         TWO ARE WALKING,RIGHT REAR PASS AT VEH,HE'S MORE OF LOOKOUT
A918      Jan-11-19   0006   A   PH19-55839         2 TOWARDS WHATABURGER,RIGHT REAR PSGR STILL AT VEH LOOKING OUT
A918      Jan-11-19   0006   A   PH19-55839         TWO WALKING TO DRIVE THRU
A918      Jan-11-19   0006   A   PH19-55839         BACK DOOR,LOOKOUT STILL AT VEH,WEST SIDE,WENT TO BACK DOOR,OUT OF
                                 SITE RIGHT NOW
A918      Jan-11-19   0006   A   PH19-55839         2 TOWARDS DRIVETHRU,LOOKOUT STILL BY VEH ON WS OF BLDG BY BACK DR
                                 OUT OF MY SIGHT
A918      Jan-11-19   0006   A   PH19-55839         NWC
A918      Jan-11-19   0006   A   PH19-55839         ONE ON NWC OF BLDG
A918      Jan-11-19   0007   A   PH19-55839         JOINING UP ON WEST /BACK DOOR OF BLDG
A918      Jan-11-19   0007   A   PH19-55839         2 ON SWC,ALL JOINING AT BACK DR,W DR OF BLDG
A918      Jan-11-19   0007   A   PH19-55839         ALL 3 WALKING ARND TO NS OF BLDG
A918      Jan-11-19   0007   A   PH19-55839         WALKING AROUND TO NORTH SIDE OF BLDG
A918      Jan-11-19   0008   A   PH19-55839         SOUTH SIDE,ONE CAR AT PICK UP WINDOW NOW
A918      Jan-11-19   0008   A   PH19-55839         1 CAR DRIVETHRU WINDOW
A918      Jan-11-19   0008   A   PH19-55839         TYRING WINDOW AT DRIVE THRU
                                                                                                            PHX001525
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A918      Jan-11-19   0008   A   PH19-55839         MIGHT BE TRYING TO DO DRIVETHRU
A918      Jan-11-19   0008   A   PH19-55839         TWO RUNNING UP,ALL AT WINDOW
A918      Jan-11-19   0008   A   PH19-55839         ALL 3 AT WINDOW
A918      Jan-11-19   0009   A   PH19-55839         ONE WENT AROUND NS OF BLDG
A918      Jan-11-19   0009   A   PH19-55839         HELO MOVING IN?
A918      Jan-11-19   0009   A   PH19-55839         HELICOPER IN?
A918      Jan-11-19   0009   A   PH19-55839         CUST COMING TO DT
A918      Jan-11-19   0009   A   PH19-55839         CUST INTO THE DIRVETHRU
A918      Jan-11-19   0010   A   PH19-55839         TWO OUT NORTH SIDE,VEH ON MOVE
A918      Jan-11-19   0010   A   PH19-55839         2 COMING OUT MAIN ENTRANCE ON NS,VEH ON MOVE
A918      Jan-11-19   0011   A   PH19-55839         2 ARE IN,ONE RUNNING
A918      Jan-11-19   0011   A   PH19-55839         2 IN 1 GETTING IN
A918      Jan-11-19   0011   A   PH19-55839         VEH MVOING NB DYSART FROM VB
A918      Jan-11-19   0011   A   PH19-55839         VEH EB VB,DRIVE AROUND,GOING NB DYSART FROM VB
A918      Jan-11-19   0011   A   PH19-55839         NB DYSART TO EB I10
A918      Jan-11-19   0011   A   PH19-55839         TURN SIGNAL?
A918      Jan-11-19   0011   A   PH19-55839         NB DYSART CURB TO GO EB I10


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For:                                     OFFICER/UNIT ACTIVITY
A918      Jan-11-19   0012   A   PH19-55839         MADE TURN EB ON I10 FROM DYSART
A918      Jan-11-19   0012   A   PH19-55839         EB I10/DYSART
A918      Jan-11-19   0012   A   PH19-55839         DYSART I10 EB
A918      Jan-11-19   0012   A   PH19-55839         EB ON I10 SPEED NOT TOO EXCESSIVE,
A918      Jan-11-19   0012   A   PH19-55839         EB ON I10 SPEED DOESNT LOOKE TOO EXCESSIVE
A918      Jan-11-19   0013   A   PH19-55839         HE'S IN #1 COMING UP AVONDALE PASSING SEMI
A918      Jan-11-19   0013   A   PH19-55839         UNITS ON 10,PASSED SEMI,#1 LANE,COMING UP EXIT FOR AVONDALE STILL EB
A918      Jan-11-19   0013   A   PH19-55839         STILL EB
A918      Jan-11-19   0013   A   PH19-55839         UNITS NEAR BY APT ON BUTLER?
A918      Jan-11-19   0013   A   PH19-55839         WE HAVE UNITS BY APT ON BUTLER?
A918      Jan-11-19   0014   A   PH19-55839         112TH AV THREW SOMETHING OUT RIGHT REAR WINDOW,POSS CIGARETTE
A918      Jan-11-19   0014   A   PH19-55839         112AV THREW SOMETHING OUT THAT WINDOW CROSSING 107AV NOW 2 SEMIS
                                 PASSING THEM
A918      Jan-11-19   0014   A   PH19-55839         GOING NB HERE
A918      Jan-11-19   0014   A   PH19-55839         FAR RIGHT,GOING NB ON L101
A918      Jan-11-19   0014   A   PH19-55839         10-4 LOOKS LIKE MIGHT BE POSITIONING TO GO NB,ALL WAY OVER FAR
                                 R,SHOULD PUT HJIM TO GO NB L101
A918      Jan-11-19   0015   A   PH19-55839         L101 I10 NB
A918      Jan-11-19   0015   A   PH19-55839         GOING NB L101 FROM I10
A918      Jan-11-19   0015   A   PH19-55839         MAKIGN TURN NB L101 FROM I10
A918      Jan-11-19   0015   A   PH19-55839         LITTLE ABOVE NORMAL,NOTHING TOO CRAZY
A918      Jan-11-19   0015   A   PH19-55839         SPEED LIL ABOVE NORMAL,BARELY ABOVE TRAFFIC MERGING WITH,72 MPH
A918      Jan-11-19   0015   A   PH19-55839         SPEED OF TRAFFIC THEY ARE MERGING W/ON L101,SHOWING THEM AT 72MPH
A918      Jan-11-19   0016   A   PH19-55839         VERY LITTLE TRAFFIC ON FRWY RIGHT NOW
A918      Jan-11-19   0016   A   PH19-55839         VERY LITTLE TRAFFIC ON 101 FOR NOW
A918      Jan-11-19   0016   A   PH19-55839         APPROACHING THOMAS,SEMI WITHOUT TRAILER
A918      Jan-11-19   0016   A   PH19-55839         ANY UNITS BHND STILL NB L101 COMING UP ON THM SEMI JUST CAB HE'S
A918      Jan-11-19   0017   A   PH19-55839         #1 LANE,74 MPH
A918      Jan-11-19   0017   A   PH19-55839         ALL THE WAY EXITING CAMELBACK
A918      Jan-11-19   0017   A   PH19-55839         MOVING ALLW AY OVER TO GET OFF AT CBACK
A918      Jan-11-19   0018   A   PH19-55839         BENDING EXIT,EB ON CAMELBACK,
A918      Jan-11-19   0018   A   PH19-55839         EB ON CBACK FROM L101
A918      Jan-11-19   0018   A   PH19-55839         EB ON CBACK FROM L101
A918      Jan-11-19   0018   A   PH19-55839         CATCHING RED AT 95AV #1 VEH #1 LA 95AVCBACK
A918      Jan-11-19   0018   A   PH19-55839         AUGHT RED AT 95TH AV,#1 LANE #1 VEH
A918      Jan-11-19   0018   A   PH19-55839         95AV CBACK
A918      Jan-11-19   0019   A   PH19-55839         EB CAMELBACK/91ST AV
A918      Jan-11-19   0019   A   PH19-55839         91AV CBACK
A918      Jan-11-19   0019   A   PH19-55839         91AV CBACK
A918      Jan-11-19   0019   A   PH19-55839         DEPLOYED RIGHT REAR PSG RUNNING
A918      Jan-11-19   0019   A   PH19-55839         RIGHT REAR PASS THREW SOMEHTING,DEPLOYED
A918      Jan-11-19   0019   A   PH19-55839         BAILOUT
A918      Jan-11-19   0019   A   PH19-55839         NOBODY'S MOVING THREW SOMETHING POSS GUN 1 SUBJ DOWN
A918      Jan-11-19   0020   A   PH19-55839         RUNNER'S DOWN ON SS OF RD 30FT FROM VEH HE THREW SOMETHING POSS GUN
                                 10FT AWAY FROM HIM WITHIN HIS REACH
A918      Jan-11-19   0021   A   PH19-55839         UNTS HERE ME,OBJECT 6 FEET AWAY FROM RIGHT HAND,WITHIN REACH,I
                                 BELIEVE ITS A GUN
                                                                                                            PHX001526
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 EXHIBIT 10
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Page 1                            PHOENIX POLICE DEPARTMENT
FOR: EGGERSS                    JURISDICTION - PHOENIX POLICE            Fri, Jan-11-2019

CALL: PH19-55839 ACTIVE (R)
               Desk/
Time     Date Unit    ID
17:56:31 01 10 ETAC13 A6046           Priority: 2 Received by: P CRIMESTOP
                                      Type: 500
                                      67TH AV/GLENDALE
                                      Community: County: District: Zone: 9
                                      Contact: G1: G2: Sex:       DOB:             AZ
                                      Clearance: PER SUPV
17:56:56   01   10   ETAC13   A6046   WERE GOOD FOR RIGHT NOW
17:57:02   01   10   ETAC13   A6046   CALL FORWARDED:(EHM,THIS IS ALL I HAVE FOR H11)
17:57:09   01   10   ETAC13   A6046   DID NOT GET IT ON
17:57:11   01   10   ETAC13   A6046   IS IT ON?
17:57:17   01   10   ETAC13   A6046   NO SOMEONE HONKED HORN
17:57:23   01   10   ETAC13   A6046   COMING TO EXIT RIGHT NOW DO IT RIGHT NOW
17:57:31   01   10   ETAC13   A6046   SASYS WERE GOOD RIGHT NOW
17:57:38   01   10   ETAC13   A6046   COME BACK TO CAR AWAY FROM DOOR ALL CLR
17:57:42   01   10   ETAC13   A6046   TELL DON WERE GOOD
17:57:59   01   10   ETAC13   A6046   SAYING GO WE CAN DO THIS
17:58:06   01   10   ETAC13   A6046   THEYRE OUT THEYRE OUT
17:58:11   01   10   ED4A     A5391   Call re-directed:T13
17:58:15   01   10   ETAC13   A6046   C OMINGUR WAY
17:58:40   01   10   ETAC13   A6046   ARE WE GOOD
17:58:44   01   10   ETAC13   A6046   NEG I DID NOT GET IT ON
17:58:53   01   10   ETAC13   A6046   THAT WAS SOME ONE ELSE HONKING
17:59:00   01   10   ETAC13   A6046   DV START MAKING UR WAY OUT HERE
17:59:02   01   10   ETAC13   A6046   DV COPIES
17:59:13   01   10   ETAC13   A6046   A :V63 PT         102 E ELWOOD ST
18:00:36   01   10   ETAC13   A6046   HES PUT IT --- 2 GALS OF GAS
18:00:58   01   10   ETAC13   A6046   ALRIGHT AND IN THE CAR -- ILL GIVE U DOT AS WELL
18:01:04   01   10   ETAC13   A6046   GOING NB THROUGH LOT
18:01:21   01   10   ETAC13   A6046   SET UP FOR SB IM BHIND THE VEH THEYRE THE FIRST IN LINE
18:01:43   01   10   ETAC13   A6046   LE HIM CHRIS ON OUR WAY SB
18:01:50   01   10   ETAC13   A6046   GETTING INTO SB TURN TURN LANE
18:02:05   01   10   ETAC13   A6046   67A/GDALE GOING EB
18:02:13   01   10   ETAC13   A6046   ES OF XSEC
18:02:22   01   10   ETAC13   A6046   TRYING TO GET THROUGH THE XSEC
18:02:36   01   10   ETAC13   A6046   A :V63 PT         67A/GDALE - EB
18:02:39   01   10   ETAC13   A6046   STUCK AT LIGHT
18:02:42   01   10   ETAC13   A6046   EB ON GDALE FROM 67A
18:02:45   01   10   ETAC13   A6046   STUCK AT LIGHT
18:03:00   01   10   ETAC13   A6046   U GUYS IN GRY TUNDRA
18:03:12   01   10   ETAC13   A6046   GOING TO PULL INTO HOOKAH LOUNGE OR TOCABCCO PLATE FROM EARLIER
18:03:15   01   10   ETAC13   A6046   IM JUST WEST
18:03:16   01   10   ETAC13   A6046   I COPY
18:03:22   01   10   ETAC13   A6046   ILL COVER WB
18:03:29   01   10   ETAC13   A6046   GOT THE EAST 65TH
18:03:31   01   10   ETAC13   A6046   ILL TAKE EAST
18:03:33   01   10   ETAC13   A6046   EAST
18:04:10   01   10   ETAC13   A6046   PULL INTO THE PARKING SPOT CRHIS
18:04:20   01   10   ETAC13   A6046   I GOT EM RIGHT ACROSS JS FROM AZ RECONSTRUCTION FIRM
18:04:30   01   10   ETAC13   A6046   DRIVER OUT WALKING TO SMOKE SHOP
18:04:55   01   10   ETAC13   A6046   CALL FORWARDED:(ED9A,FYI IN UR AREA)




                                                                                                        PHX001428
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Page 2                            PHOENIX POLICE DEPARTMENT
FOR: EGGERSS                    JURISDICTION - PHOENIX POLICE            Fri, Jan-11-2019

CALL: PH19-55839 ACTIVE (R)
                     Desk/
Time       Date      Unit     ID
18:05:02   01 10     ETAC13   A6046   JUST THE DRIVER WENT IN
18:05:14   01 10     ETAC13   A6046   DAVE DO U HAVE EYE ON CAR OR DO U WANT ME TO GET IT
18:05:46   01 10     ETAC13   A6046   HES GOT 2 MORE BLK MAXIMA AND WHI TITAN
18:05:52   01 10     ETAC13   A6046   COPY
18:07:32   01 10     ETAC13   A6046   JEREMIAH BACK IN THE CAR A BLU SHI ON
18:07:58   01 10     ETAC13   A6046   THEYRE ALL IN DOOR STILL OPEN NOW
18:08:16   01 10     ETAC13   A6046   CAR IS ON AND ILL GIVE DOT
18:08:42   01 10     ETAC13   A6046   Address: 102 E ELWOOD ST MUN:PHX ZONE:421 DIST:4 TO: 67TH AV/GLENDALE MUN:
                                      ZONE:9 DIST:
18:08:42   01   10   ETAC13   A6046   Address:INFO TO:
18:08:47   01   10   ETAC13   A6046   Call Remarks:UNK 20 AT THIS TIME
18:10:55   01   10   ETAC13   A6046   BACKING UP
18:11:20   01   10   ETAC13   A6046   RIGHT OUT TO THE MAIN
18:11:41   01   10   ETAC13   A6046   HASNT TURNED YET -- WERE EB U GOT HIM?
18:11:43   01   10   ETAC13   A6046   WE GOT HIM
18:11:57   01   10   ETAC13   A6046   IN CURB LANE 64A NOW
18:12:01   01   10   ETAC13   A6046   A :V63 PT        64A/GDALE
18:12:13   01   10   ETAC13   A6046   FLASHING LIGHT UP HERE 10 SECS
18:12:23   01   10   ETAC13   A6046   SAME SAME 62ND FLASHING 5 SECS
18:12:29   01   10   ETAC13   A6046   A :V63 PT        62ND AV/GDALE
18:12:33   01   10   ETAC13   A6046   CURB 61ST STILL EB
18:12:41   01   10   ETAC13   A6046   A :V63 PT        61A/GDALE - EB
18:12:57   01   10   ETAC13   A6046   59A/GDALE -E B
18:13:12   01   10   ETAC13   A6046   RED AT 58
18:13:16   01   10   ETAC13   A6046   A :V63 PT        58A/GDALE
18:13:35   01   10   ETAC13   A6046   A :A918 PT         67TH AV/GLENDALE
18:13:48   01   10   ETAC13   A6046   5 SECS AT 57A PRIOR
18:13:55   01   10   ETAC13   A6046   A :V63 PT        57A/GDALE
18:13:55   01   10   ETAC13   A6046   A :A918 PT         57A/GDALE
18:14:30   01   10   ETAC13   A6046   NUM 1 LANE APPROACH 55A
18:14:33   01   10   ETAC13   A6046   A :V63 PT        55A/GDALE
18:14:33   01   10   ETAC13   A6046   A :A918 PT         55A/GDALE
18:14:37   01   10   ETAC13   A6046   HELL BE 2 MINS ON U
18:14:51   01   10   ETAC13   A6046   THROUGH 55 NUM 1 LANE
18:15:08   01   10   ETAC13   A6046   STOPPED AT 54 NUM LANE
18:15:12   01   10   ETAC13   A6046   A :V63 PT        54A/GDALE
18:15:12   01   10   ETAC13   A6046   A :A918 PT         54A/GDALE
18:15:29   01   10   ETAC13   A6046   U GOT HIM TIM
18:15:37   01   10   ETAC13   A6046   THROUGH 54 IS WHI CHEVY ONE OF US?
18:16:05   01   10   ETAC13   A6046   STILL RED AT 51A/STAYING IN NUM 1 LANE
18:16:09   01   10   ETAC13   A6046   A :V63 PT        51A/GDALE
18:16:09   01   10   ETAC13   A6046   A :A918 PT         51A/GDALE
18:16:11   01   10   ETAC13   A6046   GETTING GRN
18:16:50   01   10   ETAC13   A6046   KEEPING VEH TRAFFIC HAS PICKED UP QUITE A BIT WERE EB HES IN CURB LANE
18:17:08   01   10   ETAC13   A6046   THORUGH 47
18:17:11   01   10   ETAC13   A6046   A :V63 PT        47A/GDALE
18:17:11   01   10   ETAC13   A6046   A :A918 PT         47A/GDALE
18:17:19   01   10   ETAC13   A6046   A :V638 DE 06103 67TH AV/GLENDALE
18:17:19   01   10   ETAC13   A6046   A :V638 DE 06103 CONTROL FOR UNIT CHANGED T13
18:17:25   01   10   ETAC13   A6046   A :V635 DE 07014 67TH AV/GLENDALE




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CALL: PH19-55839 ACTIVE (R)
                     Desk/
Time       Date      Unit     ID
18:17:25   01 10     ETAC13   A6046   A :V635 DE 07014 CONTROL FOR UNIT CHANGED T13
18:17:27   01 10     ETAC13   A6046   A :V638 DE 06103 47A/GDALE
18:17:27   01 10     ETAC13   A6046   A :V635 DE 07014 47A/GDALE
18:17:28   01 10     ETAC13   A6046   A :V63 PT        47A/GDALE
18:17:28   01 10     ETAC13   A6046   A :A918 PT         47A/GDALE
18:17:35   01 10     ETAC13   A6046   CURB LANE ILL LET U TAKE THAT
18:17:44   01 10     ETAC13   A6046   BACK TO NUM 1
18:18:08   01 10     ETAC13   A6046   ARE U OVER
18:18:10   01 10     ETAC13   A6046   COME ON OVER
18:18:50   01 10     ETAC13   A6046   NUM THROUGH 43RD STILL EB
18:18:54   01 10     ETAC13   A6046   A :V638 DE 06103 43A/GDALE
18:18:54   01 10     ETAC13   A6046   A :V635 DE 07014 43A/GDALE
18:18:54   01 10     ETAC13   A6046   A :V63 PT        43A/GDALE
18:18:54   01 10     ETAC13   A6046   A :A918 PT         43A/GDALE
18:19:18   01 10     ETAC13   A6046   A918 WHATS UR 20
18:19:23   01 10     ETAC13   A6046   COMING TO 39A/EB ON GDALE
18:19:29   01 10     ETAC13   A6046   A :V638 DE 06103 39A/GDALE - EB
18:19:29   01 10     ETAC13   A6046   A :V635 DE 07014 39A/GDALE - EB
18:19:29   01 10     ETAC13   A6046   A :V63 PT        39A/GDALE - EB
18:19:29   01 10     ETAC13   A6046   A :A918 PT         39A/GDALE - EB
18:19:33   01 10     ETAC13   A6046   Call re-directed:T13
18:20:20   01 10     ETAC13   A6046   ONE LANE 35A CLR CALL BACK SIGNALING AS IF HES GOING TO MOVE OVER I DONT
                                      THINK HES GOING TO
18:20:24   01   10   ETAC13   A6046   A :V638 DE 06103 365A/GDALE - EB
18:20:24   01   10   ETAC13   A6046   A :V635 DE 07014 365A/GDALE - EB
18:20:24   01   10   ETAC13   A6046   A :V63 PT        365A/GDALE - EB
18:20:24   01   10   ETAC13   A6046   A :A918 PT         365A/GDALE - EB
18:20:28   01   10   ETAC13   A6046   THOUGH 35A STILL EB
18:20:37   01   10   ETAC13   A6046   A :V638 DE 06103 35A/GDALE EB
18:20:37   01   10   ETAC13   A6046   A :V635 DE 07014 35A/GDALE EB
18:20:37   01   10   ETAC13   A6046   A :V63 PT        35A/GDALE EB
18:20:37   01   10   ETAC13   A6046   A :A918 PT         35A/GDALE EB
18:21:30   01   10   ETAC13   A6046   GOT EM
18:21:38   01   10   ETAC13   A6046   STILL WEAVING IN AND OUT PAST 29TH
18:21:42   01   10   ETAC13   A6046   A :V638 DE 06103 29A/GDALE
18:21:42   01   10   ETAC13   A6046   A :V635 DE 07014 29A/GDALE
18:21:42   01   10   ETAC13   A6046   A :V63 PT        29A/GDALE
18:21:42   01   10   ETAC13   A6046   A :A918 PT         29A/GDALE
18:21:48   01   10   ETAC13   A6046   SIGNALING NB FOR 27A
18:21:57   01   10   ETAC13   A6046   CHANGED MIND PULLING SOUTH AT 27A
18:22:04   01   10   ETAC13   A6046   A918 JUST GOT OVER LANE #4 IN LINE
18:22:09   01   10   ETAC13   A6046   YES CURB LANE
18:22:19   01   10   ETAC13   A6046   AIRS GOT THE EYE
18:22:29   01   10   ETAC13   A6046   LCALL,27A/GDALE
18:22:49   01   10   ETAC13   A6046   CALL FORWARDED:(ED6A,COMING INTO UR PRECINT FYI -- NO BU NEEDED AT THIS
                                      TIME)
18:22:59   01   10   ETAC13   A6046   A :V638 DE 06103 27A/GDALE
18:22:59   01   10   ETAC13   A6046   A :V635 DE 07014 27A/GDALE
18:22:59   01   10   ETAC13   A6046   A :V63 PT        27A/GDALE
18:22:59   01   10   ETAC13   A6046   A :A918 PT         27A/GDALE




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CALL: PH19-55839 ACTIVE (R)
                     Desk/
Time       Date      Unit     ID
18:23:08   01 10     ETAC13   A6046   SLOWING FOR PED SB ON 27A/FROM GDALE
18:23:12   01 10     ETAC13   A6046   A :V638 DE 06103 27A/GDALE -- SB
18:23:12   01 10     ETAC13   A6046   A :V635 DE 07014 27A/GDALE -- SB
18:23:13   01 10     ETAC13   A6046   A :V63 PT         27A/GDALE -- SB
18:23:13   01 10     ETAC13   A6046   A :A918 PT         27A/GDALE -- SB
18:23:19   01 10     ETAC13   A6046   MEL DID U COPY HEADING UR WAY
18:23:25   01 10     ETAC13   A6046   IM 17 TO AREA A FEW OUT
18:23:27   01 10     ETAC13   A6046   OAY
18:24:32   01 10     ETAC13   A6046   TURNING INTO 6131 N 27A
18:24:36   01 10     ETAC13   A6046   A :V638 DE 06103 6131 N 27A
18:24:36   01 10     ETAC13   A6046   A :V635 DE 07014 6131 N 27A
18:24:36   01 10     ETAC13   A6046   A :V63 PT         6131 N 27A
18:24:36   01 10     ETAC13   A6046   A :A918 PT         6131 N 27A
18:24:49   01 10     ETAC13   A6046   IF U WANT TO GET IN THERE WELL HOPEFULLY GET HIM OUT
18:25:09   01 10     ETAC13   A6046   MOBILE GOING ALL THE WAY TO THE EAST AND ABOUT HALF WAY UP
18:25:21   01 10     ETAC13   A6046   ALMOST THERE IF U WANT ILL PARK ON SS AND GO ON FOOT
18:25:32   01 10     ETAC13   A6046   GOING PRETTY SLOW JUST NOW MAKING NB TURN ON EAST EBD
18:25:36   01 10     ETAC13   A6046   GOT EYES ON MAZDA
18:26:05   01 10     ETAC13   A6046   JUST PASSED THE MAZDA GOING TO PULL IN FACING WEST BOUND '
18:26:12   01 10     ETAC13   A6046   GOT DIRECT EYE ON VEH JUST TO ITS EAST
18:26:37   01 10     ETAC13   A6046   DAVE WE IN POSITION TO FOLLOW JUST UNIT CRAIG CAN GET AN EYE ON THEM
18:26:56   01 10     ETAC13   A6046   ITS PARKED AT THIS COMPLX WE HAVE THAT TAGGED BUT DEF A CAR THEYVE USED A
                                      WHOLE BUNCH OF TIMES
18:26:59   01   10   ETAC13   A6046   LET ME KNOW WHEN THEY GET OUT
18:27:01   01   10   ETAC13   A6046   COPY
18:27:09   01   10   ETAC13   A6046   I CAN SEE THE DRIVER SIDE OPENING
18:28:56   01   10   ETAC13   A6046   HES STANDING OUT SIDE OF 1050 STILL SOMEONE IN CAR
18:29:16   01   10   ETAC13   A6046   A918 THE WEST READ OTHER SIDE REAR DOOR OPEN ONLY DOOR SO FAR
18:29:36   01   10   ETAC13   A6046   LOOKS LIKE ONE BODY OUT LEFT REAR DOOR
18:29:52   01   10   ETAC13   A6046   THEY MIGHT BE WALKING UP TO THEM
18:30:09   01   10   ETAC13   A6046   DOMS GOING TO PARK WITH ME OVER NORTH GOING TO JUMP IN MY CAR AND TAG IT
18:30:22   01   10   ETAC13   A6046   SOMEONE JUST MET UP WITH THEM AND GETTING INTO PASS SIDE REAR SIGH T
18:30:28   01   10   ETAC13   A6046   DIDNT SEE SOMEONE GET OUT OF UNIT
18:30:37   01   10   ETAC13   A6046   DRK PANTS DRK SHOES WHI SOLES AND DRK JACKET THING
18:30:50   01   10   ETAC13   A6046   MIGHT BE COMING OUT HERE PRETTY SOON
18:32:08   01   10   ETAC13   A6046   GETTING IN
18:32:18   01   10   ETAC13   A6046   WE SHLD BE LETTING UP LIKE 4
18:32:29   01   10   ETAC13   A6046   2 MALES IN THE BACK SUSP DRIVER AND 101 PASS
18:32:51   01   10   ETAC13   A6046   CONFIRM DIDNT SEE SOMEONE COMEOUT OF UNIT
18:33:01   01   10   ETAC13   A6046   A918 BACKING OUT OF SPOT GETTING READY TO GO NB
18:33:37   01   10   ETAC13   A6046   PULLING TO ROSE LANE
18:33:43   01   10   ETAC13   A6046   A :V638 DE 06103 27A/ROSE LANE
18:33:43   01   10   ETAC13   A6046   A :V635 DE 07014 27A/ROSE LANE
18:33:43   01   10   ETAC13   A6046   A :V63 PT         27A/ROSE LANE
18:33:43   01   10   ETAC13   A6046   A :A918 PT         27A/ROSE LANE
18:33:48   01   10   ETAC13   A6046   WB TOWARDS 27 VERY SLOW
18:34:29   01   10   ETAC13   A6046   TOWARDS NB TURN POSS CONT WB OR IDK
18:34:51   01   10   ETAC13   A6046   27A/ROSE - NB
18:34:57   01   10   ETAC13   A6046   A :V638 DE 06103 27A/ROSE - NB
18:34:57   01   10   ETAC13   A6046   A :V635 DE 07014 27A/ROSE - NB




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                     Desk/
Time       Date      Unit     ID
18:34:57   01 10     ETAC13   A6046   A :V63 PT         27A/ROSE - NB
18:34:57   01 10     ETAC13   A6046   A :A918 PT         27A/ROSE - NB
18:35:27   01 10     ETAC13   A6046   MARYLAND NUM 1 LANE
18:35:35   01 10     ETAC13   A6046   A :V638 DE 06103 27A/MARYLAND
18:35:35   01 10     ETAC13   A6046   A :V635 DE 07014 27A/MARYLAND
18:35:36   01 10     ETAC13   A6046   A :V63 PT         27A/MARYLAND
18:35:36   01 10     ETAC13   A6046   A :A918 PT         27A/MARYLAND
18:35:51   01 10     ETAC13   A6046   27A/MARYLAND STILL NB FROM MARYLAND
18:36:41   01 10     ETAC13   A6046   NB 27A/FOM GDALE
18:36:44   01 10     ETAC13   A6046   A :V638 DE 06103 27A/GDALE - NB
18:36:45   01 10     ETAC13   A6046   A :V635 DE 07014 27A/GDALE - NB
18:36:45   01 10     ETAC13   A6046   A :V63 PT         27A/GDALE - NB
18:36:45   01 10     ETAC13   A6046   A :A918 PT         27A/GDALE - NB
18:38:06   01 10     ETAC13   A6046   NB 27 GOING UP TO NORTHERN CURB LANE
18:38:14   01 10     ETAC13   A6046   A :V638 DE 06103 27A/NORTHERN
18:38:14   01 10     ETAC13   A6046   A :V635 DE 07014 27A/NORTHERN
18:38:14   01 10     ETAC13   A6046   A :V63 PT         27A/NORTHERN
18:38:15   01 10     ETAC13   A6046   A :A918 PT         27A/NORTHERN
18:38:22   01 10     ETAC13   A6046   WILL BE EB NORTHERN FROM 27A
18:39:15   01 10     ETAC13   A6046   S53 27A/BELL WHATS THE VEH DESC
18:39:25   01 10     ETAC13   A6046   MAR HOND PASSPORT SPARE ON BACK GOT GRN EB NORTHERN OVER 17
18:39:30   01 10     ETAC13   A6046   A :V638 DE 06103 I17/NORTHERN
18:39:30   01 10     ETAC13   A6046   A :V635 DE 07014 I17/NORTHERN
18:39:30   01 10     ETAC13   A6046   A :V63 PT         I17/NORTHERN
18:39:30   01 10     ETAC13   A6046   A :A918 PT         I17/NORTHERN
18:39:36   01 10     ETAC13   A6046   EN:S53 PT 07273 67TH AV/GLENDALE
18:39:36   01 10     ETAC13   A6046   EN:S53 PT 07273 CONTROL FOR UNIT CHANGED T13
18:39:49   01 10     ETAC13   A6046   CALL FORWARDED:(ED6A,NOW IN 600 NO BU NEEDED)
18:39:59   01 10     ETAC13   A6046   IF THEY HIT A PLATE UD BE PRIMARY
18:40:09   01 10     ETAC13   A6046   23A/NORTHERN
18:40:12   01 10     ETAC13   A6046   NB
18:40:17   01 10     ETAC13   A6046   LOOK AT CMPLX NEC
18:40:33   01 10     ETAC13   A6046   WHERE WE AT AGAIN?
18:40:42   01 10     ETAC13   A6046   NEC 23A/NORTHERN EB IN PLOT RIGHT ALONG NORTHERN
18:40:47   01 10     ETAC13   A6046   A :V638 DE 06103 23A/NORTHERN -- NEC
18:40:47   01 10     ETAC13   A6046   A :V635 DE 07014 23A/NORTHERN -- NEC
18:40:48   01 10     ETAC13   A6046   A :V63 PT         23A/NORTHERN -- NEC
18:40:48   01 10     ETAC13   A6046   A :A918 PT         23A/NORTHERN -- NEC
18:40:48   01 10     ETAC13   A6046   EN:S53 PT 07273 23A/NORTHERN -- NEC
18:41:06   01 10     ETAC13   A6046   CHRIS SO U KNOW DPS HAD A BAIL OUT AT NORTHERN PROB GOING TO BE FLOODED
                                      WITH MARKED UNIT
18:41:07   01   10   ETAC13   A6046   OKAY
18:41:34   01   10   ETAC13   A6046   THEYRE BACK OUT EB ON NORTHERN ABOUT 2200 GIVE THEM A LITTLE MORE SPACE
18:41:45   01   10   ETAC13   A6046   IF ANY KIND OF HEAT BACK OFF LET THINGS COOL DOWN
18:41:55   01   10   ETAC13   A6046   LEFT TURN INTO CMPLX 21S A NB
18:42:00   01   10   ETAC13   A6046   A :V638 DE 06103 21A/NORTHERN
18:42:00   01   10   ETAC13   A6046   A :V635 DE 07014 21A/NORTHERN
18:42:01   01   10   ETAC13   A6046   A :V63 PT         21A/NORTHERN
18:42:01   01   10   ETAC13   A6046   A :A918 PT         21A/NORTHERN
18:42:01   01   10   ETAC13   A6046   EN:S53 PT 07273 21A/NORTHERN




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                     Desk/
Time       Date      Unit     ID
18:42:22   01 10     ETAC13   A6046   JN OF NORTHERN FIRST RIGHT IN CMPLX PLARKING JE OF 21A FACING NORTHERN
18:42:28   01 10     ETAC13   A6046   COMING FROM THE EAST
18:42:31   01 10     ETAC13   A6046   THERES A (K)
18:42:48   01 10     ETAC13   A6046   LETS GET THIS SET UP
18:42:56   01 10     ETAC13   A6046   IM IN THE (K) LOT RIGHT NOW
18:43:06   01 10     ETAC13   A6046   THINK THERES A (K) 21A/NORTHERN
18:43:23   01 10     ETAC13   A6046   THEYRE PARKED JE OF OTHER BUSN BUT ITS GOOD LOCATION
18:43:32   01 10     ETAC13   A6046   FRNT PASS DOOR OPENED FOR A SEC NO ONE GOT OUT
18:43:38   01 10     ETAC13   A6046   LOOKS LIKE DRIVER WINDOW DOWN ALSO
18:44:04   01 10     ETAC13   A6046   WE ONLY NEED ONE OR TWO UNITS IN (K) LOT ONE THERE AND THE REST TAKE AWAY S
18:44:13   01 10     ETAC13   A6046   IM TO THE EAST GOT A CLR VIEW FROM THE EAST SIDE
18:44:19   01 10     ETAC13   A6046   CRAIG U GOT THE (K)?
18:44:52   01 10     ETAC13   A6046   (K) IS COVERED
18:45:18   01 10     ETAC13   A6046   JUST WANT TO MAKE SURE WE HAVE VIDEO
18:45:23   01 10     ETAC13   A6046   CRAIG DID U SET UP VIDEO
18:45:30   01 10     ETAC13   A6046   YEAH I GOT MY CAMERA AND VIDEO CAMERA
18:46:59   01 10     ETAC13   A6046   53 TO SAU GET IN THERE NO0T TOO CLOSE SO WE DONT BURN ST CRIMES BUT CLOSE
                                      SO WE CAN GET THE GETAWAY
18:47:53   01   10   ETAC13   A6046   HIS DOOR OPEN
18:48:48   01   10   ETAC13   A6046   THEY JUST WEST OF ST LIGHT?
18:48:51   01   10   ETAC13   A6046   EAST OF ST LIGHTS
18:49:08   01   10   ETAC13   A6046   FRNT PASS JUST GOT OUT BY DIRVER SIDE -- ANOTHER VEH JUST PULLED OF
18:49:24   01   10   ETAC13   A6046   BLK SWT SHI REG SLEEVES NO HOOD ON IT - DOESNT LOOK DRESSED FRO IT YET
18:49:27   01   10   ETAC13   A6046   101 JN OF VEH
18:49:30   01   10   ETAC13   A6046   I HAVE A SPOT
18:49:34   01   10   ETAC13   A6046   OTHER 2 GETTING OUT OF CAR
18:49:41   01   10   ETAC13   A6046   NIKE SWTSHI LOOKS FAMILIAR
18:49:44   01   10   ETAC13   A6046   ONE WALKING BACK TO VEH
18:49:55   01   10   ETAC13   A6046   SWTRSHI FAMILIAR FROM OTHERN 211'S
18:50:04   01   10   ETAC13   A6046   WHERE IS VEH PARKED SO WE CAN GET SAU SET UP
18:50:16   01   10   ETAC13   A6046   21A NORTHERN 100 FT EAST OF 21A ON NS OF RD
18:50:27   01   10   ETAC13   A6046   SB TOWRDS NORTHERN BUFFED OUT CANOPY
18:50:33   01   10   ETAC13   A6046   PARKING JN OF CANOPY
18:50:52   01   10   ETAC13   A6046   NIKE SWTSHI LOOKS LIKE SURV PHOTO OF GUY WEARING BIKE
18:50:55   01   10   ETAC13   A6046   IS THAT REST?
18:51:06   01   10   ETAC13   A6046   ONLY ONE HOODED FACE ISNT COVERED JUST LAUGHING
18:51:31   01   10   ETAC13   A6046   IS THIS A PLACE WHERE WE CAN DRUP DEVICE
18:51:43   01   10   ETAC13   A6046   WHILE THEYRE DISTRACTED THERES SOME PEOPLE AT THE CAR RIGHT NEXT TO IT
18:51:47   01   10   ETAC13   A6046   WELL JUST WAIT FOR BETTER TIME
18:51:57   01   10   ETAC13   A6046   IF U CAN GET PICS OF GUY WITH NIKE SWTSHI
18:52:00   01   10   ETAC13   A6046   WHERE IN RELATED?
18:52:11   01   10   ETAC13   A6046   STANDALONE BLDG JE OF (K0 FROM EAST CAN SEE GUY REAL WELL
18:52:20   01   10   ETAC13   A6046   OKAYNOT SURE WE CAN MAKE IT IN TIME
18:52:31   01   10   ETAC13   A6046   THINK WERE CLR AROUND THE CAR DONT SEE ANYTHING NEXT TO UIT
18:52:35   01   10   ETAC13   A6046   DEF A CPLE BLOCKS
18:52:44   01   10   ETAC13   A6046   WE HAVE FIXED WING WELL WAIT TILL WE HAVE GOOD SHOT
18:52:49   01   10   ETAC13   A6046   THIS IS NOT ONE OF THE VEHS WITH GPS
18:53:01   01   10   ETAC13   A6046   NO WE DONT HAVE DONT HAVE ONE ITS READY TO GET IT ON
18:53:03   01   10   ETAC13   A6046   COPY
18:53:12   01   10   ETAC13   A6046   NIKE IN THE BUFFALO SPOT?




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                     Desk/
Time       Date      Unit     ID
18:53:14   01 10     ETAC13   A6046   YES
18:53:24   01 10     ETAC13   A6046   918 IS THAT ONE OF US THAT BACKED INTO THE SPOT
18:53:27   01 10     ETAC13   A6046   TRYING TO GET VIDEO
18:53:35   01 10     ETAC13   A6046   OKAY UNITS THAT JUST BACKED IN
18:53:40   01 10     ETAC13   A6046   4 CARS THAT WE GOT FROMT HIS PASSPORT
18:53:44   01 10     ETAC13   A6046   I SEE IT THANK YOU
18:54:06   01 10     ETAC13   A6046   SEE IF WE CAN WATCHE THEM AND TRY AND TAG IT
18:54:21   01 10     ETAC13   A6046   I CAN SEE THE WHOLE SET UP THROUGHT THE GLASS STLILL PRETTY EXPOSED
18:55:27   01 10     ETAC13   A6046   I KNOW ITS OFF CENTER IT CAN EASILY BE DONE
18:55:42   01 10     ETAC13   A6046   IF I REMEBER CORRECTED PALCE IS JE OF REST AND GOES PRETTY DEEP INTO BUNS
18:55:55   01 10     ETAC13   A6046   PRIMARY HAS A TO GO BAG AND ALL LOOKING TO THE SOUTH RIGHT NOW
18:56:08   01 10     ETAC13   A6046   IF THEY GET FOOD AND GO SIT DOWN IN THE BACK WLD BE A GOOD OPPERTYNITY
18:56:14   01 10     ETAC13   A6046   ARE U CLOSE THAT U CAN GO INSIDE
18:56:25   01 10     ETAC13   A6046   NO IM RIGHT AROUND THE CORNER DO U WANT ME TO BLOKC OR GO INSIDE
18:56:30   01 10     ETAC13   A6046   THEY MAY GO INSIDE
18:56:38   01 10     ETAC13   A6046   JACOB IN NIKE SWT SHI
18:57:01   01 10     ETAC13   A6046   CLDNT SEE IT THE NIKE SWTSHI GOT GUN SHOWING GOT GUN BOTTOM IS STICKING
                                      OUT ON RIGHT SIDE OF HIM
18:57:08   01   10   ETAC13   A6046   WHICH ONE HAS THE GUN
18:57:14   01   10   ETAC13   A6046   4 DEEP IN THE CAR
18:57:21   01   10   ETAC13   A6046   LOOKS LIKE EXTENDED MAG
18:58:21   01   10   ETAC13   A5471   GUN ON THE RIGHT SIDE
18:58:25   01   10   ETAC13   A5471   AIR YOU GOT IT?
18:58:29   01   10   ETAC13   A5471   A918 I GOT IT
18:58:29   01   10   ETAC13   A5471   A :A918 PT         I GOT IT
18:58:49   01   10   ETAC13   A5471   A918 WB GOING TO CIR K LOOKS LIKE
18:58:49   01   10   ETAC13   A5471   A :A918 PT         WB GOING TO CIR K LOOKS LIKE
18:59:00   01   10   ETAC13   A5471   IF THEY GO IN,I WANT SOMEONE TO GO IN TOO,GET A CLOSER LOOK OF GUN
18:59:16   01   10   ETAC13   A5471   CLEARLY DRAWING ATTENTION,BUFFALO SPOT WATCHING
18:59:25   01   10   ETAC13   A5471   A918 GOING UNDER THE PALMS,THEY ARE OUT OF SIDE
18:59:25   01   10   ETAC13   A5471   A :A918 PT         GOING UNDER THE PALMS,THEY ARE OUT OF SIDE
18:59:31   01   10   ETAC13   A5471   PARKED NEXT TO ME,I GOT A GOOD EYE
18:59:37   01   10   ETAC13   A5471   SET TO GO INSIDE WITH THEM
18:59:39   01   10   ETAC13   A5471   I'M SET UP
18:59:53   01   10   ETAC13   A5471   NO ONE GOT OUT,SITTING OUT,FACING TOWARD INFO
19:00:08   01   10   ETAC13   A5471   I'M READY,LEMME KNOW GOING IN
19:00:27   01   10   ETAC13   A5471   FRONT PASS IS OUT THE 101,GOING IN BY HERSELF
19:01:37   01   10   ETAC13   A5471   SHE'S INSIDE,THREE STILL INSIDE PASSPORT
19:01:47   01   10   ETAC13   A5471   52 TO 63 SEND ME A PHOTO OF THAT VEH AND ANY SUSP PHOTOS
19:01:56   01   10   ETAC13   A5471   CHRIS CAN YOU THROW 52 AND HIS GUYS ON WHATS APP?
19:01:58   01   10   ETAC13   A5471   10-4
19:02:39   01   10   ETAC13   A5471   CHRIS AND ROMO TOO
19:03:32   01   10   ETAC13   A5471   63 GUYS IN GOODYEAR,DO THIS NORMAL,IF WE HAVE 211,GET IT RECORDED,LEAVE 2
                                      HER TO VERIFY,IF SAU DOESN'T TAKE THEM,WE'LL FOLLOW OUT WITH SAU AS NEEDED
19:03:35   01   10   ETAC13   A5471   GOODYEAR COPIES
19:03:53   01   10   ETAC13   A5471   SAU WILL BE ONLY APPREHENSION,WE WILL NOT BE INOVLED,GO IN RANGE
19:03:58   01   10   ETAC13   A5471   SAU PERSONELL ONLY
19:04:19   01   10   ETAC13   A5471   101 IN LINE TO PAY FOR SOMETHING
19:04:27   01   10   ETAC13   A5471   JIM THAT'S NOT SAME FIREARM WE SAW IN GLEDALE IS IT
19:04:41   01   10   ETAC13   A5471   NO,I DONT THINK SO,FROM PHOTOS,THIS I THINK HAD EXT MAG STICKING OUT




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Time       Date    Unit     ID
19:04:47   01 10   ETAC13   A5471   NIKE IS THE GUY PICKED UP OFF ROSE LANE?
19:04:52   01 10   ETAC13   A5471   YEAH,BY DEFAULT
19:05:01   01 10   ETAC13   A5471   UNLESS BLU SHI,IT WAS DIFF GUN
19:05:06   01 10   ETAC13   A5471   I THINK ITS GOING TO BE JACOB
19:05:13   01 10   ETAC13   A5471   101 IS OUT WITH DRINK AND WALKING TO THE CAR
19:05:30   01 10   ETAC13   A5471   CHRIS AND I SAW,WE THINK WE SAW JACOB,SUP SHORT 5'4
19:05:42   01 10   ETAC13   A5471   NIKE SWEATSHI MAY HVAE BEEN ON FACEBOOK,DONT SEE IT IN PHOTOS
19:05:45   01 10   ETAC13   A5471   SHE IS BACK IN CAR
19:06:16   01 10   ETAC13   A5471   IT'S NOT STARTED YET
19:06:42   01 10   ETAC13   A5471   BRAD THEY ARE STAYING OFF AIR,GOODYEAR GUYS COPY
19:07:05   01 10   ETAC13   A5471   DRIVER IS OUT
19:07:19   01 10   ETAC13   A5471   CAN'T SEE WHAT HE'S DOING
19:07:38   01 10   ETAC13   A5471   GAS PUMPS I THINK,PUT A COUPLE BUCKS IN
19:07:51   01 10   ETAC13   A5471   YEAH,HE'S GETTING GAS
19:08:08   01 10   ETAC13   A5471   IF YOU CAN SEE,I'M GOIGN TO MOVE,I'M RIGHT NEXT TO HIM
19:08:10   01 10   ETAC13   A5471   YOU'RE GOOD
19:09:19   01 10   ETAC13   A5471   DRIVER IS IN,LET YOU KNOW WHEN HE MOVES
19:10:11   01 10   ETAC13   A5471   COMING OUT ANGLEING WEST FROM CIR K
19:10:16   01 10   ETAC13   A5471   A918 WE GOT THE EYE
19:10:16   01 10   ETAC13   A5471   A :A918 PT         WE GOT THE EYE
19:10:31   01 10   ETAC13   A5471   A918 CONT WEST TOWARD COMPLEX,PULLING ONTO NORTHERN
19:10:31   01 10   ETAC13   A5471   A :A918 PT         CONT WEST TOWARD COMPLEX,PULLING ONTO NORTHERN
19:10:38   01 10   ETAC13   A5471   A918 WB NORTHERN/21ST AVE
19:10:38   01 10   ETAC13   A5471   A :A918 PT         WB NORTHERN/21ST AVE
19:11:20   01 10   ETAC13   A5471   A918 NB ON I17
19:11:20   01 10   ETAC13   A5471   A :A918 PT         NB ON I17
19:11:49   01 10   ETAC13   A5471   A918 GETTING ON I17 NB FROM NORTHERN
19:11:49   01 10   ETAC13   A5471   A :A918 PT         GETTING ON I17 NB FROM NORTHERN
19:12:22   01 10   ETAC13   A5471   A918 RIGHT LANE,POSS EXIT DUNLAP
19:12:22   01 10   ETAC13   A5471   A :A918 PT         RIGHT LANE,POSS EXIT DUNLAP
19:12:26   01 10   ETAC13   A5471   A918 EXITING DUNLAP
19:12:26   01 10   ETAC13   A5471   A :A918 PT         EXITING DUNLAP
19:12:47   01 10   ETAC13   A5471   A918 MIDDLE LANE,STOPPED AT RED
19:12:47   01 10   ETAC13   A5471   A :A918 PT         MIDDLE LANE,STOPPED AT RED
19:13:34   01 10   ETAC13   A5471   LAST FEW HITS 35TH AV/UH AND 35TH AV/TBIRD
19:13:36   01 10   ETAC13   A5471   A918 THANKS
19:13:36   01 10   ETAC13   A5471   A :A918 PT         THANKS
19:14:12   01 10   ETAC13   A5471   A918 CONT NB ON ACCSS
19:14:12   01 10   ETAC13   A5471   A :A918 PT         CONT NB ON ACCSS
19:14:25   01 10   ETAC13   A5471   A918 BACK ON I17 NB FROM DUNLAP
19:14:25   01 10   ETAC13   A5471   A :A918 PT         BACK ON I17 NB FROM DUNLAP
19:14:31   01 10   ETAC13   A5471   A :A918 PT         I17/DUNLAP NB
19:14:45   01 10   ETAC13   A5471   A918 FAR RIGHT LANE
19:14:45   01 10   ETAC13   A5471   A :A918 PT         FAR RIGHT LANE
19:14:57   01 10   ETAC13   A5471   A918 EXITING PEORIA
19:14:57   01 10   ETAC13   A5471   A :A918 PT         EXITING PEORIA
19:15:23   01 10   ETAC13   A5471   A918 STOPPED AT RED
19:15:23   01 10   ETAC13   A5471   A :A918 PT         STOPPED AT RED
19:16:27   01 10   ETAC13   A5471   MEL YOU ON?
19:16:37   01 10   ETAC13   A5471   A918 GREEN LIGHT




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                   Desk/
Time       Date    Unit     ID
19:16:37   01 10   ETAC13   A5471   A :A918 PT        GREEN LIGHT
19:16:49   01 10   ETAC13   A5471   MELANIE?
19:16:50   01 10   ETAC13   A5471   YES
19:16:55   01 10   ETAC13   A5471   JOIN US?
19:16:56   01 10   ETAC13   A5471   COPY
19:17:10   01 10   ETAC13   A5471   A918 CAUGHT AT THE RED,FEW VEHS SOUTH OF PEORIA
19:17:10   01 10   ETAC13   A5471   A :A918 PT        CAUGHT AT THE RED,FEW VEHS SOUTH OF PEORIA
19:18:44   01 10   ETAC13   A5471   A918 GREEN LIGHT,WB ON PEORIA
19:18:44   01 10   ETAC13   A5471   A :A918 PT        GREEN LIGHT,WB ON PEORIA
19:18:57   01 10   ETAC13   A5471   A :V638 DE 06103 I17/PEORIA WB
19:18:57   01 10   ETAC13   A5471   A :V635 DE 07014 I17/PEORIA WB
19:18:57   01 10   ETAC13   A5471   A :V63 PT        I17/PEORIA WB
19:18:57   01 10   ETAC13   A5471   A :A918 PT        I17/PEORIA WB
19:18:57   01 10   ETAC13   A5471   EN:S53 PT 07273 I17/PEORIA WB
19:19:30   01 10   ETAC13   A5471   A918 RED LIGTH AND TRAFFIC AT 28TH DR
19:19:30   01 10   ETAC13   A5471   A :A918 PT        RED LIGTH AND TRAFFIC AT 28TH DR
19:19:42   01 10   ETAC13   A5471   PICS COME ACROS?
19:19:43   01 10   ETAC13   A5471   YES
19:19:59   01 10   ETAC13   A5471   A918 WB FROM PEOIRA FROM 28TH DR
19:19:59   01 10   ETAC13   A5471   A :A918 PT        WB FROM PEOIRA FROM 28TH DR
19:21:08   01 10   ETAC13   A5471   A918 35TH AV/PEORIA WB
19:21:08   01 10   ETAC13   A5471   A :A918 PT        35TH AV/PEORIA WB
19:21:11   01 10   ETAC13   A5471   A :V638 DE 06103 35TH AV/PEORIA WB
19:21:11   01 10   ETAC13   A5471   A :V635 DE 07014 35TH AV/PEORIA WB
19:21:11   01 10   ETAC13   A5471   A :V63 PT        35TH AV/PEORIA WB
19:21:11   01 10   ETAC13   A5471   A :A918 PT        35TH AV/PEORIA WB
19:21:12   01 10   ETAC13   A5471   EN:S53 PT 07273 35TH AV/PEORIA WB
19:22:46   01 10   ETAC13   A5471   A918 RED AT 43RD AV
19:22:46   01 10   ETAC13   A5471   A :A918 PT        RED AT 43RD AV
19:22:55   01 10   ETAC13   A5471   A :V638 DE 06103 43RD AV/PEORIA WB
19:22:55   01 10   ETAC13   A5471   A :V635 DE 07014 43RD AV/PEORIA WB
19:22:55   01 10   ETAC13   A5471   A :V63 PT        43RD AV/PEORIA WB
19:22:55   01 10   ETAC13   A5471   A :A918 PT        43RD AV/PEORIA WB
19:22:55   01 10   ETAC13   A5471   EN:S53 PT 07273 43RD AV/PEORIA WB
19:23:14   01 10   ETAC13   A5471   A918 WB AGAIN
19:23:14   01 10   ETAC13   A5471   A :A918 PT        WB AGAIN
19:24:50   01 10   ETAC13   A5471   A918 RED AT 51ST AV
19:24:50   01 10   ETAC13   A5471   A :A918 PT        RED AT 51ST AV
19:24:56   01 10   ETAC13   A5471   A :V638 DE 06103 51ST AV/PEORIA WB
19:24:56   01 10   ETAC13   A5471   A :V635 DE 07014 51ST AV/PEORIA WB
19:24:56   01 10   ETAC13   A5471   A :V63 PT        51ST AV/PEORIA WB
19:24:56   01 10   ETAC13   A5471   A :A918 PT        51ST AV/PEORIA WB
19:24:56   01 10   ETAC13   A5471   EN:S53 PT 07273 51ST AV/PEORIA WB
19:26:09   01 10   ETAC13   A5471   BC'D INC 56339
19:27:04   01 10   ETAC13   A5471   A918 RED AT 59TH AV STILL WB
19:27:04   01 10   ETAC13   A5471   A :A918 PT        RED AT 59TH AV STILL WB
19:27:12   01 10   ETAC13   A5471   A :V638 DE 06103 59TH AV/PEORIA WB
19:27:12   01 10   ETAC13   A5471   A :V635 DE 07014 59TH AV/PEORIA WB
19:27:12   01 10   ETAC13   A5471   A :V63 PT        59TH AV/PEORIA WB
19:27:12   01 10   ETAC13   A5471   A :A918 PT        59TH AV/PEORIA WB




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Time       Date      Unit     ID
19:27:12   01 10     ETAC13   A5471   EN:S53 PT 07273 59TH AV/PEORIA WB
19:28:22   01 10     ETAC13   A5471   BRAKE LIGHTS
19:28:37   01 10     ETAC13   A5471   A918 POSS GOING SB
19:28:37   01 10     ETAC13   A5471   A :A918 PT         POSS GOING SB
19:29:32   01 10     ETAC13   A5471   BC'D INC 56382
19:30:07   01 10     ETAC13   A5471   A918 67TH AV/PEORIA SB
19:30:07   01 10     ETAC13   A5471   A :A918 PT         67TH AV/PEORIA SB
19:30:11   01 10     ETAC13   A5471   A :V638 DE 06103 67TH AV/PEORIA SB
19:30:11   01 10     ETAC13   A5471   A :V635 DE 07014 67TH AV/PEORIA SB
19:30:11   01 10     ETAC13   A5471   A :V63 PT         67TH AV/PEORIA SB
19:30:11   01 10     ETAC13   A5471   A :A918 PT         67TH AV/PEORIA SB
19:30:12   01 10     ETAC13   A5471   EN:S53 PT 07273 67TH AV/PEORIA SB
19:30:30   01 10     ETAC13   A5471   BC'D INC 56382
19:32:01   01 10     ETAC13   A5471   A918 STILL SB FROM OLIVE 67TH AVE
19:32:01   01 10     ETAC13   A5471   A :A918 PT         STILL SB FROM OLIVE 67TH AVE
19:32:05   01 10     ETAC13   A5471   A :V638 DE 06103 67TH AV/OLIVE SB
19:32:05   01 10     ETAC13   A5471   A :V635 DE 07014 67TH AV/OLIVE SB
19:32:05   01 10     ETAC13   A5471   A :V63 PT         67TH AV/OLIVE SB
19:32:05   01 10     ETAC13   A5471   A :A918 PT         67TH AV/OLIVE SB
19:32:06   01 10     ETAC13   A5471   EN:S53 PT 07273 67TH AV/OLIVE SB
19:32:43   01 10     ETAC13   A5471   A918 WB ON BUTLER
19:32:43   01 10     ETAC13   A5471   A :A918 PT         WB ON BUTLER
19:32:49   01 10     ETAC13   A5471   A :V638 DE 06103 67TH AV/BUTLER WB
19:32:49   01 10     ETAC13   A5471   A :V635 DE 07014 67TH AV/BUTLER WB
19:32:49   01 10     ETAC13   A5471   A :V63 PT         67TH AV/BUTLER WB
19:32:49   01 10     ETAC13   A5471   A :A918 PT         67TH AV/BUTLER WB
19:32:49   01 10     ETAC13   A5471   EN:S53 PT 07273 67TH AV/BUTLER WB
19:33:16   01 10     ETAC13   A5471   PULLING INTO LOT
19:33:23   01 10     ETAC13   A5471   A918 PULLING UP TO GARAGE
19:33:23   01 10     ETAC13   A5471   A :A918 PT         PULLING UP TO GARAGE
19:33:59   01 10     ETAC13   A5471   A918 LIL BLOCKED ON PASS SIDE,CAN'T SEE IT
19:33:59   01 10     ETAC13   A5471   A :A918 PT         LIL BLOCKED ON PASS SIDE,CAN'T SEE IT
19:34:20   01 10     ETAC13   A5471   PEOPLE STILL IN IT,CAN'T TELL IF DRIVER IS
19:34:28   01 10     ETAC13   A5471   A918 NO ONE GOT OUT DRIVER SIDE FOR SURE
19:34:28   01 10     ETAC13   A5471   A :A918 PT         NO ONE GOT OUT DRIVER SIDE FOR SURE
19:34:38   01 10     ETAC13   A5471   A918 DRIVER DOOR OPEN
19:34:38   01 10     ETAC13   A5471   A :A918 PT         DRIVER DOOR OPEN
19:35:22   01 10     ETAC13   A5471   A918 LOSING IN THE TREES,DRIVER ONLY ONE OUT
19:35:22   01 10     ETAC13   A5471   A :A918 PT         LOSING IN THE TREES,DRIVER ONLY ONE OUT
19:36:35   01 10     ETAC13   A5471   A918 DIRVER OUT,LEFT REAR PASS OUT,DRIVER IN,LEFT REAR PASS IN
19:36:35   01 10     ETAC13   A5471   A :A918 PT         DIRVER OUT,LEFT REAR PASS OUT,DRIVER IN,LEFT
                                      REAR PASS IN
19:37:03   01   10   ETAC13   A5471   A918 LEFT REAR BACK OUT,WALKING AWAY EB THROUGH PLOT
19:37:03   01   10   ETAC13   A5471   A :A918 PT         LEFT REAR BACK OUT,WALKING AWAY EB THROUGH PLOT
19:37:07   01   10   ETAC13   A5471   LEFT REAR IS BLU SHI
19:37:20   01   10   ETAC13   A5471   BY A BUSN? OR AT ONE OF THEIR 20S?
19:37:26   01   10   ETAC13   A5471   A918 STAY WTH HIM OR VEH
19:37:26   01   10   ETAC13   A5471   A :A918 PT         STAY WTH HIM OR VEH
19:37:41   01   10   ETAC13   A5471   EYE ON VEH,THEY ARE AT HOME 20 8502 N 67TH AV,WB ON BUTLER FROM 67TH AVE
19:37:57   01   10   ETAC13   A5471   A918 WALKED TO NEXT BLDG EAST AND UP 2ND STAIR WELL,WEHER THEY WERE BEFORE




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19:37:57 01 10 ETAC13 A5471           A :A918 PT        WALKED TO NEXT BLDG EAST AND UP 2ND STAIR
                                      WELL,WEHER THEY WERE BEFORE
19:38:14   01   10   ETAC13   A5471   A918 HE'S GOING IN THE DOOR ON 2ND LEVEL
19:38:14   01   10   ETAC13   A5471   A :A918 PT        HE'S GOING IN THE DOOR ON 2ND LEVEL
19:39:40   01   10   ETAC13   A5471   A :V638 DE 06103 8502 N 67TH AV
19:39:40   01   10   ETAC13   A5471   A :V635 DE 07014 8502 N 67TH AV
19:39:40   01   10   ETAC13   A5471   A :V63 PT        8502 N 67TH AV
19:39:40   01   10   ETAC13   A5471   A :A918 PT        8502 N 67TH AV
19:39:40   01   10   ETAC13   A5471   EN:S53 PT 07273 8502 N 67TH AV
19:40:16   01   10   ETAC13   A5471   SOLID GROUND RIGHT NOW
19:40:23   01   10   ETAC13   A5471   SEE HIM IN DRIVERS,ENOUGHT LIGHT NOW
19:40:24   01   10   ETAC13   A5471   COPY THANKS
19:40:48   01   10   ETAC13   A5471   A918 COPY THANKS
19:40:48   01   10   ETAC13   A5471   A :A918 PT        COPY THANKS
19:41:29   01   10   ETAC13   A5471   STILL IN VEH? OR AROUND IT?
19:44:22   01   10   ETAC13   A5471   S52 NO WORK COMING UP ON B8,WE'RE GOING TO SPLIT,S53 GOING TO B8,S52
                                      STAYING HERE
19:44:24   01   10   ETAC13   A5471   63 COPY
19:45:43   01   10   ETAC13   A5471   THAT NIKE MATCHES PHYSICAL OF HARRIS PRETTY GOOD
19:45:54   01   10   ETAC13   A5471   LOOKING AT HIS NOSE AND EYES,GOOD LOOK AT THE STORE,PRETTY SURE SAME GUY
19:45:58   01   10   ETAC13   A5471   NIKE MATCH FOR TONIGHT?
19:46:11   01   10   ETAC13   A5471   SWEATSHI LOOKS IDENTICAL
19:46:22   01   10   ETAC13   A5471   HAIR LOOKS SHORTER AND MORE HEAVY SET
19:46:32   01   10   ETAC13   A5471   KNOW FOR SURE THIS GUY WAS IN STORE,HE WAS THICKER GUY
19:46:39   01   10   ETAC13   A5471   HE'S SHORTER AND HEAVIER ON MVD
19:46:58   01   10   ETAC13   A5471   ANY WITN STATED ANY WEAPS HAVE EXT MAGS
19:47:02   01   10   ETAC13   A5471   ANY WITN STATED ANY WEAPS HAVE EXT MAGS?
19:47:32   01   10   ETAC13   A5471   NOT THAT I KNOW OF,BUT I DONT KNOW THEM ALL,JUST A HANDGUN,POLICEPOINT AND
                                      LOOK AT PHOTOS,LOOK SLIKE HIM,HANDS IN POCKETS
19:47:35   01   10   ETAC13   A5471   DOORS OPENING UP
19:48:02   01   10   ETAC13   A5471   FRONT PASS DOOR GIVES DOME LIGHT,3 PEOPLE IN CAR,NIKE IN BACKSEAT
19:48:37   01   10   ETAC13   A5471   S532 TO ARMOR,YOU HERE
19:48:39   01   10   ETAC13   A5471   10-4
19:48:51   01   10   ETAC13   A5471   I17 AND PEORIA AREA AND LISTEN TO B8 AND US PLEASE?
19:48:52   01   10   ETAC13   A5471   COPY
19:56:14   01   10   ETAC13   A5471   LIGHTS ON IN CAR,STILL OCCUP BY THREE
19:56:30   01   10   ETAC13   A5471   CAR BACKING UP
19:56:34   01   10   ETAC13   A5471   WHO IS IT MINUS?
19:56:41   01   10   ETAC13   A5471   BLU SHI,I DIDN'T SEE HIM RETURN
19:57:02   01   10   ETAC13   A5471   THEY LEFT,JUST BACKED INTO SPOT ON EAST END OF LOT
19:57:18   01   10   ETAC13   A5471   NEED ME TO COME HELP WITH THAT EYE
19:57:29   01   10   ETAC13   A5471   I THINK IT'S IT,BUSH IN MY WAY,I CAN SEE LUGGAGE RACK
19:57:41   01   10   ETAC13   A5471   A918 VEH MOVED,NOW SITTING TO DUMPSTER,BACKING UP
19:57:41   01   10   ETAC13   A5471   A :A918 PT        VEH MOVED,NOW SITTING TO DUMPSTER,BACKING UP
19:58:04   01   10   ETAC13   A5471   I'LL SEE IF I CAN GET SOME SUPPORT
19:58:17   01   10   ETAC13   A5471   A918 BACKED UP TO EAST END OF BLDG,DRIVER WALKING NB FROM VEH,LEFT DRIVER
                                      DOOR OPEN
19:58:17 01 10 ETAC13 A5471           A :A918 PT        BACKED UP TO EAST END OF BLDG,DRIVER WALKING
                                      NB FROM VEH,LEFT DRIVER DOOR OPEN
19:58:28 01 10 ETAC13 A5471           MAKE SURE CAR DOESNT LEAVE,FOLLOW HIM PLEASE




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19:58:34   01 10     ETAC13   A5471   A918 WALKING TO THE APT ON THE FRONT
19:58:34   01 10     ETAC13   A5471   A :A918 PT        WALKING TO THE APT ON THE FRONT
19:58:44   01 10     ETAC13   A5471   HE WENT INSIDE FRONT DOOR OF 101,JUST SAW HIM
19:58:54   01 10     ETAC13   A5471   UNLOCKED DOOR IT APPEARED
19:59:29   01 10     ETAC13   A5471   THAT 101 WE JUST PASSED WAS IN THE CAR ORIGINALLY?
19:59:40   01 10     ETAC13   A5471   THIS IS TOO TALL FOR ME
19:59:53   01 10     ETAC13   A5471   I'LL PULL IN NEXT TO OU
20:00:11   01 10     ETAC13   A5471   HE'S COMING BACK OUT,SOMETHING IN HIS HAND,CAN'T SEE IT,OH HE'S TAKING OUT
                                      THE TRASH,GOING BACK EB
20:00:16   01   10   ETAC13   A5471   A918 GOT HIM,TRASH IN HAND
20:00:16   01   10   ETAC13   A5471   A :A918 PT        GOT HIM,TRASH IN HAND
20:00:45   01   10   ETAC13   A5471   A918 CARRYING TWO BAGS?
20:00:45   01   10   ETAC13   A5471   A :A918 PT        CARRYING TWO BAGS?
20:00:53   01   10   ETAC13   A5471   YEAH LARGE HEFTY BAG,SOMETHING SMALLER IN OTHER HAND
20:00:58   01   10   ETAC13   A5471   PROB A BOX OR SOETHING
20:01:16   01   10   ETAC13   A5471   A918 LOST HIM ON EAST SIDE,LOOKED LIKE NOT CARRYING AS MUCH,RIGHT REAR
                                      DOOR ON VEH IS OPEN NOW
20:01:16 01 10 ETAC13 A5471           A :A918 PT        LOST HIM ON EAST SIDE,LOOKED LIKE NOT CARRYING
                                      AS MUCH,RIGHT REAR DOOR ON VEH IS OPEN NOW
20:02:27 01 10 ETAC13 A5471           A918 VHE IS OUT OF MY SIGHT ON HALF ORBIT,APT HAS ACTIVITY PEOPLE
20:02:27 01 10 ETAC13 A5471           A :A918 PT        VHE IS OUT OF MY SIGHT ON HALF ORBIT,APT HAS
                                      ACTIVITY PEOPLE
20:02:28   01   10   ETAC13   A5471   GOT IT
20:03:43   01   10   ETAC13   A6171   THIS GUY CIOMING ON THE SIDEWALK LOOKS FAMILIAR WALKING TO CAR NOW MAYBE
20:03:56   01   10   ETAC13   A6171   HE'S GOT SOMETHING IN RIGHT HAND TRYING TO COVWER
20:04:10   01   10   ETAC13   A6171   GETTING IN THE DRIVER SIDE BACK
20:04:39   01   10   ETAC13   A6171   KINDA FUMBLING W SOMETHING IN HIDS HAND OPOSS WRAPPED UP DROPPED UP 99%
                                      LOOKED LIKE A GUN - OTHER GUY WASHING SOMEHTIONG - STEPPED ARND HIM ONCE
                                      HE SAW IT
20:04:41   01   10   ETAC13   A6171   GOOD DEAL
20:04:44   01   10   ETAC13   A6171   VEH ROLLING
20:04:48   01   10   ETAC13   A6171   I GOT IT
20:05:05   01   10   ETAC13   A6171   JUST CONFIRMING ANOTHER SUBJ W/GUN
20:05:08   01   10   ETAC13   A6171   YEAH BUT SAME BLU SHI
20:05:15   01   10   ETAC13   A6171   I THINK THERE ARE 4 PPL IN THE CAR
20:05:27   01   10   ETAC13   A6171   BLU SHI NIKE IN BACK 101 PASS AND JEREMIAH DRIVER
20:05:32   01   10   ETAC13   A6171   DID UTURN
20:05:51   01   10   ETAC13   A6171   WHI SUV APPROACHING LITE IS THAT US?
20:06:11   01   10   ETAC13   A6171   GOING TO DIFF PRECINCTS SWITCH LT'S
20:06:55   01   10   ETAC13   A6171   STILL SB 67A/NORTHERN - GOING TO CATCH A LITE HERE
20:07:53   01   10   ETAC13   A6171   AS WE GO INTO DIFF PRECINCTS CAN YOU LET SHIFT LT'S KNOW
20:09:01   01   10   ETAC13   A6171   GDALE #3 LANE GRN GOING S/B
20:09:32   01   10   ETAC13   A6171   A :V635 DE 07014 67A/GDALE[S/B
20:09:36   01   10   ETAC13   A6171   A :V638 DE 06103 67A/GDALE[S/B
20:10:14   01   10   ETAC13   A6171   67A/BHR S/B
20:10:23   01   10   ETAC13   A6171   TURNING W INTO SHOPPING PLAZA
20:10:34   01   10   ETAC13   A6171   IN PPLAZA N/W/C 67A/BHR
20:10:38   01   10   ETAC13   A6171   ANY POSS THERE
20:10:48   01   10   ETAC13   A6171   TMOBILE SUBWAY AND WALGREENS
20:11:00   01   10   ETAC13   A6171   IN PLOT S/B




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20:11:10   01 10     ETAC13   A6171   A :V638 DE 06103 67A/BHR[N/W/C
20:11:16   01 10     ETAC13   A6171   BACK OUT BHR WB TUURN
20:11:33   01 10     ETAC13   A6171   N/B BHR/67A
20:11:41   01 10     ETAC13   A6171   A :V638 DE 06103 67A/BHR[N/B
20:11:44   01 10     ETAC13   A6171   A :V635 DE 07014 67A/BHR[N/B
20:12:00   01 10     ETAC13   A6171   PULLING INTO APT CPLX 6800 W ON W/S OF CPLX HEADED N/B
20:12:08   01 10     ETAC13   A6171   ACTUALLY 68DR TNWNHSE CPLX
20:12:17   01 10     ETAC13   A6171   A :V635 DE 07014 68DR/BHR
20:12:42   01 10     ETAC13   A6171   CONT N/B THIS WILL END ON TROSE LA THEN HAVE TO GO E/B
20:13:32   01 10     ETAC13   A6171   PARKING SPOT 2ND TO LAST BLDG 2 BLDGS DOUTH OF ROSE LA ABOUT 67DR SWING
                                      ARND TO SEE WHAT WE CAN
20:13:44   01   10   ETAC13   A6171   BACK OF THESE BUSN'S TO FIND A GOOD SPOT
20:13:59   01   10   ETAC13   A6171   A :V638 DE 06103 69A/BHR
20:14:03   01   10   ETAC13   A6171   A :V635 DE 07014 69A/BHR
20:14:23   01   10   ETAC13   A6171   RIGTH REAR DOOR OPEN
20:15:20   01   10   ETAC13   A5471   A918 RIGHT REAR DOOR OPEN,STILL SEE BODY MOVING,RIGHT FRONT DOOR
                                      OPENED,DROPPED A CIGARETTE AND CLOSED DOOR
20:15:20 01 10 ETAC13 A5471           A :A918 PT         RIGHT REAR DOOR OPEN,STILL SEE BODY
                                      MOVING,RIGHT FRONT DOOR OPENED,DROPPED A CIGARETTE AND CLOSED DOOR
20:15:44   01   10   ETAC13   A5471   A918 PARKED IN FRONT OF 6816 W BHR
20:15:44   01   10   ETAC13   A5471   A :A918 PT         PARKED IN FRONT OF 6816 W BHR
20:15:51   01   10   ETAC13   A5471   A :V638 DE 06103 6816 W BHR
20:15:51   01   10   ETAC13   A5471   A :V635 DE 07014 6816 W BHR
20:15:51   01   10   ETAC13   A5471   A :V63 PT        6816 W BHR
20:15:51   01   10   ETAC13   A5471   A :A918 PT         6816 W BHR
20:15:51   01   10   ETAC13   A5471   EN:S53 PT 07273 6816 W BHR
20:18:00   01   10   ETAC13   A5471   A918 RIGHT REAR PASS WALKING NB
20:18:00   01   10   ETAC13   A5471   A :A918 PT         RIGHT REAR PASS WALKING NB
20:18:46   01   10   ETAC13   A5471   A918 LOST HIM IN TREES TO THE NORTH,POSS INTO APT,ALL THE WAY NORTH,LAST
                                      BLD,SWC OF THAT BLDG,WHERE HE WENT
20:18:46 01 10 ETAC13 A5471           A :A918 PT         LOST HIM IN TREES TO THE NORTH,POSS INTO
                                      APT,ALL THE WAY NORTH,LAST BLD,SWC OF THAT BLDG,WHERE HE WENT
20:19:39 01 10 ETAC13 A5471           A918 SHOWING 6816 W BHR,POSS #4122,NOT SURE IF THAT MAKES SENSE
20:19:39 01 10 ETAC13 A5471           A :A918 PT         SHOWING 6816 W BHR,POSS #4122,NOT SURE IF THAT
                                      MAKES SENSE
20:19:47   01   10   ETAC13   A5471   A918 COULD BE PLAIN 22,PROB 4122 THO
20:19:47   01   10   ETAC13   A5471   A :A918 PT         COULD BE PLAIN 22,PROB 4122 THO
20:21:33   01   10   ETAC13   A5471   A918 LEFT REAR DOOR IS OPEN,HAVEN'T SEEN ANYONE COME OUT
20:21:33   01   10   ETAC13   A5471   A :A918 PT         LEFT REAR DOOR IS OPEN,HAVEN'T SEEN ANYONE
                                      COME OUT
20:21:41   01   10   ETAC13   A5471   A918 DONT SEE ANYWHERE YOU CAN GET IN TO SEE IT
20:21:41   01   10   ETAC13   A5471   A :A918 PT         DONT SEE ANYWHERE YOU CAN GET IN TO SEE IT
20:21:45   01   10   ETAC13   A5471   I'M ON FOOT,DESC AGAIN?
20:21:57   01   10   ETAC13   A5471   A918 NORTH ON 68TH DR,1/4 MILE UP,LAST BLDG
20:21:57   01   10   ETAC13   A5471   A :A918 PT         NORTH ON 68TH DR,1/4 MILE UP,LAST BLDG
20:22:03   01   10   ETAC13   A5471   WALKING IN THE CUL DE SAC JW OF COMPLEX
20:23:17   01   10   ETAC13   A5471   EVERYONE OUT THE CAR?
20:23:36   01   10   ETAC13   A5471   A918 ONLY SEEN ONE EXIT LEFT REAR DOOR,HALF UNDER HUGE TREE,ONLY VISION ON
                                      ONE THIRD OF ORBIT
20:23:36 01 10 ETAC13 A5471           A :A918 PT         ONLY SEEN ONE EXIT LEFT REAR DOOR,HALF UNDER




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Time       Date      Unit     ID
                                       HUGE TREE,ONLY VISION ON ONE THIRD OF ORBIT
20:23:55 01 10 ETAC13 A5471            A918 COME UP 67TH DR,OPP SIDE OF COMPLEX,THEN WALK ALL THE WAY UP TO THEM
                                       AND NOT BE SEEN
20:23:55 01 10 ETAC13 A5471            A :A918 PT         COME UP 67TH DR,OPP SIDE OF COMPLEX,THEN WALK
                                       ALL THE WAY UP TO THEM AND NOT BE SEEN
20:25:09   01   10   ETAC13   A5471    KNOWN 20 THESE GUYS?
20:25:14   01   10   ETAC13   A5471    NAH,PROB JUST VISITING SOMEONE
20:25:52   01   10   ETAC13   A5471    A918 GO 4 MORE BLDGS NORTH,TWO BLDGS 100 YDS TO THE WEST
20:25:52   01   10   ETAC13   A5471    A :A918 PT         GO 4 MORE BLDGS NORTH,TWO BLDGS 100 YDS TO THE
                                       WEST
20:26:30   01   10   ETAC13   A5471    A918 TOW TRUCK JUST TURNED SB
20:26:30   01   10   ETAC13   A5471    A :A918 PT         TOW TRUCK JUST TURNED SB
20:26:53   01   10   ETAC13   A5471    I'M AT NEC OF COMPLEX
20:27:15   01   10   ETAC13   A5471    A918 THEY ARE ON WEST SIDE OF 2ND BLDG,FACING EB
20:27:15   01   10   ETAC13   A5471    A :A918 PT         THEY ARE ON WEST SIDE OF 2ND BLDG,FACING EB
20:27:20   01   10   ETAC13   A5471    WALK BY? OR STILL IN IT?
20:27:34   01   10   ETAC13   A5471    A918 NOT CLEAR,RIGHT REAR WINDOW CRACKED,SEROUS CHAIN SMOKERS
20:27:34   01   10   ETAC13   A5471    A :A918 PT         NOT CLEAR,RIGHT REAR WINDOW CRACKED,SEROUS
                                       CHAIN SMOKERS
20:27:42   01   10   ETAC13   A5471    A918 3 BODIES WALKING TOWARD VEH RIGHT NOW
20:27:42   01   10   ETAC13   A5471    A :A918 PT         3 BODIES WALKING TOWARD VEH RIGHT NOW
20:27:55   01   10   ETAC13   A5471    A918 OPENING RIGHT REAR DOOR
20:27:55   01   10   ETAC13   A5471    A :A918 PT         OPENING RIGHT REAR DOOR
20:28:44   01   10   ETAC13   A5471    A918 THEY ARE PLAY FIGHTING,ONE GUY WENT BACK IN,AT THE RIGHT REAR DOOR
20:28:44   01   10   ETAC13   A5471    A :A918 PT         THEY ARE PLAY FIGHTING,ONE GUY WENT BACK IN,AT
                                       THE RIGHT REAR DOOR
20:29:16 01 10 ETAC13 A5471            I SEE THEM,I COULD PROBABY GET THERE IF NEEDED,DOESN'T SEEM LIKE THEY ARE
                                       GOING TO LEAVE VEH
20:29:24 01 10 ETAC13 A5471            A918 ONE GUY STADING OUT,STILL SMOKING
20:29:24 01 10 ETAC13 A5471            A :A918 PT         ONE GUY STADING OUT,STILL SMOKING
20:31:27 01 10 ETAC13 A5471            A918 STILL STANDING BY THE RIGHT REAR,ONE SUBJ LEFT,VEH BACKING OUT,SUBJ
                                       GOING BACK TO #4122
20:31:27 01 10 ETAC13 A5471            A :A918 PT         STILL STANDING BY THE RIGHT REAR,ONE SUBJ
                                       LEFT,VEH BACKING OUT,SUBJ GOING BACK TO #4122
20:31:40   01   10   ETAC13   A5471    A918 EB ON SS OF BLDG,COMING TO YOU CHRIS
20:31:40   01   10   ETAC13   A5471    A :A918 PT         EB ON SS OF BLDG,COMING TO YOU CHRIS
20:31:41   01   10   ETAC13   A5471    COPY
20:31:55   01   10   ETAC13   A5471    A918 SB 687TH DR TO BHR
20:31:55   01   10   ETAC13   A5471    A :A918 PT         SB 687TH DR TO BHR
20:32:53   01   10   ETAC13   A5471    OCCUP COUNT?
20:33:03   01   10   ETAC13   A5471    A918 NOT A SOLID ONE,100% IS 2 AT THIS POINT
20:33:03   01   10   ETAC13   A5471    A :A918 PT         QRY PER: A918 2 AT THIS IS
20:33:03   01   10   ETAC13   A5471    A :A918 PT         NOT A SOLID ONE,100% IS 2 AT THIS POINT
20:33:33   01   10   ETAC13   A5471    A918 EB BHR TOWARD 67TH AV
20:33:33   01   10   ETAC13   A5471    A :A918 PT         EB BHR TOWARD 67TH AV
20:33:48   01   10   ETAC13   A5471    A918 NB 67TH AV/BHR
20:33:48   01   10   ETAC13   A5471    A :A918 PT         NB 67TH AV/BHR
20:33:55   01   10   ETAC13   A5471    A :V638 DE 06103 NB 67TH AV/BHR
20:33:55   01   10   ETAC13   A5471    A :V635 DE 07014 NB 67TH AV/BHR
20:33:55   01   10   ETAC13   A5471    A :V63 PT        NB 67TH AV/BHR




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20:33:55   01 10     ETAC13   A5471   A :A918 PT        NB 67TH AV/BHR
20:33:55   01 10     ETAC13   A5471   EN:S53 PT 07273 NB 67TH AV/BHR
20:34:37   01 10     ETAC13   A5471   I SAW 3,ORIG DRIVER,101 AND BACK PASSENGER
20:35:51   01 10     ETAC13   A5471   A918 APPROACHING GLENDALE
20:35:51   01 10     ETAC13   A5471   A :A918 PT        APPROACHING GLENDALE
20:36:13   01 10     ETAC13   A5471   A918 RED LIGHT,6 VEHS BACK #1 LANE
20:36:13   01 10     ETAC13   A5471   A :A918 PT        RED LIGHT,6 VEHS BACK #1 LANE
20:36:53   01 10     ETAC13   A5471   A918 NB 67TH AV/GLENDALE
20:36:53   01 10     ETAC13   A5471   A :A918 PT        NB 67TH AV/GLENDALE
20:36:59   01 10     ETAC13   A5471   A :V638 DE 06103 NB 67TH AV/GLENDALE
20:36:59   01 10     ETAC13   A5471   A :V635 DE 07014 NB 67TH AV/GLENDALE
20:36:59   01 10     ETAC13   A5471   A :V63 PT        NB 67TH AV/GLENDALE
20:36:59   01 10     ETAC13   A5471   A :A918 PT        NB 67TH AV/GLENDALE
20:36:59   01 10     ETAC13   A5471   EN:S53 PT 07273 NB 67TH AV/GLENDALE
20:37:42   01 10     ETAC13   A5471   A918 THRU ORANGEWOOD
20:37:42   01 10     ETAC13   A5471   A :A918 PT        THRU ORANGEWOOD
20:38:28   01 10     ETAC13   A5471   PULL INTO COMPLEX,I'LL PULL AROUND AND GET ON BUTLER,GET GROUND EYE
20:38:36   01 10     ETAC13   A5471   A918 STILL NB PASSING NORTHERN
20:38:36   01 10     ETAC13   A5471   A :A918 PT        STILL NB PASSING NORTHERN
20:38:42   01 10     ETAC13   A5471   A :V638 DE 06103 67TH AV/NORTHERN NB
20:38:42   01 10     ETAC13   A5471   A :V635 DE 07014 67TH AV/NORTHERN NB
20:38:42   01 10     ETAC13   A5471   A :V63 PT        67TH AV/NORTHERN NB
20:38:43   01 10     ETAC13   A5471   A :A918 PT        67TH AV/NORTHERN NB
20:38:43   01 10     ETAC13   A5471   EN:S53 PT 07273 67TH AV/NORTHERN NB
20:39:08   01 10     ETAC13   A5471   A918 GOING WB BUTLER
20:39:08   01 10     ETAC13   A5471   A :A918 PT        GOING WB BUTLER
20:39:48   01 10     ETAC13   A5471   A918 BACK TO SPOT BEHIND THE GARAGE
20:39:48   01 10     ETAC13   A5471   A :A918 PT        BACK TO SPOT BEHIND THE GARAGE
20:40:05   01 10     ETAC13   A5471   25ING THERE?
20:40:17   01 10     ETAC13   A5471   A918 LOOKS LIKE IT,PRETTY HOT,NOT TOO LONG AGO EITHER
20:40:17   01 10     ETAC13   A5471   A :A918 PT        LOOKS LIKE IT,PRETTY HOT,NOT TOO LONG AGO
                                      EITHER
20:40:25   01   10   ETAC13   A5471   GOT THE EYE ON THE GROUND
20:40:49   01   10   ETAC13   A5471   RED CAR IS MISSING FRONT BUMPER,BASICALLY SAME COLOR AS THE PASSPORT
20:41:00   01   10   ETAC13   A5471   FRONT BUMPER OR JUST GRILL? HYUNDAI WAS MISSING FRONT GRILL EARLIER
20:41:09   01   10   ETAC13   A5471   YEAH,DRIVER'S HEADLIGHT IS OFF CANTER A BIT,YOU'RE RIGHT
20:45:22   01   10   ETAC13   A5471   DON YES I'M HERE
20:45:39   01   10   ETAC13   A5471   STILL GOAL GET A TAG,LAST 4 HITS AFTER MIDFNIGHT,WONT HAVE AIRCRAFT
                                      THEN,WORK TOWARD THAT
20:45:44   01   10   ETAC13   A5471   WAITING FOR GO AHEAD
20:46:04   01   10   ETAC13   A5471   LOOKING AT LAST 5,2147 - 0230 HOURS
20:46:44   01   10   ETAC13   A5471   NO ONE GOTTEN OUT OF 2 VEHS YET
20:46:54   01   10   ETAC13   A5471   PHOTO OF 2ND TO SEND TO SAU?
20:47:05   01   10   ETAC13   A5471   NOT POSS FROM THIS ANGLE,MAYBE FROM EARLIER?
20:47:20   01   10   ETAC13   A5471   WANT THEM TO UNDERSTAND THAT VEH,SO THEY CAN KEEP EYE OUT
20:47:50   01   10   ETAC13   A5471   TAKE A LOOK AT WHI VAN JUST CAME IN,
20:48:11   01   10   ETAC13   A5471   A918 BACKED INTO ONLY EMPTY SPOT,DOORS OPENING AND CLOSING BUT NOT SEEING
                                      ANYONE COME TOT HE VEHS
20:48:11 01 10 ETAC13 A5471           A :A918 PT        BACKED INTO ONLY EMPTY SPOT,DOORS OPENING AND
                                      CLOSING BUT NOT SEEING ANYONE COME TOT HE VEHS




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Time     Date Unit    ID
20:49:35 01 10 ETAC13 A5471           ONE CAR IS BACKED OUT NOW,BOTH CARS ARE REPOSITIONING
20:49:48 01 10 ETAC13 A5471           A918 HYUNDAI BACKED UP 3 FEET,THEN PASSPORT DID TOO,NOW PASSPORT GOING
                                      BACKWARDS
20:49:48 01 10 ETAC13 A5471           A :A918 PT        HYUNDAI BACKED UP 3 FEET,THEN PASSPORT DID
                                      TOO,NOW PASSPORT GOING BACKWARDS
20:50:11   01   10   ETAC13   A5471   POSS HYUNDAI MIGHT BE TRAILER VEHICLE,BOTH BAKCING OUT
20:50:34   01   10   ETAC13   A5471   A918 PASSPORT WB TO GO UTURN,HYUNDAI GOING TO FOLLOW
20:50:34   01   10   ETAC13   A5471   A :A918 PT        PASSPORT WB TO GO UTURN,HYUNDAI GOING TO FOLLOW
20:50:41   01   10   ETAC13   A5471   2 CARS ON SOME OF THE HITS?
20:50:50   01   10   ETAC13   A5471   A918 THAT'S WHAT WE WERE TOLD
20:50:50   01   10   ETAC13   A5471   A :A918 PT        THAT'S WHAT WE WERE TOLD
20:50:55   01   10   ETAC13   A5471   A918 67TH AV/BUTLER SB
20:50:55   01   10   ETAC13   A5471   A :A918 PT        67TH AV/BUTLER SB
20:51:03   01   10   ETAC13   A5471   DONT GET BETWEEN THEM
20:51:18   01   10   ETAC13   A5471   A918 PASSPORT IS MOVING QUICKER THAN BEFORE,I'LL STAY WITH HIM
20:51:18   01   10   ETAC13   A5471   A :A918 PT        PASSPORT IS MOVING QUICKER THAN BEFORE,I'LL
                                      STAY WITH HIM
20:51:37   01   10   ETAC13   A5471   PHOTO OF THAT VEH? HYUNDAI
20:51:41   01   10   ETAC13   A5471   PUT IT ON THE JOINT APP
20:51:49   01   10   ETAC13   A5471   A918 THAT HYUNDAI IS RED TOO?
20:51:49   01   10   ETAC13   A5471   A :A918 PT        THAT HYUNDAI IS RED TOO?
20:52:03   01   10   ETAC13   A5471   A918 67TH AV/GRAND SB
20:52:03   01   10   ETAC13   A5471   A :A918 PT        67TH AV/GRAND SB
20:52:06   01   10   ETAC13   A5471   A :A918 PT        67TH AV/GRAND SB
20:52:31   01   10   ETAC13   A5471   A918 HYUNDAI HAS JOINED PASSPORT BASED ON HEAT SIGNATURE
20:52:31   01   10   ETAC13   A5471   A :A918 PT        HYUNDAI HAS JOINED PASSPORT BASED ON HEAT
                                      SIGNATURE
20:53:12   01   10   ETAC13   A5471   A :A918 PT        67TH AV/GLENDALE EB
20:53:47   01   10   ETAC13   A5471   A918 64TH AV/GLENDALE SB
20:53:47   01   10   ETAC13   A5471   A :A918 PT        64TH AV/GLENDALE SB
20:53:55   01   10   ETAC13   A5471   A918 DRIVING WITH PURPOSE NOW,HAVENT' BEEN LIKE THIS ALL DAY
20:53:55   01   10   ETAC13   A5471   A :A918 PT        DRIVING WITH PURPOSE NOW,HAVENT' BEEN LIKE
                                      THIS ALL DAY
20:54:00   01   10   ETAC13   A5471   A918 EB LE MAR FROM 64TH AV
20:54:00   01   10   ETAC13   A5471   A :A918 PT        EB LE MAR FROM 64TH AV
20:54:17   01   10   ETAC13   A5471   A918 63RD AV/LE MAR SB
20:54:17   01   10   ETAC13   A5471   A :A918 PT        63RD AV/LE MAR SB
20:54:31   01   10   ETAC13   A5471   A918 WB,LOOKS LIKE TRYING TO LOSE HYUNDAI
20:54:31   01   10   ETAC13   A5471   A :A918 PT        WB,LOOKS LIKE TRYING TO LOSE HYUNDAI
20:54:53   01   10   ETAC13   A5471   A918 WB LAMAR FROM 64TH AVE
20:54:53   01   10   ETAC13   A5471   A :A918 PT        WB LAMAR FROM 64TH AVE
20:55:02   01   10   ETAC13   A5471   A918 65TH AV/LAMAR SB
20:55:02   01   10   ETAC13   A5471   A :A918 PT        65TH AV/LAMAR SB
20:55:15   01   10   ETAC13   A5471   A918 HYUNDAI APPEARS LOST IN NEIGH
20:55:15   01   10   ETAC13   A5471   A :A918 PT        HYUNDAI APPEARS LOST IN NEIGH
20:55:31   01   10   ETAC13   A5471   A918 PASSPORT NOW SB IN APT COMPLEX WEST OF 65TH AV OCOTILLO
20:55:31   01   10   ETAC13   A5471   A :A918 PT        PASSPORT NOW SB IN APT COMPLEX WEST OF 65TH AV
                                      OCOTILLO
20:55:40 01 10 ETAC13 A5471           THAT THE HYUNDAI BEHIND LOT BEHIND YOU
20:56:06 01 10 ETAC13 A5471           A918 DIRT ROAD ON WEST SIDE OF COMPLEX,ALMOST DOWN TO MARYLAND,TURNING EB




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Time     Date Unit    ID
20:56:06 01 10 ETAC13 A5471           A :A918 PT         DIRT ROAD ON WEST SIDE OF COMPLEX,ALMOST DOWN
                                      TO MARYLAND,TURNING EB
20:56:16   01   10   ETAC13   A5471   A918 65TH AV/MARYLAND JN
20:56:16   01   10   ETAC13   A5471   A :A918 PT         65TH AV/MARYLAND JN
20:56:27   01   10   ETAC13   A5471   PLATE ON HYUNDAI @CKF7117
20:56:34   01   10   ETAC13   A5471   MISSING FRONT GRILL,2 DR,FOUND IT
20:56:47   01   10   ETAC13   A5471   A918 EB MARYLAND/65TH AV
20:56:47   01   10   ETAC13   A5471   A :A918 PT         EB MARYLAND/65TH AV
20:56:51   01   10   ETAC13   A5471   CIR K 63RD AV MARYLAND
20:56:55   01   10   ETAC13   A5471   A918 SB
20:56:55   01   10   ETAC13   A5471   A :A918 PT         SB
20:57:15   01   10   ETAC13   A5471   A918 64TH DR/MARYLAND JS
20:57:15   01   10   ETAC13   A5471   A :A918 PT         64TH DR/MARYLAND JS
20:57:20   01   10   ETAC13   A5471   GETTING TO CIR K 63RD AV/MARYLAND
20:57:48   01   10   ETAC13   A5471   HAVE EYES ON HYUNDAI?
20:57:54   01   10   ETAC13   A5471   A918 WB FROM 64TH DR ON ROSE
20:57:54   01   10   ETAC13   A5471   A :A918 PT         WB FROM 64TH DR ON ROSE
20:58:02   01   10   ETAC13   A5471   A :V638 DE 06103 64TH DR/ROSE WB
20:58:02   01   10   ETAC13   A5471   A :V635 DE 07014 64TH DR/ROSE WB
20:58:02   01   10   ETAC13   A5471   A :V63 PT        64TH DR/ROSE WB
20:58:02   01   10   ETAC13   A5471   A :A918 PT         64TH DR/ROSE WB
20:58:02   01   10   ETAC13   A5471   EN:S53 PT 07273 64TH DR/ROSE WB
20:58:13   01   10   ETAC13   A5471   A918 65TH DR SB FROM ROSE
20:58:13   01   10   ETAC13   A5471   A :A918 PT         65TH DR SB FROM ROSE
20:58:39   01   10   ETAC13   A5471   A918 ALMOST TO BHR
20:58:39   01   10   ETAC13   A5471   A :A918 PT         ALMOST TO BHR
20:58:55   01   10   ETAC13   A5471   A918 WB BHR FROM 65TH AV
20:58:55   01   10   ETAC13   A5471   A :A918 PT         WB BHR FROM 65TH AV
20:59:01   01   10   ETAC13   A5471   A918 NB IN STRIP MALL
20:59:01   01   10   ETAC13   A5471   A :A918 PT         NB IN STRIP MALL
20:59:17   01   10   ETAC13   A5471   I SAW HYUNDAI64TH BHR
20:59:27   01   10   ETAC13   A5471   A918 RIGHT REAR GETTING OUT AND GOING INTO BUSN
20:59:27   01   10   ETAC13   A5471   A :A918 PT         RIGHT REAR GETTING OUT AND GOING INTO BUSN
20:59:36   01   10   ETAC13   A5471   WHICH CORNER?
21:00:04   01   10   ETAC13   A5471   A918 LOTS OF ACTIVITY,DRIVER JUST STEPPED OUT,STANDING OUT FRONT,NOT GOING
                                      IN,MET UP WITH SOMEONE OUT FRONT,HANDING HIM SOMETHING,WENT IN STORE
21:00:04 01 10 ETAC13 A5471           A :A918 PT         LOTS OF ACTIVITY,DRIVER JUST STEPPED
                                      OUT,STANDING OUT FRONT,NOT GOING IN,MET UP WITH SOMEONE OUT FRONT,HANDING
                                      HIM SOMETHING,WENT IN STORE
21:00:09   01   10   ETAC13   A5471   LIQUOR STORE THERE
21:01:26   01   10   ETAC13   A5471   A1 LIQUOR
21:01:32   01   10   ETAC13   A5471   A918 BOTH CAME OUT AND GOT BACK IN
21:01:32   01   10   ETAC13   A5471   A :A918 PT         BOTH CAME OUT AND GOT BACK IN
21:01:44   01   10   ETAC13   A5471   A918 6514 W BHR
21:01:44   01   10   ETAC13   A5471   A :A918 PT         6514 W BHR
21:01:55   01   10   ETAC13   A5471   LARGE PERIMITER
21:02:05   01   10   ETAC13   A5471   A918 WB TRHOUBH PLAZA
21:02:05   01   10   ETAC13   A5471   A :A918 PT         WB TRHOUBH PLAZA
21:02:50   01   10   ETAC13   A5471   A918 WB BHR FROM 67TH AV
21:02:50   01   10   ETAC13   A5471   A :A918 PT         WB BHR FROM 67TH AV




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Time     Date Unit    ID
21:03:10 01 10 ETAC13 A5471           A918 GOING BACK INTO SAME COMPLEX,68TH DR NB FROM BETHANY
21:03:10 01 10 ETAC13 A5471           A :A918 PT        GOING BACK INTO SAME COMPLEX,68TH DR NB FROM
                                      BETHANY
21:03:49   01   10   ETAC13   A5471   GLENDALE MARKED UNITS ALL OVER THE PLACE,WANT ME TO CHECK?
21:03:51   01   10   ETAC13   A5471   YEAH,
21:04:45   01   10   ETAC13   A5471   A918 SAME PARKING SPOT AS BEFORE
21:04:45   01   10   ETAC13   A5471   A :A918 PT        SAME PARKING SPOT AS BEFORE
21:05:15   01   10   ETAC13   A5471   A918 RIGHT REAR GOT OUT,WALKING UP TO 4122
21:05:15   01   10   ETAC13   A5471   A :A918 PT        RIGHT REAR GOT OUT,WALKING UP TO 4122
21:06:03   01   10   ETAC13   A5471   A918 WALKING BACK OUT,BACK IN VEH
21:06:03   01   10   ETAC13   A5471   A :A918 PT        WALKING BACK OUT,BACK IN VEH
21:06:19   01   10   ETAC13   A5471   A918 RUNS LIKE AGIRL,POSS 101,GOT SOMETHING FROM SOMEONE,RAN BACK INSIDE
21:06:19   01   10   ETAC13   A5471   A :A918 PT        RUNS LIKE AGIRL,POSS 101,GOT SOMETHING FROM
                                      SOMEONE,RAN BACK INSIDE
21:07:49   01   10   ETAC13   A5471   A918 MALE WALKING OUT TO THE VEH
21:07:49   01   10   ETAC13   A5471   A :A918 PT        MALE WALKING OUT TO THE VEH
21:08:05   01   10   ETAC13   A5471   A918 RIGHT REAR DOOR,SUBJ GOT IN
21:08:05   01   10   ETAC13   A5471   A :A918 PT        RIGHT REAR DOOR,SUBJ GOT IN
21:13:07   01   10   ETAC13   A5471   S52 TO 63,GIVING YOU HEADS UP,THESE GUYS HIT,BOTH VEHS INVOLVED,52 GUYS ON
                                      PASSPORT H11,S51 HYUNDAI GO TO H12
21:13:44 01 10 ETAC13 A5471           A918 WE'VE BRIEFED HELICOPTER,IF IT GOES TO THAT,WE'LL STAY WITH
                                      PRIMARY,ASSUMING ITS THE PASSPORT
21:13:44 01 10 ETAC13 A5471           A :A918 PT        WE'VE BRIEFED HELICOPTER,IF IT GOES TO
                                      THAT,WE'LL STAY WITH PRIMARY,ASSUMING ITS THE PASSPORT
21:13:52   01   10   ETAC13   A5471   A918 HAVE HELO GO TO H12
21:13:52   01   10   ETAC13   A5471   A :A918 PT        HAVE HELO GO TO H12
21:14:23   01   10   ETAC13   A5471   A918 68TH DR BHR APT COMPLEX
21:14:23   01   10   ETAC13   A5471   A :A918 PT        68TH DR BHR APT COMPLEX
21:14:31   01   10   ETAC13   A5471   A :V638 DE 06103 6816 W BHR
21:14:31   01   10   ETAC13   A5471   A :V635 DE 07014 6816 W BHR
21:14:31   01   10   ETAC13   A5471   A :V63 PT        6816 W BHR
21:14:31   01   10   ETAC13   A5471   A :A918 PT        6816 W BHR
21:14:31   01   10   ETAC13   A5471   EN:S53 PT 07273 6816 W BHR
21:14:37   01   10   ETAC13   A5471   A918 PASSPORT AT NORTH END
21:14:37   01   10   ETAC13   A5471   A :A918 PT        PASSPORT AT NORTH END
21:14:56   01   10   ETAC13   A5471   A918 WE THNK THERE ARE 3 MAYBE 4,OTHER VEH HAVE NOT SEEN SINCE THEY WERE
                                      CHASING EACH OTHER AROUND
21:14:56 01 10 ETAC13 A5471           A :A918 PT        WE THNK THERE ARE 3 MAYBE 4,OTHER VEH HAVE NOT
                                      SEEN SINCE THEY WERE CHASING EACH OTHER AROUND
21:16:33 01 10 ETAC13 A5471           A918 ANOTHER VEH JOINED US,FLYING UP PREETY QUICK BEHIND PASSPORT,RIGHT
                                      REAR GOT OUT AND ALL WALKING OVER TO HIM
21:16:33 01 10 ETAC13 A5471           A :A918 PT        ANOTHER VEH JOINED US,FLYING UP PREETY QUICK
                                      BEHIND PASSPORT,RIGHT REAR GOT OUT AND ALL WALKING OVER TO HIM
21:17:11 01 10 ETAC13 A5471           A918 DRIVER GOT OUT,WALKED TO APT,THEN DRIVER AND RIGHT REAR PASS,IMMED
                                      GOT BCK INTO PASSPORT
21:17:11 01 10 ETAC13 A5471           A :A918 PT        DRIVER GOT OUT,WALKED TO APT,THEN DRIVER AND
                                      RIGHT REAR PASS,IMMED GOT BCK INTO PASSPORT
21:18:24 01 10 ETAC13 A5471           A918 VEH LEAVING IS NOT INVOLVED
21:18:24 01 10 ETAC13 A5471           A :A918 PT        VEH LEAVING IS NOT INVOLVED
21:20:13 01 10 ETAC13 A5471           RED VEH IS SB FROM MARYLAND 60TH DR




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CALL: PH19-55839 ACTIVE (R)
                     Desk/
Time       Date      Unit     ID
21:20:33   01 10     ETAC13   A5471   63 STAY WITH THIS?
21:21:36   01 10     ETAC13   A5471   I'M BEHIND 67TH AV/BHR EB
21:21:41   01 10     ETAC13   A5471   RO WAS DRIVER EARLIER
21:22:01   01 10     EAUTON   A4261   67AV BHR EB @CKF7117
21:22:05   01 10     ETAC13   A5471   STAY WITH IT? OR NO
21:22:08   01 10     ETAC13   A5471   DON'T THINK SO
21:22:10   01 10     EAUTON   A4261   Subject:LREM MVD.18-01 RR.00723D47.AZ0
                                      COMMENT: LREM
                                      MVD.18-01 RR.00723D47.AZ0072300.TXT LIC/CKF7117.LIY/2019.
                                      LIC:CKF7117 001     TAB:CKF7117 EXPIRE: 07/15/2020
                                      VIN:KMHHM65D73U020826           VYR:2003 VMA:HYUN VMO:TIB      VST:CP
                                      NAM:OTIS,DANIEL,JOSEPH JR                 CUST#:D10149764
                                      ADR:11208 W DULUTH AVE
                                      CTY:YOUNGTOWN                 ST:AZ ZIP:853631325    GVW:000000
                                      TTL:595K018351006 ST:AZ DTE: 12/17/2018
                                      1ST LIEN:(NONE)                     AMT:             DATE:
                                          ADDR:                           CTY:                   ST:
                                          ZIP:
                                      NO PRIOR PLATES
21:22:43   01   10   ETAC13   A5471   I GOT HIM,TAKE A BREAK
21:22:45   01   10   ETAC13   A5471   A918 THANKS
21:22:45   01   10   ETAC13   A5471   A :A918 PT         THANKS
21:23:17   01   10   ETAC13   A5471   A918 3 SHOULD BE IN PASSPORT,THAT VEH CAME UP A LITTLE 510,DRIVER GOT OUT
                                      AND WENT IN REALLY QUICK
21:23:17 01 10 ETAC13 A5471           A :A918 PT         3 SHOULD BE IN PASSPORT,THAT VEH CAME UP A
                                      LITTLE 510,DRIVER GOT OUT AND WENT IN REALLY QUICK
21:25:57   01   10   ETAC13   A5471   A918 EB GOING TO 67TH DR THEN SB FROM THERE
21:25:57   01   10   ETAC13   A5471   A :A918 PT         EB GOING TO 67TH DR THEN SB FROM THERE
21:26:18   01   10   EAUTON   A4261   A :V630 DE 05057 6816 W BHR, - 67TH AV/GLENDALE
21:26:18   01   10   EAUTON   A4261   A :V630 DE 05057 CONTROL FOR UNIT CHANGED T13
21:26:26   01   10   EAUTON   A4261   A :V631 DE 06914 6816 W BHR, - 67TH AV/GLENDALE
21:26:26   01   10   EAUTON   A4261   A :V631 DE 06914 CONTROL FOR UNIT CHANGED T13
21:27:04   01   10   ETAC13   A5471   A918 STOPPED HALF WAY DOWN,DRIVER GOT OUT,MOVED OVER TO PASS SIDE,101 IS
                                      NOW THE DRIVER
21:27:04 01 10 ETAC13 A5471           A :A918 PT         STOPPED HALF WAY DOWN,DRIVER GOT OUT,MOVED
                                      OVER TO PASS SIDE,101 IS NOW THE DRIVER
21:27:08 01 10 EAUTON A4261           A918 STOPPED HALWAY DOWN DRIVER GOT OUT,MOVED OVER TO PSGR SIDE & FRNT
                                      RIGHT 101 SLID OVER & IS DRIVING NOW
21:27:08 01 10 EAUTON A4261           A :A918 PT         STOPPED HALWAY DOWN DRIVER GOT OUT,MOVED OVER
                                      TO PSGR SIDE & FRNT RIGHT 101 SLID OVER & IS DRIVING NOW
21:27:30   01   10   ETAC13   A5471   SAU MAINTAIN WIDE PERIMETER,WE'LL MOVE IN TO GET JUMP SET IF IT GOES DOWN
21:27:43   01   10   EAUTON   A4261   EN:S52 PT        67TH AV/GLENDALE
21:27:52   01   10   EAUTON   A4261   S52 SAU MAINTAIN A WIDE PERIM
21:27:52   01   10   EAUTON   A4261   EN:S52 PT        SAU MAINTAIN A WIDE PERIM
21:27:58   01   10   ETAC13   A5471   A918 EB BHR
21:27:58   01   10   ETAC13   A5471   A :A918 PT         EB BHR
21:28:24   01   10   ETAC13   A5471   A918 AT 67TH AV,CONT EB ON BHR,NOT GOING NB
21:28:24   01   10   ETAC13   A5471   A :A918 PT         AT 67TH AV,CONT EB ON BHR,NOT GOING NB
21:28:48   01   10   ETAC13   A5471   A918 67TH AV/BHR EB
21:28:48   01   10   ETAC13   A5471   A :A918 PT         67TH AV/BHR EB




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Time       Date      Unit     ID
21:28:51   01 10     ETAC13   A5471   A :A918 PT         67TH AV/BHR EB
21:29:06   01 10     ETAC13   A5471   A918 LIL MORE 510 AGAIN THIS TIME
21:29:06   01 10     ETAC13   A5471   A :A918 PT         LIL MORE 510 AGAIN THIS TIME
21:29:44   01 10     EAUTON   A4261   A :S563 K9 08942 67TH AV/GLENDALE
21:29:44   01 10     EAUTON   A4261   A :S563 K9 08942 CONTROL FOR UNIT CHANGED T13
21:29:56   01 10     EAUTON   A4261   WORKED ON H11
21:29:56   01 10     EAUTON   A4261   Call Remarks added
21:30:08   01 10     ETAC13   A5471   A918 EB APPROACHING 59TH ON BHR
21:30:08   01 10     ETAC13   A5471   A :A918 PT         EB APPROACHING 59TH ON BHR
21:30:43   01 10     ETAC13   A5471   A918 59TH AV/BHR EB
21:30:43   01 10     ETAC13   A5471   A :A918 PT         59TH AV/BHR EB
21:30:50   01 10     EAUTON   A4261   A918 WENT LONGER STILL EB 59AV CURB LA #2 VEH BACK HUGGING CURB LIKE GONNA
                                      MAKE SB
21:30:50 01 10 EAUTON A4261           A :A918 PT         WENT LONGER STILL EB 59AV CURB LA #2 VEH BACK
                                      HUGGING CURB LIKE GONNA MAKE SB
21:31:45   01   10   ETAC13   A5471   A918 59TH AV/BHR EB
21:31:45   01   10   ETAC13   A5471   A :A918 PT         59TH AV/BHR EB
21:32:06   01   10   ETAC13   A5471   A :A918 PT         59TH AV/BHR EB
21:32:20   01   10   EAUTON   A4261   A :V638 DE 06103 59AV BHR EB
21:32:23   01   10   EAUTON   A4261   A :V635 DE 07014 59AV BHR EB
21:32:26   01   10   EAUTON   A4261   A :V63 PT        59AV BHR EB
21:32:28   01   10   EAUTON   A4261   A :V630 DE 05057 59AV BHR EB
21:32:31   01   10   EAUTON   A4261   A :V631 DE 06914 59AV BHR EB
21:33:13   01   10   ETAC13   A5471   A918 RED LIGHT AT 51ST AV/GRAND/BHR,CONT EB,CANT SEE THEM RIGHT NOW
21:33:13   01   10   ETAC13   A5471   A :A918 PT         RED LIGHT AT 51ST AV/GRAND/BHR,CONT EB,CANT
                                      SEE THEM RIGHT NOW
21:33:16 01 10 EAUTON A4261           A918 LOOK LIKE MIGHT BE CATCHING LIGHT AT 51AV GRAND/BHR,LOOK CONTINUE
                                      EB,ON RR TRACKS CANT SEE THEM RIGHT NOW
21:33:16 01 10 EAUTON A4261           A :A918 PT         LOOK LIKE MIGHT BE CATCHING LIGHT AT 51AV
                                      GRAND/BHR,LOOK CONTINUE EB,ON RR TRACKS CANT SEE THEM RIGHT NOW
21:33:33   01   10   EAUTON   A4261   A :V631 DE 06914 51AV BHR/GRAND EB
21:33:35   01   10   EAUTON   A4261   A :V630 DE 05057 51AV BHR/GRAND EB
21:33:37   01   10   EAUTON   A4261   A :V635 DE 07014 51AV BHR/GRAND EB
21:33:39   01   10   EAUTON   A4261   A :V638 DE 06103 51AV BHR/GRAND EB
21:33:43   01   10   EAUTON   A4261   A :V63 PT        51AV BHR/GRAND EB
21:34:10   01   10   EAUTON   A4261   EN:S52 PT 08963
21:34:25   01   10   EAUTON   A4261   A :V63 PT 05227
21:34:35   01   10   ETAC13   A5471   A918 4500 W BHR EB
21:34:35   01   10   ETAC13   A5471   A :A918 PT         4500 W BHR EB
21:34:38   01   10   EAUTON   A4261   A :V638 DE 06103 4500 E BHR STILL EB
21:34:41   01   10   EAUTON   A4261   A :V635 DE 07014 4500 E BHR STILL EB
21:34:44   01   10   ETAC13   A5471   A918 LIL FASTER THAN EVERYONE ELSE
21:34:44   01   10   ETAC13   A5471   A :A918 PT         LIL FASTER THAN EVERYONE ELSE
21:34:54   01   10   EAUTON   A4261   A :V631 DE 06914 4500 E BHR STILL EB
21:34:57   01   10   EAUTON   A4261   A :V630 DE 05057 4500 E BHR STILL EB
21:35:04   01   10   ETAC13   A5471   A918 43RD AV STILL EB ON BHR
21:35:04   01   10   ETAC13   A5471   A :A918 PT         43RD AV STILL EB ON BHR
21:35:09   01   10   EAUTON   A4261   A :V638 DE 06103 EB 43AV BHR
21:35:11   01   10   ETAC13   A5471   A :A918 PT         43RD AV/BHR EB
21:35:11   01   10   EAUTON   A4261   A :V635 DE 07014 EB 43AV BHR




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21:35:14   01 10   EAUTON   A4261   A :V631 DE 06914 EB 43AV BHR
21:35:17   01 10   EAUTON   A4261   A :V630 DE 05057 EB 43AV BHR
21:35:19   01 10   EAUTON   A4261   A :V63 PT 05227 EB 43AV BHR
21:36:06   01 10   ETAC13   A5471   A918 35TH AV/BHR EB #1 LANE
21:36:06   01 10   ETAC13   A5471   A :A918 PT        35TH AV/BHR EB #1 LANE
21:36:08   01 10   EAUTON   A4261   A918 EB BHR COMING UP 35AV
21:36:08   01 10   EAUTON   A4261   A :A918 PT        EB BHR COMING UP 35AV
21:36:10   01 10   ETAC13   A5471   A :A918 PT        35TH AV/BHR EB
21:36:20   01 10   ETAC13   A5471   A918 RED LIGHT,#3 VEH
21:36:20   01 10   ETAC13   A5471   A :A918 PT        RED LIGHT,#3 VEH
21:36:25   01 10   EAUTON   A4261   A918 CATCHING RED #1 LA #3 VEH
21:36:25   01 10   EAUTON   A4261   A :A918 PT        CATCHING RED #1 LA #3 VEH
21:36:31   01 10   EAUTON   A4261   A :V638 DE 06103 35AV BHR EB
21:36:33   01 10   EAUTON   A4261   A :V635 DE 07014 35AV BHR EB
21:36:36   01 10   EAUTON   A4261   A :V63 PT 05227 35AV BHR EB
21:36:46   01 10   EAUTON   A4261   A :V630 DE 05057 35AV BHR EB
21:36:50   01 10   EAUTON   A4261   A :V631 DE 06914 35AV BHR EB
21:37:51   01 10   ETAC13   A5471   A918 STILL EB #1 LANE,LEFT TURN LANE 27TH AV,NB
21:37:51   01 10   ETAC13   A5471   A :A918 PT        STILL EB #1 LANE,LEFT TURN LANE 27TH AV,NB
21:37:52   01 10   EAUTON   A4261   A918 #1 LA MOVING LEFT TURN NB 27AV
21:37:52   01 10   EAUTON   A4261   A :A918 PT        #1 LA MOVING LEFT TURN NB 27AV
21:37:56   01 10   ETAC13   A5471   A :A918 PT        NB 27TH AV/BHR
21:37:58   01 10   EAUTON   A4261   A :V638 DE 06103 27AV BHR NB
21:38:00   01 10   EAUTON   A4261   A :V635 DE 07014 27AV BHR NB
21:38:03   01 10   EAUTON   A4261   A :V631 DE 06914 27AV BHR NB
21:38:06   01 10   EAUTON   A4261   A :V630 DE 05057 27AV BHR NB
21:38:13   01 10   ETAC13   A5471   A918 TURNING 6161 COMPLEX?
21:38:13   01 10   ETAC13   A5471   A :A918 PT        TURNING 6161 COMPLEX?
21:38:17   01 10   EAUTON   A4261   A918 TURNING INT COMPLX 6161 N 27AV
21:38:17   01 10   EAUTON   A4261   A :A918 PT        TURNING INT COMPLX 6161 N 27AV
21:38:40   01 10   ETAC13   A5471   ON EAST SIDE IN THE MIDDLE
21:38:48   01 10   EAUTON   A4261   A :V638 DE 06103 6131 N 27AV
21:38:50   01 10   EAUTON   A4261   A :V635 DE 07014 6131 N 27AV
21:38:53   01 10   EAUTON   A4261   A :V631 DE 06914 6131 N 27AV
21:38:55   01 10   EAUTON   A4261   A :V630 DE 05057 6131 N 27AV
21:38:57   01 10   ETAC13   A5471   A :A918 PT        6131 N 27TH AV
21:38:59   01 10   EAUTON   A4261   A :V63 PT 05227 6131 N 27AV
21:39:18   01 10   ETAC13   A5471   IN THE COMPLEX?
21:39:28   01 10   ETAC13   A5471   A918 YEAH ON EAST SIDE,UNDER COVERED PARKING,FEW SPOTS DOWN
21:39:28   01 10   ETAC13   A5471   A :A918 PT        YEAH ON EAST SIDE,UNDER COVERED PARKING,FEW
                                    SPOTS DOWN
21:39:34 01 10 ETAC13 A5471         JS OF DUMPSTER
21:39:38 01 10 EAUTON A4261         A918 OVER ON ES PULLING UNDER COVERED PARKING JUST A FEW SPOTS DOWN FROM
                                    WHERE THEY PARKED LAST TIME,
21:39:38 01 10 EAUTON A4261         A :A918 PT        OVER ON ES PULLING UNDER COVERED PARKING JUST
                                    A FEW SPOTS DOWN FROM WHERE THEY PARKED LAST TIME,
21:39:55 01 10 EAUTON A4261         A918 SAME DUMSTER JS OF ON ES,THEY ARE ON WS OF DRIVE
21:39:55 01 10 EAUTON A4261         A :A918 PT        SAME DUMSTER JS OF ON ES,THEY ARE ON WS OF
                                    DRIVE
21:39:59 01 10 ETAC13 A5471         A918 SAME DUMPSTER,THEY ARE JUST SOUTH OF IT,WEST SIDE OF DIRVE,UNDER




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CALL: PH19-55839 ACTIVE (R)
                     Desk/
Time       Date      Unit     ID
                                       COVER,I CAN SEE DOORS OPENEING PEOPE STEPPING OUT,CANT SEE WHERE THEY ARE
                                       GOING RIGHT NOW
21:39:59 01 10 ETAC13 A5471            A :A918 PT         SAME DUMPSTER,THEY ARE JUST SOUTH OF IT,WEST
                                       SIDE OF DIRVE,UNDER COVER,I CAN SEE DOORS OPENEING PEOPE STEPPING OUT,CANT
                                       SEE WHERE THEY ARE GOING RIGHT NOW
21:40:04   01   10   EAUTON   A4261    A918 GETTING OUT,CANT SEE WHERE THEY'RE GOING
21:40:04   01   10   EAUTON   A4261    A :A918 PT         GETTING OUT,CANT SEE WHERE THEY'RE GOING
21:40:23   01   10   ETAC13   A5471    A918 ONE WALKING AWAY NB FROM VEH,CUTTING WB INTO COMPLEX
21:40:23   01   10   ETAC13   A5471    A :A918 PT         ONE WALKING AWAY NB FROM VEH,CUTTING WB INTO
                                       COMPLEX
21:40:54 01 10 ETAC13 A5471            A918 SOUTH BOUND THEN GOING INTO FIRST STAIRWELL OF THIS BLDG,CANT TELL IF
                                       GOING UPSTAIRS OR NOT
21:40:54 01 10 ETAC13 A5471            A :A918 PT         SOUTH BOUND THEN GOING INTO FIRST STAIRWELL OF
                                       THIS BLDG,CANT TELL IF GOING UPSTAIRS OR NOT
21:40:59 01 10 EAUTON A4261            A918 OTHER SB & INTO THE 1ST STAIRWELL OF BLDG THEY ARE PARKED BY,CANT
                                       TELL IF THEY WENT UPSTAIRS OR NOT
21:40:59 01 10 EAUTON A4261            A :A918 PT         OTHER SB & INTO THE 1ST STAIRWELL OF BLDG THEY
                                       ARE PARKED BY,CANT TELL IF THEY WENT UPSTAIRS OR NOT
21:41:01   01   10   ETAC13   A5471    WE NEED CONFIRM GOING INTO 1050?
21:41:11   01   10   ETAC13   A5471    OUT ON FOOT?
21:41:12   01   10   EAUTON   A4261    V630 HE'S OUT ON FOOT
21:41:12   01   10   EAUTON   A4261    A :V630 DE 05057 HE'S OUT ON FOOT
21:41:26   01   10   ETAC13   A5471    A918 I HAVE GOOD VIEW OF STAIRS,HE WENT INTO GROUND FLOOR,DIDN'T SEE
                                       ANYONE GO UPSTIARS
21:41:26 01 10 ETAC13 A5471            A :A918 PT         I HAVE GOOD VIEW OF STAIRS,HE WENT INTO GROUND
                                       FLOOR,DIDN'T SEE ANYONE GO UPSTIARS
21:41:35 01 10 ETAC13 A5471            MAZDA DIRECTLY BEHIND WHERE THEY PARJKED TO THE EAST
21:41:37 01 10 EAUTON A4261            V630 MAZDA ALMOST DIRECTLY BHND WHERE THEY PARKED TO THE E
21:41:37 01 10 EAUTON A4261            A :V630 DE 05057 MAZDA ALMOST DIRECTLY BHND WHERE THEY PARKED
                                       TO THE E
21:41:47 01 10 ETAC13 A5471            A918 NOT SEEN ANYONE ELSE LEAVE PASSPORT,NOT SURE WHICH POSITION,BUT POSS
                                       RIGHT REAR
21:41:47 01 10 ETAC13 A5471            A :A918 PT         NOT SEEN ANYONE ELSE LEAVE PASSPORT,NOT SURE
                                       WHICH POSITION,BUT POSS RIGHT REAR
21:41:50 01 10 EAUTON A4261            A918 I HAVE NOT SEEN ANYONE ELSE LEAVE THE PASSPORT,THINK HE GOT OUT OF
                                       THE RIGHT REAR
21:41:50 01 10 EAUTON A4261            A :A918 PT         I HAVE NOT SEEN ANYONE ELSE LEAVE THE
                                       PASSPORT,THINK HE GOT OUT OF THE RIGHT REAR
21:42:56   01   10   ETAC13   A5471    A918 MOVEMENT AT THE PASSPORT,ONE SUBJ JUST SMOKING
21:42:56   01   10   ETAC13   A5471    A :A918 PT         MOVEMENT AT THE PASSPORT,ONE SUBJ JUST SMOKING
21:43:08   01   10   ETAC13   A5471    RIGHT NOW SMOKING AT THE BACK
21:43:12   01   10   EAUTON   A4261    V630 THATS THE PRIMARY SMOKING AT THE BACK
21:43:12   01   10   EAUTON   A4261    A :V630 DE 05057 THATS THE PRIMARY SMOKING AT THE BACK
21:45:06   01   10   ETAC13   A5471    A918 GUY THAT WENT TO APT IS COMING BACK TO THE PASSPORT
21:45:06   01   10   ETAC13   A5471    A :A918 PT         GUY THAT WENT TO APT IS COMING BACK TO THE
                                       PASSPORT
21:45:12 01 10 EAUTON A4261            A918 I THINK GUY WENT INTO APT COMING BACK TO PASSPORT,LOOKS LIKE HIM
21:45:12 01 10 EAUTON A4261            A :A918 PT         I THINK GUY WENT INTO APT COMING BACK TO
                                       PASSPORT,LOOKS LIKE HIM
21:45:46 01 10 ETAC13 A5471            GOT IN REAR PASSENGER




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                   Desk/
Time       Date    Unit     ID
21:45:48   01 10   EAUTON   A4261   V638 HE GOT IN REAR PSGR
21:45:48   01 10   EAUTON   A4261   A :V638 DE 06103 HE GOT IN REAR PSGR
21:45:56   01 10   EAUTON   A4261   A :V636 DE 07710 67TH AV/GLENDALE
21:45:56   01 10   EAUTON   A4261   A :V636 DE 07710 CONTROL FOR UNIT CHANGED T13
21:46:00   01 10   ETAC13   A5471   V636 I SAW NIKE GO INTO 1050,USED A SET OF KEYS
21:46:00   01 10   ETAC13   A5471   A :V636 DE 07710 I SAW NIKE GO INTO 1050,USED A SET OF KEYS
21:46:02   01 10   EAUTON   A4261   A :V636 DE 07710 6131 N 27AV
21:46:10   01 10   EAUTON   A4261   V636 FOR THOSE I SAW HIM GO INTO APT 1050
21:46:10   01 10   EAUTON   A4261   A :V636 DE 07710 FOR THOSE I SAW HIM GO INTO APT 1050
21:46:21   01 10   ETAC13   A5471   A918 BACKING OUT
21:46:21   01 10   ETAC13   A5471   A :A918 PT         BACKING OUT
21:46:24   01 10   EAUTON   A4261   A918 THEY'RE BACKING UP
21:46:24   01 10   EAUTON   A4261   A :A918 PT         THEY'RE BACKING UP
21:46:34   01 10   ETAC13   A5471   A918 SB THE WAY THEY CAME IN
21:46:34   01 10   ETAC13   A5471   A :A918 PT         SB THE WAY THEY CAME IN
21:46:47   01 10   EAUTON   A4261   A918 SB GOING TO GO BACK OUT WHERE THEY CAME IN
21:46:47   01 10   EAUTON   A4261   A :A918 PT         SB GOING TO GO BACK OUT WHERE THEY CAME IN
21:46:53   01 10   EAUTON   A4261   A918 WB ON S END
21:46:53   01 10   EAUTON   A4261   A :A918 PT         WB ON S END
21:46:56   01 10   ETAC13   A5471   A918 WB ON THE S END
21:46:56   01 10   ETAC13   A5471   A :A918 PT         WB ON THE S END
21:47:34   01 10   ETAC13   A5471   A918 27TH AV/GOING SB TURN
21:47:34   01 10   ETAC13   A5471   A :A918 PT         27TH AV/GOING SB TURN
21:47:41   01 10   ETAC13   A5471   A918 ALMOST SB
21:47:41   01 10   ETAC13   A5471   A :A918 PT         ALMOST SB
21:48:07   01 10   ETAC13   A5471   A918 EB BHR/27TH AV
21:48:07   01 10   ETAC13   A5471   A :A918 PT         EB BHR/27TH AV
21:48:08   01 10   EAUTON   A4261   A :V638 DE 06103 EB BHR FROM 27AV
21:48:09   01 10   ETAC13   A5471   A :A918 PT         EB BHR/27TH AV
21:48:10   01 10   EAUTON   A4261   A :V636 DE 07710 EB BHR FROM 27AV
21:48:12   01 10   EAUTON   A4261   A :V635 DE 07014 EB BHR FROM 27AV
21:48:14   01 10   EAUTON   A4261   A :V631 DE 06914 EB BHR FROM 27AV
21:48:17   01 10   EAUTON   A4261   A :V630 DE 05057 EB BHR FROM 27AV
21:48:18   01 10   EAUTON   A4261   A :V63 PT 05227 EB BHR FROM 27AV
21:48:31   01 10   ETAC13   A5471   A918 NOT GETTING ON I17,CONT EB ON BHR
21:48:31   01 10   ETAC13   A5471   A :A918 PT         NOT GETTING ON I17,CONT EB ON BHR
21:48:42   01 10   EAUTON   A4261   A :V638 DE 06103 I17 EB ON BHR
21:48:44   01 10   EAUTON   A4261   A :V636 DE 07710 I17 EB ON BHR
21:48:46   01 10   EAUTON   A4261   A :V635 DE 07014 I17 EB ON BHR
21:48:51   01 10   ETAC13   A5471   NO WHATABURGER THERE,LAST TWO HITS
21:48:54   01 10   ETAC13   A5471   I'LL JUMP IN
21:49:02   01 10   ETAC13   A5471   STILL NB HERE 23RD AV
21:49:07   01 10   ETAC13   A5471   A918 STILL NB HERE 23RD AV
21:49:07   01 10   ETAC13   A5471   A :A918 PT         STILL NB HERE 23RD AV
21:49:09   01 10   EAUTON   A4261   V63 WHATABURGER IN SHOPPING CNTR,THAT HAS BEEN THERE 2 LAST HITS
21:49:09   01 10   EAUTON   A4261   A :V63 PT 05227 WHATABURGER IN SHOPPING CNTR,THAT HAS BEEN
                                    THERE 2 LAST HITS
21:49:19 01 10 ETAC13 A5471         A918 WB THRU LOT
21:49:19 01 10 ETAC13 A5471         A :A918 PT         WB THRU LOT
21:49:26 01 10 ETAC13 A5471         TOWRAD WHATABURGER




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CALL: PH19-55839 ACTIVE (R)
                     Desk/
Time       Date      Unit     ID
21:49:27   01 10     EAUTON   A4261   A918 WB THROUGH THE LOT
21:49:27   01 10     EAUTON   A4261   A :A918 PT        WB THROUGH THE LOT
21:49:28   01 10     ETAC13   A5471   A918 PARKING SPOT
21:49:28   01 10     ETAC13   A5471   A :A918 PT        PARKING SPOT
21:49:48   01 10     ETAC13   A5471   WHATABURGER 2460 W BHR
21:50:35   01 10     EAUTON   A4261   FLOOD LIGHTS FLASHING WS OF THIS WHATABURGER,COULD HAVE BEEN ON OTHER SIDE
                                      OF FRWY
21:50:43   01   10   ETAC13   A5471   THOSE RED/BLU MAY HAVE BEEN DPS
21:50:48   01   10   ETAC13   A5471   I'M WATCHING BETWEEN THESE TWO VEHS
21:50:54   01   10   ETAC13   A5471   A4 STAGING?
21:50:57   01   10   ETAC13   A5471   I17/BHR
21:51:07   01   10   ETAC13   A5471   A918 VEH PARKED NEXT TO HAVE SOMEONE IN IT?
21:51:07   01   10   ETAC13   A5471   A :A918 PT        VEH PARKED NEXT TO HAVE SOMEONE IN IT?
21:51:12   01   10   ETAC13   A5471   SURE THERE A DRIVER IN THERE
21:51:18   01   10   ETAC13   A5471   A4 THAT VEH IS COLD
21:51:21   01   10   EAUTON   A4261   V635 I PRETY SURE DRIVER IN THAT VEH THEY ARE PARKED NEXT TO
21:51:21   01   10   EAUTON   A4261   A :V635 DE 07014 I PRETY SURE DRIVER IN THAT VEH THEY ARE
                                      PARKED NEXT TO
21:51:24   01   10   ETAC13   A5471   52 PARKED NOSE IN TO BUSN?
21:51:30   01   10   EAUTON   A4261   V635 THEY PARKED W END OF BUSN
21:51:30   01   10   EAUTON   A4261   A :V635 DE 07014 THEY PARKED W END OF BUSN
21:51:34   01   10   ETAC13   A5471   NO VEHS IN PLOT BETWEEN BIG LOTS AND WHATABURGER
21:51:45   01   10   EAUTON   A4261   V635 NO VEHS IN LT,THEY ARE BTWN BIG LOTS & WHATABURGER
21:51:45   01   10   EAUTON   A4261   A :V635 DE 07014 NO VEHS IN LT,THEY ARE BTWN BIG LOTS &
                                      WHATABURGER
21:51:48 01 10 ETAC13 A5471           A4 PRIME SPOT GOOD VISION ON WHATABURGER,PARKED THERE ON PURPOSE
21:52:01 01 10 ETAC13 A5471           A4 IT'S PARKED TO BLLOCK THEM FROM BEING SEEN
21:52:05 01 10 EAUTON A4261           A918 ALMOST LOOKED LIKE THEY PICKED OUT THIS VEH BLOCKING ANYBODY SEEING
                                      THEM FROM THE WHATABURGER
21:52:05 01 10 ETAC13 A5471           SET UP IN THE AREA,SCOUT
21:52:05 01 10 EAUTON A4261           A :A918 PT        ALMOST LOOKED LIKE THEY PICKED OUT THIS VEH
                                      BLOCKING ANYBODY SEEING THEM FROM THE WHATABURGER
21:52:11   01   10   ETAC13   A5471   DO WHAT YOU CAN TO FILM IN CAMERA
21:52:16   01   10   ETAC13   A5471   TRYING TO GET OVER THERE
21:52:20   01   10   EAUTON   A4261   V63 HEY CRAIG DO WHAT YOU CAN TO GET SET UP SO YOU CALL FILM IT
21:52:20   01   10   EAUTON   A4261   A :V63 PT 05227 HEY CRAIG DO WHAT YOU CAN TO GET SET UP SO YOU
                                      CALL FILM IT
21:52:26   01   10   ETAC13   A5471   23 STILL GOOD FOR K9 IN BACK?
21:52:38   01   10   ETAC13   A5471   GET WITH 25,I'LL JUMP IN FRONT SEAT
21:52:40   01   10   EAUTON   A4261   EN:S523 PT        67TH AV/GLENDALE
21:52:50   01   10   ETAC13   A5471   PUT CODE 5 TO PATROL IN THIS LOCATION
21:52:55   01   10   EAUTON   A4261   EN:S523 PT 09287
21:53:08   01   10   EAUTON   A4261   EN:S522 PT        67TH AV/GLENDALE
21:53:13   01   10   ETAC13   A5471   A918 VEH ON MOVE
21:53:13   01   10   ETAC13   A5471   A :A918 PT        VEH ON MOVE
21:53:22   01   10   ETAC13   A5471   A918 BACK OUT TOWARD BETHANY
21:53:22   01   10   ETAC13   A5471   A :A918 PT        BACK OUT TOWARD BETHANY
21:53:23   01   10   EAUTON   A4261   EN:S522 PT 08677
21:53:33   01   10   ETAC13   A5471   A918 GOING WB ON BHR
21:53:33   01   10   ETAC13   A5471   A :A918 PT        GOING WB ON BHR




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CALL: PH19-55839 ACTIVE (R)
                   Desk/
Time       Date    Unit     ID
21:53:38   01 10   EAUTON   A4261   A918 VEH ON MOVE BACK OUT BHR,COULD GO NB ON ACCESS
21:53:38   01 10   EAUTON   A4261   A :A918 PT        VEH ON MOVE BACK OUT BHR,COULD GO NB ON ACCESS
21:53:44   01 10   ETAC13   A5471   A918 NB ON ACCESS FROM BHR
21:53:44   01 10   ETAC13   A5471   A :A918 PT        NB ON ACCESS FROM BHR
21:53:46   01 10   EAUTON   A4261   A918 CURB LA NB ON ACCESS RD FROM BHR
21:53:46   01 10   EAUTON   A4261   A :A918 PT        CURB LA NB ON ACCESS RD FROM BHR
21:53:50   01 10   ETAC13   A5471   A :A918 PT        I17 /BHR NB ACCESS
21:53:56   01 10   ETAC13   A5471   A918 GOING PAST WHATABURGER RIGHT NOW
21:53:56   01 10   ETAC13   A5471   A :A918 PT        GOING PAST WHATABURGER RIGHT NOW
21:54:05   01 10   ETAC13   A5471   A918 GETTING ON I17 NB
21:54:05   01 10   ETAC13   A5471   A :A918 PT        GETTING ON I17 NB
21:54:15   01 10   EAUTON   A4261   A :V638 DE 06103 I17 BHR NB
21:54:19   01 10   EAUTON   A4261   A :V636 DE 07710 I17 BHR NB
21:54:22   01 10   EAUTON   A4261   A :V635 DE 07014 I17 BHR NB
21:54:23   01 10   ETAC13   A5471   BIG HIT FROM LAST WHATABUGER LAST NIGHT,THEY LIKE THAT
21:54:33   01 10   ETAC13   A5471   A4 I'M AT GLENDALE AND 19TH
21:54:36   01 10   EAUTON   A4261   V63 THEY GOT A BIG HIT ON WHATABURER THE OTHER NIGHT
21:54:36   01 10   EAUTON   A4261   A :V63 PT 05227 THEY GOT A BIG HIT ON WHATABURER THE OTHER NIGHT
21:54:51   01 10   EAUTON   A4261   A4 IS AT 19AV GLENDALE SURV OR TAKING OFF?
21:54:52   01 10   ETAC13   A5471   A918 FULL SURV FOR A WHILE YET,STILL NB I17/GLENDALE
21:54:52   01 10   ETAC13   A5471   A :A918 PT        FULL SURV FOR A WHILE YET,STILL NB I17/GLENDALE
21:54:59   01 10   ETAC13   A5471   A4 WE'LL ALMOST DONE,WE'RE IN THE AREA
21:55:06   01 10   EAUTON   A4261   A4 OK WE'RE ABT DONE W/OUR SHIFT IN AREA
21:55:07   01 10   ETAC13   A5471   A918 NB I17
21:55:07   01 10   ETAC13   A5471   A :A918 PT        NB I17
21:55:14   01 10   ETAC13   A5471   A4 COPY,WHERE WAS IT?
21:55:18   01 10   EAUTON   A4261   A4 WHAT WAS CAR?
21:55:26   01 10   EAUTON   A4261   A918 MAR OLDER HOND PASSPORT
21:55:26   01 10   EAUTON   A4261   A :A918 PT        MAR OLDER HOND PASSPORT
21:55:37   01 10   ETAC13   A5471   A918 NB I17 CURB LANE,NOT EXITING NORTHERN
21:55:37   01 10   ETAC13   A5471   A :A918 PT        NB I17 CURB LANE,NOT EXITING NORTHERN
21:55:39   01 10   EAUTON   A4261   A918 NB I17 CURB LA STILL NB FROM NO
21:55:39   01 10   EAUTON   A4261   A :A918 PT        NB I17 CURB LA STILL NB FROM NO
21:56:03   01 10   EAUTON   A4261   A :V638 DE 06103 I17 NORTHERN NB
21:56:05   01 10   EAUTON   A4261   A :V636 DE 07710 I17 NORTHERN NB
21:56:07   01 10   EAUTON   A4261   A :V635 DE 07014 I17 NORTHERN NB
21:56:11   01 10   EAUTON   A4261   A :V63 PT 05227 I17 NORTHERN NB
21:56:16   01 10   EAUTON   A4261   A :V630 DE 05057 I17 NORTHERN NB
21:56:20   01 10   EAUTON   A4261   A :V631 DE 06914 I17 NORTHERN NB
21:56:49   01 10   EAUTON   A4261   A :A918 PT        I17 NORTHERN NB
21:56:54   01 10   EAUTON   A4261   EN:S52 PT 08963 I17 NORTHERN NB
21:56:56   01 10   EAUTON   A4261   EN:S522 PT 08677 I17 NORTHERN NB
21:56:59   01 10   EAUTON   A4261   EN:S523 PT 09287 I17 NORTHERN NB
21:57:07   01 10   ETAC13   A5471   A918 PASSING METRO CENTER,STILL NB
21:57:07   01 10   ETAC13   A5471   A :A918 PT        PASSING METRO CENTER,STILL NB
21:57:08   01 10   EAUTON   A4261   A918 NB PASSING METRO
21:57:08   01 10   EAUTON   A4261   A :A918 PT        NB PASSING METRO
21:58:02   01 10   ETAC13   A5471   A918 #1 LANE,STILL FASTER THAN TRAFFIC,APPROACHING CACTUS
21:58:02   01 10   ETAC13   A5471   A :A918 PT        #1 LANE,STILL FASTER THAN TRAFFIC,APPROACHING
                                    CACTUS




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Time       Date    Unit     ID
21:58:04   01 10   EAUTON   A4261   A918 #1 STILL NB I17 COMING UP CACTUS
21:58:04   01 10   EAUTON   A4261   A :A918 PT        #1 STILL NB I17 COMING UP CACTUS
21:58:21   01 10   ETAC13   A5471   NEXT WHATABURGERS ARE 31ST AV/THUNDERBIRD,43RD AV/BELL
21:58:22   01 10   EAUTON   A4261   V63 I THINK NEXT WHATABURER TBIRD & 43AV BELL
21:58:22   01 10   EAUTON   A4261   A :V63 PT 05227 I THINK NEXT WHATABURER TBIRD & 43AV BELL
21:59:00   01 10   ETAC13   A5471   A918 ALL THE WAY OVER LEFT,PASSING TBIRD
21:59:00   01 10   ETAC13   A5471   A :A918 PT        ALL THE WAY OVER LEFT,PASSING TBIRD
21:59:02   01 10   EAUTON   A4261   A :V638 DE 06103 I17 TBIRD NB
21:59:05   01 10   EAUTON   A4261   A :V636 DE 07710 I17 TBIRD NB
21:59:07   01 10   EAUTON   A4261   A :V635 DE 07014 I17 TBIRD NB
21:59:14   01 10   EAUTON   A4261   A :V631 DE 06914 I17 TBIRD NB
21:59:16   01 10   EAUTON   A4261   A :V630 DE 05057 I17 TBIRD NB
21:59:18   01 10   EAUTON   A4261   A :V63 PT 05227 I17 TBIRD NB
21:59:25   01 10   EAUTON   A4261   A :A918 PT        I17 TBIRD NB
21:59:57   01 10   ETAC13   A5471   GUYS STAYING PRETTY CLOSE?
22:00:03   01 10   EAUTON   A4261   V63 63 GUYS PRETTY CLOSE?
22:00:03   01 10   EAUTON   A4261   A :V63 PT 05227 63 GUYS PRETTY CLOSE?
22:00:07   01 10   ETAC13   A5471   A918 NB FROM GREENWAY
22:00:07   01 10   ETAC13   A5471   A :A918 PT        NB FROM GREENWAY
22:00:11   01 10   ETAC13   A5471   ABOUT 1/4 MILE BACK
22:00:21   01 10   EAUTON   A4261   V638 1/4 MI BACK
22:00:21   01 10   EAUTON   A4261   A :V638 DE 06103 1/4 MI BACK
22:00:30   01 10   ETAC13   A5471   V636 I'M WITH HIM
22:00:30   01 10   ETAC13   A5471   A :V636 DE 07710 I'M WITH HIM
22:00:41   01 10   ETAC13   A5471   A918 HOV NB FROM BELL
22:00:41   01 10   ETAC13   A5471   A :A918 PT        HOV NB FROM BELL
22:00:46   01 10   ETAC13   A5471   A :A918 PT        I17/BELL NB
22:00:47   01 10   EAUTON   A4261   A :V638 DE 06103 I17 BELL NB
22:00:49   01 10   EAUTON   A4261   A :V636 DE 07710 I17 BELL NB
22:00:52   01 10   EAUTON   A4261   A :V635 DE 07014 I17 BELL NB
22:00:54   01 10   EAUTON   A4261   A :V631 DE 06914 I17 BELL NB
22:00:56   01 10   EAUTON   A4261   A :V630 DE 05057 I17 BELL NB
22:00:57   01 10   EAUTON   A4261   A :V63 PT 05227 I17 BELL NB
22:01:29   01 10   ETAC13   A5471   A918 PASSING UH GETTING OVER TO THE RIGHT
22:01:29   01 10   ETAC13   A5471   A :A918 PT        PASSING UH GETTING OVER TO THE RIGHT
22:01:30   01 10   EAUTON   A4261   A918 UH GETTING OVER TO THE RIGHT LA
22:01:30   01 10   EAUTON   A4261   A :A918 PT        UH GETTING OVER TO THE RIGHT LA
22:01:43   01 10   EAUTON   A4261   A :V638 DE 06103 I17 UH
22:01:45   01 10   EAUTON   A4261   A :V63 PT 05227 I17 UH
22:01:46   01 10   EAUTON   A4261   A :V636 DE 07710 I17 UH
22:01:49   01 10   EAUTON   A4261   A :V635 DE 07014 I17 UH
22:01:51   01 10   EAUTON   A4261   A :V631 DE 06914 I17 UH
22:01:54   01 10   EAUTON   A4261   A :V630 DE 05057 I17 UH
22:01:59   01 10   EAUTON   A4261   A :V63 PT 05227 I17 UH
22:02:04   01 10   EAUTON   A4261   A :A918 PT        I17 UH
22:02:13   01 10   EAUTON   A4261   A918 GIVE ME A SEC,SEE WHICH WAY,LOOKS LIKE L101 WB
22:02:13   01 10   EAUTON   A4261   A :A918 PT        GIVE ME A SEC,SEE WHICH WAY,LOOKS LIKE L101 WB
22:02:17   01 10   ETAC13   A5471   A918 GOING WB ON L101
22:02:17   01 10   ETAC13   A5471   A :A918 PT        GOING WB ON L101
22:02:20   01 10   EAUTON   A4261   A :V638 DE 06103 I17 L101 WB




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Time       Date      Unit     ID
22:02:23   01 10     EAUTON   A4261   A :V636 DE 07710 I17 L101 WB
22:02:25   01 10     EAUTON   A4261   A :V635 DE 07014 I17 L101 WB
22:02:27   01 10     EAUTON   A4261   A :V631 DE 06914 I17 L101 WB
22:02:30   01 10     EAUTON   A4261   A :V630 DE 05057 I17 L101 WB
22:02:32   01 10     EAUTON   A4261   A :V63 PT 05227 I17 L101 WB
22:02:48   01 10     EAUTON   A4261   V636 L101 EB CLOSED SO IF HE WANTED THAT WHATABURER LOST THAT OPPORTUNITY
22:02:48   01 10     EAUTON   A4261   A :V636 DE 07710 L101 EB CLOSED SO IF HE WANTED THAT WHATABURER
                                      LOST THAT OPPORTUNITY
22:03:02   01   10   EAUTON   A4261   A918 NEXT OPPORTUNITY TO EXIT IS 51AV
22:03:02   01   10   EAUTON   A4261   A :A918 PT         NEXT OPPORTUNITY TO EXIT IS 51AV
22:03:27   01   10   EAUTON   A4261   A :A918 PT         I17 L101 WB
22:03:38   01   10   ETAC13   A5471   A918 CROSSING 35TH AV,STAYING IN RIGHT LANE,STILL WB
22:03:38   01   10   ETAC13   A5471   A :A918 PT         CROSSING 35TH AV,STAYING IN RIGHT LANE,STILL WB
22:03:48   01   10   ETAC13   A5471   A918 WHATABURGER AT 67TH AV/L101?
22:03:48   01   10   ETAC13   A5471   A :A918 PT         WHATABURGER AT 67TH AV/L101?
22:03:50   01   10   EAUTON   A4261   A918 PASSING 35AV STAYING OVER TOWARDS RIGHT LA,SO POSS 51AV EXIT
22:03:50   01   10   EAUTON   A4261   A :A918 PT         PASSING 35AV STAYING OVER TOWARDS RIGHT LA,SO
                                      POSS 51AV EXIT
22:03:59   01   10   ETAC13   A5471   JUST SOUTH
22:04:04   01   10   EAUTON   A4261   A918 ISNT THERE ARE WHATABURER JN L101 67AV
22:04:04   01   10   EAUTON   A4261   A :A918 PT         ISNT THERE ARE WHATABURER JN L101 67AV
22:04:09   01   10   EAUTON   A4261   V631 JS
22:04:09   01   10   EAUTON   A4261   A :V631 DE 06914 JS
22:04:16   01   10   ETAC13   A5471   JW OF L101 ON BELL
22:04:16   01   10   EAUTON   A4261   V63 HIT THE ONE THE OTHER NIGHT JW
22:04:16   01   10   EAUTON   A4261   A :V63 PT 05227 HIT THE ONE THE OTHER NIGHT JW
22:04:23   01   10   ETAC13   A5471   A918 PICKED UP SPEED IN #1 LANE
22:04:23   01   10   ETAC13   A5471   A :A918 PT         PICKED UP SPEED IN #1 LANE
22:04:31   01   10   ETAC13   A5471   (M) POSS DEST IS 8922 W BELL RD WHATABURGER
22:04:31   01   10   EAUTON   A4261   A918 MOVED OVER #1 PICKED UP SPEED A BIT,MOVING QUICKER PASSING 43AV
22:04:31   01   10   EAUTON   A4261   A :A918 PT         MOVED OVER #1 PICKED UP SPEED A BIT,MOVING
                                      QUICKER PASSING 43AV
22:05:01   01   10   ETAC13   A5471   THINK THEY HIT THAT ONE
22:05:04   01   10   ETAC13   A5471   YEAH THEY HAVE
22:05:08   01   10   EAUTON   A4261   V631 ONE AT 91AV BELL
22:05:08   01   10   EAUTON   A4261   A :V631 DE 06914 ONE AT 91AV BELL
22:05:13   01   10   ETAC13   A5471   A918 MOVED BACK OVER,MIDDLE LANE,PASSING 51ST AV
22:05:13   01   10   ETAC13   A5471   A :A918 PT         MOVED BACK OVER,MIDDLE LANE,PASSING 51ST AV
22:05:15   01   10   EAUTON   A4261   V63 YEHA THATS THE ONE THE HIT RIGHT CHRIS
22:05:15   01   10   EAUTON   A4261   A :V63 PT 05227 YEHA THATS THE ONE THE HIT RIGHT CHRIS
22:05:29   01   10   EAUTON   A4261   V638 YEAH
22:05:29   01   10   EAUTON   A4261   A :V638 DE 06103 YEAH
22:05:40   01   10   ETAC13   A5471   A918 NOT EXITING 59TH AV,CONT WB #1 LANE
22:05:40   01   10   ETAC13   A5471   A :A918 PT         NOT EXITING 59TH AV,CONT WB #1 LANE
22:05:44   01   10   EAUTON   A4261   A918 NOT EXITING 59AV CONTINUING WB #1 LA
22:05:44   01   10   EAUTON   A4261   A :A918 PT         NOT EXITING 59AV CONTINUING WB #1 LA
22:05:48   01   10   EAUTON   A4261   A :V638 DE 06103 59AV L101 WB
22:05:51   01   10   EAUTON   A4261   A :V636 DE 07710 59AV L101 WB
22:05:53   01   10   EAUTON   A4261   A :V635 DE 07014 59AV L101 WB
22:05:58   01   10   EAUTON   A4261   A :V631 DE 06914 59AV L101 WB




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                     Desk/
Time       Date      Unit     ID
22:06:00   01 10     EAUTON   A4261   A :V630 DE 05057 59AV L101 WB
22:06:02   01 10     EAUTON   A4261   A :V63 PT 05227 59AV L101 WB
22:06:26   01 10     ETAC13   A5471   A918 #1 LANE,PASSING 67TH AV
22:06:26   01 10     ETAC13   A5471   A :A918 PT         #1 LANE,PASSING 67TH AV
22:06:31   01 10     EAUTON   A4261   A918 STILL #1 JUST ABT TO PASS 67AV
22:06:31   01 10     EAUTON   A4261   A :A918 PT         STILL #1 JUST ABT TO PASS 67AV
22:06:47   01 10     EAUTON   A4261   V63 V638 YOU AT?
22:06:47   01 10     EAUTON   A4261   A :V63 PT 05227 V638 YOU AT?
22:06:56   01 10     ETAC13   A5471   JUST ONE MILE BEHIND
22:06:57   01 10     EAUTON   A4261   V638 IM A MI BHDN
22:06:57   01 10     EAUTON   A4261   A :V638 DE 06103 IM A MI BHDN
22:07:04   01 10     ETAC13   A5471   68 AND I ARE WITHIN EYE SHOT
22:07:08   01 10     EAUTON   A4261   V635 V68 & I ARE W/IN EYE SHOT
22:07:08   01 10     EAUTON   A4261   A :V635 DE 07014 V68 & I ARE W/IN EYE SHOT
22:07:20   01 10     ETAC13   A5471   A918 STILL #1 LANE,CROSSING 75TH AV
22:07:20   01 10     ETAC13   A5471   A :A918 PT         STILL #1 LANE,CROSSING 75TH AV
22:07:21   01 10     EAUTON   A4261   A918 STILL #1 ABT TO CROSS 75AV
22:07:21   01 10     EAUTON   A4261   A :A918 PT         STILL #1 ABT TO CROSS 75AV
22:07:28   01 10     EAUTON   A4261   A :V638 DE 06103 75AV L101 WB
22:07:30   01 10     EAUTON   A4261   A :V636 DE 07710 75AV L101 WB
22:07:31   01 10     EAUTON   A4261   A :V635 DE 07014 75AV L101 WB
22:07:34   01 10     EAUTON   A4261   A :V631 DE 06914 75AV L101 WB
22:07:36   01 10     EAUTON   A4261   A :V630 DE 05057 75AV L101 WB
22:07:39   01 10     EAUTON   A4261   A :V630 DE 05057 75AV L101 WB
22:07:39   01 10     ETAC13   A5471   A :A918 PT         L101/75TH AV WB
22:07:41   01 10     EAUTON   A4261   A :V63 PT 05227 75AV L101 WB
22:07:44   01 10     EAUTON   A4261   A :A918 PT         75AV L101 WB
22:07:48   01 10     EAUTON   A4261   EN:S52 PT 08963 75AV L101 WB
22:07:50   01 10     EAUTON   A4261   EN:S522 PT 08677 75AV L101 WB
22:07:53   01 10     EAUTON   A4261   EN:S523 PT 09287 75AV L101 WB
22:07:57   01 10     EAUTON   A4261   A :S563 K9 08942 75AV L101 WB
22:08:00   01 10     EAUTON   A4261   EN:S53 PT 07273 75AV L101 WB
22:08:10   01 10     ETAC13   A5471   A918 STILL #1 LANE
22:08:10   01 10     ETAC13   A5471   A :A918 PT         STILL #1 LANE
22:08:18   01 10     EAUTON   A4261   A918 STILL #1 LA GOTTA GO SOON IF GOING TO GET OFF AT BELL
22:08:18   01 10     EAUTON   A4261   A :A918 PT         STILL #1 LA GOTTA GO SOON IF GOING TO GET OFF
                                      AT BELL
22:08:34   01   10   EAUTON   A4261   A918 SB L101 CROSSING UH #1 LA
22:08:34   01   10   EAUTON   A4261   A :A918 PT         SB L101 CROSSING UH #1 LA
22:08:35   01   10   ETAC13   A5471   A918 SB L101 #1 CROSSING UH
22:08:35   01   10   ETAC13   A5471   A :A918 PT         SB L101 #1 CROSSING UH
22:08:41   01   10   ETAC13   A5471   A :A918 PT         L101/UH SB
22:08:41   01   10   EAUTON   A4261   A :V638 DE 06103 L101 UH SB
22:08:44   01   10   EAUTON   A4261   A :V636 DE 07710 L101 UH SB
22:08:47   01   10   EAUTON   A4261   A :V635 DE 07014 L101 UH SB
22:08:49   01   10   EAUTON   A4261   A :V631 DE 06914 L101 UH SB
22:08:51   01   10   EAUTON   A4261   A :V630 DE 05057 L101 UH SB
22:08:52   01   10   EAUTON   A4261   A :V63 PT 05227 L101 UH SB
22:08:59   01   10   EAUTON   A4261   A918 EXITING BELL FROM SB L101
22:08:59   01   10   EAUTON   A4261   A :A918 PT         EXITING BELL FROM SB L101




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CALL: PH19-55839 ACTIVE (R)
                     Desk/
Time       Date      Unit     ID
22:09:00   01 10     ETAC13   A5471   A918 HE IS EXITING BELL ROAD FROM SB L101
22:09:00   01 10     ETAC13   A5471   A :A918 PT        HE IS EXITING BELL ROAD FROM SB L101
22:09:05   01 10     ETAC13   A5471   A :A918 PT        L101/BELL SB
22:09:06   01 10     EAUTON   A4261   A :V638 DE 06103 L101 BELL
22:09:09   01 10     EAUTON   A4261   A :A918 PT        L101 BELL
22:09:12   01 10     EAUTON   A4261   A :V636 DE 07710 L101 BELL
22:09:14   01 10     EAUTON   A4261   A :V635 DE 07014 L101 BELL
22:09:20   01 10     EAUTON   A4261   A918 ALL WAY TO RIGHT WB ON BELL
22:09:20   01 10     EAUTON   A4261   A :A918 PT        ALL WAY TO RIGHT WB ON BELL
22:09:25   01 10     EAUTON   A4261   A :V635 DE 07014 L101 BELL WB
22:09:26   01 10     EAUTON   A4261   A :V636 DE 07710 L101 BELL WB
22:09:29   01 10     EAUTON   A4261   A :V638 DE 06103 L101 BELL WB
22:09:31   01 10     ETAC13   A5471   A918 ALL THE WAY RIGHT,WB TURN ON BELL,91ST AV/BELL ROAD LOOKING GOOD
                                      RIGHT NOW
22:09:31 01 10 ETAC13 A5471           A :A918 PT        ALL THE WAY RIGHT,WB TURN ON BELL,91ST AV/BELL
                                      ROAD LOOKING GOOD RIGHT NOW
22:09:31   01   10   EAUTON   A4261   A :V631 DE 06914 L101 BELL WB
22:09:33   01   10   EAUTON   A4261   A :V630 DE 05057 L101 BELL WB
22:09:35   01   10   EAUTON   A4261   A :V63 PT 05227 L101 BELL WB
22:09:38   01   10   EAUTON   A4261   A :A918 PT        L101 BELL WB
22:09:51   01   10   ETAC13   A5471   A918 GOING WB ON BELL RD FROM 101
22:09:51   01   10   EAUTON   A4261   A918 NOW TURING WB BELL FROM L101
22:09:51   01   10   ETAC13   A5471   A :A918 PT        GOING WB ON BELL RD FROM 101
22:09:51   01   10   EAUTON   A4261   A :A918 PT        NOW TURING WB BELL FROM L101
22:10:07   01   10   EAUTON   A4261   A918 WHATABURGER 91AV BELL LOOKING PRETTY GOOD
22:10:07   01   10   EAUTON   A4261   A :A918 PT        WHATABURGER 91AV BELL LOOKING PRETTY GOOD
22:10:16   01   10   ETAC13   A5471   A918 GOING SB ON 84THAV TOWARD CRACKER BARREL
22:10:16   01   10   ETAC13   A5471   A :A918 PT        GOING SB ON 84THAV TOWARD CRACKER BARREL
22:10:22   01   10   ETAC13   A5471   A :A918 PT        84TH AV/BELL SB
22:10:27   01   10   EAUTON   A4261   A918 GETTING INTO LEFT TURN TO GO SB 84AV TOWARDS CRACKER BARREL
22:10:27   01   10   EAUTON   A4261   A :A918 PT        GETTING INTO LEFT TURN TO GO SB 84AV TOWARDS
                                      CRACKER BARREL
22:10:39   01   10   EAUTON   A4261   A918 SEC CAR WASH THERE,JUST SITTING THERE
22:10:39   01   10   EAUTON   A4261   A :A918 PT        SEC CAR WASH THERE,JUST SITTING THERE
22:10:43   01   10   ETAC13   A5471   A918 SEC CORNER BY THE CAR WASH,
22:10:43   01   10   ETAC13   A5471   A :A918 PT        SEC CORNER BY THE CAR WASH,
22:10:49   01   10   ETAC13   A5471   GET SOMEONE AT WHATABURGER
22:10:49   01   10   EAUTON   A4261   V63 GET SOMEONE OVER WHATABURGER JUST IN CASE
22:10:49   01   10   EAUTON   A4261   A :V63 PT 05227 GET SOMEONE OVER WHATABURGER JUST IN CASE
22:10:58   01   10   EAUTON   A4261   A :V636 DE 07710 8922 W BELL
22:11:15   01   10   ETAC13   A5471   RED HYUNDAI,WOULDN'T BE SURPRISED LEAD VEH
22:11:16   01   10   EAUTON   A4261   S52 LEAD VEH
22:11:16   01   10   EAUTON   A4261   EN:S52 PT 08963 LEAD VEH
22:11:23   01   10   ETAC13   A5471   A918 PULLED INTO SHELL STATION,UNDER PUMP,OUT OF MY SIGHT
22:11:23   01   10   ETAC13   A5471   A :A918 PT        PULLED INTO SHELL STATION,UNDER PUMP,OUT OF MY
                                      SIGHT
22:11:29 01 10 EAUTON A4261           A918 SB 84AV SEC INTO SHELL PULLING INTO PUMPS OUT OF MY SIGHT
22:11:29 01 10 EAUTON A4261           A :A918 PT        SB 84AV SEC INTO SHELL PULLING INTO PUMPS OUT
                                      OF MY SIGHT
22:11:30 01 10 ETAC13 A5471           GET SOMEONE CLOSE TO SEE ANY WEAPS




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CALL: PH19-55839 ACTIVE (R)
                     Desk/
Time       Date      Unit     ID
22:11:32   01 10     ETAC13   A5471   I'LL GET IT
22:11:38   01 10     EAUTON   A4261   V631 I'LL GET IN CLOSE SEE IF ANY WPNS
22:11:38   01 10     EAUTON   A4261   A :V631 DE 06914 I'LL GET IN CLOSE SEE IF ANY WPNS
22:11:41   01 10     ETAC13   A5471   I'LL BE WHATABURGER
22:11:49   01 10     EAUTON   A4261   A :V632 PT        67TH AV/GLENDALE
22:11:59   01 10     ETAC13   A5471   A918 TOWARD WEST END OF PUMPS
22:11:59   01 10     ETAC13   A5471   A :A918 PT        TOWARD WEST END OF PUMPS
22:12:01   01 10     EAUTON   A4261   A :V632 PT        8922 W BELL
22:12:08   01 10     ETAC13   A5471   V631 I HAVE GROUND EYE
22:12:08   01 10     ETAC13   A5471   A :V631 DE 06914 I HAVE GROUND EYE
22:12:13   01 10     EAUTON   A4261   A :V632 PT 05994
22:12:49   01 10     EAUTON   A4261   V631 101 DRIVER MALE STILL PSGR TRYING TO SEE REST
22:12:49   01 10     EAUTON   A4261   A :V631 DE 06914 101 DRIVER MALE STILL PSGR TRYING TO SEE REST
22:12:51   01 10     ETAC13   A5471   101 STILL DRIVER,MALE PASSENGER,TRYING TO SEE THE REST
22:13:15   01 10     ETAC13   A5471   A918 BACK END ON SWC? IS THAT THEM?
22:13:15   01 10     ETAC13   A5471   A :A918 PT        BACK END ON SWC? IS THAT THEM?
22:13:17   01 10     ETAC13   A5471   YES
22:13:21   01 10     EAUTON   A4261   A918 THAT THEM W/BACK END STICKING OUT SWC OF PUMPS
22:13:21   01 10     EAUTON   A4261   A :A918 PT        THAT THEM W/BACK END STICKING OUT SWC OF PUMPS
22:13:25   01 10     EAUTON   A4261   V631 YEAH,10-4
22:13:25   01 10     EAUTON   A4261   A :V631 DE 06914 YEAH,10-4
22:14:03   01 10     ETAC13   A5471   FAIRLY DECENT EYE FROM SE AT THE CRACKER BARREL
22:14:12   01 10     EAUTON   A4261   V631 FAIRLY DECENT EYE FROM SE
22:14:12   01 10     EAUTON   A4261   A :V631 DE 06914 FAIRLY DECENT EYE FROM SE
22:14:25   01 10     ETAC13   A5471   NO ONE GETTING OUT,NOT GETTING GAS,JUST SITTING THERE
22:14:36   01 10     EAUTON   A4261   V631 NO ONE GETTING OUT,NO ONE PUMPING GAS,JUST SITTING THERE
22:14:36   01 10     EAUTON   A4261   A :V631 DE 06914 NO ONE GETTING OUT,NO ONE PUMPING GAS,JUST
                                      SITTING THERE
22:14:59 01 10 ETAC13 A5471           A918 DO THEY WAIT FOR LOTS TO CLEAR OUT BEFORE THEY HIT?
22:14:59 01 10 ETAC13 A5471           A :A918 PT        DO THEY WAIT FOR LOTS TO CLEAR OUT BEFORE THEY
                                      HIT?
22:15:03 01 10 EAUTON A4261           A918 ON LAST ONE? WAITING FOR LOT TO CLR OUT BEFORE THEY HIT?
22:15:03 01 10 EAUTON A4261           A :A918 PT        ON LAST ONE? WAITING FOR LOT TO CLR OUT BEFORE
                                      THEY HIT?
22:15:11 01 10 ETAC13 A5471           DON'T THINK SO,DID MORE LIKE TAKE DOWN STYLE WITH CUSTOMERS
22:15:22 01 10 EAUTON A4261           V638 I DONT THINKS SO,THINK THEY DID A TAKE DOWN STYLE W/CUSTS
22:15:22 01 10 EAUTON A4261           A :V638 DE 06103 I DONT THINKS SO,THINK THEY DID A TAKE DOWN
                                      STYLE W/CUSTS
22:15:38   01   10   ETAC13   A5471   V63 ALL SET AT WHATABURGER
22:15:38   01   10   ETAC13   A5471   A :V63 PT 05227 ALL SET AT WHATABURGER
22:15:41   01   10   EAUTON   A4261   V63 WE'RE GOOD AT WHATABURGER?
22:15:41   01   10   EAUTON   A4261   A :V63 PT 05227 WE'RE GOOD AT WHATABURGER?
22:15:46   01   10   ETAC13   A5471   V635 I'M TO THE NORTH,IN CASE THEY PARK IN THE DARK
22:15:46   01   10   ETAC13   A5471   A :V635 DE 07014 I'M TO THE NORTH,IN CASE THEY PARK IN THE DARK
22:15:54   01   10   ETAC13   A5471   V63 JUST WANT TO MAKE SURE WE GET VIDEO
22:15:54   01   10   ETAC13   A5471   A :V63 PT 05227 JUST WANT TO MAKE SURE WE GET VIDEO
22:15:57   01   10   EAUTON   A4261   V635 IM PARKED JN OF WHATABURGER IN CASE THEY PARK IN DRK
22:15:57   01   10   EAUTON   A4261   A :V635 DE 07014 IM PARKED JN OF WHATABURGER IN CASE THEY PARK
                                      IN DRK
22:16:08 01 10 ETAC13 A5471           CHECK THE DOORS,LOT OF THEM ARE CLOSIGN DOORS AT MIDNIGHT




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                     Desk/
Time       Date      Unit     ID
22:16:12   01 10     ETAC13   A5471   QUITE A FEW CUSTOMERS IN THERE
22:16:17   01 10     ETAC13   A5471   DOOR ON EAST SIDE OF BUSN AS WELL
22:16:17   01 10     EAUTON   A4261   V638 MIGHT WANT TO CK DR,I KNOW A LOT CLOSING DRS AT MIDNIGHT
22:16:17   01 10     EAUTON   A4261   A :V638 DE 06103 MIGHT WANT TO CK DR,I KNOW A LOT CLOSING DRS
                                      AT MIDNIGHT
22:16:27   01   10   ETAC13   A5471   PASSENGER IS OUT,BM GRY TSHI BLK PANTS,
22:16:30   01   10   EAUTON   A4261   V63 PSGR OUT - GRY TEE BLK PNTS BM
22:16:30   01   10   EAUTON   A4261   A :V63 PT 05227 PSGR OUT - GRY TEE BLK PNTS BM
22:17:16   01   10   ETAC13   A5471   WALKING TOWARD THE STORE,NOT DRESSED OUT,YOU GOT EYE?
22:17:18   01   10   ETAC13   A5471   YES
22:17:21   01   10   EAUTON   A4261   V63 WALKING TOWARDS STORE,NOT STRESSED OUT DAVE YOU GOT AN EYE
22:17:21   01   10   EAUTON   A4261   A :V63 PT 05227 WALKING TOWARDS STORE,NOT STRESSED OUT DAVE YOU
                                      GOT AN EYE
22:17:23   01   10   EAUTON   A4261   V631 YEAH
22:17:23   01   10   EAUTON   A4261   A :V631 DE 06914 YEAH
22:17:53   01   10   EAUTON   A4261   A :V635 DE 07014 8922 W BELL JN
22:18:09   01   10   ETAC13   A5471   LOOKS LIKE HE'S PAYING FOR SOMETHING AT THE REGISTER
22:18:12   01   10   EAUTON   A4261   V631 PAYING FOR SOMETHING AT REGISTER
22:18:12   01   10   EAUTON   A4261   A :V631 DE 06914 PAYING FOR SOMETHING AT REGISTER
22:18:23   01   10   ETAC13   A5471   BACK OUT
22:18:24   01   10   EAUTON   A4261   V631 BACK OUT
22:18:24   01   10   EAUTON   A4261   A :V631 DE 06914 BACK OUT
22:18:34   01   10   EAUTON   A4261   A :V630 DE 05057 84AV BELL SEC
22:18:53   01   10   ETAC13   A5471   BACK IN PASSENGER SEAT,STILL SITTING THERE
22:19:23   01   10   EAUTON   A4261   A :V638 DE 06103 84AV BELL SEC
22:19:29   01   10   EAUTON   A4261   A :V631 DE 06914 84AV BELL SEC
22:19:34   01   10   EAUTON   A4261   A :V63 PT 05227 84AV BELL SEC
22:19:38   01   10   EAUTON   A4261   A :A918 PT        84AV BELL SEC
22:20:02   01   10   EAUTON   A4261   A918 1 CAR IN LOT E END OF PUMPS
22:20:02   01   10   EAUTON   A4261   A :A918 PT        1 CAR IN LOT E END OF PUMPS
22:20:04   01   10   ETAC13   A5471   A918 ONLY ONE OTHER VEH IN PLOT AT EAST END OF PUMPS,MAY BE WAITING FOR
                                      THEM TO LEAVE
22:20:04 01 10 ETAC13 A5471           A :A918 PT        ONLY ONE OTHER VEH IN PLOT AT EAST END OF
                                      PUMPS,MAY BE WAITING FOR THEM TO LEAVE
22:20:25 01 10 ETAC13 A5471           S52 HOW CLOSE ARE WE SETTING UP TO THE EAST AND SOUTH?
22:20:25 01 10 ETAC13 A5471           EN:S52 PT 08963 HOW CLOSE ARE WE SETTING UP TO THE EAST AND
                                      SOUTH?
22:20:28   01   10   EAUTON   A4261   S52 HOW CLOSE AQRE WE TO GETTITNG SET UP TO THE E?
22:20:28   01   10   EAUTON   A4261   EN:S52 PT 08963 HOW CLOSE AQRE WE TO GETTITNG SET UP TO THE E?
22:20:42   01   10   ETAC13   A5471   BLU SHI GETTING GAS AGAIN?
22:20:43   01   10   EAUTON   A4261   V63 BLU SHI PUTTING GAS IN AGAIN
22:20:43   01   10   EAUTON   A4261   A :V63 PT 05227 BLU SHI PUTTING GAS IN AGAIN
22:20:45   01   10   ETAC13   A5471   ONLY PART I CAN'T SEE
22:20:49   01   10   EAUTON   A4261   V631 YEAH ONLY PART I CANT SEE
22:20:49   01   10   EAUTON   A4261   A :V631 DE 06914 YEAH ONLY PART I CANT SEE
22:21:01   01   10   EAUTON   A4261   V63 YEAH,BLU SHI PUTTING GAS IN
22:21:01   01   10   EAUTON   A4261   A :V63 PT 05227 YEAH,BLU SHI PUTTING GAS IN
22:21:08   01   10   EAUTON   A4261   S52 YEAH,LOOKS LIKE THEY ARE SCOUTING IT
22:21:08   01   10   EAUTON   A4261   EN:S52 PT 08963 YEAH,LOOKS LIKE THEY ARE SCOUTING IT
22:21:14   01   10   EAUTON   A4261   EN:S52 PT 08963 84AV BELL SEC




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                     Desk/
Time       Date      Unit     ID
22:21:17   01 10     EAUTON   A4261   EN:S522 PT 08677 84AV BELL SEC
22:21:19   01 10     EAUTON   A4261   EN:S523 PT 09287 84AV BELL SEC
22:21:50   01 10     EAUTON   A4261   EN:S53 PT 07273 84AV BELL SEC
22:21:53   01 10     EAUTON   A4261   A :S52 PT 08963
22:21:55   01 10     EAUTON   A4261   A :S522 PT 08677
22:21:57   01 10     EAUTON   A4261   A :S523 PT 09287
22:22:43   01 10     EAUTON   A4261   A :S563 K9 08942 87AV BELL
22:22:55   01 10     ETAC13   A5471   DAVE THAT YOU ON EAST END OF LOT?
22:23:02   01 10     EAUTON   A4261   V63 V631 THAT YOU ON E END OF LOT
22:23:02   01 10     EAUTON   A4261   A :V63 PT 05227 V631 THAT YOU ON E END OF LOT
22:23:11   01 10     EAUTON   A4261   V63 I WANT YOU TO PULL OUT OF THERE,NOT SURE IF HE'S FAKING IT
22:23:11   01 10     EAUTON   A4261   A :V63 PT 05227 I WANT YOU TO PULL OUT OF THERE,NOT SURE IF
                                      HE'S FAKING IT
22:23:13   01   10   ETAC13   A5471   PULL OUT OF THERE,THAT'S A LOT OF GAS,HE MAY BE FAKING IT,
22:23:16   01   10   EAUTON   A4261   V631 ALRIGHT YOU CAN SEE HIM
22:23:16   01   10   ETAC13   A5471   YOU CAN SEE HIM?
22:23:16   01   10   EAUTON   A4261   A :V631 DE 06914 ALRIGHT YOU CAN SEE HIM
22:23:23   01   10   ETAC13   A5471   PUTTING THE HOSE AWAY
22:23:24   01   10   EAUTON   A4261   V63 YEAH PUTTING THE HOSE AWAY & GAS CAP BACK ON
22:23:24   01   10   EAUTON   A4261   A :V63 PT 05227 YEAH PUTTING THE HOSE AWAY & GAS CAP BACK ON
22:23:47   01   10   ETAC13   A5471   STARTING UP
22:24:03   01   10   EAUTON   A4261   NA:S522 PT 08677
22:24:03   01   10   EAUTON   A4261   A :S522 PT 07892
22:24:04   01   10   ETAC13   A5471   NB THROUGH THE LOT AND EAST
22:24:12   01   10   EAUTON   A4261   V631 NB THROUGH LOT & E
22:24:12   01   10   EAUTON   A4261   A :V631 DE 06914 NB THROUGH LOT & E
22:24:19   01   10   EAUTON   A4261   A918 EB BELL
22:24:19   01   10   EAUTON   A4261   A :A918 PT        EB BELL
22:24:21   01   10   ETAC13   A5471   GOT HIM,FACE DOWN EB BELL
22:24:26   01   10   ETAC13   A5471   A918 GOT HIM,FACE DOWN EB BELL
22:24:26   01   10   ETAC13   A5471   A :A918 PT        GOT HIM,FACE DOWN EB BELL
22:24:27   01   10   EAUTON   A4261   EN:S525 PT        67TH AV/GLENDALE
22:24:34   01   10   ETAC13   A5471   A918 SB L101 FROM BELL
22:24:34   01   10   ETAC13   A5471   A :A918 PT        SB L101 FROM BELL
22:24:37   01   10   EAUTON   A4261   A918 SB L101 FROM BELL
22:24:37   01   10   EAUTON   A4261   A :A918 PT        SB L101 FROM BELL
22:24:40   01   10   ETAC13   A5471   A :A918 PT        L101/BELL SB
22:24:41   01   10   EAUTON   A4261   A :V638 DE 06103 SB L101 FROM BELL
22:24:43   01   10   EAUTON   A4261   A :V636 DE 07710 SB L101 FROM BELL
22:24:46   01   10   EAUTON   A4261   A :V635 DE 07014 SB L101 FROM BELL
22:24:48   01   10   EAUTON   A4261   A :V632 PT 05994 SB L101 FROM BELL
22:24:49   01   10   EAUTON   A4261   A :V631 DE 06914 SB L101 FROM BELL
22:24:51   01   10   EAUTON   A4261   A :V630 DE 05057 SB L101 FROM BELL
22:24:54   01   10   EAUTON   A4261   A :V63 PT 05227 SB L101 FROM BELL
22:24:58   01   10   EAUTON   A4261   A :A918 PT        SB L101 FROM BELL
22:25:01   01   10   EAUTON   A4261   A :S52 PT 08963 SB L101 FROM BELL
22:25:05   01   10   EAUTON   A4261   A :S522 PT 07892 SB L101 FROM BELL
22:25:07   01   10   EAUTON   A4261   A :S523 PT 09287 SB L101 FROM BELL
22:25:09   01   10   EAUTON   A4261   EN:S525 PT        SB L101 FROM BELL
22:25:26   01   10   EAUTON   A4261   EN:S525 PT 08677




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CALL: PH19-55839 ACTIVE (R)
               Desk/
Time     Date Unit    ID
22:26:00 01 10 EAUTON A4261           A918 PASSED SB L101 STAYING IN RIGHT LA MIGHT GET OFF A TBIRD
22:26:00 01 10 EAUTON A4261           A :A918 PT        PASSED SB L101 STAYING IN RIGHT LA MIGHT GET
                                      OFF A TBIRD
22:26:02 01 10 ETAC13 A5471           A918 L101 STAYING IN RIGHT LANE,PASSING EVERYONE,LIKE THEY WANT TO EXIT AT
                                      TBIRD
22:26:02 01 10 ETAC13 A5471           A :A918 PT        L101 STAYING IN RIGHT LANE,PASSING
                                      EVERYONE,LIKE THEY WANT TO EXIT AT TBIRD
22:26:20   01   10   ETAC13   A5471   A918 STILL SB FROM TBIRD
22:26:20   01   10   ETAC13   A5471   A :A918 PT        STILL SB FROM TBIRD
22:26:21   01   10   EAUTON   A4261   A918 SB L101 FROM TBIRD
22:26:21   01   10   EAUTON   A4261   A :A918 PT        SB L101 FROM TBIRD
22:26:29   01   10   ETAC13   A5471   A :A918 PT        L101/TIBRD SB
22:26:29   01   10   EAUTON   A4261   A :A918 PT        L101 TBIRD SB
22:26:32   01   10   EAUTON   A4261   A :V638 DE 06103 L101 TBIRD SB
22:26:35   01   10   EAUTON   A4261   A :V636 DE 07710 L101 TBIRD SB
22:26:37   01   10   EAUTON   A4261   A :V635 DE 07014 L101 TBIRD SB
22:26:39   01   10   EAUTON   A4261   A :V632 PT 05994 L101 TBIRD SB
22:26:41   01   10   EAUTON   A4261   A :V631 DE 06914 L101 TBIRD SB
22:26:43   01   10   EAUTON   A4261   A :V630 DE 05057 L101 TBIRD SB
22:26:45   01   10   EAUTON   A4261   A :V63 PT 05227 L101 TBIRD SB
22:26:47   01   10   EAUTON   A4261   A :S52 PT 08963 L101 TBIRD SB
22:26:49   01   10   EAUTON   A4261   A :S522 PT 07892 L101 TBIRD SB
22:26:51   01   10   EAUTON   A4261   A :S523 PT 09287 L101 TBIRD SB
22:26:56   01   10   EAUTON   A4261   EN:S525 PT 08677 L101 TBIRD SB
22:27:23   01   10   EAUTON   A4261   A :S563 K9 08942 I17 BELL SB
22:27:35   01   10   ETAC13   A5471   A918 STILL SB L101 UNDER GRAND
22:27:35   01   10   ETAC13   A5471   A :A918 PT        STILL SB L101 UNDER GRAND
22:27:36   01   10   EAUTON   A4261   A918 PASSING CACTUS STILL SB L101 GOIGN UNDER GRAND
22:27:36   01   10   EAUTON   A4261   A :A918 PT        PASSING CACTUS STILL SB L101 GOIGN UNDER GRAND
22:27:44   01   10   ETAC13   A5471   A918 STILL ALL THE WAY TO THE RIGHT
22:27:44   01   10   ETAC13   A5471   A :A918 PT        STILL ALL THE WAY TO THE RIGHT
22:27:47   01   10   EAUTON   A4261   A918 STILL HANGING ALL WAY TO RIGHT
22:27:47   01   10   EAUTON   A4261   A :A918 PT        STILL HANGING ALL WAY TO RIGHT
22:28:06   01   10   EAUTON   A4261   A :V638 DE 06103 L101 CACTUS SB
22:28:08   01   10   EAUTON   A4261   A :V63 PT 05227 L101 CACTUS SB
22:28:09   01   10   EAUTON   A4261   A :V636 DE 07710 L101 CACTUS SB
22:28:13   01   10   EAUTON   A4261   A :V635 DE 07014 L101 CACTUS SB
22:28:15   01   10   EAUTON   A4261   A :V632 PT 05994 L101 CACTUS SB
22:28:17   01   10   EAUTON   A4261   A :V631 DE 06914 L101 CACTUS SB
22:28:19   01   10   EAUTON   A4261   A :V630 DE 05057 L101 CACTUS SB
22:28:22   01   10   EAUTON   A4261   A :A918 PT        L101 CACTUS SB
22:28:28   01   10   ETAC13   A5471   A918 STILL SB FROM PEORIA
22:28:28   01   10   ETAC13   A5471   A :A918 PT        STILL SB FROM PEORIA
22:28:38   01   10   EAUTON   A4261   A :A918 PT        L101 SB PEORIA
22:28:40   01   10   EAUTON   A4261   A :V638 DE 06103 L101 SB PEORIA
22:28:42   01   10   EAUTON   A4261   A :V636 DE 07710 L101 SB PEORIA
22:28:44   01   10   EAUTON   A4261   A :V635 DE 07014 L101 SB PEORIA
22:28:46   01   10   EAUTON   A4261   A :V632 PT 05994 L101 SB PEORIA
22:28:48   01   10   EAUTON   A4261   A :V631 DE 06914 L101 SB PEORIA
22:28:50   01   10   EAUTON   A4261   A :V630 DE 05057 L101 SB PEORIA




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  CALL: PH19-55839 ACTIVE (R)
                     Desk/
  Time       Date    Unit     ID
  22:28:52   01 10   EAUTON   A4261   A :V63 PT 05227 L101 SB PEORIA
  22:28:54   01 10   EAUTON   A4261   A :S52 PT 08963 L101 SB PEORIA
  22:28:56   01 10   EAUTON   A4261   A :S522 PT 07892 L101 SB PEORIA
  22:28:58   01 10   EAUTON   A4261   A :S523 PT 09287 L101 SB PEORIA
  22:29:01   01 10   EAUTON   A4261   EN:S525 PT 08677 L101 SB PEORIA
  22:29:19   01 10   EAUTON   A4261   A918 SB L101 OLIVE
  22:29:19   01 10   EAUTON   A4261   A :A918 PT         SB L101 OLIVE
  22:29:21   01 10   ETAC13   A5471   A918 STILL SB FROM OLIVE
  22:29:21   01 10   ETAC13   A5471   A :A918 PT         STILL SB FROM OLIVE
  22:29:28   01 10   EAUTON   A4261   A :A918 PT         SB L101 OLIVE
  22:29:30   01 10   EAUTON   A4261   A :V63 PT 05227 SB L101 OLIVE
  22:29:32   01 10   EAUTON   A4261   A :V638 DE 06103 SB L101 OLIVE
  22:29:34   01 10   EAUTON   A4261   A :V636 DE 07710 SB L101 OLIVE
  22:29:36   01 10   EAUTON   A4261   A :V635 DE 07014 SB L101 OLIVE
  22:29:38   01 10   EAUTON   A4261   A :V632 PT 05994 SB L101 OLIVE
  22:29:42   01 10   EAUTON   A4261   A :V631 DE 06914 SB L101 OLIVE
  22:29:43   01 10   EAUTON   A4261   A :V630 DE 05057 SB L101 OLIVE
  22:29:50   01 10   ETAC13   A5471   DPS IS SB,MIGHT HAVE GOT SOMEBODY,THEY ARE HITTING UP
  22:29:52   01 10   EAUTON   A4261   A :S52 PT 08963 SB L101 OLIVE
  22:29:54   01 10   EAUTON   A4261   A :S522 PT 07892 SB L101 OLIVE
  22:29:57   01 10   EAUTON   A4261   A :S523 PT 09287 SB L101 OLIVE
  22:29:59   01 10   EAUTON   A4261   EN:S525 PT 08677 SB L101 OLIVE
  22:30:15   01 10   EAUTON   A4261   V635 I THINK THEY GOT SOMEBODY
  22:30:15   01 10   EAUTON   A4261   A :V635 DE 07014 I THINK THEY GOT SOMEBODY
  22:30:24   01 10   EAUTON   A4261   A918 SB FROM NO
  22:30:24   01 10   EAUTON   A4261   A :A918 PT         SB FROM NO
  22:30:33   01 10   EAUTON   A4261   A :A918 PT         L101 SB FROM NO
  22:30:38   01 10   EAUTON   A4261   A :V638 DE 06103 L101 SB FROM NO
  22:30:40   01 10   EAUTON   A4261   A :V636 DE 07710 L101 SB FROM NO
  22:30:42   01 10   EAUTON   A4261   A :V635 DE 07014 L101 SB FROM NO
  22:30:44   01 10   EAUTON   A4261   A :V632 PT 05994 L101 SB FROM NO
  22:30:47   01 10   EAUTON   A4261   A :V631 DE 06914 L101 SB FROM NO
  22:30:49   01 10   EAUTON   A4261   A :V630 DE 05057 L101 SB FROM NO
  22:30:51   01 10   EAUTON   A4261   A :V63 PT 05227 L101 SB FROM NO
  22:31:00   01 10   EAUTON   A4261   A :A918 PT         L101 SB FROM NO
  22:31:08   01 10   ETAC13   A5471   A918 HOV LANE PASSING GLENDALE,SB 101
  22:31:08   01 10   ETAC13   A5471   A :A918 PT         HOV LANE PASSING GLENDALE,SB 101
  22:31:11   01 10   EAUTON   A4261   A918 STILL SB L101 GLENDALE TO HOV LA
  22:31:11   01 10   EAUTON   A4261   A :A918 PT         STILL SB L101 GLENDALE TO HOV LA
  22:31:56   01 10   EAUTON   A4261   A918 STILL SB L101 BHR
  22:31:56   01 10   EAUTON   A4261   A :A918 PT         STILL SB L101 BHR
  22:32:01   01 10   EAUTON   A4261   A :A918 PT         STILL SB L101 BHR
  22:32:04   01 10   EAUTON   A4261   A :A918 PT         SB L101 BHR
  22:32:08   01 10   EAUTON   A4261   A :V638 DE 06103 SB L101 BHR
  22:32:10   01 10   EAUTON   A4261   A :V636 DE 07710 SB L101 BHR
  22:32:12   01 10   EAUTON   A4261   A :V635 DE 07014 SB L101 BHR
  22:32:15   01 10   EAUTON   A4261   A :V632 PT 05994 SB L101 BHR
  22:32:21   01 10   EAUTON   A4261   V63 STILL HOV?
  22:32:21   01 10   EAUTON   A4261   A :V63 PT 05227 STILL HOV?
  22:32:27   01 10   EAUTON   A4261   A918 NO MOVED TO #1




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  CALL: PH19-55839 ACTIVE (R)
                     Desk/
  Time       Date    Unit     ID
  22:32:27   01 10   EAUTON   A4261   A :A918 PT         NO MOVED TO #1
  22:32:33   01 10   ETAC13   A6171   TWO AHEAD OF ME BUT PRETTY FAR
  22:32:34   01 10   EAUTON   A4261   V638 THEY ARE 2 AHEAD OF ME
  22:32:34   01 10   EAUTON   A4261   A :V638 DE 06103 THEY ARE 2 AHEAD OF ME
  22:32:37   01 10   EAUTON   A4261   V63 IM RIGHT BHND YOU
  22:32:37   01 10   EAUTON   A4261   A :V63 PT 05227 IM RIGHT BHND YOU
  22:32:38   01 10   ETAC13   A6171   OKAY I'M BEHIND YOU
  22:32:43   01 10   EAUTON   A4261   A918 #1 LA GOING OVER CBACK RIGHT NOW
  22:32:43   01 10   EAUTON   A4261   A :A918 PT         #1 LA GOING OVER CBACK RIGHT NOW
  22:32:46   01 10   ETAC13   A6171   #1 LA GOING OVER CBACK RIGHT NOW
  22:32:49   01 10   EAUTON   A4261   A :A918 PT         L101 CBACK SB
  22:32:51   01 10   EAUTON   A4261   A :V638 DE 06103 L101 CBACK SB
  22:32:52   01 10   EAUTON   A4261   A :V63 PT 05227 L101 CBACK SB
  22:32:54   01 10   EAUTON   A4261   A :V636 DE 07710 L101 CBACK SB
  22:32:56   01 10   EAUTON   A4261   A :V635 DE 07014 L101 CBACK SB
  22:32:58   01 10   EAUTON   A4261   A :V632 PT 05994 L101 CBACK SB
  22:33:00   01 10   EAUTON   A4261   A :V631 DE 06914 L101 CBACK SB
  22:33:02   01 10   EAUTON   A4261   A :V630 DE 05057 L101 CBACK SB
  22:33:04   01 10   EAUTON   A4261   A :S52 PT 08963 L101 CBACK SB
  22:33:06   01 10   EAUTON   A4261   A :S522 PT 07892 L101 CBACK SB
  22:33:08   01 10   EAUTON   A4261   A :S523 PT 09287 L101 CBACK SB
  22:33:12   01 10   EAUTON   A4261   EN:S525 PT 08677 L101 CBACK SB
  22:33:39   01 10   EAUTON   A4261   A918 SB FROM ISR
  22:33:39   01 10   EAUTON   A4261   A :A918 PT         SB FROM ISR
  22:33:40   01 10   ETAC13   A6171   SOUTH FROM ISR
  22:33:45   01 10   EAUTON   A4261   A :A918 PT         L101 ISR SB
  22:33:50   01 10   ETAC13   A6171   PICKING UP SPEED
  22:33:53   01 10   EAUTON   A4261   A918 PICKING SPEED UP
  22:33:53   01 10   EAUTON   A4261   A :A918 PT         PICKING SPEED UP
  22:33:59   01 10   EAUTON   A4261   A :V638 DE 06103 L101 ISR SB
  22:34:00   01 10   EAUTON   A4261   A :V636 DE 07710 L101 ISR SB
  22:34:02   01 10   EAUTON   A4261   A :V635 DE 07014 L101 ISR SB
  22:34:04   01 10   EAUTON   A4261   A :V632 PT 05994 L101 ISR SB
  22:34:07   01 10   EAUTON   A4261   A :V631 DE 06914 L101 ISR SB
  22:34:08   01 10   EAUTON   A4261   A :V630 DE 05057 L101 ISR SB
  22:34:10   01 10   EAUTON   A4261   A :V63 PT 05227 L101 ISR SB
  22:34:18   01 10   EAUTON   A4261   A :S52 PT 08963 L101 ISR SB
  22:34:20   01 10   EAUTON   A4261   A :S522 PT 07892 L101 ISR SB
  22:34:23   01 10   EAUTON   A4261   A :S523 PT 09287 L101 ISR SB
  22:34:25   01 10   EAUTON   A4261   EN:S525 PT 08677 L101 ISR SB
  22:34:35   01 10   EAUTON   A4261   A918 SB FROM THM MIDDLE LA
  22:34:35   01 10   EAUTON   A4261   A :A918 PT         SB FROM THM MIDDLE LA
  22:34:36   01 10   ETAC13   A6171   THOMAS SB MID LANE
  22:34:52   01 10   ETAC13   A6171   TOWARDS WB I10
  22:34:53   01 10   EAUTON   A4261   A918 LEANING TOWARDS WB I10 TURN HERE
  22:34:53   01 10   EAUTON   A4261   A :A918 PT         LEANING TOWARDS WB I10 TURN HERE
  22:35:01   01 10   EAUTON   A4261   A918 WB I10 FROM L101
  22:35:01   01 10   EAUTON   A4261   A :A918 PT         WB I10 FROM L101
  22:35:07   01 10   EAUTON   A4261   A :A918 PT         WB I10 FROM L101
  22:35:09   01 10   ETAC13   A6171   COMMITED TO I10 W/B - GOING WB ON I10 FROM 101




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CALL: PH19-55839 ACTIVE (R)
                     Desk/
Time       Date      Unit     ID
22:35:10   01 10     EAUTON   A4261   A :V638 DE 06103 WB I10 FROM L101
22:35:11   01 10     EAUTON   A4261   A :V636 DE 07710 WB I10 FROM L101
22:35:14   01 10     ETAC13   A6171   EXITED MCD
22:35:17   01 10     EAUTON   A4261   A918 SORRY GUYS EXITED MCD
22:35:17   01 10     EAUTON   A4261   A :A918 PT        SORRY GUYS EXITED MCD
22:35:23   01 10     EAUTON   A4261   A :A918 PT        L101 MCD
22:35:26   01 10     EAUTON   A4261   A :V638 DE 06103 L101 MCD
22:35:27   01 10     EAUTON   A4261   A :V636 DE 07710 L101 MCD
22:35:29   01 10     EAUTON   A4261   A :V635 DE 07014 L101 MCD
22:35:31   01 10     EAUTON   A4261   A :V632 PT 05994 L101 MCD
22:35:33   01 10     EAUTON   A4261   A :V631 DE 06914 L101 MCD
22:35:36   01 10     EAUTON   A4261   A918 WB #1 LA
22:35:36   01 10     EAUTON   A4261   A :A918 PT        WB #1 LA
22:35:41   01 10     ETAC13   A6171   W/B ON MCD - #1 KANE LEFT TURN LA 99A
22:35:42   01 10     EAUTON   A4261   A918 LEFT TURN LA AT 99AV
22:35:42   01 10     EAUTON   A4261   A :A918 PT        LEFT TURN LA AT 99AV
22:35:52   01 10     ETAC13   A6171   SEMI SITTING THERE AT 99A - NEXT TO IT
22:35:58   01 10     EAUTON   A4261   A918 SEMI THERE ARE LEFT TURN RIGHT NEXT TO HIM,ASSUMING 99AV
22:35:58   01 10     ETAC13   A6171   DO WE STILL HAVE HIM>
22:35:58   01 10     EAUTON   A4261   A :A918 PT        SEMI THERE ARE LEFT TURN RIGHT NEXT TO
                                      HIM,ASSUMING 99AV
22:36:06   01   10   EAUTON   A4261   V63 GUYS OVER SHOOT THAT OR WE STILL HAVE HIM
22:36:06   01   10   EAUTON   A4261   A :V63 PT 05227 GUYS OVER SHOOT THAT OR WE STILL HAVE HIM
22:36:08   01   10   ETAC13   A6171   S/B 99A/MCD
22:36:16   01   10   EAUTON   A4261   A :A918 PT        SB 99AV MCD
22:36:18   01   10   EAUTON   A4261   A :V63 PT 05227 SB 99AV MCD
22:36:20   01   10   EAUTON   A4261   A :V636 DE 07710 SB 99AV MCD
22:36:22   01   10   EAUTON   A4261   A :V635 DE 07014 SB 99AV MCD
22:36:24   01   10   EAUTON   A4261   A :V632 PT 05994 SB 99AV MCD
22:36:27   01   10   EAUTON   A4261   A :V631 DE 06914 SB 99AV MCD
22:36:28   01   10   ETAC13   A6171   DID THEY GO S/B ON 99A?
22:36:28   01   10   EAUTON   A4261   A :V630 DE 05057 SB 99AV MCD
22:36:35   01   10   ETAC13   A6171   TURNING WEST ON THE FRONTAGE RD FROM 10
22:36:37   01   10   EAUTON   A4261   A918 TURING WB ON FRONTAGE RD FROM I10
22:36:37   01   10   EAUTON   A4261   A :A918 PT        TURING WB ON FRONTAGE RD FROM I10
22:36:53   01   10   ETAC13   A6171   ON THE I10 FRONTAGE RD W/B
22:36:54   01   10   EAUTON   A4261   A918 HE'S ON THE I10 FRONTAGE RD WB
22:36:54   01   10   EAUTON   A4261   A :A918 PT        HE'S ON THE I10 FRONTAGE RD WB
22:37:17   01   10   ETAC13   A6171   DID NOT GET ON I10 - STAYED ON FRONTAGE - COMING UOP TP 107A
22:37:27   01   10   ETAC13   A6171   LITTLE WAYS A WAY - CIR K 107A/LWER BEYE
22:37:31   01   10   EAUTON   A4261   A918 DID NOT GET ON I10,CONTINUED WB ON FRONTAGE RD
22:37:31   01   10   EAUTON   A4261   A :A918 PT        DID NOT GET ON I10,CONTINUED WB ON FRONTAGE RD
22:37:37   01   10   EAUTON   A4261   V63 I10 ADVONDALE
22:37:37   01   10   EAUTON   A4261   A :V63 PT 05227 I10 ADVONDALE
22:37:41   01   10   ETAC13   A6171   CIR K ON MCD AND ADLAE BLCD
22:37:45   01   10   EAUTON   A4261   DP:V572 PT        67TH AV/GLENDALE
22:37:54   01   10   EAUTON   A4261   DP:V572 PT 07991
22:38:00   01   10   ETAC13   A6171   STOPPED AT I10 FRONTAGE RD MID LA - POSS WENT N/B
22:38:08   01   10   EAUTON   A4261   A918 CONTINUING WB ON FRONTAGE RD
22:38:08   01   10   EAUTON   A4261   A :A918 PT        CONTINUING WB ON FRONTAGE RD




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CALL: PH19-55839 ACTIVE (R)
                     Desk/
Time       Date      Unit     ID
22:38:09   01 10     ETAC13   A6171   CONTINUE ON STRAIGHT W/B ON THE FRONTAGE RD
22:38:17   01 10     ETAC13   A6171   NEXT WHATABURGER 99A/VB
22:38:24   01 10     EAUTON   A4261   NEXT WHATABURER VB
22:38:31   01 10     EAUTON   A4261   A918 I THINK THEY HAVE TO GET ONTO THE I10,109AV
22:38:31   01 10     EAUTON   A4261   A :A918 PT         I THINK THEY HAVE TO GET ONTO THE I10,109AV
22:38:33   01 10     ETAC13   A6171   MERGING ON THE I10/109SA
22:38:37   01 10     EAUTON   A4261   A :A918 PT         109AV I10 WB
22:38:40   01 10     EAUTON   A4261   A :V638 DE 06103 109AV I10 WB
22:38:42   01 10     EAUTON   A4261   A :V636 DE 07710 109AV I10 WB
22:38:44   01 10     EAUTON   A4261   A :V635 DE 07014 109AV I10 WB
22:38:47   01 10     EAUTON   A4261   A :V63 PT 05227 109AV I10 WB
22:38:49   01 10     EAUTON   A4261   A :V63 PT 05227 109AV I10 WB
22:38:55   01 10     EAUTON   A4261   A :V632 PT 05994 109AV I10 WB
22:38:58   01 10     ETAC13   A6171   STAYED IN THE LANE OR?
22:39:00   01 10     EAUTON   A4261   A :V631 DE 06914 109AV I10 WB
22:39:03   01 10     EAUTON   A4261   A :V630 DE 05057 109AV I10 WB
22:39:08   01 10     EAUTON   A4261   A :A918 PT         WB I10 AVONDALE
22:39:09   01 10     ETAC13   A6171   CONTINUING W/B ON I10- CROSSING OVER ADALE RIGHT NOW
22:39:11   01 10     EAUTON   A4261   A :V63 PT 05227 WB I10 AVONDALE
22:39:13   01 10     EAUTON   A4261   A :V638 DE 06103 WB I10 AVONDALE
22:39:19   01 10     EAUTON   A4261   A :V636 DE 07710 WB I10 AVONDALE
22:39:21   01 10     EAUTON   A4261   A :V635 DE 07014 WB I10 AVONDALE
22:39:24   01 10     EAUTON   A4261   A :V632 PT 05994 WB I10 AVONDALE
22:39:26   01 10     EAUTON   A4261   A :V631 DE 06914 WB I10 AVONDALE
22:39:28   01 10     EAUTON   A4261   A :V630 DE 05057 WB I10 AVONDALE
22:39:36   01 10     ETAC13   A6171   FAR RIGHT MAY WANNA EXIT
22:39:39   01 10     EAUTON   A4261   A918 DEF HUGGING FAR RIGHT LIKE THEY MAY WANT TO EXIT
22:39:39   01 10     EAUTON   A4261   A :A918 PT         DEF HUGGING FAR RIGHT LIKE THEY MAY WANT TO
                                      EXIT
22:39:51   01   10   EAUTON   A4261   A :S52 PT 08963 WB I10 AVONDALE
22:39:53   01   10   EAUTON   A4261   A :S522 PT 07892 WB I10 AVONDALE
22:39:55   01   10   EAUTON   A4261   A :S523 PT 09287 WB I10 AVONDALE
22:40:05   01   10   ETAC13   A6171   BELIEVE THEY ARE IN EXIT ONLY LANE CURBSIDE
22:40:06   01   10   EAUTON   A4261   V572 BELIEVE EXIT ONLY ON CURB SIDE LA
22:40:06   01   10   EAUTON   A4261   DP:V572 PT 07991 BELIEVE EXIT ONLY ON CURB SIDE LA
22:40:10   01   10   EAUTON   A4261   DP:V572 PT 07991 WB I10 AVONDALE
22:40:18   01   10   ETAC13   A6171   I WAS WRONG PASSED EXIT ONLY NOW
22:40:20   01   10   EAUTON   A4261   V572 I WAS WRONG EXIT ONLY ALREADY PASSED IT
22:40:20   01   10   EAUTON   A4261   DP:V572 PT 07991 I WAS WRONG EXIT ONLY ALREADY PASSED IT
22:40:26   01   10   EAUTON   A4261   A918 YEAH IM NOT FAMILIAR
22:40:26   01   10   EAUTON   A4261   A :A918 PT         YEAH IM NOT FAMILIAR
22:40:28   01   10   ETAC13   A6171   HE IS EXITING AT DYSART
22:40:32   01   10   EAUTON   A4261   A918 HE IS EXITING AT DYSART
22:40:32   01   10   EAUTON   A4261   A :A918 PT         HE IS EXITING AT DYSART
22:40:44   01   10   ETAC13   A6171   WHATAVURGER SYART VB CIR K DYSART AND CIR K ON CENT/DYSART
22:40:51   01   10   EAUTON   A4261   YEAH WHATABURGER DYSART VB (K) DYSART MCD
22:40:52   01   10   ETAC13   A6171   LOOKS LIKE HE WANTS TO GO SOUTH ON DYSART
22:40:59   01   10   ETAC13   A6171   CLEAR GOODYWAR UNITS FROM AREA
22:41:01   01   10   EAUTON   A4261   I'LL CLR ALL GOODYR UNITS OUT OF THE AREA
22:41:05   01   10   EAUTON   A4261   V63 I COPY THAT,THANK YOU




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                     Desk/
Time       Date      Unit     ID
22:41:05   01 10     EAUTON   A4261   A :V63 PT 05227 I COPY THAT,THANK YOU
22:41:10   01 10     EAUTON   A4261   A918 GOING SB ON DYSART
22:41:10   01 10     EAUTON   A4261   A :A918 PT         GOING SB ON DYSART
22:41:17   01 10     EAUTON   A4261   A :V63 PT 05227 DYSART I10 SB
22:41:22   01 10     ETAC13   A6171   TRUCK FAR LEFT LA
22:41:28   01 10     EAUTON   A4261   A :A918 PT         DYSART I10 SB
22:41:31   01 10     EAUTON   A4261   A :V638 DE 06103 DYSART I10 SB
22:41:33   01 10     EAUTON   A4261   A :V636 DE 07710 DYSART I10 SB
22:41:35   01 10     EAUTON   A4261   A :V635 DE 07014 DYSART I10 SB
22:41:41   01 10     ETAC13   A6171   S/B DYSART FROM I10
22:41:42   01 10     EAUTON   A4261   A918 GOT GRN SB DYSART UNDER I10
22:41:42   01 10     EAUTON   A4261   A :A918 PT         GOT GRN SB DYSART UNDER I10
22:41:51   01 10     EAUTON   A4261   A :V632 PT 05994 DYSART I10 SB
22:41:53   01 10     EAUTON   A4261   A :V631 DE 06914 DYSART I10 SB
22:41:55   01 10     EAUTON   A4261   A :V630 DE 05057 DYSART I10 SB
22:42:10   01 10     EAUTON   A4261   GOODYR OFCR - SKECHERS ON NS OF RD BE GOOD PLACE TO GET VIDEO
22:42:16   01 10     ETAC13   A6171   MID LANE CONT S/B TO VB
22:42:18   01 10     EAUTON   A4261   A918 M CONTINUED SB FCOMING UP TO VB
22:42:18   01 10     EAUTON   A4261   A :A918 PT         M CONTINUED SB FCOMING UP TO VB
22:42:26   01 10     ETAC13   A6171   WHATABURGER S/W/C
22:42:30   01 10     EAUTON   A4261   WHATABURGER IS SWC
22:42:34   01 10     ETAC13   A6171   MOVED OVER TO CURB LA COMING U PTO VB
22:42:46   01 10     ETAC13   A6171   MAKING WB TURN ON VB FROM DYART GOING REALLY SLOW
22:42:49   01 10     EAUTON   A4261   A918 MOVED TO CURB LA MAKING WB TURN ONTO VB GOING REAL SLOW HERE
22:42:49   01 10     EAUTON   A4261   A :A918 PT         MOVED TO CURB LA MAKING WB TURN ONTO VB GOING
                                      REAL SLOW HERE
22:42:58   01   10   ETAC13   A6171   V635 GOT A GOOD EYE ON WHATABURGER
22:42:58   01   10   ETAC13   A6171   A :V635 DE 07014 GOT A GOOD EYE ON WHATABURGER
22:43:00   01   10   EAUTON   A4261   V635 IM JN TO N IVE GOT A GOOD EYE ON WHATABURGER
22:43:00   01   10   EAUTON   A4261   A :V635 DE 07014 IM JN TO N IVE GOT A GOOD EYE ON WHATABURGER
22:43:07   01   10   ETAC13   A6171   VONTINUED WB ON VB COMING TO PALO VERDE
22:43:10   01   10   EAUTON   A4261   A918 CONTINUING WB ON VB COMING UP TO PALO VERDE
22:43:10   01   10   EAUTON   A4261   A :A918 PT         CONTINUING WB ON VB COMING UP TO PALO VERDE
22:43:13   01   10   ETAC13   A6171   UNITS SET UP ON WHATABURGER
22:43:19   01   10   EAUTON   A4261   S52 GET SAU SET UP ON WHATABURGER
22:43:19   01   10   EAUTON   A4261   A :S52 PT 08963 GET SAU SET UP ON WHATABURGER
22:43:26   01   10   ETAC13   A6171   THERE'S CIR K S/W/C NEXT LITE THEN N/E/C ON LITCHFIELD
22:43:32   01   10   EAUTON   A4261   GOODYRD OFCR - (K) SEC & NEC AT LITCHFILED
22:43:37   01   10   ETAC13   A6171   CONT W/B THRU CENT AV ON VB
22:43:38   01   10   EAUTON   A4261   A918 WB THROUGH CENT ON VB
22:43:38   01   10   EAUTON   A4261   A :A918 PT         WB THROUGH CENT ON VB
22:44:02   01   10   EAUTON   A4261   A918 REAL SLOW PASSING 137AV LIKE WANT TO GO SB
22:44:02   01   10   EAUTON   A4261   A :A918 PT         REAL SLOW PASSING 137AV LIKE WANT TO GO SB
22:44:10   01   10   EAUTON   A4261   A918 UTURN BACK EB VB FROM LITCHFIELD
22:44:10   01   10   ETAC13   A6171   ROLLING PRETTY SLOW WB ON VB REAL SLOW 137A MAYBE S/B OR UTURN - DID UTURN
                                      BACK E/B ON VB FROM LITCHFIELD
22:44:10   01   10   EAUTON   A4261   A :A918 PT         UTURN BACK EB VB FROM LITCHFIELD
22:44:16   01   10   EAUTON   A4261   S52 ANY SAU
22:44:16   01   10   EAUTON   A4261   A :S52 PT 08963 ANY SAU
22:44:17   01   10   ETAC13   A6171   UNIT AT WHATBURGER?




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Time       Date    Unit     ID
22:44:20   01 10   ETAC13   A6171   S522 23
22:44:20   01 10   ETAC13   A6171   A :S522 PT 07892 23
22:44:23   01 10   EAUTON   A4261   S522 IM 23 AT WHATABURGER
22:44:23   01 10   EAUTON   A4261   A :S522 PT 07892 IM 23 AT WHATABURGER
22:44:30   01 10   EAUTON   A4261   A :S521 PT        WB I10 AVONDALE, - 67TH AV/GLENDALE
22:44:36   01 10   ETAC13   A6171   N/S OF V/B
22:44:37   01 10   EAUTON   A4261   S523 S523 & S525
22:44:37   01 10   EAUTON   A4261   A :S523 PT 09287 S523 & S525
22:44:42   01 10   ETAC13   A6171   CHURCHES BUT DON'T THINK OT
22:44:49   01 10   EAUTON   A4261   V632 ITS A CHURCH'S BUT I DONT THINK ITS OPEN
22:44:49   01 10   EAUTON   A4261   A :V632 PT 05994 ITS A CHURCH'S BUT I DONT THINK ITS OPEN
22:45:00   01 10   ETAC13   A6171   FACING E/B MAYBE 100 YDS NORTH OF VB SLOW ROLL ON E/B P/LOT
22:45:02   01 10   EAUTON   A4261   A918 SLOW ROLLING EB 100 FT N OF VB THROUGH PL
22:45:02   01 10   EAUTON   A4261   A :A918 PT        SLOW ROLLING EB 100 FT N OF VB THROUGH PL
22:45:07   01 10   EAUTON   A4261   V63 GIVE THEM SOME SPACE
22:45:07   01 10   EAUTON   A4261   A :V63 PT 05227 GIVE THEM SOME SPACE
22:45:10   01 10   ETAC13   A6171   GIVE HIM SPAVE
22:45:16   01 10   ETAC13   A6171   CATTY CORNER TO THE PLAZA CIR K
22:45:22   01 10   EAUTON   A4261   GOODYR OFCR - CORNER TO THAT (K)
22:45:34   01 10   ETAC13   A6171   MAKING WAY BACK OUT TO VB JUST WEST OF CENT
22:45:39   01 10   EAUTON   A4261   A918 JW OF CENT MAKING WAY BACK OUT TO VB
22:45:39   01 10   EAUTON   A4261   A :A918 PT        JW OF CENT MAKING WAY BACK OUT TO VB
22:45:45   01 10   ETAC13   A6171   E/B VB AT CENT ALL THE WAY TO CURB LA
22:45:46   01 10   EAUTON   A4261   A918 EB VB CURB LA AT CENT
22:45:46   01 10   EAUTON   A4261   A :A918 PT        EB VB CURB LA AT CENT
22:45:58   01 10   EAUTON   A4261   A :A918 PT        VB CENT EB
22:46:00   01 10   EAUTON   A4261   A :V63 PT 05227 VB CENT EB
22:46:02   01 10   EAUTON   A4261   A :V638 DE 06103 VB CENT EB
22:46:04   01 10   EAUTON   A4261   A :V636 DE 07710 VB CENT EB
22:46:06   01 10   EAUTON   A4261   A :V635 DE 07014 VB CENT EB
22:46:08   01 10   EAUTON   A4261   A :V632 PT 05994 VB CENT EB
22:46:10   01 10   EAUTON   A4261   A :V631 DE 06914 VB CENT EB
22:46:23   01 10   ETAC13   A6171   JUST PASSED PALO VERDE APPROACHING DYSART E/B VB CURB LA
22:46:23   01 10   EAUTON   A4261   A918 APPROACHING DYSART EB VB CURB LA
22:46:23   01 10   EAUTON   A4261   A :A918 PT        APPROACHING DYSART EB VB CURB LA
22:46:29   01 10   EAUTON   A4261   A :A918 PT        DYSART VB EB
22:46:33   01 10   EAUTON   A4261   A :V638 DE 06103 DYSART VB EB
22:46:35   01 10   EAUTON   A4261   A :V63 PT 05227 DYSART VB EB
22:46:39   01 10   ETAC13   A6171   S/B ON DYSART FROM VB
22:46:42   01 10   EAUTON   A4261   A918 SB DYSART FROM VB
22:46:42   01 10   EAUTON   A4261   A :A918 PT        SB DYSART FROM VB
22:46:48   01 10   EAUTON   A4261   A :A918 PT        SB DYSART FROM VB
22:46:51   01 10   ETAC13   A6171   SLOW ROLL SB ON DYSART NOW
22:46:51   01 10   EAUTON   A4261   A918 SLOW ON DYSART
22:46:51   01 10   EAUTON   A4261   A :A918 PT        SLOW ON DYSART
22:46:59   01 10   ETAC13   A6171   SET UP IN P/LOT
22:47:02   01 10   EAUTON   A4261   S52 S523 SET UP IN PL?
22:47:02   01 10   EAUTON   A4261   A :S52 PT 08963 S523 SET UP IN PL?
22:47:07   01 10   ETAC13   A6171   IN FOOD CITY PASSING US
22:47:11   01 10   EAUTON   A4261   S523 WE'RE IN FOOD CITY,HE'S GOING TO BE PASSING US




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                     Desk/
Time       Date      Unit     ID
22:47:11   01 10     EAUTON   A4261   A :S523 PT 09287 WE'RE IN FOOD CITY,HE'S GOING TO BE PASSING US
22:47:12   01 10     ETAC13   A6171   OULLED INTO FRY S/W/C
22:47:17   01 10     EAUTON   A4261   A918 PULLING INTO PLAZA ON SWC
22:47:17   01 10     EAUTON   A4261   A :A918 PT         PULLING INTO PLAZA ON SWC
22:47:27   01 10     ETAC13   A6171   WORKING OUR WAY DIRECTLY NORTH OF THEM
22:47:32   01 10     EAUTON   A4261   GOODYR OFCR- YEAH ITS DUE N OF THEM IS WHATABURER
22:47:35   01 10     ETAC13   A6171   TAKING A PARKING SPOT
22:47:41   01 10     ETAC13   A6171   PARKED NEXT TO 3 SAU UYS
22:47:41   01 10     EAUTON   A4261   A918 YEAH,THEY ARE TALKING PARKING SPOT
22:47:41   01 10     EAUTON   A4261   A :A918 PT         YEAH,THEY ARE TALKING PARKING SPOT
22:47:50   01 10     ETAC13   A6171   I'M AWAY FROM WHERE THEY ARE
22:47:53   01 10     EAUTON   A4261   V63 THEY ARE PARKED NEXT TO 3 SAU GUYS NOW
22:47:53   01 10     EAUTON   A4261   A :V63 PT 05227 THEY ARE PARKED NEXT TO 3 SAU GUYS NOW
22:48:05   01 10     ETAC13   A6171   SITTING WEST TO DRIVE THRU CAN SEE THE N/S OF WHATABURGER
22:48:06   01 10     EAUTON   A4261   V632 IM TO W & CAN SEE NS OF WHATABURDER
22:48:06   01 10     EAUTON   A4261   A :V632 PT 05994 IM TO W & CAN SEE NS OF WHATABURDER
22:48:13   01 10     ETAC13   A6171   CRCAIG THERE'S ONE ON THE E/S AND N/S
22:48:18   01 10     EAUTON   A4261   GOODYR OFCR - DR TO ES & 1 TO THE N
22:48:20   01 10     ETAC13   A6171   I'M EAST OF SP VEH
22:48:25   01 10     EAUTON   A4261   V635 IM E OF WHERE SUSP VEH IS
22:48:25   01 10     EAUTON   A4261   A :V635 DE 07014 IM E OF WHERE SUSP VEH IS
22:48:30   01 10     ETAC13   A6171   THINKING SAU IS SOUTH OF SP VEH
22:48:33   01 10     EAUTON   A4261   S52 ANY SAU S OF SUSP VEH?
22:48:33   01 10     EAUTON   A4261   A :S52 PT 08963 ANY SAU S OF SUSP VEH?
22:48:37   01 10     ETAC13   A6171   PARKED RIGHT BEHIND ME
22:48:47   01 10     ETAC13   A6171   STAGED TO SOUTH BY FILIB'S
22:48:57   01 10     EAUTON   A4261   S52 IM STAGED TO THE S AT FILIBERTOS,I CAN GET REAR BLOCK FOR YOU GUYS
22:48:57   01 10     EAUTON   A4261   A :S52 PT 08963 IM STAGED TO THE S AT FILIBERTOS,I CAN GET REAR
                                      BLOCK FOR YOU GUYS
22:49:05   01   10   ETAC13   A6171   JUST SITTING IN CAR PARKED NEXT TO 3 OF US
22:49:14   01   10   EAUTON   A4261   S522 THEY ARE JUST SITTING IN CAR NEXT TO US
22:49:14   01   10   EAUTON   A4261   A :S522 PT 07892 THEY ARE JUST SITTING IN CAR NEXT TO US
22:49:19   01   10   ETAC13   A6171   ABLE TO GET DRIVER OR PASS FROM WHERE YOU'RE PARKED
22:49:22   01   10   ETAC13   A6171   I CAN GET IT
22:49:24   01   10   EAUTON   A4261   S52 YOU GUYS ABLE TO GET PSGR SIDE?
22:49:24   01   10   EAUTON   A4261   A :S52 PT 08963 YOU GUYS ABLE TO GET PSGR SIDE?
22:49:27   01   10   EAUTON   A4261   A :S527 PT         67TH AV/GLENDALE
22:49:30   01   10   EAUTON   A4261   S527 I CAN GET IT
22:49:30   01   10   ETAC13   A6171   HOLD TIGHT NO MVMENT
22:49:30   01   10   EAUTON   A4261   A :S527 PT         I CAN GET IT
22:49:39   01   10   EAUTON   A4261   S52 NOT MAKE ANY MOVEMENT RIGHT NOW,SEE WHAT THEY ARE GOING TO DO
22:49:39   01   10   EAUTON   A4261   A :S52 PT 08963 NOT MAKE ANY MOVEMENT RIGHT NOW,SEE WHAT THEY
                                      ARE GOING TO DO
22:50:03 01 10 ETAC13 A6171           KINDA PLAN THIS A LITTLE ANYONE FOR PASS SIDE WE CAN GET IT
22:50:07 01 10 EAUTON A4261           S525 FI WE PLAN WE HAVE SOMEONE FOR PSGR SIDE? WE CAN GET ARND THERE IF
                                      NOT SOMEONE
22:50:07 01 10 EAUTON A4261           EN:S525 PT 08677 FI WE PLAN WE HAVE SOMEONE FOR PSGR SIDE? WE
                                      CAN GET ARND THERE IF NOT SOMEONE
22:50:08 01 10 ETAC13 A6171           SETTING UP FOR THAT
22:50:11 01 10 EAUTON A4261           S52 S527 HAS GOT IT




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Time     Date Unit    ID
22:50:11 01 10 EAUTON A4261           A :S52 PT 08963 S527 HAS GOT IT
22:50:38 01 10 ETAC13 A6171           JUST FYI THEY GO ON FOOT THEY CAN SEE THRU WINDSHIELD THE Y HAVE NO IDEA
                                      VEHS ARE OCCUPIED
22:50:40 01 10 EAUTON A4261           S522 JUST FYI THEY ARE GETTING OUT ON FOOT,THEY HAVE NO IDEA THESE VEHS
                                      ARE OCC'D AT THE MOMENT
22:50:40 01 10 EAUTON A4261           A :S522 PT 07892 JUST FYI THEY ARE GETTING OUT ON FOOT,THEY
                                      HAVE NO IDEA THESE VEHS ARE OCC'D AT THE MOMENT
22:50:51   01   10   EAUTON   A4261   A :S517 PT        67TH AV/GLENDALE
22:50:54   01   10   ETAC13   A6171   JUST FYI JUST WEST OF YOU IN P/LOT
22:51:05   01   10   EAUTON   A4261   A :S517 PT 07497
22:51:16   01   10   EAUTON   A4261   S517 IM JW OF YOU IN PL
22:51:16   01   10   EAUTON   A4261   A :S517 PT 07497 IM JW OF YOU IN PL
22:51:27   01   10   ETAC13   A6171   DO WE HAVE SOMEONE FOR FRONT BLOCK?
22:51:29   01   10   EAUTON   A4261   S525 IF HAPPENS HERE WE HAVE SOMEONE FOR FRNT BLOCK
22:51:29   01   10   EAUTON   A4261   EN:S525 PT 08677 IF HAPPENS HERE WE HAVE SOMEONE FOR FRNT BLOCK
22:51:36   01   10   EAUTON   A4261   S52 S52 AT FRNT BLOCK
22:51:36   01   10   EAUTON   A4261   A :S52 PT 08963 S52 AT FRNT BLOCK
22:51:40   01   10   ETAC13   A6171   COPY WE HAVE K9 TWRDS BACK
22:51:45   01   10   EAUTON   A4261   S525 WE HAVE K9 TOWARDS THE BACK
22:51:45   01   10   EAUTON   A4261   EN:S525 PT 08677 WE HAVE K9 TOWARDS THE BACK
22:51:51   01   10   EAUTON   A4261   A :S563 K9 08942 DYSART VB
22:51:59   01   10   ETAC13   A6171   TRY AND CLIMB BACKDEAT ACT NORMAL
22:52:02   01   10   EAUTON   A4261   S52 DO BEST YOU CAN TO APPEAR NATURAL,CLIMB IN BACK SEAT
22:52:02   01   10   EAUTON   A4261   A :S52 PT 08963 DO BEST YOU CAN TO APPEAR NATURAL,CLIMB IN BACK
                                      SEAT
22:52:04   01   10   ETAC13   A6171   KEEP AN EYE ON THEM
22:52:07   01   10   EAUTON   A4261   A918 KEEP AN EYE ON THEM
22:52:07   01   10   EAUTON   A4261   A :A918 PT        KEEP AN EYE ON THEM
22:52:10   01   10   EAUTON   A4261   A :S52 PT 08963 DYSART VB
22:52:15   01   10   ETAC13   A6171   CAN YOU GO TO THE AIRCRAFT RECORDING
22:52:15   01   10   EAUTON   A4261   A :S522 PT 07892 DYSART VB
22:52:17   01   10   EAUTON   A4261   A :S523 PT 09287 DYSART VB
22:52:19   01   10   ETAC13   A6171   YEAH 10-4
22:52:19   01   10   EAUTON   A4261   EN:S525 PT 08677 DYSART VB
22:52:22   01   10   EAUTON   A4261   A :S517 PT 07497 DYSART VB
22:52:28   01   10   EAUTON   A4261   DP:V572 PT 07991 DYSART VB
22:52:34   01   10   EAUTON   A4261   V635 THEYRE ON FOOD
22:52:34   01   10   EAUTON   A4261   A :V635 DE 07014 THEYRE ON FOOD
22:52:39   01   10   EAUTON   A4261   V635 THEYRE ON FOOT
22:52:39   01   10   EAUTON   A4261   A :V635 DE 07014 THEYRE ON FOOT
22:52:44   01   10   ETAC13   A6171   HE CAME FROM DIFF VEH
22:52:44   01   10   EAUTON   A4261   S525 HE CAME FROM A DIFF VEH
22:52:44   01   10   EAUTON   A4261   EN:S525 PT 08677 HE CAME FROM A DIFF VEH
22:52:56   01   10   EAUTON   A4261   S525 HE CAME S & N,NOT EVEN SURE HE CAME FROM A VEH
22:52:56   01   10   EAUTON   A4261   EN:S525 PT 08677 HE CAME S & N,NOT EVEN SURE HE CAME FROM A VEH
22:52:59   01   10   ETAC13   A6171   NOT EVEN SURE HE CAME FROM VEH HE CAME SOUTH FROM NORTH OF PATHFINDER
22:53:09   01   10   ETAC13   A6171   IF THIS GOES DOWN CAN YOU GUY FOCUS ON CONTAINING P/LOT HERE
22:53:15   01   10   EAUTON   A4261   S52 V63 YOU GUYS FOCUS ON CONTAINING PL IF THIS GOES DOWN HERE
22:53:15   01   10   EAUTON   A4261   A :S52 PT 08963 V63 YOU GUYS FOCUS ON CONTAINING PL IF THIS
                                      GOES DOWN HERE




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Time       Date      Unit     ID
22:53:21   01 10     EAUTON   A4261   A :S51 PT         67TH AV/GLENDALE
22:53:28   01 10     EAUTON   A4261   A :S51 PT 08566
22:53:32   01 10     ETAC13   A6171   MOVEMENT IN CARS
22:53:35   01 10     EAUTON   A4261   S51 10-4
22:53:35   01 10     EAUTON   A4261   A :S51 PT 08566 10-4
22:53:44   01 10     EAUTON   A4261   A :A918 PT         1460 N DYSART
22:53:46   01 10     EAUTON   A4261   A :S52 PT 08963 1460 N DYSART
22:53:51   01 10     EAUTON   A4261   A :S522 PT 07892 1460 N DYSART
22:53:53   01 10     EAUTON   A4261   A :S523 PT 09287 1460 N DYSART
22:53:55   01 10     EAUTON   A4261   EN:S525 PT 08677 1460 N DYSART
22:53:57   01 10     EAUTON   A4261   A :S527 PT         1460 N DYSART
22:53:58   01 10     ETAC13   A6171   PASS FRNT WINDOW SMOKING AGAIN THAT WINDOW IS OPEN
22:54:04   01 10     EAUTON   A4261   A918 PSGR FRNT WINDOW OPEN SMOKING AGAIN
22:54:04   01 10     EAUTON   A4261   A :A918 PT         PSGR FRNT WINDOW OPEN SMOKING AGAIN
22:54:05   01 10     ETAC13   A6171   WHO HAS FRNT OF THE STORE
22:54:18   01 10     EAUTON   A4261   S51 WHOS UNIT IN FRNT GONNA GRAB STORE?
22:54:18   01 10     EAUTON   A4261   A :S51 PT 08566 WHOS UNIT IN FRNT GONNA GRAB STORE?
22:54:21   01 10     ETAC13   A6171   NOT IN P/LOT IF THIS GOES DOWN I CAN BE
22:54:24   01 10     EAUTON   A4261   A :S549 PT         67TH AV/GLENDALE
22:54:33   01 10     EAUTON   A4261   S549 IM IN FRNT NOW,IF GOES DOWN I CAN BE IN
22:54:33   01 10     EAUTON   A4261   A :S549 PT         IM IN FRNT NOW,IF GOES DOWN I CAN BE IN
22:54:41   01 10     ETAC13   A6171   2 UNITS ONE FOR V/B ONE FOR DYSART AND ONE FOR KFC
22:54:47   01 10     EAUTON   A4261   S52 NEED 2 UNITS IN FRNT VB THEN 1 FOR K9 TO LOCK IT DOWN
22:54:47   01 10     EAUTON   A4261   A :S52 PT 08963 NEED 2 UNITS IN FRNT VB THEN 1 FOR K9 TO LOCK
                                      IT DOWN
22:54:53   01   10   ETAC13   A6171   GOODYEAR PD ON VB
22:54:56   01   10   ETAC13   A6171   COPY
22:54:58   01   10   EAUTON   A4261   A :S549 PT 08509
22:55:04   01   10   ETAC13   A6171   COMING FROM THE EAST I CAN TAKE EHAT YOU NEED
22:55:08   01   10   ETAC13   A6171   I',COMING FROM WEST
22:55:16   01   10   ETAC13   A6171   FOOD CITY VLOSED?
22:55:18   01   10   EAUTON   A4261   A :S511 PT 07097 1460 N DYSART, - 67TH AV/GLENDALE
22:55:18   01   10   EAUTON   A4261   A :S511 PT 07097 CONTROL FOR UNIT CHANGED T13
22:55:19   01   10   ETAC13   A6171   LOOKS LIKE THEU
22:55:40   01   10   ETAC13   A6171   MARK I'LL TAKE THE FOOD CTY I CAN GET TO IT BETTER
22:55:51   01   10   ETAC13   A6171   I GOT 21 W/ME COMING FROM THE SOUTH
22:56:10   01   10   EAUTON   A4261   S522 S511 SEE HOW WE'RE SET UP HERE?
22:56:10   01   10   EAUTON   A4261   A :S522 PT 07892 S511 SEE HOW WE'RE SET UP HERE?
22:56:18   01   10   EAUTON   A4261   S511 IM OVER ON ES IN APT CMPLX,SO I CANT SEE
22:56:18   01   10   EAUTON   A4261   A :S511 PT 07097 IM OVER ON ES IN APT CMPLX,SO I CANT SEE
22:56:20   01   10   EAUTON   A4261   S522 COPY
22:56:20   01   10   EAUTON   A4261   A :S522 PT 07892 COPY
22:56:32   01   10   EAUTON   A4261   A918 ANYONE FROM DPS ON IN CASE IT GOES BACK TO I10
22:56:32   01   10   EAUTON   A4261   A :A918 PT         ANYONE FROM DPS ON IN CASE IT GOES BACK TO I10
22:56:44   01   10   EAUTON   A4261   GOODYRD OFCR - YEAH I CAN TAKE CARE OF DPS
22:56:52   01   10   EAUTON   A4261   A918 OK JUST WANT TO MAKE SURE WE'VE GOT
22:56:52   01   10   EAUTON   A4261   A :A918 PT         OK JUST WANT TO MAKE SURE WE'VE GOT
22:57:00   01   10   ETAC13   A6102   DO HAVE A HELICOPTER READY,STAGING IN THE DISTANCE
22:57:05   01   10   ETAC13   A6102   ANY UPDATE ON SUSP VEH WHAT THEY DOING
22:57:08   01   10   EAUTON   A4261   A918 WE DO HAVE HELICOPTER READY & BRIEFED STAGING A BIT AWAY




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Time     Date Unit    ID
22:57:08 01 10 EAUTON A4261           A :A918 PT         WE DO HAVE HELICOPTER READY & BRIEFED STAGING
                                      A BIT AWAY
22:57:12   01   10   ETAC13   A6102   PASS WINDOW ONLY ONE DOWN,SMOKIN CIG
22:57:17   01   10   EAUTON   A4261   A918 JSUT SITTING THERE WINDOW DOWN SMOKING CIG
22:57:17   01   10   EAUTON   A4261   A :A918 PT         JSUT SITTING THERE WINDOW DOWN SMOKING CIG
22:57:22   01   10   ETAC13   A6102   47 COMING FROM THE WEST,CAN CONTAIN
22:57:32   01   10   ETAC13   A6102   ANOTHER VEH PARKED SHOPPER POSS PARKED BETWENN THE 2 OF US
22:57:34   01   10   EAUTON   A4261   A918 OTHER VEH PARKED IN HERE CNTR CLOCK TO SP VEH
22:57:34   01   10   EAUTON   A4261   A :A918 PT         OTHER VEH PARKED IN HERE CNTR CLOCK TO SP VEH
22:57:50   01   10   EAUTON   A4261   S52 BLOCK TO KFC WE'LL KEEP SAME PERIM POS
22:57:50   01   10   EAUTON   A4261   A :S52 PT 08963 BLOCK TO KFC WE'LL KEEP SAME PERIM POS
22:57:58   01   10   ETAC13   A6102   DESC WHERE VEH PARKED/FACING
22:58:11   01   10   ETAC13   A6102   MAIN ENT TO FOOD CITY,8 SPACES OUT IN 2 ROW,FACING NW
22:58:20   01   10   EAUTON   A4261   A918 ITS FACING NW RIGHT NOW
22:58:20   01   10   EAUTON   A4261   A :A918 PT         ITS FACING NW RIGHT NOW
22:58:35   01   10   EAUTON   A4261   A918 2 SHOPPERS WERE WALKING LOOKING AT YOU,NOW WALKING BACK TO THEIR VEHS
22:58:35   01   10   EAUTON   A4261   A :A918 PT         2 SHOPPERS WERE WALKING LOOKING AT YOU,NOW
                                      WALKING BACK TO THEIR VEHS
22:58:50 01 10 EAUTON A4261           S522 YEAH THEY WERE WALKING ALMOST POINTING US OUT,WALKING BACK TO THEIR
                                      VEHS
22:58:50 01 10 EAUTON A4261           A :S522 PT 07892 YEAH THEY WERE WALKING ALMOST POINTING US
                                      OUT,WALKING BACK TO THEIR VEHS
22:59:01   01   10   EAUTON   A4261   A :S519 PT         67TH AV/GLENDALE
22:59:10   01   10   EAUTON   A4261   A :S519 PT 08469
22:59:12   01   10   ETAC13   A5471   TAK WAYS ON DYSART IF CAN
22:59:25   01   10   EAUTON   A4261   NA:S519 PT 08469
22:59:25   01   10   EAUTON   A4261   A :S519 PT 08467
22:59:28   01   10   ETAC13   A5471   A918 ON THE MOVE
22:59:28   01   10   ETAC13   A5471   A :A918 PT         ON THE MOVE
22:59:31   01   10   EAUTON   A4261   A918 VEH ON MOVE
22:59:31   01   10   EAUTON   A4261   A :A918 PT         VEH ON MOVE
22:59:36   01   10   EAUTON   A4261   A918 WE ARE RECORDING
22:59:36   01   10   EAUTON   A4261   A :A918 PT         WE ARE RECORDING
22:59:38   01   10   ETAC13   A5471   A918 WE ARE RECORDING
22:59:38   01   10   ETAC13   A5471   A :A918 PT         WE ARE RECORDING
22:59:49   01   10   ETAC13   A5471   TOWARD WHATABURGER
23:00:06   01   10   ETAC13   A5471   A918 KINDA MOTION YOU GUYS,FOLLOWING THEM NOW,TRYING TO GET THEIR ATTENTION
23:00:06   01   10   ETAC13   A5471   A :A918 PT         KINDA MOTION YOU GUYS,FOLLOWING THEM
                                      NOW,TRYING TO GET THEIR ATTENTION
23:00:12 01 10 EAUTON A4261           A918 CAR KINDA MOTIONING AT THEM,FOLLOWING THE,LIKE THRYING TO GET THEIR
                                      ATTENTION
23:00:12 01 10 EAUTON A4261           A :A918 PT         CAR KINDA MOTIONING AT THEM,FOLLOWING THE,LIKE
                                      THRYING TO GET THEIR ATTENTION
23:00:19   01   10   EAUTON   A4261   A918 EB VB DYSART
23:00:19   01   10   EAUTON   A4261   A :A918 PT         EB VB DYSART
23:00:20   01   10   ETAC13   A5471   A918 VEH IS EB ON VAN BUREN DYSART
23:00:20   01   10   ETAC13   A5471   A :A918 PT         VEH IS EB ON VAN BUREN DYSART
23:00:25   01   10   EAUTON   A4261   A918 BACK SB DYSART FROM VB
23:00:25   01   10   EAUTON   A4261   A :A918 PT         BACK SB DYSART FROM VB
23:00:27   01   10   ETAC13   A5471   A918 SB ON DYSART FROM VB




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Time       Date      Unit     ID
23:00:27   01 10     ETAC13   A5471   A :A918 PT        SB ON DYSART FROM VB
23:00:28   01 10     EAUTON   A4261   A918 SLOW ROLLING
23:00:28   01 10     EAUTON   A4261   A :A918 PT        SLOW ROLLING
23:00:34   01 10     ETAC13   A5471   A918 FIRST ENTRANCE PULLING BACK INTO PLOT
23:00:34   01 10     ETAC13   A5471   A :A918 PT        FIRST ENTRANCE PULLING BACK INTO PLOT
23:00:40   01 10     EAUTON   A4261   A918 PULLING BACK INTO THE PL 1ST ENTRANCE BY WHATABURGER
23:00:40   01 10     EAUTON   A4261   A :A918 PT        PULLING BACK INTO THE PL 1ST ENTRANCE BY
                                      WHATABURGER
23:00:42   01   10   ETAC13   A5471   A918 SB AWAY FROM WHATABURGER
23:00:42   01   10   ETAC13   A5471   A :A918 PT        SB AWAY FROM WHATABURGER
23:00:48   01   10   EAUTON   A4261   A918 SB IN LOT AWAY FROM WHATABURGER
23:00:48   01   10   EAUTON   A4261   A :A918 PT        SB IN LOT AWAY FROM WHATABURGER
23:00:54   01   10   EAUTON   A4261   S522 RIGHT BACK TO WHERE WE ARE
23:00:54   01   10   EAUTON   A4261   A :S522 PT 07892 RIGHT BACK TO WHERE WE ARE
23:01:03   01   10   ETAC13   A5471   A918 DYSART NB TO VB
23:01:03   01   10   ETAC13   A5471   A :A918 PT        DYSART NB TO VB
23:01:06   01   10   EAUTON   A4261   A918 OK BACK OUT ONTO DYSART NB TOWARDS VB
23:01:06   01   10   EAUTON   A4261   A :A918 PT        OK BACK OUT ONTO DYSART NB TOWARDS VB
23:01:12   01   10   EAUTON   A4261   A :A918 PT        DYSART VB NB
23:01:14   01   10   EAUTON   A4261   A :V638 DE 06103 DYSART VB NB
23:01:15   01   10   ETAC13   A5471   (M) WHATABURGER 1460 N DYSART RD
23:01:17   01   10   EAUTON   A4261   A :V636 DE 07710 DYSART VB NB
23:01:19   01   10   EAUTON   A4261   A :V635 DE 07014 DYSART VB NB
23:01:21   01   10   EAUTON   A4261   A :V632 PT 05994 DYSART VB NB
23:01:23   01   10   EAUTON   A4261   A :V632 PT 05994 DYSART VB WB
23:01:25   01   10   EAUTON   A4261   A :V638 DE 06103 DYSART VB WB
23:01:27   01   10   EAUTON   A4261   A :A918 PT        DYSART VB WB
23:01:35   01   10   EAUTON   A4261   A918 SLOW ROLLING WB VB
23:01:35   01   10   EAUTON   A4261   A :A918 PT        SLOW ROLLING WB VB
23:01:42   01   10   ETAC13   A5471   A918 PULLING BACK INTO FOOD CITY PLOT FAR WEST END
23:01:42   01   10   ETAC13   A5471   A :A918 PT        PULLING BACK INTO FOOD CITY PLOT FAR WEST END
23:01:43   01   10   EAUTON   A4261   A918 PULLING BACK INTO FOOD CITY PL FAR W END OF IT
23:01:43   01   10   EAUTON   A4261   A :A918 PT        PULLING BACK INTO FOOD CITY PL FAR W END OF IT
23:02:08   01   10   ETAC13   A5471   A918 EB THROUGH PLOT JS OF VAN BUREN,ALMOST STOP,FACING WHATABURGER ON NS
                                      OF FOOD CITY,SLOW ROLLING NOW
23:02:08 01 10 EAUTON A4261           A :A918 PT        1460 N DYSART
23:02:08 01 10 ETAC13 A5471           A :A918 PT        EB THROUGH PLOT JS OF VAN BUREN,ALMOST
                                      STOP,FACING WHATABURGER ON NS OF FOOD CITY,SLOW ROLLING NOW
23:02:16   01   10   EAUTON   A4261   A :V638 DE 06103 1460 N DYSART
23:02:18   01   10   EAUTON   A4261   A :V636 DE 07710 1460 N DYSART
23:02:20   01   10   EAUTON   A4261   A :V635 DE 07014 1460 N DYSART
23:02:23   01   10   ETAC13   A5471   A918 2 VEHS IN DRIVE THRU,BACKING INTO SPOT,200 FT NW OF WHATABURGER
23:02:23   01   10   ETAC13   A5471   A :A918 PT        2 VEHS IN DRIVE THRU,BACKING INTO SPOT,200 FT
                                      NW OF WHATABURGER
23:02:30   01   10   ETAC13   A5471   5 SPACES EAST OF ME
23:02:36   01   10   EAUTON   A4261   V638 5 SPACES E OF ME
23:02:36   01   10   EAUTON   A4261   A :V638 DE 06103 5 SPACES E OF ME
23:02:43   01   10   EAUTON   A4261   A918 PARKED INTO SPOT RIGHT ALONG VB
23:02:43   01   10   EAUTON   A4261   A :A918 PT        PARKED INTO SPOT RIGHT ALONG VB
23:02:52   01   10   ETAC13   A5471   A918 INTO SPOT RIGHT ALONG VAN BUREN,4 SPACES WEST OF ENTRANCE,




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23:02:52 01 10 ETAC13 A5471           A :A918 PT        INTO SPOT RIGHT ALONG VAN BUREN,4 SPACES WEST
                                      OF ENTRANCE,
23:02:54 01 10 EAUTON A4261           A918 1ST ENTRANCE JW OF DYSART 4 SPCS W OF THAT FACING SB
23:02:54 01 10 EAUTON A4261           A :A918 PT        1ST ENTRANCE JW OF DYSART 4 SPCS W OF THAT
                                      FACING SB
23:03:02   01   10   ETAC13   A5471   2242 AND HAVE EYES ON HIM
23:03:09   01   10   ETAC13   A5471   25 HAVE PONY WALL BLOCKING BACK END
23:03:13   01   10   EAUTON   A4261   S525 HE HAVE A PONY WALL BLOCKING?
23:03:13   01   10   EAUTON   A4261   EN:S525 PT 08677 HE HAVE A PONY WALL BLOCKING?
23:03:21   01   10   ETAC13   A5471   WAYS AWAY,PUSHING HIM,WB ON VAN BUREN,BLOCK BACK END OF IT
23:03:30   01   10   ETAC13   A5471   TAKE WHATABURGER
23:03:33   01   10   EAUTON   A4261   S52 NEG GONNA BE BUSHES,NEED BEAM POLE TO GET IN TO IT
23:03:33   01   10   EAUTON   A4261   A :S52 PT 08963 NEG GONNA BE BUSHES,NEED BEAM POLE TO GET IN TO
                                      IT
23:03:58 01 10 EAUTON A4261           S549 IF SOMEONE WANTS TO TAKE WHATABURGER I CAN GET IT
23:03:58 01 10 EAUTON A4261           A :S549 PT 08509 IF SOMEONE WANTS TO TAKE WHATABURGER I CAN GET
                                      IT
23:04:24 01 10 ETAC13 A5471           25 TO 22,LOOK SLIKE WE CAN GO AORUND SOUTH END OF BLDG,FAR WEST END,WE CAN
                                      TAKE PASSENGER SIDE
23:04:24 01 10 EAUTON A4261           S525 TO S522 LOOKS LIKE WE CAN GO ARND THE S END OF THIS BLDG & WE CAN GET
                                      TO FAR W ENT,WE CAN TAKE PSGR SIDE FROM W END
23:04:24 01 10 EAUTON A4261           EN:S525 PT 08677 TO S522 LOOKS LIKE WE CAN GO ARND THE S END OF
                                      THIS BLDG & WE CAN GET TO FAR W ENT,WE CAN TAKE PSGR SIDE FROM W END
23:04:31   01   10   ETAC13   A5471   GATE RUNS ON BOTH SIDES OF FOOD CITY
23:04:37   01   10   ETAC13   A5471   25 WE CAN JUST TAKE IT FROM HERE
23:04:40   01   10   EAUTON   A4261   GOODYR OFCR - THERES A GATE THAT RUNS ON BOTH SIDES OF FOOD CITY
23:04:48   01   10   EAUTON   A4261   S522 YEAH S525 WE CAN JUST TAKE IT FROM THERE
23:04:48   01   10   EAUTON   A4261   A :S522 PT 07892 YEAH S525 WE CAN JUST TAKE IT FROM THERE
23:04:50   01   10   EAUTON   A4261   S525 COPY
23:04:50   01   10   EAUTON   A4261   EN:S525 PT 08677 COPY
23:05:00   01   10   ETAC13   A5471   51 BIG WHITE POLE BEHIND HIM,INHIBIT YOUR ABILITY TO MAKE CONTACT
23:05:06   01   10   ETAC13   A5471   A918 DIRECTLY IN FRONT OF POLE
23:05:06   01   10   ETAC13   A5471   A :A918 PT        DIRECTLY IN FRONT OF POLE
23:05:08   01   10   EAUTON   A4261   S51 BIG LGIHT POLE BHND HIM GOING TO MAKE DIFF TO CONT HIM
23:05:08   01   10   EAUTON   A4261   A :S51 PT 08566 BIG LGIHT POLE BHND HIM GOING TO MAKE DIFF TO
                                      CONT HIM
23:05:11   01   10   ETAC13   A5471   NEED HIM THERE AS VEH DROP FOR VB
23:05:19   01   10   EAUTON   A4261   A918 YEAH HE IS DIRECTLY IN FRNT OF LIGHT POLE
23:05:19   01   10   EAUTON   A4261   A :A918 PT        YEAH HE IS DIRECTLY IN FRNT OF LIGHT POLE
23:05:28   01   10   ETAC13   A5471   I'LL PUT IT THERE,THEN SCOOT
23:05:40   01   10   ETAC13   A5471   WHO DO WE HAVE FOR BLOCK?
23:05:46   01   10   ETAC13   A5471   25 BEST FOR THAT
23:05:49   01   10   ETAC13   A5471   25 10-4
23:05:55   01   10   EAUTON   A4261   NA:S549 PT 08509
23:05:55   01   10   EAUTON   A4261   A :S549 PT 08506
23:06:03   01   10   ETAC13   A5471   A918 TWO WIATING FOR PICK UP,NO ONE ORDERING,NO VEH IN PLOT
23:06:03   01   10   ETAC13   A5471   A :A918 PT        TWO WIATING FOR PICK UP,NO ONE ORDERING,NO VEH
                                      IN PLOT
23:06:22 01 10 EAUTON A4261           A :V632 PT 05994 1460 N DYSART
23:06:24 01 10 ETAC13 A5471           DROVE BY THRE,BUSHES 3 FEET WIDE,ALMOST TOUCHING THEM




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23:06:26   01 10     EAUTON   A4261   A :V631 DE 06914 1460 N DYSART
23:06:28   01 10     EAUTON   A4261   A :V630 DE 05057 1460 N DYSART
23:06:31   01 10     EAUTON   A4261   A :V63 PT 05227 1460 N DYSART
23:06:36   01 10     EAUTON   A4261   DP:V572 PT 07991 1460 N DYSART
23:06:47   01 10     EAUTON   A4261   A :S549 PT 08506 1460 N DYSART
23:06:53   01 10     ETAC13   A5471   52 ANYONE TO THE WEST FOR PASSENGER SIDE?
23:06:56   01 10     EAUTON   A4261   S52 ANYONE SET UP TO W FOR PSGR SIDE
23:06:56   01 10     EAUTON   A4261   A :S52 PT 08963 ANYONE SET UP TO W FOR PSGR SIDE
23:06:58   01 10     ETAC13   A5471   27 I CAN GET IT WHEN I GET THERE
23:07:01   01 10     EAUTON   A4261   S527 I CAN GET ARND & GET THAT
23:07:01   01 10     EAUTON   A4261   A :S527 PT        I CAN GET ARND & GET THAT
23:07:14   01 10     ETAC13   A5471   NOT NOW,DON'T SPOOK THEM,JUST BE AWARE,WHEN THEY GO IN,MOVE TOT HE WEST
23:07:14   01 10     EAUTON   A4261   S52 DONT NEED TO MOVE IN POS YET,DONT WANT TO SPOOK THEM
23:07:14   01 10     EAUTON   A4261   A :S52 PT 08963 DONT NEED TO MOVE IN POS YET,DONT WANT TO SPOOK
                                      THEM
23:07:28 01 10 ETAC13 A5471           LIGHTS,EAST BOUND TRAFFIC,I'LL STOP EB/WB TRAFFIC ON VV
23:07:33 01 10 ETAC13 A5471           LIGHTS,EAST BOUND TRAFFIC,I'LL STOP EB/WB TRAFFIC ON VB
23:07:36 01 10 EAUTON A4261           S51 YOU GUYS WANT TO STAGE AT CENT,IN CASE THIS GOES DOWNI'LL STOP TRAFFIC
                                      GOES E TO W ON VB
23:07:36 01 10 EAUTON A4261           A :S51 PT 08566 YOU GUYS WANT TO STAGE AT CENT,IN CASE THIS
                                      GOES DOWNI'LL STOP TRAFFIC GOES E TO W ON VB
23:07:40   01   10   ETAC13   A5471   I CAN DO WHATEVER,I HAVE LIGHTS
23:07:44   01   10   EAUTON   A4261   S511 BOSS I CAN DO WHATAEVER
23:07:44   01   10   EAUTON   A4261   A :S511 PT 07097 BOSS I CAN DO WHATAEVER
23:07:53   01   10   ETAC13   A5471   27 YOU SET UP TO THE WEST? I'M WITH 25,I CAN TAKE PASSENGER SIDE
23:07:56   01   10   EAUTON   A4261   S522 S527 YO SET UP TO W? I CAN TAKE PSGR SIDE
23:07:56   01   10   EAUTON   A4261   A :S522 PT 07892 S527 YO SET UP TO W? I CAN TAKE PSGR SIDE
23:08:09   01   10   EAUTON   A4261   S527 I CAN GET IT,IM AT DYSART & VB NOW
23:08:09   01   10   EAUTON   A4261   A :S527 PT        I CAN GET IT,IM AT DYSART & VB NOW
23:08:11   01   10   ETAC13   A5471   SAY FOR DRIVER? HAVE ACCESS TO THAT SIDE?
23:08:20   01   10   EAUTON   A4261   S522 DO WE HAVE ACCESS TO DRIVERS SIDE
23:08:20   01   10   EAUTON   A4261   A :S522 PT 07892 DO WE HAVE ACCESS TO DRIVERS SIDE
23:08:24   01   10   ETAC13   A5471   A918 OPEN ON ALL SIDES WHERE THE POLE IS IN THE BACK
23:08:24   01   10   ETAC13   A5471   A :A918 PT        OPEN ON ALL SIDES WHERE THE POLE IS IN THE BACK
23:08:28   01   10   ETAC13   A5471   I CAN GET DRIVER FROM HERE
23:08:34   01   10   EAUTON   A4261   A918 SET UP ON ALL SIDES EXCEPT WHERE LIGHT POLE IS
23:08:34   01   10   EAUTON   A4261   A :A918 PT        SET UP ON ALL SIDES EXCEPT WHERE LIGHT POLE IS
23:08:41   01   10   EAUTON   A4261   S522 ALRIGHT,I CAN GET DRIVER FROM HERE
23:08:41   01   10   EAUTON   A4261   A :S522 PT 07892 ALRIGHT,I CAN GET DRIVER FROM HERE
23:08:49   01   10   ETAC13   A5471   CAN'T TELL,PIZZA HUT JW OF THEM,STILL OPEN
23:08:52   01   10   EAUTON   A4261   S52 THAT PIZZA HUT JW? STILL OPEN?
23:08:52   01   10   EAUTON   A4261   A :S52 PT 08963 THAT PIZZA HUT JW? STILL OPEN?
23:08:55   01   10   ETAC13   A5471   10-4 PIZZA HUT
23:08:59   01   10   ETAC13   A5471   STILL OPEN?
23:09:00   01   10   EAUTON   A4261   GOODYR OFCR - 10-4 PIZZA HUT
23:09:05   01   10   EAUTON   A4261   S52 YEAH STILL OPEN?
23:09:05   01   10   EAUTON   A4261   A :S52 PT 08963 YEAH STILL OPEN?
23:09:09   01   10   ETAC13   A5471   PEOPLE INSIDE THERE,BUT NOT SURE IF STILL OPEN
23:09:14   01   10   EAUTON   A4261   V632 PPL INSIDE,DONT KNOW IF STILL OPEN
23:09:14   01   10   EAUTON   A4261   A :V632 PT 05994 PPL INSIDE,DONT KNOW IF STILL OPEN




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CALL: PH19-55839 ACTIVE (R)
                     Desk/
Time       Date      Unit     ID
23:09:19   01 10     EAUTON   A4261   A918 2 PPL JUST WALKED IN
23:09:19   01 10     EAUTON   A4261   A :A918 PT        2 PPL JUST WALKED IN
23:09:22   01 10     ETAC13   A5471   A918 TWO PEOPLE WALKED IN,LOST THEM UNDER AWNING
23:09:22   01 10     ETAC13   A5471   A :A918 PT        TWO PEOPLE WALKED IN,LOST THEM UNDER AWNING
23:09:26   01 10     ETAC13   A5471   THEY WALKED AROUND CORNER TO THE SOTUH
23:09:28   01 10     EAUTON   A4261   V632 NAH THEY WALKED ARND CORNER TO THE S
23:09:28   01 10     EAUTON   A4261   A :V632 PT 05994 NAH THEY WALKED ARND CORNER TO THE S
23:09:33   01 10     EAUTON   A4261   A918 HOW FAR W OF PIZZA HUT?
23:09:33   01 10     EAUTON   A4261   A :A918 PT        HOW FAR W OF PIZZA HUT?
23:09:35   01 10     ETAC13   A5471   PU IN FRONT? HOW FAR WEST OF PH?
23:09:37   01 10     ETAC13   A5471   50 FEET
23:09:39   01 10     ETAC13   A5471   A918 COPY
23:09:39   01 10     ETAC13   A5471   A :A918 PT        COPY
23:09:40   01 10     EAUTON   A4261   V632 50FT
23:09:40   01 10     EAUTON   A4261   A :V632 PT 05994 50FT
23:09:45   01 10     ETAC13   A5471   PIZZA CLOSES AT 2300 HRS
23:09:51   01 10     EAUTON   A4261   GOODYR OFCR - PIZZA HUT CLOSES AT 2300
23:10:55   01 10     EAUTON   A4261   S52 COUPLE BUSINESS JS EYEBROW & SMOKE SHOP,SOON AS GOES DOWN AT LEAST 1
                                      PERSON SIDEWALK TO STRIP MALL
23:10:55 01 10 EAUTON A4261           A :S52 PT 08963 COUPLE BUSINESS JS EYEBROW & SMOKE SHOP,SOON AS
                                      GOES DOWN AT LEAST 1 PERSON SIDEWALK TO STRIP MALL
23:10:56 01 10 ETAC13 A5471           COUPLE BUSN STILL OPEN TO THE SOUTH,EYEBROW PLACE,SMOKE SHOP,GET ONE
                                      PERSON OVER THERE TO THE SIDEWALK TO THE STRIP MALL,
23:11:14   01   10   ETAC13   A5471   GET THOSE BUSN,YOU GRAB TRAFFIC WB,BE CONTAINMENT ON SSS
23:11:16   01   10   ETAC13   A5471   YEP
23:11:31   01   10   ETAC13   A5471   WANT ME WEST OF WHATABURGER STOP EB TRAFFIC?
23:11:32   01   10   ETAC13   A5471   10-4
23:11:38   01   10   EAUTON   A4261   S51 YOU WANT ME WB OF WHATABURGER STOP EB VB RIGHT?
23:11:38   01   10   EAUTON   A4261   A :S51 PT 08566 YOU WANT ME WB OF WHATABURGER STOP EB VB RIGHT?
23:11:43   01   10   EAUTON   A4261   S511 YOU WANT ME WB OF WHATABURGER STOP EB VB RIGHT?
23:11:43   01   10   EAUTON   A4261   A :S511 PT 07097 YOU WANT ME WB OF WHATABURGER STOP EB VB RIGHT?
23:11:46   01   10   EAUTON   A4261   S51 YEAH,10-4
23:11:46   01   10   EAUTON   A4261   A :S51 PT 08566 YEAH,10-4
23:11:56   01   10   ETAC13   A5471   TO 25 HOW LONG TAKE YOU TO GET TO THAT VEH?
23:11:58   01   10   EAUTON   A4261   S52 TO S525 HOW LONG THINK IT'LL TAKE YOU TO GET TO THAT VEH?
23:11:58   01   10   EAUTON   A4261   A :S52 PT 08963 TO S525 HOW LONG THINK IT'LL TAKE YOU TO GET TO
                                      THAT VEH?
23:12:11 01 10 ETAC13 A5471           A918 PEDEST CROSSED N TO S,WALKING TOWARD WHATABURGER
23:12:11 01 10 ETAC13 A5471           A :A918 PT        PEDEST CROSSED N TO S,WALKING TOWARD
                                      WHATABURGER
23:12:13 01 10 EAUTON A4261           A918 PED ON FOOT CROSSED N OT S WALKING TOWARDS WHATABURGER
23:12:13 01 10 EAUTON A4261           A :A918 PT        PED ON FOOT CROSSED N OT S WALKING TOWARDS
                                      WHATABURGER
23:12:44 01 10 ETAC13 A5471           22 TO 52 ONCE GOES DOWN,PUSH UP ALONG BLDG HERE,STIR UP ALITTLE,MAKE IT
                                      INSIDE,GET TOT HE VEH JUST A COUPLE SECONDS,NEEED TO BE STAGED ONCE THEY
                                      EXIT
23:12:49 01 10 EAUTON A4261           S522 S52,ONCE GOES DOWN WE'D HAVE TO PUSH UP ALONG BLDG,ONCE WE MAKE IN
                                      INSIDE WE CAN MAKE TO VEH IN COUPLE OF SECONDS,JUST HAVE PUSH UP ONCE THEY
                                      GET OUT
23:12:49 01 10 EAUTON A4261           A :S522 PT 07892 S52,ONCE GOES DOWN WE'D HAVE TO PUSH UP ALONG




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                     Desk/
Time       Date      Unit     ID
                                       BLDG,ONCE WE MAKE IN INSIDE WE CAN MAKE TO VEH IN COUPLE OF SECONDS,JUST
                                       HAVE PUSH UP ONCE THEY GET OUT
23:12:54 01 10 ETAC13 A5471            FIND A POSITION,OUT OF SITE OF GETWAY DRIVER
23:13:10 01 10 ETAC13 A5471            FIND A POSITION,OUT OF SITE OF GETWAY DRIVER,THEY LEAVE DRIVER IN VEH,WILL
                                       YOU BE IN POSITION SO THEY CAN'T SEE YOU
23:13:14 01 10 EAUTON A4261            S52 OKAY HIGH LIKELIHOOD LEAVING DRIVER IN VEH,ABLE TO GET IN POS WHERE
                                       THEY WONT SEE YOU AT?
23:13:14 01 10 EAUTON A4261            A :S52 PT 08963 OKAY HIGH LIKELIHOOD LEAVING DRIVER IN VEH,ABLE
                                       TO GET IN POS WHERE THEY WONT SEE YOU AT?
23:13:37 01 10 ETAC13 A5471            THEY ARE BACKED IN FACING WHERE WE WERE,WE WOULD JUST HAVE TO MOVE TO
                                       FRONT OF STORE,CREEP UP WHEN GOES DOWN,ANSWER QUESTION,YES,SEE
                                       HEADLIGHTS,BUT THATS IT
23:13:37 01 10 EAUTON A4261            S522 THEY ARE PARKED BACK WHERE ORIG WAS,WE'LL HAVE TO MOVE OUT WAY TO NS
                                       OF STORE HERE NONCHALANTLY BUT WE CAN DO THAT
23:13:37 01 10 EAUTON A4261            A :S522 PT 07892 THEY ARE PARKED BACK WHERE ORIG WAS,WE'LL HAVE
                                       TO MOVE OUT WAY TO NS OF STORE HERE NONCHALANTLY BUT WE CAN DO THAT
23:13:39   01   10   ETAC13   A5471    COYP
23:13:41   01   10   EAUTON   A4261    S52 I COPY
23:13:41   01   10   EAUTON   A4261    A :S52 PT 08963 I COPY
23:13:46   01   10   ETAC13   A5471    16 FOOD CITY,WHERE IS VEH?
23:13:47   01   10   EAUTON   A4261    A :S516 PT        67TH AV/GLENDALE
23:13:56   01   10   EAUTON   A4261    A :S516 PT 08288
23:14:01   01   10   ETAC13   A5471    DIRECTLY IN FRONT OF PAYLESS SHOE SIGN,BACKED IN,REAR END NORTH TO VAN
                                       BUREN
23:14:14   01   10   EAUTON   A4261    S516 OK JW OF WHATABURGER UP AGNST FOOD CITY
23:14:14   01   10   EAUTON   A4261    A :S516 PT 08288 OK JW OF WHATABURGER UP AGNST FOOD CITY
23:14:24   01   10   EAUTON   A4261    S51 YEAH JW OF WHATABURGER CLOSEST TO VB
23:14:24   01   10   ETAC13   A5471    WEST OF WHATABURGER AND CLOSEST TO VAN BUREN,GET ON ROOF OF PAYLESS,CAN'T
                                       SEE IT FROM FOOD CITY
23:14:24 01 10 EAUTON A4261            A :S51 PT 08566 YEAH JW OF WHATABURGER CLOSEST TO VB
23:14:25 01 10 ETAC13 A5471            COPY THANK
23:14:41 01 10 EAUTON A4261            S51 SO UNLESS YOU GET UP ON ROOF OF FOOD CITY,YOU'RE NOT GOING TO BE ABLE
                                       TO SEE IT
23:14:41 01 10 EAUTON A4261            A :S51 PT 08566 SO UNLESS YOU GET UP ON ROOF OF FOOD
                                       CITY,YOU'RE NOT GOING TO BE ABLE TO SEE IT
23:14:45   01   10   EAUTON   A4261    S516 COPY
23:14:45   01   10   EAUTON   A4261    A :S516 PT 08288 COPY
23:15:09   01   10   EAUTON   A4261    Call re-directed:T13
23:15:19   01   10   ETAC13   A5471    THEY LOCK DOORS AT MIDNIGHT?
23:15:21   01   10   EAUTON   A4261    S52 THIS WHATABURGER LOCK ITS DRS AT MIDNIGHT?
23:15:21   01   10   EAUTON   A4261    A :S52 PT 08963 THIS WHATABURGER LOCK ITS DRS AT MIDNIGHT?
23:15:30   01   10   ETAC13   A5471    UNKNOWN
23:15:31   01   10   EAUTON   A4261    A :S519 PT 08467 1460 N DYSART
23:15:36   01   10   EAUTON   A4261    V638 UNK
23:15:36   01   10   EAUTON   A4261    A :V638 DE 06103 UNK
23:15:44   01   10   EAUTON   A4261    A :S563 K9 08942 1460 N DYSART
23:15:51   01   10   EAUTON   A4261    EN:S525 PT 08677 1460 N DYSART
23:15:53   01   10   EAUTON   A4261    A :S525 PT 08677
23:15:57   01   10   EAUTON   A4261    A :S521 PT
23:16:04   01   10   EAUTON   A4261    A :S521 PT




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23:16:10   01 10     EAUTON   A4261   A :S521 PT        1460 N DYSART
23:16:16   01 10     EAUTON   A4261   A :S517 PT 07497 1460 N DYSART
23:16:20   01 10     EAUTON   A4261   A :S516 PT 08288 1460 N DYSART
23:16:25   01 10     EAUTON   A4261   A :S51 PT 08566 1460 N DYSART
23:16:39   01 10     EAUTON   A4261   A :V572 PT 07991
23:18:06   01 10     ETAC13   A5471   13 TO 52 DAVID IS YOUR ROAD BLOCK,BENE TO GET TWO CARS,SPLIT POLE FOR REAR
                                      BLOCK
23:18:09   01   10   EAUTON   A4261   A :S513 PT        67TH AV/GLENDALE
23:18:16   01   10   EAUTON   A4261   A :S513 PT        1460 N DYSART
23:18:21   01   10   ETAC13   A5471   COULD HELP,ONE TO THE WEST,ONE DIRECTLY JUST NORTH BY TATTOO SHOP
23:18:32   01   10   EAUTON   A4261   S513 WE'RE STAGGED JUST A LITTLE N
23:18:32   01   10   EAUTON   A4261   A :S513 PT        WE'RE STAGGED JUST A LITTLE N
23:18:40   01   10   EAUTON   A4261   A :S513 PT 07244
23:18:45   01   10   ETAC13   A5471   WE'RE STAGED JW OF UHAUL,SECOND TO GET UP THERE,REAR BLOCK RIGHT NOW,MAY
                                      BE MORE BENE TO HAVE TWO
23:18:48 01 10 ETAC13 A5471           52 COPY
23:18:57 01 10 EAUTON A4261           S513 WE'RE GOING TO BE DOWN RANGE,SO WE'RE JUST GOING TO GET DOWN ON FLR
                                      BOARDS WHEN MAKE CONT
23:18:57 01 10 EAUTON A4261           A :S513 PT 07244 WE'RE GOING TO BE DOWN RANGE,SO WE'RE JUST
                                      GOING TO GET DOWN ON FLR BOARDS WHEN MAKE CONT
23:19:05 01 10 ETAC13 A5471           TELL IF VEH ARE WEST IN FRONT OF PIZZA HUT OCCUP
23:19:09 01 10 EAUTON A4261           S52 CAN TELL IF VEHS DIRECTLY W OF THEM IN FRNT OF PIZZA HUT IS OCCUPIED
23:19:09 01 10 EAUTON A4261           A :S52 PT 08963 CAN TELL IF VEHS DIRECTLY W OF THEM IN FRNT OF
                                      PIZZA HUT IS OCCUPIED
23:19:16 01 10 ETAC13 A5471           ONE IS ME,BUT OTHER IS NOT,PROB EMPLOYEE OF PIZZA HUT
23:19:20 01 10 EAUTON A4261           V638 1 IS ME & OTHER IS UNOCC,BUT EMP INSIDE PIZZA HUT
23:19:20 01 10 EAUTON A4261           A :V638 DE 06103 1 IS ME & OTHER IS UNOCC,BUT EMP INSIDE PIZZA
                                      HUT
23:19:32 01 10 EAUTON A4261           S52 IF YOU CAN TRY TO SEAK COVER OR BACK UP CLOSER TO PIZZA HUT
23:19:32 01 10 EAUTON A4261           A :S52 PT 08963 IF YOU CAN TRY TO SEAK COVER OR BACK UP CLOSER
                                      TO PIZZA HUT
23:19:34 01 10 ETAC13 A5471           52 COPY,IF YOU CAN,SEEK COVER WHEN GOES DOWN,GO TO SHOE STORE,FIELD OF
                                      FIRE NORTHWEST
23:19:42   01   10   EAUTON   A4261   S52 MORE THAN LIKELY FIELD OF FIRE WILL BE TO THE NW
23:19:42   01   10   EAUTON   A4261   A :S52 PT 08963 MORE THAN LIKELY FIELD OF FIRE WILL BE TO THE NW
23:19:52   01   10   ETAC13   A5471   A918 EB THROUGH THE LOT,OUT TO VB
23:19:52   01   10   ETAC13   A5471   A :A918 PT        EB THROUGH THE LOT,OUT TO VB
23:19:56   01   10   EAUTON   A4261   A918 VEH ON MOVE EB THROUGH LOT PULLING OUT TO VB
23:19:56   01   10   EAUTON   A4261   A :A918 PT        VEH ON MOVE EB THROUGH LOT PULLING OUT TO VB
23:20:02   01   10   EAUTON   A4261   A918 EB VB UP TO DYSART
23:20:02   01   10   EAUTON   A4261   A :A918 PT        EB VB UP TO DYSART
23:20:03   01   10   ETAC13   A5471   A918 EB VB/DYSART
23:20:03   01   10   ETAC13   A5471   A :A918 PT        EB VB/DYSART
23:20:12   01   10   ETAC13   A5471   A918 SB DYSART/VB
23:20:12   01   10   ETAC13   A5471   A :A918 PT        SB DYSART/VB
23:20:24   01   10   ETAC13   A5471   A918 PULL INTO FIRST ENTRANCE SOUTH OF VAN BUREN AGAIN,STILL RECORDING
23:20:24   01   10   ETAC13   A5471   A :A918 PT        PULL INTO FIRST ENTRANCE SOUTH OF VAN BUREN
                                      AGAIN,STILL RECORDING
23:20:30 01 10 EAUTON A4261           A918 THEYRE SLOW ROLLING 1ST ENTRANCE S OF VB,REMINDER WE ARE RECORDING
23:20:30 01 10 ETAC13 A5471           A918 NB TOWARD WHATABURGER




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Time     Date Unit    ID
23:20:30 01 10 EAUTON A4261           A :A918 PT        THEYRE SLOW ROLLING 1ST ENTRANCE S OF
                                      VB,REMINDER WE ARE RECORDING
23:20:30   01   10   ETAC13   A5471   A :A918 PT        NB TOWARD WHATABURGER
23:20:35   01   10   EAUTON   A4261   A918 NB TWOARDS WHATABURGER
23:20:35   01   10   EAUTON   A4261   A :A918 PT        NB TWOARDS WHATABURGER
23:20:37   01   10   ETAC13   A5471   A918 ON EAST SIDE OF WHATABURGER
23:20:37   01   10   ETAC13   A5471   A :A918 PT        ON EAST SIDE OF WHATABURGER
23:20:40   01   10   EAUTON   A4261   A918 ON ES OF WHATABURGER
23:20:40   01   10   EAUTON   A4261   A :A918 PT        ON ES OF WHATABURGER
23:20:55   01   10   EAUTON   A4261   A918 PULLING ARND NS WB ALONG NS WHATABURGER
23:20:55   01   10   EAUTON   A4261   A :A918 PT        PULLING ARND NS WB ALONG NS WHATABURGER
23:20:56   01   10   ETAC13   A5471   A918 ALONG NORTH SIDE WB
23:20:56   01   10   ETAC13   A5471   A :A918 PT        ALONG NORTH SIDE WB
23:21:03   01   10   ETAC13   A5471   HOLD YOUR POSITIONS,SEE WHAT THEY DO
23:21:07   01   10   EAUTON   A4261   S52 EVERYBODY HOLD POS SEE WHAT THEY DO
23:21:07   01   10   EAUTON   A4261   A :S52 PT 08963 EVERYBODY HOLD POS SEE WHAT THEY DO
23:21:08   01   10   ETAC13   A5471   A918 SB THROUGH PLOT AGAIN
23:21:08   01   10   ETAC13   A5471   A :A918 PT        SB THROUGH PLOT AGAIN
23:21:11   01   10   EAUTON   A4261   A918 SB THROUGH PL AGAIN
23:21:11   01   10   EAUTON   A4261   A :A918 PT        SB THROUGH PL AGAIN
23:21:18   01   10   EAUTON   A4261   A918 KFC ALL WAY OVER THIS WHATABURGER
23:21:18   01   10   EAUTON   A4261   A :A918 PT        KFC ALL WAY OVER THIS WHATABURGER
23:21:21   01   10   ETAC13   A5471   PASS KFC,WHATABURGER IS JW
23:21:27   01   10   EAUTON   A4261   V636 YEAH PAST KFC WHATABURGER JW
23:21:27   01   10   EAUTON   A4261   A :V636 DE 07710 YEAH PAST KFC WHATABURGER JW
23:21:31   01   10   ETAC13   A5471   A918 GOING BACK OUT TO DYSART
23:21:31   01   10   ETAC13   A5471   A :A918 PT        GOING BACK OUT TO DYSART
23:21:39   01   10   ETAC13   A5471   A918 NB TO LEFT TURN LANE GOING WB ON VB
23:21:39   01   10   ETAC13   A5471   A :A918 PT        NB TO LEFT TURN LANE GOING WB ON VB
23:21:40   01   10   EAUTON   A4261   A918 PASSED KFC BACK OUT ONTO DYSART TO GO BACK WB ON VB
23:21:40   01   10   EAUTON   A4261   A :A918 PT        PASSED KFC BACK OUT ONTO DYSART TO GO BACK WB
                                      ON VB
23:21:48   01   10   ETAC13   A5471   A918 WB VB DYSART
23:21:48   01   10   ETAC13   A5471   A :A918 PT        WB VB DYSART
23:21:50   01   10   EAUTON   A4261   A918 WB VB FROM DYSART
23:21:50   01   10   EAUTON   A4261   A :A918 PT        WB VB FROM DYSART
23:22:06   01   10   EAUTON   A4261   A918 BACK IN OVER BY PIZZA HUT
23:22:06   01   10   EAUTON   A4261   A :A918 PT        BACK IN OVER BY PIZZA HUT
23:22:07   01   10   ETAC13   A5471   A918 BACK IN BY PIZZA HUT
23:22:07   01   10   ETAC13   A5471   A :A918 PT        BACK IN BY PIZZA HUT
23:22:16   01   10   ETAC13   A5471   A918 EB BACK TO WHERE THEY STARTED
23:22:16   01   10   ETAC13   A5471   A :A918 PT        EB BACK TO WHERE THEY STARTED
23:22:17   01   10   EAUTON   A4261   A918 NS OF FOOD CITY BACK EB OVER TO WHERE THEY JUST STARTED ALL THISE
23:22:17   01   10   EAUTON   A4261   A :A918 PT        NS OF FOOD CITY BACK EB OVER TO WHERE THEY
                                      JUST STARTED ALL THISE
23:22:33 01 10 ETAC13 A5471           A918 BACK INTO SAME SPOT BY THE POLE
23:22:33 01 10 ETAC13 A5471           A :A918 PT        BACK INTO SAME SPOT BY THE POLE
23:22:35 01 10 EAUTON A4261           A918 FACING OVER TOWARDS REST,PARKING BACK INTO EXACT SAME SPOT BY LIGHT
                                      POLE
23:22:35 01 10 EAUTON A4261           A :A918 PT        FACING OVER TOWARDS REST,PARKING BACK INTO




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CALL: PH19-55839 ACTIVE (R)
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Time       Date      Unit     ID
                                       EXACT SAME SPOT BY LIGHT POLE
23:23:01 01 10 EAUTON A4261            A918 WE CANT TELL WHICH REST IS WHICH,VERY ONE E OF THEM IS WHATABURGER
                                       RIGHT?
23:23:01 01 10 EAUTON A4261            A :A918 PT         WE CANT TELL WHICH REST IS WHICH,VERY ONE E OF
                                       THEM IS WHATABURGER RIGHT?
23:23:10   01   10   EAUTON   A4261    GOODYR OFCR - CORRECT
23:23:29   01   10   ETAC13   A5471    I CAN SEE THEM FRONT PASSENGER CINCHING UP HOODY
23:23:31   01   10   ETAC13   A5471    WHO IS DRIVER
23:23:33   01   10   EAUTON   A4261    V638 I CAN SEE THEM LOOKS LIKE FRNT PSGR SINCHING UP HOODIE
23:23:33   01   10   EAUTON   A4261    A :V638 DE 06103 I CAN SEE THEM LOOKS LIKE FRNT PSGR SINCHING
                                       UP HOODIE
23:23:38   01   10   EAUTON   A4261    S52 DRIVER 101?
23:23:38   01   10   EAUTON   A4261    A :S52 PT 08963 DRIVER 101?
23:23:40   01   10   ETAC13   A5471    THINK 101 IS,NOT POSTIVE BUT I BELIEVE
23:23:50   01   10   EAUTON   A4261    V638 I THINK SO,NOT POS,BUT I THINK SO
23:23:50   01   10   EAUTON   A4261    A :V638 DE 06103 I THINK SO,NOT POS,BUT I THINK SO
23:26:17   01   10   ETAC13   A5471    CAN SEE PONYTAIL OF DRIVER,SHOULD BE THE FEMALE
23:26:19   01   10   EAUTON   A4261    V638 BELIEVE I CAN SEE PONYTAIL OF DRIVER SO SHOULD BE 101
23:26:19   01   10   EAUTON   A4261    A :V638 DE 06103 BELIEVE I CAN SEE PONYTAIL OF DRIVER SO SHOULD
                                       BE 101
23:27:48   01   10   ETAC13   A5471    GET READY TO MOVE,FOOT ON BREAK
23:27:52   01   10   ETAC13   A5471    A918 EB IN THE LOT
23:27:52   01   10   ETAC13   A5471    A :A918 PT         EB IN THE LOT
23:27:54   01   10   EAUTON   A4261    V638 MIGHT BE GETTING READY TO MOVE FOOT ON BRAKE
23:27:54   01   10   EAUTON   A4261    A :V638 DE 06103 MIGHT BE GETTING READY TO MOVE FOOT ON BRAKE
23:28:00   01   10   ETAC13   A5471    A918 OUT VB
23:28:00   01   10   EAUTON   A4261    A918 VEH EB IN LOT
23:28:00   01   10   ETAC13   A5471    A :A918 PT         OUT VB
23:28:00   01   10   EAUTON   A4261    A :A918 PT         VEH EB IN LOT
23:28:07   01   10   ETAC13   A5471    A918 EB VB CURB LANE
23:28:07   01   10   ETAC13   A5471    A :A918 PT         EB VB CURB LANE
23:28:16   01   10   EAUTON   A4261    A918 PULLING OUT EB VB CURB LA PULLING UP TO DYSART
23:28:16   01   10   EAUTON   A4261    A :A918 PT         PULLING OUT EB VB CURB LA PULLING UP TO DYSART
23:28:22   01   10   ETAC13   A5471    A918 GOING SB ON DYSART FROM VB
23:28:22   01   10   ETAC13   A5471    A :A918 PT         GOING SB ON DYSART FROM VB
23:28:23   01   10   EAUTON   A4261    A918 POSITION TO GO SB DYSART FROM VB
23:28:23   01   10   EAUTON   A4261    A :A918 PT         POSITION TO GO SB DYSART FROM VB
23:28:28   01   10   EAUTON   A4261    A918 SB DYSART STAYING IN CURB
23:28:28   01   10   ETAC13   A5471    A918 CURB LANE
23:28:28   01   10   EAUTON   A4261    A :A918 PT         SB DYSART STAYING IN CURB
23:28:28   01   10   ETAC13   A5471    A :A918 PT         CURB LANE
23:28:40   01   10   ETAC13   A5471    A918 1ST ENTRANCE SOUTH OF VB,MAKING THE LOOP AGAIN
23:28:40   01   10   ETAC13   A5471    A :A918 PT         1ST ENTRANCE SOUTH OF VB,MAKING THE LOOP AGAIN
23:28:47   01   10   EAUTON   A4261    A918 1ST ENTRANCE S OF VB PULLING IN TO CMPLX MAKING LOOP ARND BACK TO THE
                                       N
23:28:47 01 10 EAUTON A4261            A :A918 PT         1ST ENTRANCE S OF VB PULLING IN TO CMPLX
                                       MAKING LOOP ARND BACK TO THE N
23:28:53 01 10 EAUTON A4261            A918 WB ALONG SS OF KFC
23:28:53 01 10 EAUTON A4261            A :A918 PT         WB ALONG SS OF KFC
23:29:11 01 10 EAUTON A4261            A918 PULLING UP BY DUMPSTER & SLOW ROLLING WB




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CALL: PH19-55839 ACTIVE (R)
                     Desk/
Time       Date      Unit     ID
23:29:11   01 10     EAUTON   A4261   A :A918 PT         PULLING UP BY DUMPSTER & SLOW ROLLING WB
23:29:16   01 10     EAUTON   A4261   A918 TO THE S OF WHATABURGER
23:29:16   01 10     EAUTON   A4261   A :A918 PT         TO THE S OF WHATABURGER
23:29:19   01 10     ETAC13   A5471   A918 PULLING UP TO DUMPSTER,SLOW ROLLING 2 ROWS SOUTH OF WHATABURGER
23:29:19   01 10     ETAC13   A5471   A :A918 PT         PULLING UP TO DUMPSTER,SLOW ROLLING 2 ROWS
                                      SOUTH OF WHATABURGER
23:29:25   01   10   EAUTON   A4261   A918 SLOW NB
23:29:25   01   10   EAUTON   A4261   A :A918 PT         SLOW NB
23:29:38   01   10   ETAC13   A5471   A918 SLOW NB,ALONG WEST SIDE OF,BACK TO THE PARKING SPOT AGAIN
23:29:38   01   10   EAUTON   A4261   A918 NB ALONG WS OF WHATABURGER GOING BACK TO THEIR PARKIGN SPOT AGAIN
23:29:38   01   10   ETAC13   A5471   A :A918 PT         SLOW NB,ALONG WEST SIDE OF,BACK TO THE PARKING
                                      SPOT AGAIN
23:29:38 01 10 EAUTON A4261           A :A918 PT         NB ALONG WS OF WHATABURGER GOING BACK TO THEIR
                                      PARKIGN SPOT AGAIN
23:29:52 01 10 ETAC13 A5471           A918 BACKING IN TO DIFFERENT SPOT,
23:29:52 01 10 ETAC13 A5471           A :A918 PT         BACKING IN TO DIFFERENT SPOT,
23:29:54 01 10 EAUTON A4261           A918 BACK IN BUT NOT TO THE SAME SPOT,SO THAT LIGHT POLE...THEY'RE KIND OF
                                      STOPPED HERE
23:29:54 01 10 EAUTON A4261           A :A918 PT         BACK IN BUT NOT TO THE SAME SPOT,SO THAT LIGHT
                                      POLE...THEY'RE KIND OF STOPPED HERE
23:30:14 01 10 ETAC13 A5471           A918 TRYING TO TAKE SAME SPOT,BUT 2 SPOTS JW,LIGHT POLE NOT IN PLAY ANYMORE
23:30:14 01 10 ETAC13 A5471           A :A918 PT         TRYING TO TAKE SAME SPOT,BUT 2 SPOTS JW,LIGHT
                                      POLE NOT IN PLAY ANYMORE
23:30:20 01 10 EAUTON A4261           A918 TRYING TO TAK SAME SPOT AGAIN BUT ABT 2 SPOTS W SO THAT LGITH POLE
                                      NOT IN PLAY BHND THEM JSUT TALL BUSHES BHND THEM
23:30:20 01 10 EAUTON A4261           A :A918 PT         TRYING TO TAK SAME SPOT AGAIN BUT ABT 2 SPOTS
                                      W SO THAT LGITH POLE NOT IN PLAY BHND THEM JSUT TALL BUSHES BHND THEM
23:30:27   01   10   EAUTON   A4261   A918 FORWARD JUST A BIT
23:30:27   01   10   ETAC13   A5471   A918 PULLING FORWARD AWAY FROM BUSHES
23:30:27   01   10   EAUTON   A4261   A :A918 PT         FORWARD JUST A BIT
23:30:27   01   10   ETAC13   A5471   A :A918 PT         PULLING FORWARD AWAY FROM BUSHES
23:30:40   01   10   ETAC13   A5471   WE'LL NEED THAT REAR BLOCKED TO MAKE CONTACT
23:30:44   01   10   EAUTON   A4261   S52 DEF NEED THAT REAR BLOCKED IF GOES DOWN & MAKE FCONT
23:30:44   01   10   EAUTON   A4261   A :S52 PT 08963 DEF NEED THAT REAR BLOCKED IF GOES DOWN & MAKE
                                      FCONT
23:30:55   01   10   ETAC13   A5471   WE'RE GOING TO NEED THE REAR BLOCK TO MAKE CONTACT,IF GOES DOWN NOW
23:30:58   01   10   EAUTON   A4261   S52 NEED REAR BLOCKED OT MAKE CONT IF GOES DOWN
23:30:58   01   10   EAUTON   A4261   A :S52 PT 08963 NEED REAR BLOCKED OT MAKE CONT IF GOES DOWN
23:31:04   01   10   ETAC13   A5471   STILL TWO OF US,PINCH IN FROM THE REAR MAKE CONTACT
23:31:08   01   10   EAUTON   A4261   S549 COPY WEVE GOT 2 OF US
23:31:08   01   10   EAUTON   A4261   A :S549 PT 08506 COPY WEVE GOT 2 OF US
23:31:13   01   10   ETAC13   A5471   WHERE THEY ARE,TREE STUMP OR ROCK DIRECTLY BEHIND THEM
23:31:19   01   10   ETAC13   A5471   COPY
23:31:23   01   10   EAUTON   A4261   V572 TREE STUMP OR ROCK DIRECTLY BHND THEM
23:31:23   01   10   EAUTON   A4261   A :V572 PT 07991 TREE STUMP OR ROCK DIRECTLY BHND THEM
23:31:27   01   10   ETAC13   A5471   638 GET A GOOD LOOK AGAIN?
23:31:35   01   10   EAUTON   A4261   V63 ABLE TO GET GOOD LOOK AT THEM AGAIN
23:31:35   01   10   EAUTON   A4261   A :V63 PT 05227 ABLE TO GET GOOD LOOK AT THEM AGAIN
23:31:36   01   10   ETAC13   A5471   NO,NO SILHOUETTE ANY MORE
23:31:41   01   10   EAUTON   A4261   V638 NO




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Time       Date      Unit     ID
23:31:41   01 10     EAUTON   A4261   A :V638 DE 06103 NO
23:31:44   01 10     ETAC13   A5471   52 SAU IF YOU WOULD SOUND OFF POSITIONS
23:31:48   01 10     EAUTON   A4261   S52 SAU SOUND OFF ON POS
23:31:48   01 10     EAUTON   A4261   A :S52 PT 08963 SAU SOUND OFF ON POS
23:31:51   01 10     EAUTON   A4261   S525 I'LL GET FRNT
23:31:51   01 10     EAUTON   A4261   A :S525 PT 08677 I'LL GET FRNT
23:31:54   01 10     EAUTON   A4261   S522 D RIVER
23:31:54   01 10     EAUTON   A4261   A :S522 PT 07892 D RIVER
23:31:56   01 10     EAUTON   A4261   S527 PSGR
23:31:56   01 10     EAUTON   A4261   A :S527 PT         PSGR
23:31:58   01 10     ETAC13   A5471   25 FRONT BLOCK,22 DRIVER,27 PASSENGER
23:32:03   01 10     ETAC13   A5471   GETTING OUT,HOODIES CINCHED UP
23:32:05   01 10     EAUTON   A4261   V638 GETTING OUT HOODIES CINCHED
23:32:05   01 10     EAUTON   A4261   A :V638 DE 06103 GETTING OUT HOODIES CINCHED
23:32:08   01 10     ETAC13   A5471   48 ONE SIDE REAR BLOCKED
23:32:11   01 10     ETAC13   A5471   A918 GETTING OU T
23:32:11   01 10     ETAC13   A5471   A :A918 PT         GETTING OU T
23:32:13   01 10     EAUTON   A4261   S549 REAR
23:32:13   01 10     EAUTON   A4261   A :S549 PT 08506 REAR
23:32:18   01 10     EAUTON   A4261   A918 GUYS GETTING OUT
23:32:18   01 10     EAUTON   A4261   A :A918 PT         GUYS GETTING OUT
23:32:29   01 10     ETAC13   A5471   PULLED UP TO PIZZA HUT
23:32:35   01 10     ETAC13   A5471   A918 ONLY FRONT RIGHT DOOR IS OPEN
23:32:35   01 10     ETAC13   A5471   A :A918 PT         ONLY FRONT RIGHT DOOR IS OPEN
23:32:36   01 10     EAUTON   A4261   V632 PULLED UP TO PIZZA HUT
23:32:36   01 10     EAUTON   A4261   A :V632 PT 05994 PULLED UP TO PIZZA HUT
23:32:40   01 10     EAUTON   A4261   A918 FRNT RIGHT DR OPEN
23:32:40   01 10     EAUTON   A4261   A :A918 PT         FRNT RIGHT DR OPEN
23:32:41   01 10     ETAC13   A5471   A918 BACK IN AND CLOSED
23:32:41   01 10     ETAC13   A5471   A :A918 PT         BACK IN AND CLOSED
23:32:43   01 10     EAUTON   A4261   A918 BACK IN DR CLOSED
23:32:43   01 10     EAUTON   A4261   A :A918 PT         BACK IN DR CLOSED
23:32:49   01 10     ETAC13   A5471   PIZZA HUT PEOPLE CMING OUT,HOPEFULLY WAIT A SECOND
23:32:52   01 10     EAUTON   A4261   V638 PIZZA HUT PPL LEAVING
23:32:52   01 10     EAUTON   A4261   A :V638 DE 06103 PIZZA HUT PPL LEAVING
23:32:53   01 10     ETAC13   A5471   ALL DRESSED OUT NOW
23:32:56   01 10     ETAC13   A5471   DEFINITELY
23:33:03   01 10     EAUTON   A4261   V63 V638 SAY THEY ALL DRESSED UP?
23:33:03   01 10     EAUTON   A4261   A :V63 PT 05227 V638 SAY THEY ALL DRESSED UP?
23:33:04   01 10     EAUTON   A4261   V638 YEAH
23:33:04   01 10     EAUTON   A4261   A :V638 DE 06103 YEAH
23:33:19   01 10     EAUTON   A4261   S52 JW EMPTY LOT & BOX FOCUS FIELD OF FIRE TO THE W
23:33:19   01 10     EAUTON   A4261   A :S52 PT 08963 JW EMPTY LOT & BOX FOCUS FIELD OF FIRE TO THE W
23:33:22   01 10     ETAC13   A5471   BACK DROP ISSUE TO THE WEST,CLEARED UP NOW,ELECTRIC BOX,FOCUS FIRE TO THE
                                      WEST,ONE UC TOTHE WEST
23:33:38   01   10   EAUTON   A4261   S52 1 US TO W TRY TAKE COVER TO FLRBOARD
23:33:38   01   10   EAUTON   A4261   A :S52 PT 08963 1 US TO W TRY TAKE COVER TO FLRBOARD
23:33:39   01   10   ETAC13   A5471   PIZZA CARS ARE LEAVING
23:33:43   01   10   EAUTON   A4261   V638 PIZZA HUT CARS LEAVING
23:33:43   01   10   EAUTON   A4261   A :V638 DE 06103 PIZZA HUT CARS LEAVING




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                     Desk/
Time       Date      Unit     ID
23:33:45   01 10     EAUTON   A4261   V638 COPY
23:33:45   01 10     EAUTON   A4261   A :V638 DE 06103 COPY
23:34:06   01 10     EAUTON   A4261   A918 DRS OPENING UP AGAIN
23:34:06   01 10     EAUTON   A4261   A :A918 PT         DRS OPENING UP AGAIN
23:34:12   01 10     ETAC13   A5471   A918 FRONT RIGHT DOOR OPEN,LEFT REAR DOOR IS OPEN
23:34:12   01 10     ETAC13   A5471   A :A918 PT         FRONT RIGHT DOOR OPEN,LEFT REAR DOOR IS OPEN
23:34:24   01 10     EAUTON   A4261   A918 DRIVER FRND RIGHT & LEFT REAR
23:34:24   01 10     EAUTON   A4261   A :A918 PT         DRIVER FRND RIGHT & LEFT REAR
23:34:25   01 10     ETAC13   A5471   A918 FRONT RIGHT BACK CLOSED AGAIN
23:34:25   01 10     ETAC13   A5471   A :A918 PT         FRONT RIGHT BACK CLOSED AGAIN
23:34:31   01 10     EAUTON   A4261   A918 FRNT RIGHT BACK CLOSED
23:34:31   01 10     EAUTON   A4261   A :A918 PT         FRNT RIGHT BACK CLOSED
23:34:41   01 10     ETAC13   A5471   A918 VEH PULLED INTO DRIVE THRU,DOORS ALL CLOSED AGAIN
23:34:41   01 10     ETAC13   A5471   A :A918 PT         VEH PULLED INTO DRIVE THRU,DOORS ALL CLOSED
                                      AGAIN
23:34:42   01   10   EAUTON   A4261   A918 VEH PULLED INTO DRIVETHRU,ALL DRS CLOSED AGAIN
23:34:42   01   10   EAUTON   A4261   A :A918 PT         VEH PULLED INTO DRIVETHRU,ALL DRS CLOSED AGAIN
23:35:35   01   10   ETAC13   A5471   A918 RIGHT FRONT DOOR OPENING UP AGAIN
23:35:35   01   10   ETAC13   A5471   A :A918 PT         RIGHT FRONT DOOR OPENING UP AGAIN
23:35:36   01   10   EAUTON   A4261   A918 RIGHT FRNT DR OPEN AGAIN
23:35:36   01   10   EAUTON   A4261   A :A918 PT         RIGHT FRNT DR OPEN AGAIN
23:35:49   01   10   ETAC13   A5471   REALLY MESSING WITH WAISTBAND,FRONT PASSENGER
23:35:50   01   10   EAUTON   A4261   V638 FRNT PSGR REALLY MESSING W/FRNT WIASTEBAND
23:35:50   01   10   EAUTON   A4261   A :V638 DE 06103 FRNT PSGR REALLY MESSING W/FRNT WIASTEBAND
23:36:06   01   10   EAUTON   A4261   A918 DRIVE THRU PULLING ARND TO PICK UP FOOD,NO DRS OPEN
23:36:06   01   10   EAUTON   A4261   A :A918 PT         DRIVE THRU PULLING ARND TO PICK UP FOOD,NO DRS
                                      OPEN
23:36:09 01 10 ETAC13 A5471           A918 VEH IN DRIVE THRU PULLING AROUND,NO DOORS OPEN ON SP VEH
23:36:09 01 10 ETAC13 A5471           A :A918 PT         VEH IN DRIVE THRU PULLING AROUND,NO DOORS OPEN
                                      ON SP VEH
23:36:54 01 10 ETAC13 A5471           A918 LEFT REAR CLOSED AGAIN
23:36:54 01 10 ETAC13 A5471           A :A918 PT         LEFT REAR CLOSED AGAIN
23:36:55 01 10 EAUTON A4261           A918 LEFT REAR LOOKS LIKE RELIEVED HIMSELF BACK OF CAR,DRS BACK CLOSED
                                      AGAIN
23:36:55 01 10 EAUTON A4261           A :A918 PT         LEFT REAR LOOKS LIKE RELIEVED HIMSELF BACK OF
                                      CAR,DRS BACK CLOSED AGAIN
23:37:21 01 10 ETAC13 A5471           LITTLE NO TRAFFIC ON VB,ALL BUSN ARE CURRENTLY CLOSED
23:37:22 01 10 EAUTON A4261           S52 LITTLE TO NO TRAFFIC ON VB,LOOKS LIKE ALL BUSN SURROUNDING CLOSED
23:37:22 01 10 EAUTON A4261           A :S52 PT 08963 LITTLE TO NO TRAFFIC ON VB,LOOKS LIKE ALL BUSN
                                      SURROUNDING CLOSED
23:37:27   01   10   EAUTON   A4261   A918 1 CUST IN DRIVETHRU AT WINDOW
23:37:27   01   10   EAUTON   A4261   A :A918 PT         1 CUST IN DRIVETHRU AT WINDOW
23:37:29   01   10   ETAC13   A5471   A918 ONE CUST IN DT IS AT WINDOW TO PICK UP
23:37:29   01   10   ETAC13   A5471   A :A918 PT         ONE CUST IN DT IS AT WINDOW TO PICK UP
23:37:38   01   10   ETAC13   A5471   SET UP NORTH CONTAINMENT,VB SHUT DOWN
23:37:40   01   10   ETAC13   A5471   COPY
23:37:44   01   10   EAUTON   A4261   S51 WE'LL HAVE N CONTAINMENT & VB SHUT DOWN
23:37:44   01   10   EAUTON   A4261   A :S51 PT 08566 WE'LL HAVE N CONTAINMENT & VB SHUT DOWN
23:37:47   01   10   EAUTON   A4261   S52 COPY
23:37:47   01   10   EAUTON   A4261   A :S52 PT 08963 COPY




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CALL: PH19-55839 ACTIVE (R)
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Time       Date      Unit     ID
23:38:54   01 10     ETAC13   A5471   51 TO 52,WHO IS CALLING IT? TRY TO GET IT WHILE ITS ROLLING OR CALL IT OFF?
23:38:57   01 10     EAUTON   A4261   S51 S52 GONNA CALL IT INITIATE IF VEH STARTS ROLLING
23:38:57   01 10     EAUTON   A4261   A :S51 PT 08566 S52 GONNA CALL IT INITIATE IF VEH STARTS ROLLING
23:39:05   01 10     ETAC13   A5471   25 WHEN THEY GO IN,5 SECS OUT,LET YOU KNOW WHEN COMING BACK
23:39:14   01 10     ETAC13   A5471   25 CALLIG IT,SLOW ROLLING,CREEP ON THEM
23:39:20   01 10     EAUTON   A4261   S52 IM GONNA TIME IT IF THEY GET IN
23:39:20   01 10     EAUTON   A4261   A :S52 PT 08963 IM GONNA TIME IT IF THEY GET IN
23:39:26   01 10     ETAC13   A5471   GUYS WITH EYES,IF SPEEDS OUT,LET IT GO,EITHER HAVE IT OR DONT
23:39:31   01 10     EAUTON   A4261   S52 I DONT WANT TO BURN OUT & HAVE IT 510 ON US
23:39:31   01 10     EAUTON   A4261   A :S52 PT 08963 I DONT WANT TO BURN OUT & HAVE IT 510 ON US
23:39:38   01 10     ETAC13   A5471   ONLY OPTION GO IN DO IT AND HAVE GET AWAY SLOW ROLLING
23:39:42   01 10     ETAC13   A5471   TRANS TO GRAPPLER
23:39:46   01 10     EAUTON   A4261   S51 WAY GUYS DO IN GO IN DO 211 THEN THESE GUYS COME BACK OUT
23:39:46   01 10     EAUTON   A4261   A :S51 PT 08566 WAY GUYS DO IN GO IN DO 211 THEN THESE GUYS
                                      COME BACK OUT
23:39:54 01 10 ETAC13 A5471           IF THEY CHANGE POSITION,CANT GET FRONT REAR BLOCK,CALL IT OFF AND GET
                                      GRAPPLER
23:39:56 01 10 ETAC13 A5471           COPY
23:40:12 01 10 EAUTON A4261           S52 YEAH IF WE CANT GET FRNT DR BLOCKED IMMEDIATELY,WE'LL HAVE TO CALL IT
                                      OFF
23:40:12 01 10 EAUTON A4261           A :S52 PT 08963 YEAH IF WE CANT GET FRNT DR BLOCKED
                                      IMMEDIATELY,WE'LL HAVE TO CALL IT OFF
23:40:15   01   10   EAUTON   A4261   S51 COPY THAT
23:40:15   01   10   EAUTON   A4261   A :S51 PT 08566 COPY THAT
23:40:19   01   10   EAUTON   A4261   A918 CUST STILL AT WINDOW
23:40:19   01   10   EAUTON   A4261   A :A918 PT        CUST STILL AT WINDOW
23:40:20   01   10   ETAC13   A5471   A918 CUST STILL AT WINDOW
23:40:20   01   10   ETAC13   A5471   A :A918 PT        CUST STILL AT WINDOW
23:40:52   01   10   ETAC13   A5471   SLOW ROLL EB,TAKE NB EXIT,CALL OUT TO WRAP AROUND AND TAKE FRONT BLOCK?
23:41:05   01   10   ETAC13   A5471   A918 ANOTHER CUST IN DT
23:41:05   01   10   ETAC13   A5471   A :A918 PT        ANOTHER CUST IN DT
23:41:11   01   10   EAUTON   A4261   S52 IF THEY DO START ROLLING TO TAKE NB EXIT SOMEBODY CALL OUT TO WRAP
                                      ARND WHATABURGER TAKE THAT FRNT BLOCK
23:41:11 01 10 EAUTON A4261           A :S52 PT 08963 IF THEY DO START ROLLING TO TAKE NB EXIT
                                      SOMEBODY CALL OUT TO WRAP ARND WHATABURGER TAKE THAT FRNT BLOCK
23:41:15   01   10   EAUTON   A4261   A918 ANOTHER CUST
23:41:15   01   10   EAUTON   A4261   A :A918 PT        ANOTHER CUST
23:41:27   01   10   EAUTON   A4261   A918 20MINS WE HIT 16HR MAX PSB SUPV WILLING TO OVERRIDE THAT FOR US?
23:41:27   01   10   EAUTON   A4261   A :A918 PT        20MINS WE HIT 16HR MAX PSB SUPV WILLING TO
                                      OVERRIDE THAT FOR US?
23:41:28 01 10 ETAC13 A5471           A918 20 MINS WE HIT MAX,ANY PSB SUPV WILLING TO OVERRIDE
23:41:28 01 10 ETAC13 A5471           A :A918 PT        20 MINS WE HIT MAX,ANY PSB SUPV WILLING TO
                                      OVERRIDE
23:41:31   01   10   EAUTON   A4261   S51 YEAH 10-4
23:41:31   01   10   EAUTON   A4261   A :S51 PT 08566 YEAH 10-4
23:41:37   01   10   ETAC13   A5471   S51 10-4
23:41:37   01   10   ETAC13   A5471   A :S51 PT 08566 10-4
23:41:39   01   10   ETAC13   A5471   A918 COPY
23:41:39   01   10   ETAC13   A5471   A :A918 PT        COPY
23:41:49   01   10   ETAC13   A5471   GUY IN FRONT OF FOOD CITY,START SLOW ROLLING,GET THAT FRONT BLOCK




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CALL: PH19-55839 ACTIVE (R)
               Desk/
Time     Date Unit    ID
23:41:56 01 10 EAUTON A4261           S51 1 GUYS IN FRNT OF FOOD CITY START SLOW ROLLING ABLE TO GET THAT FRNT
                                      BLOCKED IF THIS GOES DOWN
23:41:56 01 10 EAUTON A4261           A :S51 PT 08566 1 GUYS IN FRNT OF FOOD CITY START SLOW ROLLING
                                      ABLE TO GET THAT FRNT BLOCKED IF THIS GOES DOWN
23:41:58   01   10   ETAC13   A5471   2ND CAR JUST KEPT GOING
23:42:03   01   10   ETAC13   A5471   A918 PLOT IS ALL CLEAR NOW
23:42:03   01   10   ETAC13   A5471   A :A918 PT        PLOT IS ALL CLEAR NOW
23:42:04   01   10   EAUTON   A4261   V635 2ND CAR JUST KEPT GOING
23:42:04   01   10   EAUTON   A4261   A :V635 DE 07014 2ND CAR JUST KEPT GOING
23:42:09   01   10   EAUTON   A4261   A918 PL & DRIVETHRU ALL CLR NOW
23:42:09   01   10   EAUTON   A4261   A :A918 PT        PL & DRIVETHRU ALL CLR NOW
23:42:23   01   10   ETAC13   A5471   PEDESTRIAN IN FRONT OF PAYLESS NORTH SIDE OF IT
23:42:26   01   10   EAUTON   A4261   S52 PED HANGING OUT TO NS OF PAYLESS
23:42:26   01   10   EAUTON   A4261   A :S52 PT 08963 PED HANGING OUT TO NS OF PAYLESS
23:42:27   01   10   ETAC13   A5471   DUMPSTER DIVING
23:42:38   01   10   ETAC13   A5471   CONT TO WALK EAST
23:42:48   01   10   EAUTON   A4261   V632 YEAH LOOKS LIKE HE'S DUMPSTER DIVING,CONTINUED EB
23:42:48   01   10   EAUTON   A4261   A :V632 PT 05994 YEAH LOOKS LIKE HE'S DUMPSTER DIVING,CONTINUED
                                      EB
23:42:50   01   10   ETAC13   A5471   A918 FRONT RIGHT DOOR OPEN,LEFT REAR DOOR OPEN
23:42:50   01   10   ETAC13   A5471   A :A918 PT        FRONT RIGHT DOOR OPEN,LEFT REAR DOOR OPEN
23:42:58   01   10   EAUTON   A4261   A918 FRNT RIGHT & LEFT REAR DRS OPEN AGAIN
23:42:58   01   10   EAUTON   A4261   A :A918 PT        FRNT RIGHT & LEFT REAR DRS OPEN AGAIN
23:42:59   01   10   ETAC13   A5471   DUMPSTER DIVER MAY TRY TO MAKE CONTACT
23:43:06   01   10   ETAC13   A5471   GOING TO GIVE HIM SOME MONEY
23:43:07   01   10   EAUTON   A4261   V632 LOOKS LIKE DUMPSTER DRIVER GOING TO MAKE CONT
23:43:07   01   10   EAUTON   A4261   A :V632 PT 05994 LOOKS LIKE DUMPSTER DRIVER GOING TO MAKE CONT
23:43:16   01   10   EAUTON   A4261   V638 LOOKS LIKE THEY ARE GIVING HIM SOME MONEY
23:43:16   01   10   EAUTON   A4261   A :V638 DE 06103 LOOKS LIKE THEY ARE GIVING HIM SOME MONEY
23:43:21   01   10   ETAC13   A5471   WHO HAS EYES INSIDE?
23:43:26   01   10   EAUTON   A4261   S52 WHO HAS EYES INSIDE WHATABURGER
23:43:26   01   10   EAUTON   A4261   A :S52 PT 08963 WHO HAS EYES INSIDE WHATABURGER
23:43:34   01   10   ETAC13   A5471   635 LOOKING FROM SOUTH INTO WINDOW,SHOULD SEE HIM COME IN
23:43:40   01   10   ETAC13   A5471   SEE IF 211 OCC'S?
23:43:40   01   10   EAUTON   A4261   V635 IM LOOKING TO THE S THROUGH WINDOWS,SHOULD BE ABLE TO SEE THEM COME IN
23:43:40   01   10   EAUTON   A4261   A :V635 DE 07014 IM LOOKING TO THE S THROUGH WINDOWS,SHOULD BE
                                      ABLE TO SEE THEM COME IN
23:43:48   01   10   EAUTON   A4261   S52 ABLE TO SEE IF 211 OCCURS?
23:43:48   01   10   EAUTON   A4261   A :S52 PT 08963 ABLE TO SEE IF 211 OCCURS?
23:43:49   01   10   ETAC13   A5471   COUPLE BLIND SPOTS,DEPENDS WHERE STANDING
23:43:55   01   10   EAUTON   A4261   V635 COUPLE BLIND SPOTS,IM NOT SURE
23:43:55   01   10   EAUTON   A4261   A :V635 DE 07014 COUPLE BLIND SPOTS,IM NOT SURE
23:44:07   01   10   ETAC13   A5471   52 COPY,LOTS OF MOVNG PARTS INSIDE,RADIO TRAFFIC MINIMIAL,SAU ON STREET
                                      CRIKES
23:44:21 01 10 ETAC13 A5471           A918 DUMPSTER DIVER WALKED AWAY AND NOW GOING BACK TO PASSENGER WINDOW
23:44:21 01 10 ETAC13 A5471           A :A918 PT        DUMPSTER DIVER WALKED AWAY AND NOW GOING BACK
                                      TO PASSENGER WINDOW
23:44:22 01 10 EAUTON A4261           S52 IF THEY GO INSIDE,SOON AS THEY GO INSIDE TEHYR'E BE A LOT OF
                                      MOVEMTN,KEEP RADIO TRAFFIC TO MINIMUM
23:44:22 01 10 EAUTON A4261           A :S52 PT 08963 IF THEY GO INSIDE,SOON AS THEY GO INSIDE




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Time       Date      Unit     ID
                                       TEHYR'E BE A LOT OF MOVEMTN,KEEP RADIO TRAFFIC TO MINIMUM
23:44:39 01 10 EAUTON A4261            A918 DUMPSTER DRIVER WALKED TO PSGR SIDE DR,WALKED AWAY & IS HEADING BACK
23:44:39 01 10 EAUTON A4261            A :A918 PT        DUMPSTER DRIVER WALKED TO PSGR SIDE DR,WALKED
                                       AWAY & IS HEADING BACK
23:44:40   01   10   ETAC13   A5471    A918 WALKING AWAY AGAIN
23:44:40   01   10   ETAC13   A5471    A :A918 PT        WALKING AWAY AGAIN
23:44:43   01   10   EAUTON   A4261    A918 HE'S WALKING AWAY AGAIN
23:44:43   01   10   EAUTON   A4261    A :A918 PT        HE'S WALKING AWAY AGAIN
23:44:56   01   10   ETAC13   A5471    A918 WALKING TO WHATABURGER
23:44:56   01   10   ETAC13   A5471    A :A918 PT        WALKING TO WHATABURGER
23:44:59   01   10   EAUTON   A4261    A918 HES WALKING INTO WHATABURGER
23:44:59   01   10   EAUTON   A4261    A :A918 PT        HES WALKING INTO WHATABURGER
23:45:06   01   10   ETAC13   A5471    SOMEONE GOT OUT OF THE CAR AND CHECKED DOOR,APPEARED TO BE LOCKED
23:45:10   01   10   EAUTON   A4261    V632 SOMEONE GOT OUT OF THAT CAR & CHECKED DR,APPEARED TO BE LOCKED
23:45:10   01   10   EAUTON   A4261    A :V632 PT 05994 SOMEONE GOT OUT OF THAT CAR & CHECKED
                                       DR,APPEARED TO BE LOCKED
23:45:13 01 10 ETAC13 A5471            MAYBE NOT,GOING INSIDE,IT IS OPEN
23:45:21 01 10 EAUTON A4261            V632 MAYBE NOT,THEY'RE GOING INSIDE FROM TAHT CAR,SO LOBBY IS OPEN
23:45:21 01 10 EAUTON A4261            A :V632 PT 05994 MAYBE NOT,THEY'RE GOING INSIDE FROM TAHT
                                       CAR,SO LOBBY IS OPEN
23:45:39 01 10 ETAC13 A5471            S52 MOVE PEOPLE TO THE NORTH,SEE REGISTER AND VERIFY 211 BEFORE CAN JUMP
                                       THE CAR
23:45:43 01 10 ETAC13 A5471            635 WORK ON THAT
23:45:49 01 10 EAUTON A4261            S52 POSITION PPL TO N,WE NEED TO BE ABLE TO SEE REGISTER IF THIS 211 GOES
                                       DOWN
23:45:49 01 10 EAUTON A4261            A :S52 PT 08963 POSITION PPL TO N,WE NEED TO BE ABLE TO SEE
                                       REGISTER IF THIS 211 GOES DOWN
23:45:51   01   10   ETAC13   A5471    36 I CAN SEE REGS,IM DIRECTLY EAST
23:45:54   01   10   ETAC13   A5471    52 COPY
23:46:01   01   10   ETAC13   A5471    DON'T WANT TO WAIT FOR HOT CALL FOR THIS
23:46:01   01   10   EAUTON   A4261    V636 IM DIRECTLY TO E I CAN SEE REGISTERS
23:46:01   01   10   EAUTON   A4261    A :V636 DE 07710 IM DIRECTLY TO E I CAN SEE REGISTERS
23:46:10   01   10   ETAC13   A5471    52 ONCE IT DOES,WE'LL GO INSIDE AND CONFIRM IMMED
23:46:19   01   10   EAUTON   A4261    V63 S52 ONCE DOES GO DOWN,MY GOES GO INSIDE IMMEDIATELY & CONFIRM
                                       EVERYTHING
23:46:19 01 10 EAUTON A4261            A :V63 PT 05227 S52 ONCE DOES GO DOWN,MY GOES GO INSIDE
                                       IMMEDIATELY & CONFIRM EVERYTHING
23:46:26   01   10   EAUTON   A4261    S52 COPY JUST WANT VALIDATION TO CONFIRM
23:46:26   01   10   EAUTON   A4261    A :S52 PT 08963 COPY JUST WANT VALIDATION TO CONFIRM
23:46:27   01   10   ETAC13   A5471    COPY THAT,WANT VALID,PUT JUMP IN PLACE,OTHERWISE HAVE TO LET ROLL
23:46:33   01   10   ETAC13   A5471    SHOULD BE ABLE TO SEE IT GO DOWN
23:46:40   01   10   ETAC13   A5471    35 I'LL BE ABLE TO TELL REAL QUICK
23:46:43   01   10   EAUTON   A4261    V63 WE SHOULD BE ABLE TO SEE FROM VANTAGE POINT OUTSIDE IF GOES DONW
23:46:43   01   10   EAUTON   A4261    A :V63 PT 05227 WE SHOULD BE ABLE TO SEE FROM VANTAGE POINT
                                       OUTSIDE IF GOES DONW
23:46:46 01 10 ETAC13 A5471            36 HAS REGISTERS,SHOULD BE COVERED
23:46:58 01 10 ETAC13 A5471            I'M ALSO TO THE NORTH,GOING IN NOW
23:47:00 01 10 EAUTON A4261            V635 I'LL BE ABLE TO SEE IF THEY GO IN & TELL WHAT THEY ARE DOING,V636 TO
                                       E GOT REGISTERS
23:47:00 01 10 EAUTON A4261            A :V635 DE 07014 I'LL BE ABLE TO SEE IF THEY GO IN & TELL WHAT




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CALL: PH19-55839 ACTIVE (R)
                     Desk/
Time       Date      Unit     ID
                                       THEY ARE DOING,V636 TO E GOT REGISTERS
23:47:07 01 10 EAUTON A4261            V630 IM TO N TOO
23:47:07 01 10 EAUTON A4261            A :V630 DE 05057 IM TO N TOO
23:47:20 01 10 ETAC13 A5471            A918 ONE CUST AT PICK UP WINDOW NOW,TRANSIENT,AND TWO FROM CAR ON NORTH
                                       SIDE,3 INSIDE AND ONE AT PU WINDOW
23:47:20 01 10 ETAC13 A5471            A :A918 PT        ONE CUST AT PICK UP WINDOW NOW,TRANSIENT,AND
                                       TWO FROM CAR ON NORTH SIDE,3 INSIDE AND ONE AT PU WINDOW
23:47:25 01 10 EAUTON A4261            A918 1 CUST,TRANSIENT & ANOTHER CUST,SO 3 CUSTS INSIDE INCLUDING 1 AT PICK
                                       UP WINDOW
23:47:25 01 10 EAUTON A4261            A :A918 PT        1 CUST,TRANSIENT & ANOTHER CUST,SO 3 CUSTS
                                       INSIDE INCLUDING 1 AT PICK UP WINDOW
23:47:51   01   10   ETAC13   A5471    ANYONE FROM AVONDALE OVER HERE?
23:48:04   01   10   EAUTON   A4261    S52 ANYONE FROM AVONDALE OVER HERE MONT?
23:48:04   01   10   EAUTON   A4261    A :S52 PT 08963 ANYONE FROM AVONDALE OVER HERE MONT?
23:48:28   01   10   EAUTON   A4261    S52 DISP AVONDALE AWARE OF THIS?
23:48:28   01   10   EAUTON   A4261    A :S52 PT 08963 DISP AVONDALE AWARE OF THIS?
23:48:37   01   10   ETAC13   A5471    A918 DOOR OPENING AGAIN
23:48:37   01   10   ETAC13   A5471    A :A918 PT        DOOR OPENING AGAIN
23:48:39   01   10   EAUTON   A4261    A918 DRS OPENING AGAIN
23:48:39   01   10   EAUTON   A4261    A :A918 PT        DRS OPENING AGAIN
23:49:05   01   10   EAUTON   A4261    A918 FRNT PSGR DR CRACKED NO ONE OUT YET
23:49:05   01   10   EAUTON   A4261    A :A918 PT        FRNT PSGR DR CRACKED NO ONE OUT YET
23:49:06   01   10   ETAC13   A5471    A918 FRONT PASS DOOR CRACKED A LITTLE,NO ONE OUT YET
23:49:06   01   10   ETAC13   A5471    A :A918 PT        FRONT PASS DOOR CRACKED A LITTLE,NO ONE OUT YET
23:49:27   01   10   EAUTON   A4261    A918 ANOTHER CUST TOO
23:49:27   01   10   EAUTON   A4261    A :A918 PT        ANOTHER CUST TOO
23:49:28   01   10   ETAC13   A5471    A918 ANOTHER CUST HITTING THE DT
23:49:28   01   10   ETAC13   A5471    A :A918 PT        ANOTHER CUST HITTING THE DT
23:49:54   01   10   ETAC13   A5471    A918 ONE AT WINDOW,TWO AT THE ORDER
23:49:54   01   10   ETAC13   A5471    A :A918 PT        ONE AT WINDOW,TWO AT THE ORDER
23:50:01   01   10   EAUTON   A4261    A918 ANOTHER CUST DRIVETHRU,1 AT WINDOW & 2 AT ORDER
23:50:01   01   10   EAUTON   A4261    A :A918 PT        ANOTHER CUST DRIVETHRU,1 AT WINDOW & 2 AT ORDER
23:50:44   01   10   EAUTON   A4261    S52 S51 CAR958 YOU ON?
23:50:44   01   10   EAUTON   A4261    A :S52 PT 08963 S51 CAR958 YOU ON?
23:51:00   01   10   EAUTON   A4261    S52 CAR958 YO ABLE TO CLR RESOURCES IN CASE WE NEED THEM OUT HERE
23:51:00   01   10   EAUTON   A4261    A :S52 PT 08963 CAR958 YO ABLE TO CLR RESOURCES IN CASE WE NEED
                                       THEM OUT HERE
23:51:02   01   10   ETAC13   A5471    51 TO GOING TO VB AND DYSART,OBV NO ONE IN AREA AT ALL
23:51:02   01   10   EAUTON   A4261    A :CAR958 PT        67TH AV/GLENDALE
23:51:08   01   10   EAUTON   A4261    A :CAR958 PT        1460 N DYSART
23:51:11   01   10   ETAC13   A5471    A918 LEFT REAR DOOR CRACKED OPEN
23:51:11   01   10   ETAC13   A5471    A :A918 PT        LEFT REAR DOOR CRACKED OPEN
23:51:14   01   10   EAUTON   A4261    A918 LEFT REAR DR CRACKED OPEN
23:51:14   01   10   EAUTON   A4261    A :A918 PT        LEFT REAR DR CRACKED OPEN
23:51:22   01   10   EAUTON   A4261    CAR958 ABSOLUTELY
23:51:22   01   10   EAUTON   A4261    A :CAR958 PT        ABSOLUTELY
23:52:52   01   10   ETAC13   A5471    A918 ONE LEFT,2 AT WINDOW,ONES INSIDE
23:52:52   01   10   EAUTON   A4261    A918 1 CUST LEFT,DOWN TO 2 AT PICK UP WINDOW & 1 INSIDE
23:52:52   01   10   ETAC13   A5471    A :A918 PT        ONE LEFT,2 AT WINDOW,ONES INSIDE
23:52:52   01   10   EAUTON   A4261    A :A918 PT        1 CUST LEFT,DOWN TO 2 AT PICK UP WINDOW & 1




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CALL: PH19-55839 ACTIVE (R)
                     Desk/
Time       Date      Unit     ID
                                       INSIDE
23:55:29 01 10 ETAC13 A5471            LOOKS LIKE TWO INSIDE JUST CAME OUT,LOOKS LIKE THEY'RE LEAVING
23:55:33 01 10 EAUTON A4261            V632 LOOKS LIKE 2 INSIDE JSUT CAME OUT & THEY ARE LEAVING
23:55:33 01 10 EAUTON A4261            A :V632 PT 05994 LOOKS LIKE 2 INSIDE JSUT CAME OUT & THEY ARE
                                       LEAVING
23:56:28 01 10 ETAC13 A5471            A918 INSIDE CUST LEFT,ONE CAR AT WINDOW,ONE CAR ORDERING
23:56:28 01 10 EAUTON A4261            A918 CUSTS HAVE LEFT 1 CAR AT WINDOW 1 CAR ORDERING
23:56:28 01 10 ETAC13 A5471            A :A918 PT         INSIDE CUST LEFT,ONE CAR AT WINDOW,ONE CAR
                                       ORDERING
23:56:28   01   10   EAUTON   A4261    A :A918 PT         CUSTS HAVE LEFT 1 CAR AT WINDOW 1 CAR ORDERING
23:56:45   01   10   ETAC13   A5471    TRANSIENT STILL INSIDE
23:56:51   01   10   EAUTON   A4261    GOODYR OFCR - THAT TRANSIENT STILL INSIDE
23:58:41   01   10   ETAC13   A5471    A918 ONE AT WINDOW,ONE WAITNG TO PICK UP,2 MINS UNTIL DOORS GET LOCKED
23:58:41   01   10   ETAC13   A5471    A :A918 PT         ONE AT WINDOW,ONE WAITNG TO PICK UP,2 MINS
                                       UNTIL DOORS GET LOCKED
23:58:42 01 10 EAUTON A4261            A918 1 CAR AT WINDOW,1 WAITING TO PICK UP,2MINS UNTIL DRS GET LOCKED
23:58:42 01 10 EAUTON A4261            A :A918 PT         1 CAR AT WINDOW,1 WAITING TO PICK UP,2MINS
                                       UNTIL DRS GET LOCKED
23:59:31   01   10   ETAC13   A5471    TRANSIENT STILL INSIDE
23:59:35   01   10   EAUTON   A4261    V635 TRANSIENT STILL INSIDE
23:59:35   01   10   EAUTON   A4261    A :V635 DE 07014 TRANSIENT STILL INSIDE
23:59:39   01   10   ETAC13   A5471    A918 ONE LEAVING WINDOW,2ND ONE UP TO IT NOW
23:59:39   01   10   ETAC13   A5471    A :A918 PT         ONE LEAVING WINDOW,2ND ONE UP TO IT NOW
23:59:53   01   10   EAUTON   A4261    A918 1 CUST LEAVING PICKUP WINDOW,2ND ONE UP TO PICKUP WINDOW
23:59:53   01   10   EAUTON   A4261    A :A918 PT         1 CUST LEAVING PICKUP WINDOW,2ND ONE UP TO
                                       PICKUP WINDOW
00:00:10   01   11   ETAC13   A5471    TRANSIENT COMING OUT THE DOOR
00:00:12   01   11   EAUTON   A4261    V635 TRANSIENT COMING OUT DR
00:00:12   01   11   EAUTON   A4261    A :V635 DE 07014 TRANSIENT COMING OUT DR
00:00:54   01   11   EAUTON   A4261    A918 TRANSIENT JN TO BUS STOP,GOING TO SIT UNDER BUS STOP COVER
00:00:54   01   11   EAUTON   A4261    A :A918 PT         TRANSIENT JN TO BUS STOP,GOING TO SIT UNDER
                                       BUS STOP COVER
00:00:57 01 11 ETAC13 A5471            A918 TRANSIENT AWAY,NORTH TO BUS STOP,SITTING DOWN UNDER COVER
00:00:57 01 11 ETAC13 A5471            A :A918 PT         TRANSIENT AWAY,NORTH TO BUS STOP,SITTING DOWN
                                       UNDER COVER
00:01:10   01   11   EAUTON   A4261    A918 BELIEVE THATS THE LAST GUY
00:01:10   01   11   EAUTON   A4261    A :A918 PT         BELIEVE THATS THE LAST GUY
00:01:16   01   11   ETAC13   A5471    A918 THAT'S THE LAST CUSTOMER,THEY ARE CUSTOMER FREE AT THIS POINT
00:01:16   01   11   ETAC13   A5471    A :A918 PT         THAT'S THE LAST CUSTOMER,THEY ARE CUSTOMER
                                       FREE AT THIS POINT
00:01:19   01   11   EAUTON   A4261    A918 BELIEVE THEY ARE CUST FREE AT THIS POINT
00:01:19   01   11   EAUTON   A4261    A :A918 PT         BELIEVE THEY ARE CUST FREE AT THIS POINT
00:01:31   01   11   EAUTON   A4261    V635 LOOKS LIKE EMPS GOING OUT TO EXIT
00:01:31   01   11   EAUTON   A4261    A :V635 DE 07014 LOOKS LIKE EMPS GOING OUT TO EXIT
00:01:32   01   11   ETAC13   A5471    EMPLOYEES ARE GOING OUT TO THE EXIT
00:01:54   01   11   ETAC13   A5471    A918 SUV PULLED IN,STRAIT NORTH FROM DT IN SPOT,FEW PEOPLE GETTING OUT
00:01:54   01   11   ETAC13   A5471    A :A918 PT         SUV PULLED IN,STRAIT NORTH FROM DT IN SPOT,FEW
                                       PEOPLE GETTING OUT
00:01:55 01 11 EAUTON A4261            A918 SUV JUST PULLED IN STRAIGHT N FROM PARKING SPOT GOT A FEW PPL GETTING
                                       OUT




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Time     Date Unit    ID
00:01:55 01 11 EAUTON A4261           A :A918 PT         SUV JUST PULLED IN STRAIGHT N FROM PARKING
                                      SPOT GOT A FEW PPL GETTING OUT
00:02:05   01   11   ETAC13   A5471   A918 3 PEOPLE WALKING TOT HE DOOR,ANOTHER CUST IN DT
00:02:05   01   11   ETAC13   A5471   A :A918 PT         3 PEOPLE WALKING TOT HE DOOR,ANOTHER CUST IN DT
00:02:07   01   11   EAUTON   A4261   A918 3 PPL WALKING TOWARDS DR & ANOTHER CUST HITTING DRIVETHRU
00:02:07   01   11   EAUTON   A4261   A :A918 PT         3 PPL WALKING TOWARDS DR & ANOTHER CUST
                                      HITTING DRIVETHRU
00:02:09   01   11   ETAC13   A5471   LOCKED THE DOOR?
00:02:14   01   11   EAUTON   A4261   V630 I THINK THEY JUST LOCKED THE DR
00:02:14   01   11   EAUTON   A4261   A :V630 DE 05057 I THINK THEY JUST LOCKED THE DR
00:02:17   01   11   ETAC13   A5471   A918 ALL GETTING BACK INTO THE VEH NOW
00:02:17   01   11   ETAC13   A5471   A :A918 PT         ALL GETTING BACK INTO THE VEH NOW
00:02:24   01   11   EAUTON   A4261   A918 YEAH THEY WENT BACK TO THEIR VEH & ARE GETTING IN
00:02:24   01   11   EAUTON   A4261   A :A918 PT         YEAH THEY WENT BACK TO THEIR VEH & ARE GETTING
                                      IN
00:02:27   01   11   ETAC13   A5471   LOCKING EAST DOOR TOO
00:02:32   01   11   EAUTON   A4261   V636 LOCKING THE E DR TOO
00:02:32   01   11   EAUTON   A4261   A :V636 DE 07710 LOCKING THE E DR TOO
00:04:07   01   11   ETAC13   A5471   A918 LEFT REAR DOOR CRACKED AGAIN
00:04:07   01   11   ETAC13   A5471   A :A918 PT         LEFT REAR DOOR CRACKED AGAIN
00:04:09   01   11   EAUTON   A4261   A918 LEFT REAR DR CRACKED OPEN AGAIN
00:04:09   01   11   EAUTON   A4261   A :A918 PT         LEFT REAR DR CRACKED OPEN AGAIN
00:04:45   01   11   ETAC13   A5471   A918 FRONT RIGHT AND LEFT REAR DOORS OPEN
00:04:45   01   11   ETAC13   A5471   A :A918 PT         FRONT RIGHT AND LEFT REAR DOORS OPEN
00:04:48   01   11   EAUTON   A4261   A918 FRNT RIGHT & LEFT REAR DRS ARE OPEN
00:04:48   01   11   EAUTON   A4261   A :A918 PT         FRNT RIGHT & LEFT REAR DRS ARE OPEN
00:05:54   01   11   ETAC13   A5471   A918 ALL DOOR BUT DRIVER OPEN,THREE OUT WALKING TOWARD WHATABURGER
00:05:54   01   11   ETAC13   A5471   A :A918 PT         ALL DOOR BUT DRIVER OPEN,THREE OUT WALKING
                                      TOWARD WHATABURGER
00:05:58 01 11 EAUTON A4261           A918 ALL BUT DRIVERS DR OPEN,GOT 3 OUT WALKING TOWARDS WHATABURGER
00:05:58 01 11 EAUTON A4261           A :A918 PT         ALL BUT DRIVERS DR OPEN,GOT 3 OUT WALKING
                                      TOWARDS WHATABURGER
00:06:08 01 11 ETAC13 A5471           A918 TWO ARE WALKING,RIGHT REAR PASS AT VEH,HE'S MORE OF LOOKOUT
00:06:08 01 11 ETAC13 A5471           A :A918 PT         TWO ARE WALKING,RIGHT REAR PASS AT VEH,HE'S
                                      MORE OF LOOKOUT
00:06:12 01 11 EAUTON A4261           A918 2 TOWARDS WHATABURGER,RIGHT REAR PSGR STILL AT VEH LOOKING OUT
00:06:12 01 11 EAUTON A4261           A :A918 PT         2 TOWARDS WHATABURGER,RIGHT REAR PSGR STILL AT
                                      VEH LOOKING OUT
00:06:14 01 11 ETAC13 A5471           A918 TWO WALKING TO DRIVE THRU
00:06:14 01 11 ETAC13 A5471           A :A918 PT         TWO WALKING TO DRIVE THRU
00:06:30 01 11 ETAC13 A5471           A918 BACK DOOR,LOOKOUT STILL AT VEH,WEST SIDE,WENT TO BACK DOOR,OUT OF
                                      SITE RIGHT NOW
00:06:30 01 11 EAUTON A4261           A918 2 TOWARDS DRIVETHRU,LOOKOUT STILL BY VEH ON WS OF BLDG BY BACK DR OUT
                                      OF MY SIGHT
00:06:30 01 11 ETAC13 A5471           A :A918 PT         BACK DOOR,LOOKOUT STILL AT VEH,WEST SIDE,WENT
                                      TO BACK DOOR,OUT OF SITE RIGHT NOW
00:06:30 01 11 EAUTON A4261           A :A918 PT         2 TOWARDS DRIVETHRU,LOOKOUT STILL BY VEH ON WS
                                      OF BLDG BY BACK DR OUT OF MY SIGHT
00:06:35 01 11 EAUTON A4261           V632 JUST PEERING INTO WINDOW NOW
00:06:35 01 11 EAUTON A4261           A :V632 PT 05994 JUST PEERING INTO WINDOW NOW




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CALL: PH19-55839 ACTIVE (R)
                     Desk/
Time       Date      Unit     ID
00:06:38   01 11     ETAC13   A5471   PEERING INTO WINDOW RIGHT NOW
00:06:43   01 11     ETAC13   A5471   GOT EM,REALLY SNEAKING
00:06:44   01 11     EAUTON   A4261   V635 YEAH I GO TTHEM TOO,REALLY SNEAKING
00:06:44   01 11     EAUTON   A4261   A :V635 DE 07014 YEAH I GO TTHEM TOO,REALLY SNEAKING
00:06:48   01 11     ETAC13   A5471   A918 NWC
00:06:48   01 11     ETAC13   A5471   A :A918 PT        NWC
00:06:51   01 11     EAUTON   A4261   A918 ONE ON NWC OF BLDG
00:06:51   01 11     EAUTON   A4261   A :A918 PT        ONE ON NWC OF BLDG
00:06:58   01 11     ETAC13   A5471   DON'T FORCE IT,HAVE IT TAKE IT,WORK ON GRAPPLER
00:07:06   01 11     EAUTON   A4261   S52 SAU DONT FORCE IT,IF WE HAVE WILL TAKE IT,IF NOT WE'LL CONTINUE TAC
                                      SURV
00:07:06 01 11 EAUTON A4261           A :S52 PT 08963 SAU DONT FORCE IT,IF WE HAVE WILL TAKE IT,IF
                                      NOT WE'LL CONTINUE TAC SURV
00:07:19   01   11   ETAC13   A5471   A918 JOINING UP ON WEST /BACK DOOR OF BLDG
00:07:19   01   11   EAUTON   A4261   A918 2 ON SWC,ALL JOINING AT BACK DR,W DR OF BLDG
00:07:19   01   11   ETAC13   A5471   A :A918 PT        JOINING UP ON WEST /BACK DOOR OF BLDG
00:07:19   01   11   EAUTON   A4261   A :A918 PT        2 ON SWC,ALL JOINING AT BACK DR,W DR OF BLDG
00:07:30   01   11   EAUTON   A4261   A918 ALL 3 WALKING ARND TO NS OF BLDG
00:07:30   01   11   EAUTON   A4261   A :A918 PT        ALL 3 WALKING ARND TO NS OF BLDG
00:07:32   01   11   ETAC13   A5471   A918 WALKING AROUND TO NORTH SIDE OF BLDG
00:07:32   01   11   ETAC13   A5471   A :A918 PT        WALKING AROUND TO NORTH SIDE OF BLDG
00:07:45   01   11   ETAC13   A5471   I GOT EM,CREPPING UP TO THE DOOR,ALL WALKING BACK
00:07:54   01   11   ETAC13   A5471   CURVING BACK AROUND OTHER SIDE
00:07:55   01   11   EAUTON   A4261   V632 I GOT THEM DR LOCKED & ALL WALKING BACK
00:07:55   01   11   EAUTON   A4261   A :V632 PT 05994 I GOT THEM DR LOCKED & ALL WALKING BACK
00:08:02   01   11   EAUTON   A4261   V632 CURRENTLY WALKING ARND SS
00:08:02   01   11   ETAC13   A5471   A918 SOUTH SIDE,ONE CAR AT PICK UP WINDOW NOW
00:08:02   01   11   EAUTON   A4261   A :V632 PT 05994 CURRENTLY WALKING ARND SS
00:08:02   01   11   ETAC13   A5471   A :A918 PT        SOUTH SIDE,ONE CAR AT PICK UP WINDOW NOW
00:08:05   01   11   ETAC13   A5471   HERE THEY COME
00:08:06   01   11   EAUTON   A4261   A918 1 CAR DRIVETHRU WINDOW
00:08:06   01   11   EAUTON   A4261   A :A918 PT        1 CAR DRIVETHRU WINDOW
00:08:12   01   11   EAUTON   A4261   V635 HERE THEY COME
00:08:12   01   11   EAUTON   A4261   A :V635 DE 07014 HERE THEY COME
00:08:14   01   11   ETAC13   A5471   A918 TYRING WINDOW AT DRIVE THRU
00:08:14   01   11   ETAC13   A5471   A :A918 PT        TYRING WINDOW AT DRIVE THRU
00:08:22   01   11   ETAC13   A5471   TELLING THAT TRUCK TO GET MOVING
00:08:24   01   11   EAUTON   A4261   A918 MIGHT BE TRYING TO DO DRIVETHRU
00:08:24   01   11   EAUTON   A4261   A :A918 PT        MIGHT BE TRYING TO DO DRIVETHRU
00:08:28   01   11   ETAC13   A5471   HANDGUN IN LEFT HANDGUN
00:08:34   01   11   EAUTON   A4261   V635 HANDGUN IN HIS LEFT HAND TELLING GUY TO GET MOVING
00:08:34   01   11   EAUTON   A4261   A :V635 DE 07014 HANDGUN IN HIS LEFT HAND TELLING GUY TO GET
                                      MOVING
00:08:40   01   11   EAUTON   A4261   V635 UP TO WINDOW NOW,YEP 211 RIGHT NOW
00:08:40   01   11   EAUTON   A4261   A :V635 DE 07014 UP TO WINDOW NOW,YEP 211 RIGHT NOW
00:08:44   01   11   ETAC13   A5471   WINDOW NOW,211 RIGHT NOW,CLIMBED IN
00:08:47   01   11   EAUTON   A4261   V635 HE JUST CLIMBED IN
00:08:47   01   11   EAUTON   A4261   A :V635 DE 07014 HE JUST CLIMBED IN
00:08:49   01   11   ETAC13   A5471   A918 TWO RUNNING UP,ALL AT WINDOW
00:08:49   01   11   ETAC13   A5471   A :A918 PT        TWO RUNNING UP,ALL AT WINDOW




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                     Desk/
Time       Date      Unit     ID
00:08:51   01 11     EAUTON   A4261   A918 ALL 3 AT WINDOW
00:08:51   01 11     EAUTON   A4261   A :A918 PT         ALL 3 AT WINDOW
00:08:55   01 11     ETAC13   A5471   25 GOTING UP TO FOOD CITY
00:08:59   01 11     ETAC13   A5471   STILL OUT ON FOOT EAST SIDE OF BLD
00:09:05   01 11     ETAC13   A5471   A918 ONE WENT AROUND NS OF BLDG
00:09:05   01 11     EAUTON   A4261   V635 GUYS TILL ON FOOT ON ES
00:09:05   01 11     ETAC13   A5471   A :A918 PT         ONE WENT AROUND NS OF BLDG
00:09:05   01 11     EAUTON   A4261   A :V635 DE 07014 GUYS TILL ON FOOT ON ES
00:09:10   01 11     ETAC13   A5471   GUN TO HEAD,PUSHING TO BACK ROOM
00:09:14   01 11     EAUTON   A4261   V636 GUY TO GUYS HEAD BROUGHT HIM INTO BACK RM
00:09:14   01 11     EAUTON   A4261   A :V636 DE 07710 GUY TO GUYS HEAD BROUGHT HIM INTO BACK RM
00:09:17   01 11     ETAC13   A5471   OPENED NORTH SIDE DOOR
00:09:22   01 11     ETAC13   A5471   A918 HELO MOVING IN?
00:09:22   01 11     ETAC13   A5471   A :A918 PT         HELO MOVING IN?
00:09:24   01 11     EAUTON   A4261   V632 JUST OPENED NS DR,3RD ONE IN
00:09:24   01 11     EAUTON   A4261   A :V632 PT 05994 JUST OPENED NS DR,3RD ONE IN
00:09:29   01 11     EAUTON   A4261   A918 HELICOPER IN?
00:09:29   01 11     EAUTON   A4261   A :A918 PT         HELICOPER IN?
00:09:32   01 11     ETAC13   A5471   NOT YET,NOT OVERHEAD YET,JUST CLOSER
00:09:33   01 11     EAUTON   A4261   S52 NOT YET
00:09:33   01 11     EAUTON   A4261   A :S52 PT 08963 NOT YET
00:09:37   01 11     ETAC13   A5471   EMPLOYEE STILL SAFE,GOT HANDGUN
00:09:42   01 11     EAUTON   A4261   V636 EMPS STILL SAFE,BUT THEY GOT THE HIT
00:09:42   01 11     EAUTON   A4261   A :V636 DE 07710 EMPS STILL SAFE,BUT THEY GOT THE HIT
00:09:49   01 11     ETAC13   A5471   PULLING VEH AROUND
00:09:52   01 11     EAUTON   A4261   S52 TAILLIGHTS TO VEH ON
00:09:52   01 11     EAUTON   A4261   A :S52 PT 08963 TAILLIGHTS TO VEH ON
00:09:53   01 11     ETAC13   A5471   A918 CUST COMING TO DT
00:09:53   01 11     ETAC13   A5471   A :A918 PT         CUST COMING TO DT
00:09:57   01 11     EAUTON   A4261   A918 CUST INTO THE DIRVETHRU
00:09:57   01 11     EAUTON   A4261   A :A918 PT         CUST INTO THE DIRVETHRU
00:10:01   01 11     ETAC13   A5471   GOING TO TILL RIGHT NOW
00:10:05   01 11     EAUTON   A4261   V636 GOING THROUGH TIL RIGHT NOW
00:10:05   01 11     EAUTON   A4261   A :V636 DE 07710 GOING THROUGH TIL RIGHT NOW
00:10:22   01 11     ETAC13   A5471   IF THAT VEH MOVES,CALL OUT POSITION,DONT HAVE IT CALL TAC SURV
00:10:24   01 11     EAUTON   A4261   S52 IF VEH STARTS MOVING CALL OUT POSITIONS,LET IT GO
00:10:24   01 11     EAUTON   A4261   A :S52 PT 08963 IF VEH STARTS MOVING CALL OUT POSITIONS,LET IT
                                      GO
00:10:28 01 11 ETAC13 A5471           OPENING DRIVE THRU,MIGHT GO THRU IT
00:10:34 01 11 EAUTON A4261           V635 OPENEING DRIVETHRU WINDOW LOOKS LIKE MIGHT GO THROUGH IT
00:10:34 01 11 EAUTON A4261           A :V635 DE 07014 OPENEING DRIVETHRU WINDOW LOOKS LIKE MIGHT GO
                                      THROUGH IT
00:10:35   01   11   ETAC13   A5471   COMIGN OUT THE FRONT,ONE GUY IS
00:10:41   01   11   EAUTON   A4261   V635 1 COMING OUT OT FRNT NOW
00:10:41   01   11   EAUTON   A4261   A :V635 DE 07014 1 COMING OUT OT FRNT NOW
00:10:48   01   11   ETAC13   A5471   A918 TWO OUT NORTH SIDE,VEH ON MOVE
00:10:48   01   11   ETAC13   A5471   A :A918 PT         TWO OUT NORTH SIDE,VEH ON MOVE
00:10:50   01   11   EAUTON   A4261   A918 2 COMING OUT MAIN ENTRANCE ON NS,VEH ON MOVE
00:10:50   01   11   EAUTON   A4261   A :A918 PT         2 COMING OUT MAIN ENTRANCE ON NS,VEH ON MOVE
00:10:56   01   11   ETAC13   A5471   CAN'T GET IT,LET IT GO,SET GRAPPLE




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CALL: PH19-55839 ACTIVE (R)
                     Desk/
Time       Date      Unit     ID
00:11:01   01 11     ETAC13   A5471   A918 2 ARE IN,ONE RUNNING
00:11:01   01 11     ETAC13   A5471   A :A918 PT         2 ARE IN,ONE RUNNING
00:11:04   01 11     ETAC13   A5471   HOLD POSITION
00:11:04   01 11     EAUTON   A4261   S525 VEH ON MOVE NOT GONNA BE ABLE TO GET IT,LET GRAPPLER GET IT
00:11:04   01 11     EAUTON   A4261   A :S525 PT 08677 VEH ON MOVE NOT GONNA BE ABLE TO GET IT,LET
                                      GRAPPLER GET IT
00:11:11   01   11   EAUTON   A4261   A918 2 IN 1 GETTING IN
00:11:11   01   11   EAUTON   A4261   A :A918 PT         2 IN 1 GETTING IN
00:11:17   01   11   EAUTON   A4261   A918 VEH MVOING NB DYSART FROM VB
00:11:17   01   11   EAUTON   A4261   A :A918 PT         VEH MVOING NB DYSART FROM VB
00:11:18   01   11   ETAC13   A5471   A918 VEH EB VB,DRIVE AROUND,GOING NB DYSART FROM VB
00:11:18   01   11   ETAC13   A5471   A :A918 PT         VEH EB VB,DRIVE AROUND,GOING NB DYSART FROM VB
00:11:21   01   11   ETAC13   A5471   35 GOT THE STORE
00:11:22   01   11   EAUTON   A4261   V635 I GOT STORE
00:11:22   01   11   EAUTON   A4261   A :V635 DE 07014 I GOT STORE
00:11:29   01   11   ETAC13   A5471   32 COUPLE GOODYEAR UNITS THERE TOO
00:11:33   01   11   EAUTON   A4261   V63 V632 ALSO TO STORE,& COUPLE GOODYR UNITS
00:11:33   01   11   EAUTON   A4261   A :V63 PT 05227 V632 ALSO TO STORE,& COUPLE GOODYR UNITS
00:11:39   01   11   ETAC13   A5471   WHERE IS IT?
00:11:43   01   11   EAUTON   A4261   S549 WHERE AT ?
00:11:43   01   11   EAUTON   A4261   A :S549 PT 08506 WHERE AT ?
00:11:48   01   11   ETAC13   A5471   A918 NB DYSART TO EB I10
00:11:48   01   11   ETAC13   A5471   A :A918 PT         NB DYSART TO EB I10
00:11:54   01   11   ETAC13   A5471   A918 TURN SIGNAL?
00:11:54   01   11   ETAC13   A5471   A :A918 PT         TURN SIGNAL?
00:11:57   01   11   ETAC13   A5471   WITH HIM
00:11:57   01   11   EAUTON   A4261   A918 NB DYSART CURB TO GO EB I10
00:11:57   01   11   EAUTON   A4261   A :A918 PT         NB DYSART CURB TO GO EB I10
00:12:03   01   11   EAUTON   A4261   A918 MADE TURN EB ON I10 FROM DYSART
00:12:03   01   11   ETAC13   A5471   A918 EB I10/DYSART
00:12:03   01   11   EAUTON   A4261   A :A918 PT         MADE TURN EB ON I10 FROM DYSART
00:12:03   01   11   ETAC13   A5471   A :A918 PT         EB I10/DYSART
00:12:08   01   11   EAUTON   A4261   A :A918 PT         DYSART I10 EB
00:12:10   01   11   EAUTON   A4261   A :S52 PT 08963 DYSART I10 EB
00:12:11   01   11   EAUTON   A4261   A :S522 PT 07892 DYSART I10 EB
00:12:13   01   11   EAUTON   A4261   A :S523 PT 09287 DYSART I10 EB
00:12:16   01   11   EAUTON   A4261   A :S525 PT 08677 DYSART I10 EB
00:12:26   01   11   ETAC13   A5471   GIVE HIM BREATHING ROOM TRY FOR GRAPPLER UP THERE
00:12:27   01   11   EAUTON   A4261   S52 GIVE BREATHING RM & TRY GET GRAPPLER UP THERE
00:12:27   01   11   EAUTON   A4261   A :S52 PT 08963 GIVE BREATHING RM & TRY GET GRAPPLER UP THERE
00:12:39   01   11   ETAC13   A5471   A918 EB ON I10 SPEED NOT TOO EXCESSIVE,
00:12:39   01   11   ETAC13   A5471   A :A918 PT         EB ON I10 SPEED NOT TOO EXCESSIVE,
00:12:42   01   11   EAUTON   A4261   A918 EB ON I10 SPEED DOESNT LOOKE TOO EXCESSIVE
00:12:42   01   11   EAUTON   A4261   A :A918 PT         EB ON I10 SPEED DOESNT LOOKE TOO EXCESSIVE
00:12:50   01   11   ETAC13   A5471   635 ADVISE WHEN C4 WITH EMPLOYEES?
00:12:54   01   11   EAUTON   A4261   V63 V635 ADVISE WHEN C4 INSIDE W/ALL EMPS
00:12:54   01   11   EAUTON   A4261   A :V63 PT 05227 V635 ADVISE WHEN C4 INSIDE W/ALL EMPS
00:13:07   01   11   EAUTON   A4261   A :S521 PT
00:13:20   01   11   EAUTON   A4261   A918 HE'S IN #1 COMING UP AVONDALE PASSING SEMI
00:13:20   01   11   EAUTON   A4261   A :A918 PT         HE'S IN #1 COMING UP AVONDALE PASSING SEMI




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               Desk/
Time     Date Unit    ID
00:13:21 01 11 ETAC13 A5471           A918 UNITS ON 10,PASSED SEMI,#1 LANE,COMING UP EXIT FOR AVONDALE STILL EB
00:13:21 01 11 ETAC13 A5471           A :A918 PT         UNITS ON 10,PASSED SEMI,#1 LANE,COMING UP EXIT
                                      FOR AVONDALE STILL EB
00:13:26   01   11   EAUTON   A4261   A918 STILL EB
00:13:26   01   11   EAUTON   A4261   A :A918 PT         STILL EB
00:13:32   01   11   EAUTON   A4261   A :S52 PT 08963 AVONDALE I10 EB
00:13:34   01   11   ETAC13   A5471   COUPLE VEHS BEHIND US,WE GET TRAFFIC STOP BEHIND US
00:13:36   01   11   EAUTON   A4261   A :S522 PT 07892 AVONDALE I10 EB
00:13:38   01   11   EAUTON   A4261   A :S523 PT 09287 AVONDALE I10 EB
00:13:41   01   11   EAUTON   A4261   A :S525 PT 08677 AVONDALE I10 EB
00:13:44   01   11   ETAC13   A5471   A918 UNITS NEAR BY APT ON BUTLER?
00:13:44   01   11   ETAC13   A5471   A :A918 PT         UNITS NEAR BY APT ON BUTLER?
00:13:47   01   11   EAUTON   A4261   A918 WE HAVE UNITS BY APT ON BUTLER?
00:13:47   01   11   EAUTON   A4261   A :A918 PT         WE HAVE UNITS BY APT ON BUTLER?
00:14:11   01   11   ETAC13   A5471   COUPLE VEHS BEHIND HIM
00:14:24   01   11   ETAC13   A5471   A918 112TH AV THREW SOMETHING OUT RIGHT REAR WINDOW,POSS CIGARETTE
00:14:24   01   11   ETAC13   A5471   A :A918 PT         112TH AV THREW SOMETHING OUT RIGHT REAR
                                      WINDOW,POSS CIGARETTE
00:14:30 01 11 EAUTON A4261           A918 112AV THREW SOMETHING OUT THAT WINDOW CROSSING 107AV NOW 2 SEMIS
                                      PASSING THEM
00:14:30 01 11 EAUTON A4261           A :A918 PT         112AV THREW SOMETHING OUT THAT WINDOW CROSSING
                                      107AV NOW 2 SEMIS PASSING THEM
00:14:39   01   11   EAUTON   A4261   HE JUST GET IN FRNT OF SEMIS
00:14:44   01   11   ETAC13   A5471   A918 GOING NB HERE
00:14:44   01   11   ETAC13   A5471   A :A918 PT         GOING NB HERE
00:14:56   01   11   ETAC13   A5471   A918 FAR RIGHT,GOING NB ON L101
00:14:56   01   11   ETAC13   A5471   A :A918 PT         FAR RIGHT,GOING NB ON L101
00:14:58   01   11   EAUTON   A4261   A918 10-4 LOOKS LIKE MIGHT BE POSITIONING TO GO NB,ALL WAY OVER FAR
                                      R,SHOULD PUT HJIM TO GO NB L101
00:14:58 01 11 EAUTON A4261           A :A918 PT         10-4 LOOKS LIKE MIGHT BE POSITIONING TO GO
                                      NB,ALL WAY OVER FAR R,SHOULD PUT HJIM TO GO NB L101
00:15:05   01   11   EAUTON   A4261   A :A918 PT         L101 I10 NB
00:15:07   01   11   EAUTON   A4261   A :S52 PT 08963 L101 I10 NB
00:15:09   01   11   EAUTON   A4261   A :S521 PT         L101 I10 NB
00:15:11   01   11   EAUTON   A4261   A :S522 PT 07892 L101 I10 NB
00:15:13   01   11   EAUTON   A4261   A :S523 PT 09287 L101 I10 NB
00:15:16   01   11   EAUTON   A4261   A :S52 PT 08963 L101 I10 NB
00:15:19   01   11   EAUTON   A4261   A :S525 PT 08677 L101 I10 NB
00:15:20   01   11   ETAC13   A5471   A918 GOING NB L101 FROM I10
00:15:20   01   11   ETAC13   A5471   A :A918 PT         GOING NB L101 FROM I10
00:15:27   01   11   EAUTON   A4261   A918 MAKIGN TURN NB L101 FROM I10
00:15:27   01   11   EAUTON   A4261   A :A918 PT         MAKIGN TURN NB L101 FROM I10
00:15:29   01   11   EAUTON   A4261   S52 WHATS SPEED
00:15:29   01   11   EAUTON   A4261   A :S52 PT 08963 WHATS SPEED
00:15:37   01   11   EAUTON   A4261   A918 LITTLE ABOVE NORMAL,NOTHING TOO CRAZY
00:15:37   01   11   EAUTON   A4261   A :A918 PT         LITTLE ABOVE NORMAL,NOTHING TOO CRAZY
00:15:47   01   11   ETAC13   A5471   A918 SPEED LIL ABOVE NORMAL,BARELY ABOVE TRAFFIC MERGING WITH,72 MPH
00:15:47   01   11   ETAC13   A5471   A :A918 PT         SPEED LIL ABOVE NORMAL,BARELY ABOVE TRAFFIC
                                      MERGING WITH,72 MPH
00:15:50 01 11 EAUTON A4261           A918 SPEED OF TRAFFIC THEY ARE MERGING W/ON L101,SHOWING THEM AT 72MPH




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CALL: PH19-55839 ACTIVE (R)
               Desk/
Time     Date Unit    ID
00:15:50 01 11 EAUTON A4261           A :A918 PT         SPEED OF TRAFFIC THEY ARE MERGING W/ON
                                      L101,SHOWING THEM AT 72MPH
00:16:05 01 11 ETAC13 A5471           FREEWAY,70 OR BELOW,WE CAN DO IT
00:16:10 01 11 EAUTON A4261           S51 IF 70 BELOW WE CAN DO IT ON THE FRWY IF TRAFFIC BLOCK
00:16:10 01 11 EAUTON A4261           A :S51 PT 08566 IF 70 BELOW WE CAN DO IT ON THE FRWY IF TRAFFIC
                                      BLOCK
00:16:17   01   11   EAUTON   A4261   A918 VERY LITTLE TRAFFIC ON FRWY RIGHT NOW
00:16:17   01   11   EAUTON   A4261   A :A918 PT         VERY LITTLE TRAFFIC ON FRWY RIGHT NOW
00:16:18   01   11   ETAC13   A5471   A918 VERY LITTLE TRAFFIC ON 101 FOR NOW
00:16:18   01   11   ETAC13   A5471   A :A918 PT         VERY LITTLE TRAFFIC ON 101 FOR NOW
00:16:29   01   11   ETAC13   A5471   A918 APPROACHING THOMAS,SEMI WITHOUT TRAILER
00:16:29   01   11   EAUTON   A4261   A918 ANY UNITS BHND STILL NB L101 COMING UP ON THM SEMI JUST CAB HE'S
00:16:29   01   11   ETAC13   A5471   A :A918 PT         APPROACHING THOMAS,SEMI WITHOUT TRAILER
00:16:29   01   11   EAUTON   A4261   A :A918 PT         ANY UNITS BHND STILL NB L101 COMING UP ON THM
                                      SEMI JUST CAB HE'S
00:16:43   01   11   ETAC13   A5471   ANY GRAPPLERS OUT?
00:16:47   01   11   ETAC13   A5471   JUST ABOUT UP THERE
00:16:47   01   11   EAUTON   A4261   S52 ANY GRAPPLERS 10-8?
00:16:47   01   11   EAUTON   A4261   A :S52 PT 08963 ANY GRAPPLERS 10-8?
00:16:54   01   11   EAUTON   A4261   EN:S526 PT         67TH AV/GLENDALE
00:17:00   01   11   ETAC13   A5471   I'M RIGHT BEHIND 21,I CAN RUN BLOCK IF
00:17:07   01   11   ETAC13   A5471   A918 #1 LANE,74 MPH
00:17:07   01   11   ETAC13   A5471   A :A918 PT         #1 LANE,74 MPH
00:17:09   01   11   EAUTON   A4261   EN:S512 PT         67TH AV/GLENDALE
00:17:11   01   11   EAUTON   A4261   S512 IM RIGHT BHDN S521
00:17:11   01   11   EAUTON   A4261   EN:S512 PT         IM RIGHT BHDN S521
00:17:14   01   11   ETAC13   A5471   STREET CRIMES,LEAVING ONE LANE OPEN
00:17:17   01   11   ETAC13   A5471   COPY
00:17:25   01   11   EAUTON   A4261   EN:S526 PT 08829
00:17:28   01   11   ETAC13   A5471   NATURAL TRAFFIC,BUT LET SAU GO AROUND
00:17:32   01   11   ETAC13   A5471   BURT SWITCH WITH ME
00:17:42   01   11   ETAC13   A5471   #1 LANE,FIRST IN FRONT OF BLK CADILLAC,I'LL BLOCK FOR YOU
00:17:47   01   11   EAUTON   A4261   S521 1ST ONE IN FRNT OF BLK CADI,LET ME KNOW WHEN YOU'RE READY & I'LL GET
                                      IN FRNT
00:17:47 01 11 EAUTON A4261           A :S521 PT         1ST ONE IN FRNT OF BLK CADI,LET ME KNOW WHEN
                                      YOU'RE READY & I'LL GET IN FRNT
00:17:49   01   11   ETAC13   A5471   A918 ALL THE WAY EXITING CAMELBACK
00:17:49   01   11   ETAC13   A5471   A :A918 PT         ALL THE WAY EXITING CAMELBACK
00:17:55   01   11   EAUTON   A4261   A918 MOVING ALLW AY OVER TO GET OFF AT CBACK
00:17:55   01   11   EAUTON   A4261   A :A918 PT         MOVING ALLW AY OVER TO GET OFF AT CBACK
00:18:10   01   11   ETAC13   A5471   HAVE JUMP AT THE LIGHT,CREEP UP IN FRONT
00:18:14   01   11   EAUTON   A4261   S512 WE HAVE ENOUGHT FOR JUMP AT THIS LIGHT,W E CAN CREEP UP ON HIM
00:18:14   01   11   EAUTON   A4261   EN:S512 PT         WE HAVE ENOUGHT FOR JUMP AT THIS LIGHT,W E CAN
                                      CREEP UP ON HIM
00:18:18   01   11   ETAC13   A5471   A918 BENDING EXIT,EB ON CAMELBACK,
00:18:18   01   11   ETAC13   A5471   A :A918 PT         BENDING EXIT,EB ON CAMELBACK,
00:18:19   01   11   EAUTON   A4261   A918 EB ON CBACK FROM L101
00:18:19   01   11   EAUTON   A4261   A :A918 PT         EB ON CBACK FROM L101
00:18:21   01   11   EAUTON   A4261   A :A918 PT         EB ON CBACK FROM L101
00:18:23   01   11   EAUTON   A4261   EN:S512 PT         EB ON CBACK FROM L101




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                     Desk/
Time       Date      Unit     ID
00:18:26   01 11     EAUTON   A4261   A :S52 PT 08963 EB ON CBACK FROM L101
00:18:28   01 11     EAUTON   A4261   A :S521 PT         EB ON CBACK FROM L101
00:18:39   01 11     EAUTON   A4261   S52 BE LOOKING FOR THAT ST JUMP,BE LOOKING TO GET GRAPPLER UP THERE TOO
00:18:39   01 11     EAUTON   A4261   A :S52 PT 08963 BE LOOKING FOR THAT ST JUMP,BE LOOKING TO GET
                                      GRAPPLER UP THERE TOO
00:18:51   01   11   EAUTON   A4261   A918 CATCHING RED AT 95AV #1 VEH #1 LA 95AVCBACK
00:18:51   01   11   ETAC13   A5471   A918 AUGHT RED AT 95TH AV,#1 LANE #1 VEH
00:18:51   01   11   EAUTON   A4261   A :A918 PT         CATCHING RED AT 95AV #1 VEH #1 LA 95AVCBACK
00:18:51   01   11   ETAC13   A5471   A :A918 PT         AUGHT RED AT 95TH AV,#1 LANE #1 VEH
00:18:55   01   11   EAUTON   A4261   A918 95AV CBACK
00:18:55   01   11   EAUTON   A4261   A :A918 PT         95AV CBACK
00:19:00   01   11   ETAC13   A5471   GOING TO DEPLOY THIS,GET SPEED GOING,I'LL GET UP THERE
00:19:05   01   11   EAUTON   A4261   S512 IM GOING TO GO AHEAD & DEPLOY THIS THING
00:19:05   01   11   EAUTON   A4261   EN:S512 PT         IM GOING TO GO AHEAD & DEPLOY THIS THING
00:19:09   01   11   ETAC13   A5471   EXHAUST ON PASS SIDE,HAS MUD FLAPS
00:19:14   01   11   ETAC13   A5471   A918 EB CAMELBACK/91ST AV
00:19:14   01   11   EAUTON   A4261   EXHAUST ON PSGR SIDE TIRE & HAS MUD FLAPS
00:19:14   01   11   ETAC13   A5471   A :A918 PT         EB CAMELBACK/91ST AV
00:19:20   01   11   ETAC13   A5471   GOOD TO GO,
00:19:21   01   11   EAUTON   A4261   S512 IM GOOD TO GO
00:19:21   01   11   EAUTON   A4261   EN:S512 PT         IM GOOD TO GO
00:19:25   01   11   EAUTON   A4261   A918 91AV CBACK
00:19:25   01   11   EAUTON   A4261   A :A918 PT         91AV CBACK
00:19:29   01   11   EAUTON   A4261   A :A918 PT         91AV CBACK
00:19:31   01   11   EAUTON   A4261   EN:S512 PT         91AV CBACK
00:19:34   01   11   EAUTON   A4261   A :S521 PT         91AV CBACK
00:19:43   01   11   EAUTON   A4261   A918 DEPLOYED RIGHT REAR PSG RUNNING
00:19:43   01   11   EAUTON   A4261   A :A918 PT         DEPLOYED RIGHT REAR PSG RUNNING
00:19:45   01   11   ETAC13   A5471   A918 RIGHT REAR PASS THREW SOMEHTING,DEPLOYED
00:19:45   01   11   ETAC13   A5471   A :A918 PT         RIGHT REAR PASS THREW SOMEHTING,DEPLOYED
00:19:47   01   11   EAUTON   A4261   A918 BAILOUT
00:19:47   01   11   EAUTON   A4261   A :A918 PT         BAILOUT
00:19:58   01   11   EAUTON   A4261   A918 NOBODY'S MOVING THREW SOMETHING POSS GUN 1 SUBJ DOWN
00:19:58   01   11   EAUTON   A4261   A :A918 PT         NOBODY'S MOVING THREW SOMETHING POSS GUN 1
                                      SUBJ DOWN
00:20:15 01 11 ETAC13 A5471           NO ONE IS MOVING,ONE SUBJ DOWN,RUNNER IS DOWN THEN,SOUTH SIDE OF ROAD,50
                                      FEET FROM VEH,THREW SOMETHING POSS GUN,10 FEET AWAY,WITHIN REACH
00:20:18 01 11 EAUTON A4261           A918 RUNNER'S DOWN ON SS OF RD 30FT FROM VEH HE THREW SOMETHING POSS GUN
                                      10FT AWAY FROM HIM WITHIN HIS REACH
00:20:18 01 11 EAUTON A4261           A :A918 PT         RUNNER'S DOWN ON SS OF RD 30FT FROM VEH HE
                                      THREW SOMETHING POSS GUN 10FT AWAY FROM HIM WITHIN HIS REACH
00:20:28   01   11   ETAC13   A5471   I'M COMIGN FROM EAST,I'LL STOP TRAFFIC
00:20:32   01   11   ETAC13   A5471   GOT IT STOPPED
00:20:34   01   11   EAUTON   A4261   S51 IKM COMING FORM E I'M STOPPING TRAFFIC
00:20:34   01   11   EAUTON   A4261   A :S51 PT 08566 IKM COMING FORM E I'M STOPPING TRAFFIC
00:20:39   01   11   EAUTON   A4261   S51 EB TRAFFIC STOPPED
00:20:39   01   11   ETAC13   A5471   PASSENGER SIDE
00:20:39   01   11   EAUTON   A4261   A :S51 PT 08566 EB TRAFFIC STOPPED
00:20:56   01   11   ETAC13   A5471   EB SHUT DOWN,SOMEONE GOING TO CIRK,GET EVERYONE OUT OF LINE OF FIRE,PEOPLE
                                      AT THE PUMP




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CALL: PH19-55839 ACTIVE (R)
               Desk/
Time     Date Unit    ID
00:21:01 01 11 ETAC13 A5471           CIR K IS GOOD
00:21:22 01 11 ETAC13 A5471           A918 UNTS HERE ME,OBJECT 6 FEET AWAY FROM RIGHT HAND,WITHIN REACH,I
                                      BELIEVE ITS A GUN
00:21:22 01 11 ETAC13 A5471           A :A918 PT        UNTS HERE ME,OBJECT 6 FEET AWAY FROM RIGHT
                                      HAND,WITHIN REACH,I BELIEVE ITS A GUN
00:21:28 01 11 ETAC13 A5471           TAKE HIM CALL OUT TO THE NORTH SIDE
00:21:48 01 11 EAUTON A4261           S52 HAVE FIRE STAGE WE DO HAVE A 998 NEED (K) SHUT DOWN GET UNITS THERE
                                      SHUT DOWN PPL IN THERE
00:21:48 01 11 EAUTON A4261           A :S52 PT 08963 HAVE FIRE STAGE WE DO HAVE A 998 NEED (K) SHUT
                                      DOWN GET UNITS THERE SHUT DOWN PPL IN THERE
00:22:01   01   11   ETAC13   A5471   S52 HAVE FIRE STAGE WEST OF US,998,WORKING RHOUGH,CIR K SHUT DOWN,
00:22:10   01   11   EHM      A6234   (AM) AMBULANCE: AM,
00:22:13   01   11   ETAC13   A5471   998 WE ARE C4,DO NOT NEED ALL CALL
00:22:19   01   11   ETAC13   A5471   A :P94 PS 05821 67TH AV/GLENDALE
00:22:19   01   11   ETAC13   A5471   A :P94 PS 05821 CONTROL FOR UNIT CHANGED H11
00:22:26   01   11   ETAC13   A5471   A :P94 PS 05821 91ST AV/CBACK
00:22:29   01   11   ED8B     A6238   EN:814P PT 08701 67TH AV/GLENDALE
00:22:46   01   11   ED8B     A6238   EN:81J PS 05707 67TH AV/GLENDALE
00:22:49   01   11   EHM      A6234   FIRE STAGED*****
00:22:52   01   11   ETAC13   A5471   520 ONCE EVERYONE OUT,WE'LL GO TO SUBJTHAT DOWN,IF =CANT' WE'LL MOVE UP
                                      WITH CHAIN AND K9
00:22:56   01   11   ED8B     A6238   C41 C4 1033 91A/CBACK 998 C4 HARD CLOSURE 91A/CBACK
00:23:07   01   11   EAUTON   A4261   (M) GLENDALE ADVISED ON PSAP & WILL HAVE UNITS 17
00:23:10   01   11   ED8B     A6238   NEED CAMELBACK 91A HARDCLOSURE THAT WOULD BE GOOD FOR NOW
00:23:16   01   11   EAUTON   A4261   A :A918 PT        91AV CBACK
00:23:18   01   11   EAUTON   A4261   A :S52 PT 08963 91AV CBACK
00:23:20   01   11   EAUTON   A4261   A :S51 PT 08566 91AV CBACK
00:23:21   01   11   ED8B     A6238   EN:811L PT 09772 67TH AV/GLENDALE
00:23:30   01   11   ETAC13   A5471   52 ON SUPS IN VEH,CALLING OUT NOW,ONE PRONED OUT SS OF RAOD
00:23:34   01   11   EAUTON   A4261   S52 1 SUSP STILL INSIDE VEH,CALLING OUT NOW,1 PRONED OUT
00:23:34   01   11   EAUTON   A4261   A :S52 PT 08963 1 SUSP STILL INSIDE VEH,CALLING OUT NOW,1
                                      PRONED OUT
00:23:35   01   11   ED8B     A6238   EN:814P PT 08701 91A/CAMELBACK
00:23:39   01   11   EAUTON   A4261   S52 CURRENTLY NO INJS TO OFCRS
00:23:39   01   11   EAUTON   A4261   A :S52 PT 08963 CURRENTLY NO INJS TO OFCRS
00:23:40   01   11   ETAC13   A5471   CURRENTLY NO INJURIES TO OFFICERS
00:23:43   01   11   ED8B     A6238   EN:P84 PS 07876 67TH AV/GLENDALE
00:23:48   01   11   813M     09744   EN:813M PT 09744 ASSIST:81J       /67TH AV/GLENDALE
00:23:48   01   11   813M     09744   EN:813M PT 10021 ASSIST:81J       /67TH AV/GLENDALE
00:23:48   01   11   813M     09744   EN:813M PT 09744 CONTROL FOR UNIT CHANGED 9
00:23:48   01   11   813M     09744   EN:813M PT 10021 CONTROL FOR UNIT CHANGED 9
00:23:48   01   11   EAUTON   A4261   EN:S512 PT        91AV CBACK
00:23:50   01   11   EAUTON   A4261   A :S521 PT        91AV CBACK
00:23:50   01   11   ETAC13   A5471   A :V638 DE 06103 91ST AV/CBACK
00:23:50   01   11   ETAC13   A5471   A :V635 DE 07014 91ST AV/CBACK
00:23:50   01   11   ETAC13   A5471   A :V636 DE 07710 91ST AV/CBACK
00:23:51   01   11   ETAC13   A5471   A :V630 DE 05057 91ST AV/CBACK
00:23:51   01   11   ETAC13   A5471   A :V63 PT 05227 91ST AV/CBACK
00:23:51   01   11   ETAC13   A5471   A :A918 PT        91ST AV/CBACK
00:23:51   01   11   ETAC13   A5471   A :S52 PT 08963 91ST AV/CBACK




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Time       Date      Unit     ID
00:23:51   01 11     ETAC13   A5471   A :S563 K9 08942 91ST AV/CBACK
00:23:51   01 11     ETAC13   A5471   EN:P84 PS 07876 91ST AV/CBACK
00:23:51   01 11     ETAC13   A5471   A :P94 PS 05821 91ST AV/CBACK
00:23:51   01 11     ETAC13   A5471   EN:81J PS 05707 91ST AV/CBACK
00:23:51   01 11     ETAC13   A5471   EN:813M PT 09744 91ST AV/CBACK
00:23:51   01 11     ETAC13   A5471   EN:813M PT 10021 91ST AV/CBACK
00:23:52   01 11     ETAC13   A5471   EN:811L PT 09772 91ST AV/CBACK
00:23:52   01 11     ETAC13   A5471   EN:814P PT 08701 91ST AV/CBACK
00:23:52   01 11     ETAC13   A5471   A :S523 PT 09287 91ST AV/CBACK
00:23:52   01 11     ETAC13   A5471   A :S522 PT 07892 91ST AV/CBACK
00:23:52   01 11     ETAC13   A5471   A :V632 PT 05994 91ST AV/CBACK
00:23:52   01 11     ETAC13   A5471   A :S525 PT 08677 91ST AV/CBACK
00:23:52   01 11     ETAC13   A5471   A :V572 PT 07991 91ST AV/CBACK
00:23:52   01 11     ETAC13   A5471   A :S521 PT        91ST AV/CBACK
00:23:52   01 11     ETAC13   A5471   A :S527 PT        91ST AV/CBACK
00:23:52   01 11     ETAC13   A5471   A :S517 PT 07497 91ST AV/CBACK
00:23:52   01 11     ETAC13   A5471   A :S51 PT 08566 91ST AV/CBACK
00:23:52   01 11     ETAC13   A5471   A :S549 PT 08506 91ST AV/CBACK
00:23:52   01 11     ETAC13   A5471   A :S519 PT 08467 91ST AV/CBACK
00:23:53   01 11     ETAC13   A5471   A :S516 PT 08288 91ST AV/CBACK
00:23:53   01 11     ETAC13   A5471   A :S513 PT 07244 91ST AV/CBACK
00:23:53   01 11     ETAC13   A5471   A :CAR958 PT         91ST AV/CBACK
00:23:53   01 11     ETAC13   A5471   EN:S526 PT 08829 91ST AV/CBACK
00:23:53   01 11     ETAC13   A5471   EN:S512 PT        91ST AV/CBACK
00:23:53   01 11     ETAC13   A5471   A :S511 PT 07097 91ST AV/CBACK
00:23:53   01 11     ETAC13   A5471   EN:S53 PT 07273 91ST AV/CBACK
00:23:53   01 11     ETAC13   A5471   A :V631 DE 06914 91ST AV/CBACK
00:23:58   01 11     EAUTON   A4261   EN:S515 PT        67TH AV/GLENDALE
00:24:07   01 11     EAUTON   A4261   S515 EVERYBODY IN CUST? INCLUDING SUSP DOWN
00:24:07   01 11     EAUTON   A4261   EN:S515 PT        EVERYBODY IN CUST? INCLUDING SUSP DOWN
00:24:08   01 11     ETAC13   A5471   15 TO 52 IN CUSTODY? INCLUDDING SUSP DOWN
00:24:14   01 11     EAUTON   A4261   S52 NEG EVERYBODY IS NOT IN CUST
00:24:14   01 11     EAUTON   A4261   A :S52 PT 08963 NEG EVERYBODY IS NOT IN CUST
00:24:18   01 11     EAUTON   A4261   Call re-directed:T13
00:24:21   01 11     ED7A     A5580   Call re-directed:
00:24:24   01 11     ED7A     A5580   Call re-directed:T13
00:24:28   01 11     ETAC13   A5471   EVERYONE IS NOT,EVERYONE OUT OF VEH,WORKIKNG ON SUSP DOWN IN CUSTODY,NEXT
                                      SUPV TO GO OUT WITH S521,STANDY WITH HIM
00:24:38 01 11 ETAC13 A5471           GREEN EQUIP VAN
00:24:40 01 11 EAUTON A4261           S52 NEG NOT ALL IN CUST WORK ON NEXT SUSP PRONED OUT,NEXT SUPV 23 GO OW
                                      S521 1012 W/HIM
00:24:40 01 11 EAUTON A4261           A :S52 PT 08963 NEG NOT ALL IN CUST WORK ON NEXT SUSP PRONED
                                      OUT,NEXT SUPV 23 GO OW S521 1012 W/HIM
00:24:49   01   11   ETAC13   A5471   CLEAR THE VEH FIRST,FROM DRIVER'S SIDE
00:24:52   01   11   EAUTON   A4261   S52 S521 BY GREEN EQUIP VAN
00:24:52   01   11   EAUTON   A4261   A :S52 PT 08963 S521 BY GREEN EQUIP VAN
00:25:08   01   11   EAUTON   A4261   S52 PUTTING TOGETHER 2 TEAMS 1 & COMMANDS TO SUSP THAT IS DOWN
00:25:08   01   11   EAUTON   A4261   A :S52 PT 08963 PUTTING TOGETHER 2 TEAMS 1 & COMMANDS TO SUSP
                                      THAT IS DOWN
00:25:14 01 11 814M           08743   EN:814M PT 08743 ASSIST:811L       /91ST AV/CBACK




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Time       Date      Unit     ID
00:25:14   01 11     814M     08743   EN:814M PT 09292 ASSIST:811L      /91ST AV/CBACK
00:25:14   01 11     814M     08743   EN:814M PT 08743 CONTROL FOR UNIT CHANGED 9
00:25:14   01 11     814M     08743   EN:814M PT 09292 CONTROL FOR UNIT CHANGED 9
00:25:20   01 11     ETAC13   A5471   TWO TEAMS RIGHT NOW,PUSH UP BEHIND PANEL,GIVE COMMANDS TO SUSP IS
                                      DOWN,WILL DEPLOY K9 AND PULL HIM BACK TO US,UNITS CLEAR VEH,MOVE JN OF
                                      US,NO CROSSFIRE
00:25:24   01   11   ED8B     A6238   811L TRAFFIC SHUT DOWN ON 91A
00:25:24   01   11   ED8B     A6238   EN:811L PT 09772 TRAFFIC SHUT DOWN ON 91A
00:25:25   01   11   ETAC13   A5471   A :V638 DE 06103 91ST AV/CBACK
00:25:25   01   11   ETAC13   A5471   A :V635 DE 07014 91ST AV/CBACK
00:25:25   01   11   ETAC13   A5471   A :V636 DE 07710 91ST AV/CBACK
00:25:25   01   11   ETAC13   A5471   A :V630 DE 05057 91ST AV/CBACK
00:25:26   01   11   ETAC13   A5471   A :V63 PT 05227 91ST AV/CBACK
00:25:26   01   11   ETAC13   A5471   A :A918 PT        91ST AV/CBACK
00:25:26   01   11   ETAC13   A5471   A :S52 PT 08963 91ST AV/CBACK
00:25:26   01   11   ETAC13   A5471   A :S563 K9 08942 91ST AV/CBACK
00:25:26   01   11   ETAC13   A5471   EN:P84 PS 07876 91ST AV/CBACK
00:25:26   01   11   ETAC13   A5471   A :P94 PS 05821 91ST AV/CBACK
00:25:26   01   11   ETAC13   A5471   EN:81J PS 05707 91ST AV/CBACK
00:25:26   01   11   ETAC13   A5471   EN:813M PT 09744 91ST AV/CBACK
00:25:26   01   11   ETAC13   A5471   EN:813M PT 10021 91ST AV/CBACK
00:25:26   01   11   ETAC13   A5471   EN:814M PT 08743 91ST AV/CBACK
00:25:26   01   11   ETAC13   A5471   EN:814M PT 09292 91ST AV/CBACK
00:25:26   01   11   ETAC13   A5471   EN:811L PT 09772 91ST AV/CBACK
00:25:26   01   11   ETAC13   A5471   EN:814P PT 08701 91ST AV/CBACK
00:25:26   01   11   ETAC13   A5471   A :S523 PT 09287 91ST AV/CBACK
00:25:27   01   11   ETAC13   A5471   A :S522 PT 07892 91ST AV/CBACK
00:25:27   01   11   ETAC13   A5471   A :V632 PT 05994 91ST AV/CBACK
00:25:27   01   11   ETAC13   A5471   A :S525 PT 08677 91ST AV/CBACK
00:25:27   01   11   ETAC13   A5471   A :V572 PT 07991 91ST AV/CBACK
00:25:27   01   11   ETAC13   A5471   A :S521 PT        91ST AV/CBACK
00:25:27   01   11   ETAC13   A5471   A :S527 PT        91ST AV/CBACK
00:25:27   01   11   ETAC13   A5471   A :S517 PT 07497 91ST AV/CBACK
00:25:27   01   11   ETAC13   A5471   A :S51 PT 08566 91ST AV/CBACK
00:25:27   01   11   ETAC13   A5471   A :S549 PT 08506 91ST AV/CBACK
00:25:27   01   11   ETAC13   A5471   A :S519 PT 08467 91ST AV/CBACK
00:25:27   01   11   ETAC13   A5471   A :S516 PT 08288 91ST AV/CBACK
00:25:27   01   11   ETAC13   A5471   A :S513 PT 07244 91ST AV/CBACK
00:25:28   01   11   ETAC13   A5471   A :CAR958 PT        91ST AV/CBACK
00:25:28   01   11   ETAC13   A5471   EN:S526 PT 08829 91ST AV/CBACK
00:25:28   01   11   ETAC13   A5471   EN:S512 PT        91ST AV/CBACK
00:25:28   01   11   ETAC13   A5471   EN:S515 PT        91ST AV/CBACK
00:25:28   01   11   ETAC13   A5471   A :S511 PT 07097 91ST AV/CBACK
00:25:28   01   11   ETAC13   A5471   EN:S53 PT 07273 91ST AV/CBACK
00:25:28   01   11   ETAC13   A5471   A :V631 DE 06914 91ST AV/CBACK
00:25:29   01   11   EAUTON   A4261   S52 TEAM THATS GONNA CLR VEH MOVE JN OF US SO WE DONT HAVE ANY CROSSFIRES
00:25:29   01   11   EAUTON   A4261   A :S52 PT 08963 TEAM THATS GONNA CLR VEH MOVE JN OF US SO WE
                                      DONT HAVE ANY CROSSFIRES
00:25:32 01 11 ED8B           A6238   EN:811L PT 09772 91A/CBACK
00:25:40 01 11 ED8B           A6238   EN:811L PT 09772 91A/CBACK EB




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CALL: PH19-55839 ACTIVE (R)
                     Desk/
Time       Date      Unit     ID
00:25:51   01 11     ED8B     A6238   A :811L PT 09772
00:25:51   01 11     ED8B     A6238   A :811L PT 09772 Sent to MDT: 811L,Status changed to A by ED8B
00:25:53   01 11     ETAC13   A5471   LET GLENDALE DO NOT DRIVE WB ON CAMELBACK,THEY JUST WENT PAST MY VEH
00:26:12   01 11     815M     10076   EN:815M PT 10076 ASSIST:814M       /91ST AV/CBACK
00:26:12   01 11     815M     10076   EN:815M PT 10078 ASSIST:814M       /91ST AV/CBACK
00:26:12   01 11     815M     10076   EN:815M PT 10076 CONTROL FOR UNIT CHANGED 9
00:26:12   01 11     815M     10076   EN:815M PT 10078 CONTROL FOR UNIT CHANGED 9
00:26:13   01 11     ED8B     A6238   814P NEXT UNIT COMES 23 LOCK DOWN CIR K
00:26:13   01 11     ED8B     A6238   EN:814P PT 08701 NEXT UNIT COMES 23 LOCK DOWN CIR K
00:26:15   01 11     ETAC13   A5471   CONT TO HOLD SUSP IS DOWN,MOVE IN ON SUSP VEH FROM NORTH,USE IT FOR
                                      COVER,THEN CLEAR IT
00:26:17   01   11   EAUTON   A4261   S52 ADVISE GELNDALE NOT TO GO WB ON CBACK
00:26:17   01   11   EAUTON   A4261   A :S52 PT 08963 ADVISE GELNDALE NOT TO GO WB ON CBACK
00:26:20   01   11   ETAC13   A5471   CLEARING VEH NOW FROM NORTH SIDE
00:26:20   01   11   EAUTON   A4261   GLENDALE ADVISED
00:26:31   01   11   EAUTON   A4261   S513 WE'RE GOING TO CLR THIS VEH RIGHT NOW
00:26:31   01   11   EAUTON   A4261   A :S513 PT 07244 WE'RE GOING TO CLR THIS VEH RIGHT NOW
00:26:39   01   11   ETAC13   A5471   HOLD HERE,WORK THAT SIDE,DOG FIRST?
00:26:42   01   11   EAUTON   A4261   S513 WEVE GOT GOOD COVERAGE ON SUSP THAT IS DOWN,
00:26:42   01   11   EAUTON   A4261   A :S513 PT 07244 WEVE GOT GOOD COVERAGE ON SUSP THAT IS DOWN,
00:26:44   01   11   ED8B     A6238   EN:811J PT 10394 67TH AV/GLENDALE
00:26:51   01   11   ED9A     A5943   P94 900 SUPV SEE ME 99TH AV /CBACK COME IN OFF 107TH EB TOWARD 99TH
00:26:51   01   11   ED9A     A5943   A :P94 PS 05821 900 SUPV SEE ME 99TH AV /CBACK COME IN OFF
                                      107TH EB TOWARD 99TH
00:26:53   01   11   ETAC13   A5471   MOVE UP AND GIVE COMMANDS TO CRAWL TO US,IF DONES'T COMPLY,DEPLOY DOG
00:26:54   01   11   ED9A     A5943   EN:91J PS 07725 67TH AV/GLENDALE
00:26:56   01   11   ETAC13   A5471   GOOD COVER,HOLD HERE
00:26:59   01   11   814P     08701   A :814P PT 08701
00:27:01   01   11   EAUTON   A4261   S52 COPY WE'RE GOING TO GIVE HIM COMMANDS TO CRAWL BACK TO HIM,IF HE DOES
                                      NOT COMPLY WELL SEND IN DOG TO DRAG HIM BACK TO US
00:27:01 01 11 EAUTON A4261           A :S52 PT 08963 COPY WE'RE GOING TO GIVE HIM COMMANDS TO CRAWL
                                      BACK TO HIM,IF HE DOES NOT COMPLY WELL SEND IN DOG TO DRAG HIM BACK TO US
00:27:06 01 11 ETAC13 A5471           CIR K UNIT PHX STOP
00:27:07 01 11 ED8B   A6238           P94 I NEED PATROL SUPR 100TH AV CBACK HAVE THEM COME IN 103 EB TOWARDS
                                      99TH AV,81J WILL MEET
00:27:07 01 11 ED8B           A6238   A :P94 PS 05821 I NEED PATROL SUPR 100TH AV CBACK HAVE THEM
                                      COME IN 103 EB TOWARDS 99TH AV,81J WILL MEET
00:27:08   01   11   EAUTON   A4261   S52 UNITS AT (K0 STOP
00:27:08   01   11   EAUTON   A4261   A :S52 PT 08963 UNITS AT (K0 STOP
00:27:18   01   11   ETAC13   A5471   BEARCAT IS 23
00:27:21   01   11   EAUTON   A4261   BEARCAT COMING 23
00:27:23   01   11   ETAC13   A5471   A :BEARCA PT         67TH AV/GLENDALE
00:27:27   01   11   EAUTON   A4261   S513 TRYING TO GIVE HIM COMMANDS
00:27:27   01   11   EAUTON   A4261   A :S513 PT 07244 TRYING TO GIVE HIM COMMANDS
00:27:30   01   11   ETAC13   A5471   GIVING COMMANDS TO CALL
00:27:33   01   11   EAUTON   A4261   S52 GIVING HIM COMMANDS
00:27:33   01   11   EAUTON   A4261   A :S52 PT 08963 GIVING HIM COMMANDS
00:27:34   01   11   ETAC13   A5471   52 GIVING COMMANDS
00:27:53   01   11   ETAC13   A5471   STOP RIGHT THERE
00:27:54   01   11   EAUTON   A4261   S513 STOP RIGHT THERE




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  CALL: PH19-55839 ACTIVE (R)
                     Desk/
  Time       Date    Unit     ID
  00:27:54   01 11   EAUTON   A4261   A :S513 PT 07244 STOP RIGHT THERE
  00:28:01   01 11   812J     10320   EN:812J PT 10320 ASSIST:811J      /67TH AV/GLENDALE
  00:28:01   01 11   812J     10320   EN:812J PT 10320 CONTROL FOR UNIT CHANGED 9
  00:28:02   01 11   ETAC13   A5471   BEARCAT THAT'S GOOD
  00:28:03   01 11   814M     08743   A :814M PT 08743
  00:28:03   01 11   814M     08743   A :814M PT 09292
  00:28:04   01 11   EAUTON   A4261   S513 BEARCAT JUST PULLED IN THATS GOOD
  00:28:04   01 11   EAUTON   A4261   A :S513 PT 07244 BEARCAT JUST PULLED IN THATS GOOD
  00:28:14   01 11   ETAC13   A5471   A :V638 DE 06103 91ST AV/CBACK
  00:28:14   01 11   ETAC13   A5471   A :V635 DE 07014 91ST AV/CBACK
  00:28:14   01 11   ETAC13   A5471   A :V636 DE 07710 91ST AV/CBACK
  00:28:14   01 11   ETAC13   A5471   A :V630 DE 05057 91ST AV/CBACK
  00:28:14   01 11   ETAC13   A5471   A :V63 PT 05227 91ST AV/CBACK
  00:28:14   01 11   ETAC13   A5471   A :A918 PT        91ST AV/CBACK
  00:28:14   01 11   ETAC13   A5471   A :S52 PT 08963 91ST AV/CBACK
  00:28:14   01 11   ETAC13   A5471   A :S563 K9 08942 91ST AV/CBACK
  00:28:14   01 11   ETAC13   A5471   EN:P84 PS 07876 91ST AV/CBACK
  00:28:14   01 11   ETAC13   A5471   EN:91J PS 07725 91ST AV/CBACK
  00:28:15   01 11   ETAC13   A5471   A :P94 PS 05821 91ST AV/CBACK
  00:28:15   01 11   ETAC13   A5471   EN:815M PT 10076 91ST AV/CBACK
  00:28:15   01 11   ETAC13   A5471   EN:815M PT 10078 91ST AV/CBACK
  00:28:15   01 11   ETAC13   A5471   EN:81J PS 05707 91ST AV/CBACK
  00:28:15   01 11   ETAC13   A5471   EN:811J PT 10394 91ST AV/CBACK
  00:28:15   01 11   ETAC13   A5471   EN:813M PT 09744 91ST AV/CBACK
  00:28:15   01 11   ETAC13   A5471   EN:813M PT 10021 91ST AV/CBACK
  00:28:15   01 11   ETAC13   A5471   EN:812J PT 10320 91ST AV/CBACK
  00:28:15   01 11   ETAC13   A5471   A :814M PT 08743 91ST AV/CBACK
  00:28:15   01 11   ETAC13   A5471   A :814M PT 09292 91ST AV/CBACK
  00:28:15   01 11   ETAC13   A5471   A :811L PT 09772 91ST AV/CBACK
  00:28:15   01 11   ETAC13   A5471   A :814P PT 08701 91ST AV/CBACK
  00:28:15   01 11   ETAC13   A5471   A :S523 PT 09287 91ST AV/CBACK
  00:28:16   01 11   ETAC13   A5471   A :S522 PT 07892 91ST AV/CBACK
  00:28:16   01 11   ETAC13   A5471   A :V632 PT 05994 91ST AV/CBACK
  00:28:16   01 11   ETAC13   A5471   A :S525 PT 08677 91ST AV/CBACK
  00:28:16   01 11   ETAC13   A5471   A :V572 PT 07991 91ST AV/CBACK
  00:28:16   01 11   ETAC13   A5471   A :S521 PT        91ST AV/CBACK
  00:28:16   01 11   ETAC13   A5471   A :S527 PT        91ST AV/CBACK
  00:28:16   01 11   ETAC13   A5471   A :S517 PT 07497 91ST AV/CBACK
  00:28:16   01 11   ETAC13   A5471   A :S51 PT 08566 91ST AV/CBACK
  00:28:16   01 11   ETAC13   A5471   A :S549 PT 08506 91ST AV/CBACK
  00:28:16   01 11   ETAC13   A5471   A :S519 PT 08467 91ST AV/CBACK
  00:28:16   01 11   ETAC13   A5471   A :S516 PT 08288 91ST AV/CBACK
  00:28:17   01 11   ETAC13   A5471   A :S513 PT 07244 91ST AV/CBACK
  00:28:17   01 11   ETAC13   A5471   A :CAR958 PT        91ST AV/CBACK
  00:28:17   01 11   ETAC13   A5471   EN:S526 PT 08829 91ST AV/CBACK
  00:28:17   01 11   ETAC13   A5471   EN:S512 PT        91ST AV/CBACK
  00:28:17   01 11   ETAC13   A5471   EN:S515 PT        91ST AV/CBACK
  00:28:17   01 11   ETAC13   A5471   A :BEARCA PT        91ST AV/CBACK
  00:28:17   01 11   ETAC13   A5471   A :S511 PT 07097 91ST AV/CBACK
  00:28:17   01 11   ETAC13   A5471   EN:S53 PT 07273 91ST AV/CBACK




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                     Desk/
Time       Date      Unit     ID
00:28:17   01 11     ETAC13   A5471   A :V631 DE 06914 91ST AV/CBACK
00:28:32   01 11     ETAC13   A5471   52 GET DOG ORIENTED TO DRAG HIM BACK TO US
00:28:33   01 11     EAUTON   A4261   S52 DOG GET UP THERE & DRAG HIM BACK TO US
00:28:33   01 11     EAUTON   A4261   A :S52 PT 08963 DOG GET UP THERE & DRAG HIM BACK TO US
00:28:35   01 11     ED8B     A6238   (M) DUPLICATE: PH19-57600: COMP HEARD 2-3 SHOTS 5 AGO, NOTHING ELSE SEEN
                                      OR HEARD, COMP WAS INSIDE, NOW HEARING AIR UNIT IN AREA
00:28:35 01 11 ED8B           A6238   (M) DUPLICATE: PH19-57600: CALLER:GEORGE CHAPMAN, (H) (602)435-0762, NO
                                      CONTACT
00:28:35   01   11   ED8B     A6238   Related Call:ADDED DUPLICATE:PH19-57600
00:28:45   01   11   ED9A     A5943   P94 91J 91ST AVE NOW HAVE HIM 1050 H11
00:28:45   01   11   ED9A     A5943   A :P94 PS 05821 91J 91ST AVE NOW HAVE HIM 1050 H11
00:28:58   01   11   ETAC13   A5471   SEND THAT DOG OUT ON HIM
00:29:02   01   11   EAUTON   A4261   S513 YOU GUYS SEND THAT DOG OUT ON HIM
00:29:02   01   11   EAUTON   A4261   A :S513 PT 07244 YOU GUYS SEND THAT DOG OUT ON HIM
00:29:09   01   11   ETAC13   A5471   TRYING TO GET DOG ORIENTED,CLOSING DISTANCE
00:29:11   01   11   EAUTON   A4261   S52 TRYING TO CLOSE THE DISTANCE & GET DOG ORIENTED TO SUSP
00:29:11   01   11   EAUTON   A4261   A :S52 PT 08963 TRYING TO CLOSE THE DISTANCE & GET DOG ORIENTED
                                      TO SUSP
00:29:24   01   11   EAUTON   A4261   S52 DOG ON HIM DRAGGING HIM BACK TO US AWAY FROM GUN
00:29:24   01   11   EAUTON   A4261   A :S52 PT 08963 DOG ON HIM DRAGGING HIM BACK TO US AWAY FROM GUN
00:29:26   01   11   EAUTON   A4261   S52 1012
00:29:26   01   11   EAUTON   A4261   A :S52 PT 08963 1012
00:29:27   01   11   ETAC13   A5471   52 DOG IS ON HIM,DRAGGING HIM AWAY FROM GUN TOWARD US
00:29:44   01   11   ETAC13   A5471   DETAINING SUSP,1012 FOR C4 FOR FIRE
00:29:46   01   11   EAUTON   A4261   S52 DETAINING SUSP 1012 WE'LL LET YOU KNOW WHEN C4 FOR FIRE
00:29:46   01   11   EAUTON   A4261   A :S52 PT 08963 DETAINING SUSP 1012 WE'LL LET YOU KNOW WHEN C4
                                      FOR FIRE
00:30:02 01 11 ETAC13 A5471           HE WAS LAYIG STRAIGHT OUT FROM YOU,STIL HAVE EYE ON GUN,STOP THERE,RIGHT
                                      AT YOUR FEET
00:30:04 01 11 ETAC13 A5471           COPY GOT IT
00:30:08 01 11 EAUTON A4261           A918 HE WAS LAYING STRAIGHT OUT FROM YOU WE STILL HAVE GLOW OF WHAT I
                                      BELIEVE IS GUN,STOP RIGHT THERE,RIGHT AT YOUR FEET
00:30:08 01 11 EAUTON A4261           A :A918 PT        HE WAS LAYING STRAIGHT OUT FROM YOU WE STILL
                                      HAVE GLOW OF WHAT I BELIEVE IS GUN,STOP RIGHT THERE,RIGHT AT YOUR FEET
00:30:13   01   11   EAUTON   A4261   S513 COPY,WE GOT IT
00:30:13   01   11   EAUTON   A4261   A :S513 PT 07244 COPY,WE GOT IT
00:30:19   01   11   ETAC13   A5471   52 C4 SUSP IN CUSTODY,ROLL FIRE BEHIND US,OR MAKE WAY UP TO US
00:30:26   01   11   EAUTON   A4261   S52 C4 SUSP IS DETAINED,GET FIRE 17 BHND US
00:30:26   01   11   EAUTON   A4261   A :S52 PT 08963 C4 SUSP IS DETAINED,GET FIRE 17 BHND US
00:30:29   01   11   ETAC13   A5471   CAR958 HAVE ENG 58 17 CODE 2
00:30:29   01   11   ETAC13   A5471   A :CAR958 PT         HAVE ENG 58 17 CODE 2
00:30:38   01   11   ETAC13   A5471   P94 COUPLE UNITS HARD CLOSRE EB AND WB ON CBACK
00:30:38   01   11   ETAC13   A5471   A :P94 PS 05821 COUPLE UNITS HARD CLOSRE EB AND WB ON CBACK
00:30:41   01   11   EAUTON   A4261   P94 P84 COUPLE 800 UNITS HARD CLOSURE E & W OF US
00:30:41   01   11   EAUTON   A4261   A :P94 PS 05821 P84 COUPLE 800 UNITS HARD CLOSURE E & W OF US
00:30:45   01   11   ETAC13   A5471   P84 GET IT TAKEN CARE OF
00:30:45   01   11   ETAC13   A5471   EN:P84 PS 07876 GET IT TAKEN CARE OF
00:30:46   01   11   EAUTON   A4261   Call re-directed:T13
00:30:49   01   11   V638     06103   A :V638 DE 06103 EXT Q PERS-NAME:BUSANI G1:SARIAH
                                      DOB:09211999 SEX:F STATE:AZ CAD:Y EXTN:Y EXTD:Y PKI:N TONC:Y




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CALL: PH19-55839 ACTIVE (R)
                     Desk/
Time       Date      Unit     ID
                                       UNIT:V638
00:30:55   01   11   EAUTON   A4261    S52 HAVE AT LEAST 2 GSW TO BACK
00:30:55   01   11   EAUTON   A4261    A :S52 PT 08963 HAVE AT LEAST 2 GSW TO BACK
00:30:57   01   11   ETAC13   A5471    RENDERING FIRST AID TO FIRE,AT LEAST 2 GUNSHOTS WOUNDS TO THE BACK
00:31:12   01   11   ETAC13   A5471    15 TO 52,I'LL SEE YOU THERE P94
00:31:12   01   11   EAUTON   A4261    S515 P94 IM HEADING OUT SEE YOU THERE
00:31:12   01   11   EAUTON   A4261    EN:S515 PT        P94 IM HEADING OUT SEE YOU THERE
00:31:21   01   11   ETAC13   A5471    P94 ID ANY WITNESS AND SHOOTER OFFICERS PLEASE
00:31:21   01   11   ETAC13   A5471    A :P94 PS 05821 ID ANY WITNESS AND SHOOTER OFFICERS PLEASE
00:31:27   01   11   EAUTON   A4261    P94 ID ANY WITN OFCRS AS WELL AS SHOOTERS
00:31:27   01   11   EAUTON   A4261    A :P94 PS 05821 ID ANY WITN OFCRS AS WELL AS SHOOTERS
00:31:37   01   11   ETAC13   A5471    A918 GOING TO HEAD BACK,CALL US AT HANGER IN 30,
00:31:37   01   11   ETAC13   A5471    A :A918 PT        GOING TO HEAD BACK,CALL US AT HANGER IN 30,
00:31:42   01   11   EAUTON   A4261    A918 LOW FUEL CALL UP TO HANGER IN 30MINS
00:31:42   01   11   EAUTON   A4261    A :A918 PT        LOW FUEL CALL UP TO HANGER IN 30MINS
00:32:21   01   11   ED4A     A4453    P84 1-2 MORE UNITS EB 99A/CBACK SHUT DOWN
00:32:21   01   11   ED4A     A4453    EN:P84 PS 07876 1-2 MORE UNITS EB 99A/CBACK SHUT DOWN
00:32:30   01   11   ED8B     A6238    P84 I NEED A COUPLE MORE UNITS TO SHUT DOWN EB CBACK
00:32:30   01   11   ED8B     A6238    EN:P84 PS 07876 I NEED A COUPLE MORE UNITS TO SHUT DOWN EB CBACK
00:32:35   01   11   ED8B     A6238    EN:812L PT 08952 67TH AV/GLENDALE
00:32:38   01   11   ETAC13   A5471    CAR958 TO S52 SUBJ HAS LAC SOFT INJ FROM DOG OR??
00:32:38   01   11   ETAC13   A5471    A :CAR958 PT        TO S52 SUBJ HAS LAC SOFT INJ FROM DOG OR??
00:32:42   01   11   ETAC13   A5471    S52 2 GSW
00:32:42   01   11   ETAC13   A5471    A :S52 PT 08963 2 GSW
00:32:59   01   11   ETAC13   A5471    FIRE GETS HERE,ALREADY TREATING,GET FIRE TO COME UP HERE BY THE BEARCAT
00:33:05   01   11   EAUTON   A6171    FIRE JUST GOT HERE TREATING HIM - HAVE FIRE 25 US BEHIND THE BEARCAT
00:33:25   01   11   ED8B     A6238    EN:831L PT 09714 67TH AV/GLENDALE
00:33:29   01   11   ETAC13   A5471    P84 TO P94 WHERE IS SCENE? SHUT DOWN EB
00:33:29   01   11   ETAC13   A5471    EN:P84 PS 07876 TO P94 WHERE IS SCENE? SHUT DOWN EB
00:33:34   01   11   EAUTON   A6171    P84 P94 WHERE'S SCENE AT SO WE KNOW
00:33:34   01   11   EAUTON   A6171    EN:P84 PS 07876 P94 WHERE'S SCENE AT SO WE KNOW
00:33:46   01   11   ETAC13   A5471    SEE ALL LIGHTS,WEST SHUT DOWN HARD CLOSURE FROM EAST AT THE LIGTH
00:33:48   01   11   ETAC13   A5471    COPY
00:33:52   01   11   EAUTON   A6171    P94 YU'LL SEE THE LITES WHATEVER XSECT IS CLOSEST FROM E TO W
00:33:52   01   11   EAUTON   A6171    A :P94 PS 05821 YU'LL SEE THE LITES WHATEVER XSECT IS CLOSEST
                                       FROM E TO W
00:34:06 01 11 ED8B   A6238            EN:81J PS 05707 REMOVED HANDLED STATUS FOR PH19-57129
00:34:27 01 11 ETAC13 A5471            P94 NEED NEXT SGT BRING COMPUTER START SCRIBING WITH ME
00:34:27 01 11 ETAC13 A5471            A :P94 PS 05821 NEED NEXT SGT BRING COMPUTER START SCRIBING
                                       WITH ME
00:34:34 01 11 EAUTON A6171            P94 NEXT PATROL SGT TO BRING THEIR COMP START SCRIBING
00:34:34 01 11 EAUTON A6171            A :P94 PS 05821 NEXT PATROL SGT TO BRING THEIR COMP START
                                       SCRIBING
00:34:41   01   11   ETAC13   A5471    S52 CHECKING EVERYONE AT CIR K C4?
00:34:41   01   11   ETAC13   A5471    A :S52 PT 08963 CHECKING EVERYONE AT CIR K C4?
00:34:47   01   11   ETAC13   A5471    814M WE
00:34:47   01   11   ETAC13   A5471    A :814M PT 08743 WE
00:35:02   01   11   ETAC13   A5471    SHAMROCK FOODS TOO,MAKE SURE DRIVER IS C4
00:35:38   01   11   EAUTON   A6171    P94 ANYONE RESPONDING INCLUDING MAC VANS COME E FROM 99A ON CBACK
00:35:38   01   11   EAUTON   A6171    A :P94 PS 05821 ANYONE RESPONDING INCLUDING MAC VANS COME E




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